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                      EXHIBIT 1
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                           (Jointly Administered)
                           Debtors.


     MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF REORGANIZATION FOR
             BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

WHITE & CASE LLP                                         MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Jessica C. Lauria (admitted pro hac vice)                Derek C. Abbott (No. 3376)
1221 Avenue of the Americas                              Andrew R. Remming (No. 5120)
New York, New York 10020                                 Paige N. Topper (No. 6470)
Telephone: (212) 819-8200                                1201 North Market Street, 16th Floor
Email: jessica.lauria@whitecase.com                      P.O. Box 1347
                                                         Wilmington, Delaware 19899-1347
– and –                                                  Telephone: (302) 658-9200
                                                         Email: dabbott@morrisnichols.com
    WHITE & CASE LLP                                            aremming@morrisnichols.com
    Michael C. Andolina (admitted pro hac vice)                 ptopper@morrisnichols.com
    Matthew E. Linder (admitted pro hac vice)
    Laura E. Baccash (admitted pro hac vice)
    Blair M. Warner (admitted pro hac vice)
    111 South Wacker Drive
    Chicago, Illinois 60606
    Telephone: (312) 881-5400
    Email: mandolina@whitecase.com
           mlinder@whitecase.com
           laura.baccash@whitecase.com
           blair.warner@whitecase.com

Attorneys for the Debtors and Debtors in Possession

Dated: September 2729, 2021
       Wilmington, Delaware



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The
      Debtors’ mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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                                       INTRODUCTION

        Boy Scouts of America and Delaware BSA, LLC, the non-profit corporations that are
debtors and debtors in possession in the above-captioned chapter 11 cases, hereby propose this
plan of reorganization pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms
used herein shall have the meanings ascribed to such terms in Article I.A. The Plan provides for
the global resolution of Abuse Claims against the Debtors, Related Non-Debtor Entities, Local
Councils, Contributing Chartered Organizations, Settling Insurance Companies, and their
respective Representatives. The Debtors are the proponents of the Plan within the meaning of
section 1129 of the Bankruptcy Code. The Plan is also proposed in accordance with the JPM /
Creditors’ Committee Term Sheet, pursuant to which the Debtors, the Creditors’ Committee and
JPM have agreed to take certain actions to support the prosecution and consummation of the
Plan. The Coalition and the Future Claimants’ Representative also support the Plan. Reference
is made to the Disclosure Statement for a discussion of the Debtors’ history, charitable mission,
operations, projections for those operations, risk factors, and certain related matters. The
Disclosure Statement also provides a summary and analysis of the Plan. YOU ARE URGED TO
READ THE DISCLOSURE STATEMENT AND THE PLAN WITH CARE IN EVALUATING
HOW THE PLAN WILL AFFECT YOUR CLAIM(S) BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                          ARTICLE I.

                   DEFINITIONS AND RULES OF INTERPRETATION

      A.      Definitions. The capitalized terms used in the Plan shall have the respective
meanings set forth below.

              1.     “2010 Bond” means The County Commission of Fayette County (West
       Virginia) Commercial Development Revenue Bond (Arrow WV Project) Series 2010B in
       an aggregate principal amount of $50,000,000, issued by the Bond Issuer pursuant to the
       2010 Bond Agreement, the proceeds of which were loaned to the BSA pursuant to the
       2010 Note.

              2.     “2010 Bond Agreement” means that certain Bond Purchase and Loan
       Agreement dated as of November 5, 2010, by and among the Bond Issuer, JPM, the BSA
       and Arrow, as amended, restated, supplemented or otherwise modified from time to time.

               3.      “2010 Bond Claim” means any Claim against the Debtors arising under,
       derived from, or based upon the 2010 Bond Documents, including any Claim for
       obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2010
       Bond Documents, whether now existing or hereafter arising, whether direct, indirect,
       related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
       several, including the obligation of the BSA to repay the 2010 Note, interest on the 2010
       Note, and all fees, costs, expenses and obligations of any kind or character due or
       recoverable from the Debtors under the 2010 Bond Documents.
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        4.     “2010 Bond Documents” means collectively, the 2010 Bond, the 2010
Bond Agreement, the 2010 Note, the Prepetition Security Documents (2019), the
Prepetition Security Agreement (2020) (in the case of the Prepetition Security Documents
(2019) and the Prepetition Security Agreement (2020), solely as such documents and
agreements pertain to obligations under the other 2010 Bond Documents), and all
documentation executed and delivered in connection therewith, as amended, restated,
supplemented or otherwise modified from time to time.

        5.      “2010 Credit Agreement” means that certain Credit Agreement dated as of
August 11, 2010, by and between the BSA, as borrower, and JPM, as lender, as amended
by that certain First Amendment to Credit Agreement dated as of November 5, 2010, that
certain Second Amendment to Credit Agreement dated as of November 11, 2011, that
certain Third Amendment to Credit Agreement dated as of March 9, 2012, that certain
Fourth Amendment to Credit Agreement dated as of April 25, 2016, that certain Fifth
Amendment to Credit Agreement dated as of March 2, 2017, that certain Sixth
Amendment to Credit Agreement dated as of February 15, 2018, and that certain Seventh
Amendment to Credit Agreement, dated as of March 21, 2019, pursuant to which JPM
agreed to make term loans to the BSA in an aggregate amount of $25,000,000 and agreed
to make revolving loans to the BSA and issue letters of credit on behalf of the BSA in an
aggregate amount not to exceed $75,000,000.

        6.       “2010 Credit Facility Claim” means any Claim against the Debtors arising
under, derived from, or based upon the 2010 Credit Facility Documents, including any
Claim for obligations, indebtedness, and liabilities of the BSA arising pursuant to any of
the 2010 Credit Facility Documents, whether now existing or hereafter arising, whether
direct, indirect, related, unrelated, fixed, contingent, liquidated, unliquidated, joint,
several, or joint and several, including the obligation of the BSA to pay principal and
interest, and all fees, costs, expenses and other obligations of any kind or character due or
recoverable under the 2010 Credit Facility Documents.

        7.     “2010 Credit Facility Documents” means, collectively, the 2010 Credit
Agreement, the Prepetition Security Documents (2019), the Prepetition Security
Agreement (2020) (in the case of the Prepetition Security Documents (2019) and the
Prepetition Security Agreement (2020), solely as such documents and agreements pertain
to obligations under the other 2010 Credit Facility Documents), and all documentation
executed and delivered in connection therewith, as amended, restated, supplemented or
otherwise modified from time to time.

        8.      “2010 Note” means that certain Promissory Note – 2010B executed by the
BSA, as borrower, and payable to the order of the Bond Issuer in the original principal
amount of $50,000,000, which note was pledged by the Bond Issuer to JPM pursuant to
the 2010 Bond Agreement to secure the repayment of the 2010 Bond, as amended,
restated, supplemented or otherwise modified from time to time.

       9.      “2012 Bond” means The County Commission of Fayette County (West
Virginia) Commercial Development Revenue Bond (Arrow WV Project), Series 2012, in
an aggregate principal amount of $175,000,000, issued by the Bond Issuer pursuant to the


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2012 Bond Agreement, the proceeds of which were loaned to the BSA pursuant to the
2012 Note.

       10.   “2012 Bond Agreement” means that certain Bond Purchase and Loan
Agreement dated as of March 9, 2012, between the Bond Issuer, JPM, the BSA and
Arrow, as amended, restated, supplemented or otherwise modified from time to time.

        11.     “2012 Bond Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2012 Bond Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2012
Bond Documents, whether now existing or hereafter arising, whether direct, indirect,
related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
several, including the obligation of the BSA to repay the 2012 Note, interest on the 2012
Note, and all fees, costs, expenses and obligations of any kind or character due or
recoverable from the Debtors under the 2012 Bond Documents.

        12.    “2012 Bond Documents” means collectively, the 2012 Bond, the 2012
Bond Agreement, the 2012 Note, the Prepetition Security Documents (2019), the
Prepetition Security Agreement (2020) (in the case of the Prepetition Security Documents
(2019) and the Prepetition Security Agreement (2020), solely as such documents and
agreements pertain to obligations under the other 2012 Bond Documents), and all
documentation executed and delivered in connection therewith, as amended, restated,
supplemented or otherwise modified from time to time.

        13.     “2012 Note” means that certain Promissory Note – 2012, executed by the
BSA, as borrower, and payable to the order of the Bond Issuer in the original principal
amount of $175,000,000, which note was pledged by the Bond Issuer to JPM pursuant to
the 2012 Bond Agreement to secure the repayment of the 2012 Bond, as amended,
restated, supplemented or otherwise modified from time to time.

       14.     “2019 RCF Agreement” means that certain Credit Agreement, dated as of
March 21, 2019, by and between the BSA, as borrower, and JPM, as lender, pursuant to
which JPM agreed to make revolving loans to the BSA and issue letters of credit on
behalf of the BSA in an aggregate amount not to exceed $71,500,000, the maturity date
of which was extended pursuant to that certain Consent to Extension of Maturity Date
dated as of January 16, 2020.

        15.     “2019 RCF Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2019 RCF Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2019
RCF Documents, whether now existing or hereafter arising, whether direct, indirect,
related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
several, including the obligation of the BSA to pay principal and interest, and all fees,
costs, expenses and other obligations of any kind or character due or recoverable under
the 2019 RCF Documents.




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        16.    “2019 RCF Documents” means, collectively, the 2019 RCF Agreement,
the Prepetition Security Documents (2019), the Prepetition Security Agreement (2020)
(in the case of the Prepetition Security Documents (2019) and the Prepetition Security
Agreement (2020), solely as such documents and agreements pertain to obligations under
the other 2019 RCF Documents), and all documentation executed and delivered in
connection therewith, as amended, restated, supplemented or otherwise modified from
time to time.

        17.    “Abuse” means sexual conduct or misconduct, sexual abuse or
molestation, sexual exploitation, indecent assault or battery, rape, pedophilia,
ephebophilia, sexually related psychological or emotional harm, humiliation, anguish,
shock, sickness, disease, disability, dysfunction, or intimidation, any other sexual
misconduct or injury, contacts or interactions of a sexual nature, including the use of
photography, video, or digital media, or other physical abuse or bullying or harassment
without regard to whether such physical abuse or bullying is of a sexual nature, between a
child and an adult, between a child and another child, or between a non-consenting adult
and another adult, in each instance without regard to whether such activity involved
explicit force, whether such activity involved genital or other physical contact, and
whether there is or was any associated physical, psychological, or emotional harm to the
child or non-consenting adult.

        18.     “Abuse Claim” means a liquidated or unliquidated Claim against a
Protected Party or a Limited Protected Party that is attributable to, arises from, is based
upon, relates to, or results from, in whole or in part, directly, indirectly, or derivatively,
alleged Abuse that occurred prior to the Petition Date (and in the case of Limited
Protected Parties, on or after January 1, 1976), including any such Claim that seeks
monetary damages or other relief, under any theory of law or equity whatsoever,
including vicarious liability, respondeat superior, conspiracy, fraud, including fraud in
the inducement, any negligence-based or employment-based theory, including negligent
hiring, selection, supervision, retention or misrepresentation, any other theory based on
misrepresentation, concealment, or unfair practice, public or private nuisance, or any
other theory, including any theory based on public policy or any act or failure to act by a
Protected Party, a Limited Protected Party or any other Person for whom any Protected
Party or Limited Protected Party is alleged to be responsible; provided, however, that
with respect to any Contributing Chartered Organization or its personnel or affiliates, the
term “Abuse Claim” shall be limited to any such Claim that is attributable to, arises from,
is based upon, or results from, in whole or in part, directly, indirectly, or derivatively,
alleged Abuse that occurred prior to the Petition Date, including any such Claim that
seeks monetary damages or other relief, under any theory of law or equity whatsoever,
including vicarious liability, respondeat superior, conspiracy, fraud, including fraud in
the inducement, any negligence-based or employment-based theory, including negligent
hiring, selection, supervision, retention or misrepresentation, concealment, or unfair
practice, public or private nuisance, or any other theory, including any theory based on
public policy or any act or failure to act by a Protected Party, a Limited Protected Party or
any other Person for whom any Protected Party or Limited Protected Party is alleged to
be responsible, in connection, in whole or in part, with the Contributing Chartered
Organization’s or its personnel’s or affiliates’ involvement in, or sponsorship of, one or


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more Scouting units (including any such Claim that has been asserted or may be amended
to assert in a proof of claim alleging Abuse, whether or not timely filed, in the Chapter 11
Cases), or any such Claim that has been asserted against the Settlement Trust), including
any proportionate or allocable share of liability based thereon; provided further, however,
that with respect to any Participating Chartered Organization, the term “Abuse Claim”
shall be limited to Post-1975 Chartered Organization Abuse Claims. Abuse Claims
include any Future Abuse Claims, any Indirect Abuse Claims, and any Claim that is
attributable to, arises from, is based upon, relates to, or results from, alleged Abuse
regardless of whether, as of the Petition Date, such Claim was barred by any applicable
statute of limitations. For the avoidance of doubt, no Claim alleging Abuse shall be an
“Abuse Claim” against a Contributing Chartered Organization or a Participating
Chartered Organization if such Claim is wholly unrelated to Scouting.

        19.    “Abuse Claims Settlement” has the meaning ascribed to such term in
Article V.S.

        20.   “Abuse Insurance Policies” means, collectively, the BSA Insurance
Policies and the Local Council Insurance Policies. Abuse Insurance Policies do not
include Non-Abuse Insurance Policies.

        21.    “Accrued Professional Fees” means, as of any date, and regardless of
whether such amounts are billed or unbilled, all of a Professional’s or Coalition
Professional’s accrued fees and reimbursable expenses for services rendered in the
Chapter 11 Cases up to and including such date, whether or not such Professional or
Coalition Professional has then filed an application for the Allowance and payment of
such fees and expenses: (a) to the extent that any such fees and expenses have not been
previously paid by the Debtors; and (b) after each Professional has applied to such
accrued fees and expenses the balance of any retainer that has been provided by the
Debtors to such Professional, if applicable. No amount of a Professional’s or Coalition
Professional’s fees or expenses denied by a Final Order of the Bankruptcy Court shall
constitute Accrued Professional Fees.

       22.    “Ad Hoc Committee” means the Ad Hoc Committee of Local Councils of
the Boy Scouts of America.

        23.    “Administrative Expense Claim” means any right to payment from the
Debtors that constitutes a cost or expense of administration incurred during the Chapter
11 Cases of the kind specified under 503(b) of the Bankruptcy Code and entitled to
priority under sections 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses of preserving the Estates or
continuing the operations of the Debtors incurred during the period from the Petition
Date to the Effective Date; (b) the Hartford Administrative Expense Claim and, if
applicable in accordance with the Hartford Insurance Settlement Agreement, the Hartford
Additional Administrative Expense Claim; (c) Professional Fee Claims; and (d) Quarterly
Fees.




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        24.    “Affiliate” has the meaning ascribed to such term in section 101(2) of the
Bankruptcy Code. With respect to any Person that is not a Debtor in the Chapter 11
Cases, the term “Affiliate” shall apply to such Person as if the Person were a Debtor.

        25.     “Affirmation Order” means an order of the District Court affirming
Confirmation of the Plan and issuing or affirming the issuance of the Channeling
Injunction in favor of the Protected Parties and the Limited Protected Parties, which shall
be in form and substance acceptable to (a) the Debtors, the Ad Hoc Committee, the
Coalition, the Future Claimants’ Representative and Hartford and (b) the Creditors’
Committee and JPM in accordance with their respective consent rights under the JPM /
Creditors’ Committee Term Sheet.

       26.     “Allowed” has the following meanings for Non-Abuse Claims:

               a.     with respect to any Claim that is asserted to constitute an
       Administrative Expense Claim: (i) a Claim that represents an actual and necessary
       cost or expense of preserving the Estates or continuing the operations of the
       Debtors incurred during the period from the Petition Date to the Effective Date
       for which a request for payment is filed, (A) to the extent such Claim is
       determined by the Debtors to constitute an Administrative Expense Claim or
       allowed by a Final Order of the Bankruptcy Court or (B) as to which no objection
       to allowance has been interposed and not withdrawn within the applicable period
       fixed by the Plan or applicable law; (ii) other than with respect to a Professional
       Fee Claim, a Claim that arises during the period from the Petition Date to the
       Effective Date for which a request for payment is filed that is Disputed by the
       Debtors, which Claim is allowed in whole or in part by a Final Order of the
       Bankruptcy Court to the extent that such allowed portion is determined by a Final
       Order to constitute a cost or expense of administration under sections 503(b) and
       507(a)(1) of the Bankruptcy Code; (iii) a Claim that arises during the period from
       the Petition Date to the Effective Date in the ordinary course of the Debtors’
       non-profit operations that is determined by the Debtors to constitute an
       Administrative Expense Claim; (iv) a Professional Fee Claim, to the extent
       allowed by a Final Order of the Bankruptcy Court; or (v) any Claim that is
       expressly allowed as provided in Article II.A.1;

              b.     with respect to any 2010 Credit Facility Claim, 2019 RCF Claim,
       2010 Bond Claim, or 2012 Bond Claim, any such Claim that is expressly allowed
       as provided under Article III; and

               c.      with respect to any Priority Tax Claim, Other Priority Claim, Other
       Secured Claim, Convenience Claim, General Unsecured Claim, Non-Abuse
       Litigation Claim, or any portion of any of the foregoing, a Claim that is: (i) listed
       in the Schedules as not being disputed, contingent or unliquidated and with
       respect to which no contrary or superseding Proof of Claim has been filed, and
       that has not been paid pursuant to an order of this Court prior to the Effective
       Date; (ii) evidenced by a Proof of Claim filed on or before the applicable Bar
       Date, not listed in the Schedules as disputed, contingent or unliquidated, and as to


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       which no objection has been filed on or before the Claims Objection Deadline;
       (iii) not the subject of an objection to Allowance, which Claim (A) was filed on or
       before the Claims Objection Deadline and (B) has not been settled, waived,
       withdrawn or Disallowed pursuant to a Final Order; or (iv) expressly Allowed
       (x) pursuant to a Final Order, (y) pursuant to an agreement between the holder of
       such Claim and the Debtors or Reorganized BSA, as applicable, or (z) pursuant to
       the terms of the Plan. For the avoidance of doubt, the holder of a Claim
       evidenced by a Proof of Claim filed after the applicable Bar Date shall not be
       treated as a creditor with respect to such Claim for the purposes of voting and
       distribution.

       “Allowance” and “Allowing” have correlative meanings.

      27.     “Amended BSA Bylaws” means the amended and restated bylaws of the
BSA, substantially in the form contained in the Plan Supplement.

       28.    “Arrow” means Arrow WV, Inc., a West Virginia non-profit corporation.

       29.    “Arrow Collateral Assignment” means that certain Collateral Assignment
of Promissory Note and Credit Line Deed of Trust, dated as of March 21, 2019, by and
between the BSA, as assignor, and JPM, as lender, pursuant to which BSA assigned the
Arrow Intercompany Note and Arrow Deed of Trust to JPM to secure the obligations
under the 2010 Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond
Documents, and the 2012 Bond Documents.

       30.     “Arrow Deed of Trust” means that certain Credit Line Deed of Trust,
dated as of June 30, 2010, made and executed by Arrow, as grantor, to Leslie
Miller-Stover, as trustee, for the benefit of the BSA, as amended by that certain First
Amendment to Credit Line Deed of Trust, dated as of March 21, 2019.

       31.    “Arrow Intercompany Note” means that certain Amended and Restated
Promissory Note dated as of March 21, 2019, issued by Arrow to the BSA in an original
principal amount of $350,000,000.

       32.    “Artwork” means the artwork listed on Schedule 1.

        33.    “Assumed Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts or Unexpired Leases to be assumed by the BSA under the Plan
and the Cure Amount for each such Executory Contract or Unexpired Lease, as set forth
in the Plan Supplement, as may be amended, modified, or supplemented from time to
time in accordance with the terms hereof.

        34.     “Avoidance Actions” means any and all actual or potential avoidance,
recovery, subordination or other Claims, causes of action or remedies that may be
brought by or on behalf of the Debtors or their Estates or other authorized parties in
interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims,
Causes of Action or remedies under sections 502, 510, 542, 544, 545, 547 through 553,
and 724(a) of the Bankruptcy Code, or under similar or related local, state, federal, or


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foreign statutes or common law, including preference and fraudulent transfer and
conveyance laws, in each case whether or not litigation to prosecute such Claim(s),
Cause(s) of Action or remedy(ies) were commenced prior to the Effective Date.

      35.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101–1532, as in effect on the Petition Date.

        36.     “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware or such other court having jurisdiction over the Chapter 11 Cases.

        37.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under 28 U.S.C. § 2075, as applicable
to the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy
Court, each as amended from time to time.

       38.    “Bar Date” means (a) November 16, 2020 for any Claim (other than an
Administrative Expense Claim or a Claim of a Governmental Unit), or (b) August 17,
2020 for any Claim of a Governmental Unit, in each case as established by the Bar Date
Order.

        39.     “Bar Date Order” means the Order, Pursuant to 11 U.S.C. §§ 502(b)(9),
Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and 3003-1,
(I) Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and
Manner of Notice Thereof, (III) Approving Procedures for Providing Notice of Bar Date
and Other Important Information to Abuse Survivors, and (IV) Approving Confidentiality
Procedures for Abuse Survivors, entered by the Bankruptcy Court on May 26, 2020 at
Docket No. 695, as amended, modified or supplemented by order of the Bankruptcy
Court from time to time.

       40.      “Bond Issuer” means The County Commission of Fayette County (West
Virginia) in its capacity as the issuer under the 2010 Bond Agreement and the 2012 Bond
Agreement.

       41.     “BSA” means Boy Scouts of America, a congressionally chartered
non-profit corporation under title 36 of the United States Code.

       42.     “BSA Charter” means the congressional charter of the BSA, enacted on
June 15, 1916, as amended.

       43.     “BSA Insurance Policies” means any and all known and unknown
contracts, binders, certificates or Insurance Policies currently or previously in effect at
any time on or before the Effective Date naming the Debtors, or either of them, or any
predecessor, subsidiary, or past or present Affiliate of the Debtors, as an insured (whether
as the primary or an additional insured), or otherwise alleged to afford the Debtors
insurance coverage, upon which any claim could have been, has been, or may be made
with respect to any Abuse Claim, including the policies listed on Schedule 2. For the
avoidance of doubt, BSA Insurance Policies shall not include: (a) any policy providing



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reinsurance to any Settling Insurance Company; (b) any Non-Abuse Insurance Policy; or
(c) any Local Council Insurance Policy.

       44.    “BSA Settlement Trust Contribution” means:

              a.     all of the Net Unrestricted Cash and Investments, which are
       forecasted to total approximately $90,000,000, subject to potential variance
       depending upon the timing of the Effective Date and the BSA’s cash flow
       performance up to and including the Effective Date;

             b.      the BSA Settlement Trust Note, in the principal amount of
       $80,000,000, subject to the terms of Article V.S.3;

              c.      the BSA’s right, title and interest in and to the Artwork, which are
       deemed to be valued at approximately $59,000,000, and the rights to any
       insurance or the proceeds thereof with respect to missing, damaged, or destroyed
       Artwork, if any;

               d.     all of the BSA’s right, title and interest in and to the Warehouse
       and Distribution Center, subject to the Leaseback Requirement, or the proceeds of
       a third-party sale-leaseback of the Warehouse and Distribution Center for fair
       market value, which is valued at approximately $11,600,000;

               e.     the BSA’s right, title and interest in and to the Oil and Gas
       Interests, which are valued at approximately $7,600,000;

              f.     the net proceeds of the sale of Scouting University, which equal
       approximately $1,962,000;

              g.      the Insurance Assignment;

              h.      the Debtors’ Settlement Trust Causes of Action; and

              i.     the assignment of any and all Perpetrator Indemnification Claims
       held by the BSA.

For the avoidance of doubt, the BSA Settlement Trust Contribution shall not include:
(i) the proceeds of the Foundation Loan Facility; or (ii) any Causes of Action against
Released Parties or holders of General Unsecured Claims, Non-Abuse Litigation Claims,
or Convenience Claims released by the Debtors and their Estates under Article X.J.

       45.     “BSA Settlement Trust Note” means the secured, interest-bearing
promissory note in the principal amount of $80,000,000, substantially in the form
contained in the Plan Supplement, to be issued to the Settlement Trust by Reorganized
BSA on the Effective Date in accordance with Article V.S.3 and Article V.X.




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       46.     “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” as such term is defined in Bankruptcy Rule 9006(a).

       47.     “Cash” means legal tender of the United States of America.

       48.     “Cash Collateral Order” means the Final Order (I) Authorizing the
Debtors to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363; (II) Granting Adequate
Protection to the Prepetition Secured Party Pursuant to 11 U.S.C. §§ 105(a), 361, 362,
363, 503, and 507; and (III) Granting Related Relief, entered by the Bankruptcy Court on
April 15, 2020 at Docket No. 433.

         49.     “Causes of Action” means any claims, interests, damages, remedies,
causes of action, demands, rights, actions (including Avoidance Actions), suits,
obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens,
indemnities, guaranties, and franchises of any kind or character whatsoever, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or
non-contingent, liquidated or unliquidated, choate or inchoate, secured or unsecured,
capable of being asserted, directly or derivatively, matured or unmatured, suspected or
unsuspected, in contract, tort, law, equity, or otherwise, whether arising before, on, or
after the Petition Date. Causes of Action also include: (a) all rights of setoff,
counterclaim, or recoupment and claims under contracts or for breaches of duties
imposed by law or in equity; (b) the right to object to or otherwise contest Claims or
Interests; (c) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (d) any claim under any
local, state, federal or foreign law, including any fraudulent transfer or similar claim.

        50.    “Channeling Injunction” means the permanent injunction provided for in
Article X.F with respect to (a) Abuse Claims against the Protected Parties and (b)
Post-1975 Chartered Organization Abuse Claims against the Limited Protected Parties, to
be issued pursuant to the Confirmation Order.

        51.   “Chapter 11 Cases” means the cases filed by the Debtors under chapter 11
of the Bankruptcy Code, which are jointly administered under Case No. 20-10343 (LSS).

       52.     “Chartered Organizations” means each and every civic, faith-based,
educational or business organization, governmental entity or organization, other entity or
organization, or group of individual citizens, in each case presently or formerly
authorized by the BSA to operate, sponsor or otherwise support one or more Scouting
units.

        53.     “Chartered Organization Reserved Policies” shall mean liability insurance
policies, if any, that (a) (i) were issued to individual Local Councils before January 1,
1976 or (ii) were issued to the BSA before January 1, 1976, (b) have a policy period that
ends before January 1, 1976, and (c) name Chartered Organizations as insureds, either
individually or collectively.




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      54.    “Claim” means any “claim,” as defined in section 101(5) of the
Bankruptcy Code, which, for the avoidance of doubt, shall include any Abuse Claim.

        55.    “Claims Objection Deadline” means the deadline for filing an objection to
any Administrative Expense Claim (other than a Professional Fee Claim), Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, which deadline shall be: (a) 180 days
after the Effective Date with respect to all such Claims and Interests other than
Convenience Claims, General Unsecured Claims, and Non-Abuse Claims, subject to any
extensions approved by an order of the Bankruptcy Court; and (b) sixty (60) days after
the Effective Date with respect to Convenience Claims, General Unsecured Claims, and
Non-Abuse Litigation Claims, subject to any extensions approved by an order of the
Bankruptcy Court with the consent of the Creditor Representative (such consent not to be
unreasonably withheld); provided, however, that the Debtors shall not be bound by the
Claims Objection Deadline with respect to any Claim filed after the Bar Date; provided
further, however, that the Claims Objection Deadline shall not apply to Abuse Claims,
which shall be administered exclusively in accordance with the Settlement Trust
Documents.

        56.    “Claims Record Date” means the Voting Deadline, which is the date on
which the transfer register for each Class of Non-Abuse Claims against or Interests in the
Debtors, as such register is maintained by the Debtors or their agents, shall be deemed
closed.

       57.    “Claims Register” means the official register of Claims maintained by the
Notice and Claims Agent in the Chapter 11 Cases.

        58.      “Class” means each category of holders of Claims or Interests as set forth
in Article III pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

       59.     “Coalition” means the Coalition of Abused Scouts for Justice, an ad hoc
committee composed of thousands of holders of Direct Abuse Claims that filed a notice
of appearance in the Chapter 11 Cases on July 24, 2020 at Docket No. 1040.

       60.     “Coalition Professionals” means (a) Brown Rudnick LLP, (b) Robbins,
Russell, Englert, Orseck & Untereiner LLP, (c) Monzack, Mersky and Browder, P.A.,
(d) Province, LLC, and (e) Parsons, Farnell & Grein, LLP.

        61.     “Coalition Restructuring Expenses” has the meaning ascribed to such term
in Article V.T.

        62.    “Common-Interest Communications with Insurers” means documents,
information, or communications that are subject to the attorney-client privilege,
attorney-work product doctrine, or other privilege or protection from disclosure, and are
shared between or among (a) the Debtors and/or any Protected Party or Limited Protected
Party, on the one hand, and (b) any Insurance Company or its Representatives, on the
other hand, including documents that reflect defense strategy, case evaluations,
discussions of settlements or resolutions, and communications regarding underlying


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litigation. Common-Interest Communications with Insurers do not include any
communications between or among the Debtors and any Insurance Company relating to
matters on which an Insurance Company has denied coverage.

        63.    “Compensation and Benefits Programs” means all employment
agreements and policies, and all employment, compensation, and benefit plans, policies,
savings plans, retirement plans (including the Pension Plan), deferred compensation
plans, supplemental executive retirement plans, healthcare plans, disability plans,
severance benefit agreements, plans or policies, incentive plans, life and accidental death
and dismemberment insurance plans, and programs of the Debtors, and all amendments
and modifications thereto, applicable to the Debtors’ employees, former employees,
retirees, and non-employee directors, and the employees, retirees and non-employee
directors of the Local Councils and the Related Non-Debtor Entities. Notwithstanding
the foregoing, the Compensation and Benefits Programs shall not include the Deferred
Compensation Plan or the Restoration Plan.

        64.    “Compensation Procedures Order” means the Order (I) Approving
Procedures for (A) Interim Compensation and Reimbursement of Expenses of Retained
Professionals and (B) Expense Reimbursement for Official Committee Members and (II)
Granting Related Relief entered by the Bankruptcy Court on April 6, 2020 at Docket No.
341, as amended by the Order Amending the Order (I) Approving Procedures for (A)
Interim Compensation and Reimbursement of Expenses of Retained Professionals and
(B) Expense Reimbursement for Official Committee Members and (II) Granting Related
Relief entered by the Bankruptcy Court on August 6, 2021 at Docket No. 5899.

       65.    “Confirmation” means the entry of the Confirmation Order by the
Bankruptcy Court on the docket of the Chapter 11 Cases. “Confirm,” “Confirmed” and
“Confirmability” shall have correlative meanings.

        66.    “Confirmation Date” means the date on which the Bankruptcy Court
enters the Confirmation Order on the docket of the Chapter 11 Cases within the meaning
of Bankruptcy Rules 5003 and 9021.

       67.    “Confirmation Hearing” means the hearing(s) held by the Bankruptcy
Court under section 1128 of the Bankruptcy Code at which the Debtors seek entry of the
Confirmation Order.

       68.     “Confirmation Order” means the order of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code, which shall be in
form and substance acceptable to (a) the Debtors, the Ad Hoc Committee, the Coalition.
the Future Claimants’ Representative and Hartford and (b) the Creditors’ Committee and
JPM in accordance with their respective consent rights under the JPM / Creditors’
Committee Term Sheet, as incorporated by reference in Article I.D.

       69.     “Contributing Chartered Organization Settlement Contribution” means the
following:




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              a.     the contributions to the Settlement Trust by the Contributing
       Chartered Organizations, including the TCJC Settlement Contribution, as set forth
       on Exhibit C, and including contributions made after the Effective Date in
       accordance with Article IV.I;

               b.     to the maximum extent permitted by applicable law, any and all of
       the Contributing Chartered Organizations’ rights, titles, privileges, interests,
       claims, demands or entitlements, as of the Effective Date, to any proceeds,
       payments, benefits, Causes of Action, choses in action, defense, or indemnity,
       now existing or hereafter arising, accrued or unaccrued, liquidated or
       unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent,
       arising under or attributable to: (i) the Abuse Insurance Policies, the Insurance
       Settlement Agreements, and claims thereunder and proceeds thereof; (ii) the
       Insurance Actions; and (iii) the Insurance Action Recoveries;

               c.      the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter
       11 Cases by or on behalf of any Contributing Chartered Organization, including
       any Indirect Abuse Claims, without any further notice to or action, order, or
       approval of the Bankruptcy Court, and the agreement of each Contributing
       Chartered Organization not to (i) file or assert any Claim or Claims against the
       Settlement Trust, the Debtors, or Reorganized BSA arising from any act or
       omission of the Debtors on or prior to the Confirmation Date or (ii) file or assert
       any rights or interests in any property transferred to the Settlement Trust under the
       Plan; provided, however, that the Indirect Abuse Claims (Claim Nos. 1248 and
       12530) filed by TCJC relating to the payment of costs to defend and resolve
       Abuse Claims shall be subordinated and not otherwise receive distributions until
       the date that the Confirmation Order and Affirmation Order become Final Orders;

              d.      the Contributing Chartered Organizations’ Settlement Trust Causes
       of Action; and

              e.     the assignment of any and all Perpetrator Indemnification Claims
       held by the Contributing Chartered Organizations.

        70.    “Contributing Chartered Organizations” means the current or former
Chartered Organizations listed on Exhibit D hereto, including any Chartered
Organization made a Protected Party under a Post-Effective Date Chartered Organization
Settlement approved by the Bankruptcy Court in accordance with Article IV.I. No
Participating Chartered Organization shall be considered a Contributing Chartered
Organization based solely on the Participating Chartered Organization Insurance
Assignment. Without limiting the foregoing, subject to Confirmation of the Plan and
approval of the TCJC Settlement Agreement by an order of the Bankruptcy Court
(including in the Confirmation Order), TCJC is a Contributing Chartered Organization
and shall be designated as such in the Confirmation Order and the Affirmation Order.




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       71.     “Contributing Chartered Organization Insurance Rights” has the meaning
ascribed to such term in Article V.S.1.b.

        72.    “Convenience Claim” means any Claim that would otherwise be a General
Unsecured Claim that is Allowed in an amount of $50,000 or less; provided that a holder
of a General Unsecured Claim that is Allowed in an amount greater than $50,000 may
irrevocably elect, as evidenced on the Ballot (as defined in the Voting Procedures) timely
and validly submitted by such holder (or other writing acceptable to the Debtors), to have
such Claim irrevocably reduced to $50,000 and treated as a Convenience Claim (upon
Allowance) for purposes of the Plan, in full and final satisfaction of such Claim; provided
further that a General Unsecured Claim may not be subdivided into multiple
Convenience Claims. The holder of an Allowed Non-Abuse Litigation Claim may elect
to have such Allowed Claim treated as a Convenience Claim solely in accordance with
the terms of Article III.B.9. For the avoidance of doubt, the holder of an Abuse Claim
(including Direct Abuse Claims and Indirect Abuse Claims) may not elect to have such
Claim treated as a Convenience Claim.

       73.    “Core Value Cash Pool” means Cash in the aggregate amount of
$25,000,000 for purposes of making Distributions to holders of Allowed General
Unsecured Claims and, subject to the terms of Article III.B.9, holders of Allowed
Non-Abuse Litigation Claims. Reorganized BSA shall fund the Core Value Cash Pool in
accordance with Article V.P.

       74.    “Creditor Representative” means the creditor representative to be
appointed as of the Effective Date in accordance with Article V.P. The Creditor
Representative will be identified in the Plan Supplement.

       75.     “Creditor Representative Fee Cap” the maximum amount of reasonable
compensation and reimbursement of expenses that shall payable by Reorganized BSA to
the Creditor Representative on account of its services, which shall be equal to $100,000.

        76.    “Creditors’ Committee” means the official committee of unsecured
creditors appointed by the United States Trustee in the Chapter 11 Cases under section
1102(a) of the Bankruptcy Code.

       77.    “Cure Amount” means, with respect to any Executory Contract or
Unexpired Lease sought to be assumed or assumed and assigned by the Debtors, the
monetary amount, if any, required to cure the Debtors’ defaults under any such Executory
Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the
non-Debtor party to an Executory Contract or Unexpired Lease) at the time such
Executory Contract or Unexpired Lease is assumed by the Debtors pursuant to sections
365 or 1123 of the Bankruptcy Code.

       78.    “Cure and Assumption Notice” means the notice of proposed assumption
of, and proposed Cure Amount payable in connection with, an Executory Contract or
Unexpired Lease (and, to the extent the Debtors seek to assume and assign any such
Executory Contract or Unexpired Lease pursuant to the Plan, adequate assurance of



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future performance within the meaning of section 365 of the Bankruptcy Code), to be
served in accordance with Article VI.C.

        79.     “D&O Liability Insurance Policies” means all Insurance Policies issued at
any time to any of the Debtors for directors’, managers’, and officers’ liability (including
any “tail policy” or run-off coverage) and all agreements, documents, or instruments
relating thereto.

       80.     “De Minimis Asset” means any miscellaneous asset that is valued by the
Debtors at $10,000 or less and that is located at the premises subject to any Unexpired
Leases rejected by the Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code,
including furniture and equipment.

        81.     “Debtors” means the BSA and Delaware BSA, the non-profit corporations
that are debtors and debtors in possession in the Chapter 11 Cases.

        82.    “Deferred Compensation Plan” means the Boy Scouts of America 457(b)
Plan, a non-qualified deferred compensation plan under section 457(b) of the Internal
Revenue Code, which allows eligible BSA and Local Council employees to make
elections to defer the payment of a certain amount or percentage of their regular base
salary or bonus for future payment.

      83.      “Delaware BSA” means Delaware BSA, LLC, a Delaware limited liability
company.

         84.   “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse
Claim.

        85.     “Disallowed” means, as to any Administrative Expense Claim, Priority
Tax Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, any such Claim or portion thereof
that: (a) has been disallowed, denied, dismissed, expunged, or overruled pursuant to the
terms of the Plan or a Final Order of the Bankruptcy Court or any other court of
competent jurisdiction or by a settlement; (b) has been listed on the Schedules at an
amount of $0.00 or as contingent, disputed, or unliquidated and as to which a Bar Date
has been established but no Proof of Claim has been timely filed or deemed timely filed
with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of
the Bankruptcy Court, including the Bar Date Order, or otherwise deemed timely filed
under applicable law; or (c) has not been scheduled and as to which a Bar Date has been
established but no Proof of Claim has been timely filed, such that the creditor holding
such Claim shall not be treated as a creditor with respect to such claim for the purposes
of voting and distribution. “Disallowance” and “Disallowing” have correlative
meanings. With respect to any 2010 Credit Facility Claim, 2019 RCF Claim, 2010 Bond
Claim, 2012 Bond Claim, Direct Abuse Claim, Indirect Abuse Claim, or Interest, the
term “Disallowed” shall not apply.




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       86.    “Disbursing Agent” means, with respect to all Claims other than Abuse
Claims, Reorganized BSA or a Person or Persons selected by the Debtors or Reorganized
BSA to make or facilitate Distributions contemplated under the Plan.

       87.    “Discharge Injunction” means the injunction issued in accordance with
sections 524 and 1141 of the Bankruptcy Code and contained in Article X.E.2 of the
Plan.

       88.    “Discharges” means the discharges set forth in Article X.E.

        89.    “Disclosure Statement” means the disclosure statement for the Plan,
including all exhibits and schedules thereto, as the same may be amended, supplemented
or otherwise modified from time to time, as approved by the Bankruptcy Court pursuant
to section 1125 of the Bankruptcy Code, which is in form and substance acceptable to
(a) the Debtors, the Ad Hoc Committee, the Coalition and the Future Claimants’
Representative and (b) the Creditors’ Committee and JPM in accordance with their
respective consent rights under the JPM / Creditors’ Committee Term Sheet.

        90.   “Disclosure Statement Order” means one or more orders entered by the
Bankruptcy Court, in form and substance reasonably acceptable to (a) the Debtors, the
Ad Hoc Committee, the Coalition and the Future Claimants’ Representative and (b) the
Creditors’ Committee and JPM in accordance with their respective consent rights under
the JPM / Creditors’ Committee Term Sheet: (i) finding that the Disclosure Statement
(including any amendment, supplement, or modification thereto) contains adequate
information pursuant to section 1125 of the Bankruptcy Code; (ii) fixing the amounts of
Claims solely for voting purposes and not for purposes of distributions; (iii) approving
the Voting Procedures; and (iv) authorizing solicitation of the Plan.

        91.     “Disputed” means, as to any Administrative Expense Claim, Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, any such Claim (or portion thereof)
(a) that is neither Allowed nor Disallowed, (b) that is listed on the Schedules as
“disputed,” “contingent,” or “unliquidated” or (c) for which a Proof of Claim has been
filed or a written request for payment has been made to the extent that any party in
interest has interposed a timely objection to such Claim, which objection has not been
withdrawn or adjudicated pursuant to a Final Order. The term “Disputed” does not apply
to Abuse Claims.

       92.     “Disputed Claims Reserve” means the reserve of Cash within the Core
Value Cash Pool to be Distributed to holders of Disputed General Unsecured Claims, if
and when such Disputed Claims become Allowed, which shall be funded with amounts
and on terms acceptable to the Creditor Representative.

        93.     “Distribution” means the payment or delivery of Cash, property, or
interests in property, as applicable, to holders of Allowed Non-Abuse Claims under the
terms of the Plan. “Distributed” and “Distribution” have correlative meanings.




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        94.       “Distribution Date” means the dates on which the Disbursing Agent
makes a Distribution, or causes a Distribution to be made, from the Core Value Cash
Pool to holders of Allowed General Unsecured Claims and, subject to the terms of
Article III.B.9, holders of Allowed Non-Abuse Litigation Claims. Each Distribution Date
shall occur as soon as practicable after Reorganized BSA makes each semi-annual
installment payment of the Core Value Cash Pool in accordance with Article V.P.

      95.      “District Court” means the United States District Court for the District of
Delaware.

       96.     “Document Agreement” means the document agreement, substantially in
the form contained in the Plan Supplement, by and among Reorganized BSA, the Related
Non-Debtor Entities, the Local Councils, the Contributing Chartered Organizations, and
the Settlement Trust, in form and substance acceptable to the Debtors, the Ad Hoc
Committee, the Coalition, the Future Claimants’ Representative and TCJC.

       97.     “DST” means the Delaware statutory trust established under Article V.Y
and the DST Agreement for the purposes set forth therein; provided, that the DST may be
any other type of Entity, provided such Entity is not affiliated with Reorganized BSA or
the Local Councils under principles of accounting.

        98.    “DST Agreement” means the agreement governing the DST, dated as of
the Effective Date, the form of which shall be included in the Plan Supplement.

        99.    “DST Note” means the non-recourse interest-bearing promissory note in
the principal amount of $100,000,000, substantially in the form contained in the Plan
Supplement, to be issued to the Settlement Trust by the DST on the Effective Date in
accordance with Article V.Y and the DST Note Mechanics.

      100. “DST Note Mechanics” means the terms of Exhibit F as they relate to the
payments that will be made by the DST following the Effective Date.

        101. “Effective Date” means the first Business Day on which all of the
conditions precedent to the occurrence of the Effective Date set forth in Article IX.B
shall have been satisfied or waived pursuant to Article IX.C.

        102. “Encumbrance” means, with respect to any property (whether real or
personal, tangible or intangible), any mortgage, Lien, pledge, charge, security interest,
assignment, or encumbrance of any kind or nature in respect of such property, including
any conditional sale or other title retention agreement, any security agreement, and the
filing of, or agreement to give, any financing statement under the Uniform Commercial
Code or comparable law of any jurisdiction, to secure payment of a debt or performance
of an obligation.

        103.   “Entity” means an entity as defined in section 101(15) of the Bankruptcy
Code.




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       104. “Estate” means, as to each Debtor, the estate created for such Debtor in its
Chapter 11 Case under sections 301 and 541 of the Bankruptcy Code upon the
commencement of the applicable Debtor’s Chapter 11 Case.

        105. “Estate Causes of Action” means any and all Causes of Action owned,
held, or capable of being asserted by or on behalf of either Debtor or its Estate, whether
known or unknown, in law, at equity or otherwise, whenever and wherever arising under
the laws of any jurisdiction, including actions that: (a) arise out of or are based on breach
of contract, fraudulent conveyances and transfers, breach of fiduciary duty, breach of duty
of loyalty or obedience, legal malpractice, recovery of attorneys’ fees, turnover of
property and avoidance or recovery actions of the Debtors or their respective Estates,
including actions that constitute property of the Estate under section 541 of the
Bankruptcy Code that are or may be pursued by a representative of the Estates, including
pursuant to section 323 of the Bankruptcy Code, and actions, including Avoidance
Actions, that may be commenced by a representative of the Estates under section 362 or
chapter 5 of the Bankruptcy Code, seeking relief in the form of damages (actual and
punitive), imposition of a constructive trust, turnover of property, restitution, and
declaratory relief with respect thereto or otherwise; or (b) seek to impose any liability
upon, or injunctive relief on, any Protected Party or to satisfy, in whole or in part, any
Abuse Claim.

        106. “Excess Cash and Investments” means, as of any date on or after the
Effective Date, the unrestricted Cash and balance sheet investments owned by
Reorganized BSA that are not subject to legally enforceable restrictions on the use or
disposition of such assets for a particular purpose.

       107.    “Excess Cash Sweep” has the meaning ascribed to such term in Article
V.V.

        108. “Exculpated Parties” means, collectively, the following Persons: (a) the
Debtors; (b) Reorganized BSA; (c) the Creditors’ Committee; (d) the members of the
Creditors’ Committee in their capacities as such; (e) the Tort Claimants’ Committee; (f)
the members of the Tort Claimants’ Committee in their capacities as such; (g) the Future
Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’
current officers and directors, former officers and directors who served in such capacity
during the pendency of the Chapter 11 Cases but are no longer officers or directors as of
the Effective Date, employees, volunteers, agents, attorneys, financial advisors,
accountants, investment bankers, consultants, representatives, and other professionals.

       109. “Executory Contract” means any executory contract to which BSA is a
party that is subject to assumption or rejection under sections 365 or 1123 of the
Bankruptcy Code.

        110. “Expedited Distribution” means a one-time Cash payment from the
Settlement Trust in the amount of $3,500.00, conditioned upon satisfaction of the criteria
set forth in the Trust Distribution Procedures.




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       111. “Fee Examiner” means Justin H. Rucki of Rucki Fee Review, LLC, in his
capacity as the fee examiner appointed pursuant to the Order Appointing Fee Examiner
and Establishing Related Procedures for the Review of Applications of Retained
Professionals, entered by the Bankruptcy Court on September 18, 2020 at Docket No.
1342, or any successor appointed by the Bankruptcy Court.

         112. “Final Order” means an order or judgment of the Bankruptcy Court (or
other court of competent jurisdiction) that has not been reversed, vacated, stayed,
modified or amended, and as to which (a) the time to appeal, petition for certiorari or
move for a new trial, reargument or rehearing has expired and as to which no appeal,
petition for certiorari or other proceedings for a new trial, reargument or rehearing shall
then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument or rehearing
thereof has been sought, such order or judgment of the Bankruptcy Court (or other court
of competent jurisdiction) shall have been affirmed by the highest court to which such
order was appealed, or certiorari shall have been denied or a new trial, reargument or
rehearing shall have been denied with prejudice or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari or move for a new
trial, reargument or rehearing shall have expired; provided, however, that the possibility
that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule 59
or Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Bankruptcy Rules, may be filed with respect to such order shall not cause such order to
not be a Final Order.

       113. “Florida Sea Base Assignment” means the Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010
Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019
RCF Agreement.

        114. “Florida Sea Base Mortgage” means the Mortgage, Security Agreement,
Assignment of Rents and Leases and Fixture Filing, dated as of March 21, 2019, by and
from the BSA, as mortgagor, and JPM, as mortgagee, which secures the BSA’s
obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond
Agreement, and the 2019 RCF Agreement.

        115. “Foundation” means the National Boy Scouts of America Foundation, a
District of Columbia nonprofit corporation.

        116. “Foundation Loan” means the new second-lien term loan lending facility
pursuant to which the Foundation, as lender, shall make a term loan to Reorganized BSA,
as borrower, in the principal amount of $42,800,000, which is equal to the appraised
value of the Summit Bechtel Reserve. The material terms of the Foundation Loan are set
forth on the term sheet attached hereto as Exhibit E, which is qualified in its entirety by
reference to the Foundation Loan Agreement.




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       117. “Foundation Loan Agreement” means the credit agreement governing the
Foundation Loan, dated as of the Effective Date, the form of which shall be included in
the Plan Supplement.

        118. “Future Abuse Claim” means any Direct Abuse Claim against any
Protected Party or Limited Protected Party that is attributable to, arises from, is based
upon, relates to, or results from, in whole or in part, directly, indirectly, or derivatively,
alleged Abuse that occurred prior to the Petition Date but which, as of the date
immediately preceding the Petition Date, was held by a Person who, as of such date,
(a) had not attained eighteen (18) years of age, or (b) was not aware of such Direct Abuse
Claim as a result of “repressed memory,” to the extent the concept of repressed memory
is recognized by the highest appellate court of the state or territory where the claim arose;
provided, however, that with respect to any Contributing Chartered Organization or
Participating Chartered Organization, the term “Future Abuse Claim” shall be limited to
any such Direct Abuse Claim that satisfies either (a) or (b) in connection, in whole or in
part, with the Contributing Chartered Organization’s or its, Participating Chartered
Organization’s, or its respective personnel’s or affiliates’ involvement in, or sponsorship
of, one or more Scouting units., including any proportionate or allocable share of liability
based thereon; provided further, however, that with respect to any Participating Chartered
Organization, the term “Future Abuse Claim” shall be limited to Post-1975 Chartered
Organization Abuse Claims that satisfy either (a) or (b). For the avoidance of doubt, no
Claim alleging Abuse shall be a “Future Abuse Claim” against a Contributing Chartered
Organization or a Participating Chartered Organization if such Claim is wholly unrelated
to Scouting.

       119. “Future Claimants’ Representative” means James L. Patton, Jr., the legal
representative appointed by the Bankruptcy Court for holders of Future Abuse Claims, or
any successor legal representative appointed by the Bankruptcy Court.

       120. “General Unsecured Claim” means any Claim against the Debtors that is
not an Administrative Expense Claim, a Priority Tax Claim, an Other Priority Claim, an
Other Secured Claim, a 2010 Credit Facility Claim, a 2019 RCF Claim, a 2010 Bond
Claim, a 2012 Bond Claim, a Convenience Claim, a Non-Abuse Litigation Claim, a
Direct Abuse Claim, or an Indirect Abuse Claim. Claims arising under the Deferred
Compensation Plan or the Restoration Plan shall be deemed to be General Unsecured
Claims.

        121. “Gift Annuity Agreements” mean the charitable gift annuity agreements
described in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and Donor
Programs and Practices and (B) Pay and Honor Related Prepetition Obligations, and
(II) Granting Related Relief, filed by the Debtors on the Petition Date at Docket No. 8.

       122. “Governmental Unit” means a governmental unit as defined in section
101(27) of the Bankruptcy Code.




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        123. “Hartford” means Hartford Accident and Indemnity Company, First State
Insurance Company, Twin City Fire Insurance Company and Navigators Specialty
Insurance Company and each of their past, present and future direct or indirect parents,
subsidiaries, affiliates and controlled entities, and each of their respective officers,
directors, stockholders, members, partners, managers, employees, predecessors,
successors and assigns, each in their capacity as such.

       124. “Hartford Additional Administrative Expense Claim” means Hartford’s
administrative expense claim, in addition to the Hartford Administrative Expense Claim,
of $23.61 million that Hartford may assert in accordance with the terms and conditions of
the Hartford Insurance Settlement Agreement in the event that BSA exercises a Fiduciary
Out or takes another Specified Action (as such capitalized terms are defined in the
Hartford Insurance Settlement Agreement), which administrative expense claim shall be
reserved for prior to distributions to unsecured creditors and to which the Debtors, the Ad
Hoc Committee, the Future Claimants’ Representative, the Coalition, and the State Court
Counsel (as identified and defined in the Hartford Insurance Settlement Agreement) shall
not object or argue that the claim should be allowed in an amount less than $23.61
million (except as permitted under the Hartford Insurance Settlement Agreement).

       125. “Hartford Administrative Expense Claim” means Hartford’s
administrative expense claim for the Debtors’ alleged breach of the Settlement
Agreement and Release between Hartford and the Debtors, dated as of April 15, 2021, in
the amount of $2,000,000, which shall be paid in full in Cash to Hartford on, or as soon
as reasonably practicable after, the Effective Date in accordance with the Hartford
Insurance Settlement Agreement.

        126. “Hartford Insurance Settlement” has the meaning ascribed to such term in
Article V.S.4.

        127. “Hartford Insurance Settlement Agreement” means that certain settlement
agreement, which remains subject to definitive documentation, by and between Hartford,
the Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’ Representative,
and certain state court counsel to holders of Direct Abuse Claims, as such agreement is
described in the term sheet appended to the Sixth Mediators’ Report [D.I. 6210] filed on
September 14, 2021, and as such agreement may be subsequently set forth in a definitive
written settlement agreement that is consistent with such term sheet and executed by all
of the parties thereto (and any additional parties that execute a joinder thereto). Upon its
execution by all of the parties thereto, the Hartford Insurance Settlement Agreement shall
be filed with the Plan Supplement and attached hereto as Exhibit I-1.

        128. “Hartford Policies” shall have the meaning set forth for such capitalized
term in the Hartford Insurance Settlement Agreement.

       129. “Hartford Settlement Contribution” shall mean the “Settlement Amount”
as defined in the Hartford Insurance Settlement Agreement, which is equal to Seven
Hundred Eighty-Seven Million Dollars ($787,000,000).




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       130. “Headquarters” means that certain parcel of real property owned by the
BSA located at 1325 West Walnut Hill Lane, Irving, Texas 75038, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon.

       131. “Headquarters Assignment” means that certain Assignment of
Agreements, Licenses, Permits and Contracts, dated as of March 21, 2019, by and from
the BSA, as assignor, and JPM, as assignee, which secures the BSA’s obligations under
the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and
the 2019 RCF Agreement.

       132. “Headquarters Deed of Trust” means that certain Deed of Trust, Security
Agreement, Assignment of Rents and Leases and Fixture Filing, dated as of March 21,
2019, by and between the BSA and JPM.

        133. “High Adventure Base Participant” means a registered Youth Member
who has paid the participation fee (which has not been refunded in whole or in part) for
attending a BSA program at one of the four high adventure bases (Florida Sea Base,
Northern Tier, Philmont or Summit Bechtel Reserve). High Adventure Base Participants
do not include Youth Members attending a Jamboree, an Order of the Arrow program, or
an event sponsored by the World Organization of the Scouting Movement (WOSM) or a
member of WOSM other than the BSA.

      134. “Impaired” means “impaired” within the meaning of section 1124 of the
Bankruptcy Code.

       135.        “Indemnification Obligations” means each of the Debtors’
indemnification obligations in place as of the Effective Date, whether in the bylaws,
limited liability company agreements, or other organizational or formation documents,
board resolutions, management or indemnification agreements, employment or other
contracts, or otherwise, for the past and present directors, officers, employees, attorneys,
accountants, investment bankers, and other professionals and agents who provided
services to the Debtors before, on, or after the Petition Date.

        136. “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim
for contribution, indemnity, reimbursement, or subrogation, whether contractual or
implied by law (as those terms are defined by the applicable non-bankruptcy law of the
relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever,
whether in the nature of or sounding in contract, tort, warranty or any other theory of law
or equity whatsoever, including any indemnification, reimbursement, hold-harmless or
other payment obligation provided for under any prepetition settlement, insurance policy,
program agreement or contract; provided, however, that any retrospective premiums and
self-insured retentions arising out of any Abuse Claims under the Abuse Insurance
Policies shall not constitute an Indirect Abuse Claim and shall be treated in accordance
with Article IV.D.1.




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        137. “Injunctions” means the Discharge Injunction, the Channeling Injunction,
the Insurance Entity Injunction, the Release Injunctions, and any other injunctions entered
by the Bankruptcy Court or the District Court in connection with Confirmation of the
Plan.

        138. “Insurance Action” means any claim, Cause of Action, or right of the
Debtors, Related Non-Debtor Entities, Local Councils, Participating Chartered
Organizations, and Contributing Chartered Organizations, or any of them, under the laws
of any jurisdiction, against any Non-Settling Insurance Company, arising from or related
to an Abuse Insurance Policy (except for Participating Chartered Organizations’ claims,
Causes of Action, or rights arising from or related to the Chartered Organization
Reserved Policies), including: (a) any such Non-Settling Insurance Company’s failure to
provide coverage or otherwise pay under an Abuse Insurance Policy; (b) the refusal of
any Non-Settling Insurance Company to compromise and settle any Abuse Claim under
or pursuant to any Abuse Insurance Policy; (c) the interpretation or enforcement of the
terms of any Abuse Insurance Policy with respect to any Abuse Claim; (d) any conduct
by any Non-Settling Insurance Company constituting “bad faith” conduct or that could
otherwise give rise to extra-contractual damages, or other wrongful conduct under
applicable law; or (e) any right to receive proceeds held by such Person with respect to an
Abuse Insurance Policy or an Insurance Coverage Action. For the avoidance of doubt, no
claim, Cause of Action, or right of the Debtors, Related Non-Debtor Entities, Local
Councils, Participating Chartered Organizations or Contributing Chartered Organizations,
or any of them, against any Settling Insurance Company shall be deemed an Insurance
Action, except for any Cause of Action arising from or related to an Insurance Settlement
Agreement.

        139. “Insurance Action Recoveries” means (a) Cash or other proceeds derived
from and paid by an Insurance Company pursuant to an Insurance Settlement Agreement
and (b) the right to receive the proceeds or benefits of any Insurance Action.

        140. “Insurance Assignment” means (x) the assignment and transfer to the
Settlement Trust of (a) the Insurance Actions, (b) the Insurance Action Recoveries,
(c) the Insurance Settlement Agreements, and (d) all other rights, claims, benefits, or
Causes of Action of the Debtors, Related Non-Debtor Entities, Local Councils, or
Contributing Chartered Organizations under or with respect to the Abuse Insurance
Policies (but not the policies themselves) and (y) the Participating Chartered
Organization Insurance Assignment. The Insurance Assignment does not include (i) any
rights, claims, benefits, or Causes of Action under or with respect to any Non-Abuse
Insurance Policies and D&O Liability Insurance Policies or (ii) any Local Council
Reserved Rights.

         141. “Insurance Company” means any insurance company, insurance syndicate,
coverholder, insurance broker or syndicate insurance broker, guaranty association, or any
other Entity that has issued, or that has any actual, potential, demonstrated, or alleged
liabilities, duties, or obligations under or with respect to, any Insurance Policy or Local
Council Insurance Policy.



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         142. “Insurance Coverage Actions” means any and all pending coverage
litigation between the BSA and any Insurance Company as of the Effective Date,
including: (a) Boy Scouts of America, et al. v. Insurance Company of North America et
al., Case No. DC-18-11896, pending in the 192nd Judicial District Court of Dallas
County, Texas; (b) Boy Scouts of America, et al. v. Hartford Accident and Indemnity Co.,
et al., Case No. DC-18-07313, pending in the District Court of Dallas County, 95th
Judicial District; (c) National Surety Corp. v. Boy Scouts of America, et al., Case No.
2017-CH-14975, pending in the Circuit Court of Cook County, Illinois, Chancery
Division; and (d) Hartford Accident and Indemnity Co. and First State Ins. Co. v. Boy
Scouts of America, et al., Adv. Pro. No. 20-50601 (LSS), pending before the Bankruptcy
Court.

        143. “Insurance Coverage Defense” means, subject to Article X.M, all rights
and defenses that any Insurance Company may have under any Insurance Policy and
applicable law with respect to a claim seeking insurance coverage or to an Insurance
Action, but Insurance Coverage Defenses do not include any defense that the Plan or any
of the other Plan Documents do not comply with the Bankruptcy Code. Upon entry of
the Confirmation Order in the Chapter 11 Cases determining that the Insurance
Assignment is authorized notwithstanding any terms or provisions of the Abuse
Insurance Policies that any Insurance Company asserts or may assert otherwise prohibits
the Insurance Assignment, an Insurance Coverage Defense shall not include any defense
that the Insurance Assignment is prohibited by the Abuse Insurance Policies or applicable
non-bankruptcy law.

       144.    “Insurance Entity Injunction” means the injunction described in Article
X.H.

       145. “Insurance Policies” means any and all known and unknown contracts,
binders, certificates or insurance policies currently or previously in effect at any time on
or before the Effective Date naming the Debtors, or either of them, or any predecessor,
subsidiary, or past or present Affiliate of the Debtors, as an insured (whether as the
primary or an additional insured), or otherwise alleged to afford the Debtors insurance
coverage. Insurance Policies include Abuse Insurance Policies, BSA Insurance Policies
and Non-Abuse Insurance Policies.

        146. “Insurance Settlement Agreement” means: (a) the Hartford Insurance
Settlement Agreement; (b) any other settlement agreement entered into after the Petition
Date and before the Effective Date by and among (i) any Insurance Company, on the one
hand, and (ii) one or more of the Debtors and/or any other Protected Party or Limited
Protected Party, on the other hand, under which an Insurance Policy and/or the Debtors
and/or other Protected Parties’ or Limited Protected Parties’ rights thereunder with
respect to Abuse Claims or Non-Abuse Litigation Claims are, subject to Confirmation of
the Plan and the entry of a Final Order approving such settlement agreement (which order
may be the Confirmation Order), released; and (c) any Post-Effective Date Insurance
Settlement entered into during the Insurance Settlement Period by and between (i) any
Insurance Company, on the one hand, and (ii) the Settlement Trustee (or the Settlement
Trustee and any other Protected Party), on the other hand, under which an Insurance


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Policy that is subject to the Insurance Assignment and/or the Settlement Trustee’s and/or
Protected Parties’ or Limited Protected Parties’ rights thereunder with respect to Abuse
Claims or Non-Abuse Litigation Claims are released. All Insurance Settlement
Agreements entered into before the Effective Date related to Specified Primary Insurance
Policies that release the applicable Insurance Company from liability arising from
Non-Abuse Litigation Claims must be acceptable to the Creditors’ Committee in
accordance with the terms of the JPM / Creditors’ Committee Term Sheet; provided,
however, that with respect to proposed settlements of any Specified Excess Insurance
Policy entered into before the Effective Date, the Creditors’ Committee shall have
consultation rights.

        147. “Insurance Settlement Period” has the meaning ascribed to such term in
Article IV.K.

      148. “Interest” means any “equity security” as defined in section 101(16) of the
Bankruptcy Code.

        149. “Internal Revenue Code” means title 26 of the United States Code, 26
U.S.C. §§ 1 et seq., as in effect on the Petition Date, together with all amendments,
modifications, and replacements of the foregoing as the same may exist on any relevant
date to the extent applicable to the Chapter 11 Cases.

       150.     “JPM” means JPMorgan Chase Bank, National Association and any
successors and assigns.

        151. “JPM / Creditors’ Committee Settlement” has the meaning ascribed to
such term in Article V.S.

       152. “JPM / Creditors’ Committee Term Sheet” means that certain settlement
term sheet appended as Exhibit A to the First Mediators’ Report filed on March 1, 2021
at Docket No. 2292.

        153. “JPM Exit Fee” means an exit fee to be paid by Reorganized BSA on the
Effective Date, in an amount equal to the aggregate principal amount due and owing as of
the Effective Date, plus the undrawn amount of any letters of credit then outstanding,
under the Restated 2010 Bond Documents, the Restated 2012 Bond Documents and the
Restated Credit Facility Documents, multiplied by 0.50%.

        154. “Leaseback Requirement” means the requirement that Reorganized BSA
be entitled to lease the Warehouse and Distribution Center from the Settlement Trust for
fair market value so long as the Settlement Trust holds title to such premises and that any
sale or other transfer of the Warehouse and Distribution Center by the Settlement Trust
be subject to Reorganized BSA’s right to lease such premises from any Person that
acquires the Warehouse and Distribution Center from the Settlement Trust (or any
subsequent acquirer) for fair market value for a term of not less than two years with four
two-year options to renew at the option of Reorganized BSA. If as of the filing of the
Plan Supplement the Bankruptcy Court has not approved a sale of the Warehouse and
Distribution Center or if no motion to approve such sale is then pending before the


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Bankruptcy Court, then an agreement reflecting the terms of the Leaseback Requirement
shall be filed with the Plan Supplement.

        155.   “Lien” means any “lien” as defined in section 101(37) of the Bankruptcy
Code.

        156. “Life-Income Agreement” means the agreements described in the
Supplement to Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and Donor
Programs and Practices and (B) Pay and Honor Related Prepetition Obligations, and
(II) Granting Related Relief, filed by the Debtors on March 3, 2020 at Docket No. 134.

       157. “Limited        Protected   Parties”   means     the    Participating   Chartered
Organizations.

        158. “Local Council Insurance Policies” means any and all known and
unknown contracts, binders, certificates or insurance policies currently or previously in
effect at any time on or before the Effective Date naming the Local Councils, or any of
them, or any predecessor, subsidiary, or past or present Affiliate of any Local Council, as
an insured (whether as the primary or an additional insured), or otherwise alleged to
afford any Local Council insurance coverage, upon which any claim could have been, has
been or may be made with respect to any Abuse Claim, including the policies identified
on Schedule 3. Notwithstanding the foregoing, Local Council Insurance Policies shall
not include any policy providing reinsurance to any Settling Insurance Company. For the
avoidance of doubt, Local Council Insurance Policies do not include any BSA Insurance
Policy or any insurance policy issued at any time to any of the Local Councils for
directors’, managers’, and officers’ liability (including any “tail policy” or run-off
coverage) or any agreements, documents, or instruments relating thereto.

        159. “Local Council Insurance Rights” has the meaning ascribed to such term
in Article V.S.1.a.

        160. “Local Council Reserved Rights” means any right of a Local Council
under any Specified Insurance Policy with respect to any Non-Abuse Litigation Claim;
provided, that such Local Council provides notice of such claim to the Debtors, the
Coalition, and the Future Claimants’ Representative prior to the Effective Date.

        161.   “Local Council Settlement Contribution” means:

                a.      the contributions to the Settlement Trust by the Local Councils, as
        set forth on Exhibit F;

                b.     to the maximum extent permitted under applicable law, any and all
        of the Local Councils’ rights, titles, privileges, interests, claims, demands or
        entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes
        of Action, choses in action, defense, or indemnity, now existing or hereafter
        arising, accrued or unaccrued, liquidated or unliquidated, matured or unmatured,
        disputed or undisputed, fixed or contingent, arising under or attributable to: (i) the


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       BSA Insurance Policies, the Insurance Settlement Agreements, and claims
       thereunder and proceeds thereof (but not the policies themselves); (ii) the
       Insurance Actions; and (iii) the Insurance Action Recoveries; provided, however,
       that the transfer set forth herein will not include the Local Council Reserved
       Rights;

               c.     to the maximum extent permitted under applicable law, any and all
       of the Local Councils’ rights, titles, privileges, interests, claims, demands or
       entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes
       of Action, choses in action, defense, or indemnity, now existing or hereafter
       arising, accrued or unaccrued, liquidated or unliquidated, matured or unmatured,
       disputed or undisputed, fixed or contingent, arising under or attributable to: (i) the
       Local Council Insurance Policies, the Insurance Settlement Agreements, and
       claims thereunder and proceeds thereof; (ii) the Insurance Actions; and (iii) the
       Insurance Action Recoveries; provided, however, that the transfer set forth herein
       will not include the Local Council Reserved Rights;

               d.      the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter
       11 Cases by or on behalf of any Local Council, including any Indirect Abuse
       Claims, without any further notice to or action, order, or approval of the
       Bankruptcy Court, and the agreement of each Local Council not to (i) file or
       assert any Claim or Claims against the Settlement Trust, the Debtors, or
       Reorganized BSA arising from any act or omission of the Debtors on or prior to
       the Confirmation Date or (ii) file or assert any rights or interests in any property
       transferred to the Settlement Trust under the Plan.

               e.     the Local Councils’ Settlement Trust Causes of Action; and

              f.      the assignment of any and all Perpetrator Indemnification Claims
       held by the Local Councils.

        162. “Local Councils” means, collectively, each and every current or former
local council of the BSA, including each and every current local council of the BSA as
listed on Exhibit G hereto, “supporting organizations” within the meaning of 26 U.S.C. §
509 with respect to any Local Council, Scouting units (including “troops,” “dens,”
“packs,” “posts,” “clubs,” “crews,” “ships,” “tribes,” “labs,” “lodges,” “councils,”
“districts,” “areas,” “regions,” and “territories”) associated with any Local Council, and
all Entities that hold, own, or operate any camp or other property that is operated in the
name of or for the benefit of any of the foregoing.

        163. “Mediators” means the Honorable Kevin J. Carey (Ret.), Paul A. Finn, and
Timothy V.P. Gallagher, each of whom is appointed by the Bankruptcy Court as a
mediator in the Chapter 11 Cases under the Order (I) Appointing Mediators, (II)
Referring Certain Matters to Mediation, and (III) Granting Related Relief entered on
June 9, 2020 at Docket No. 812.




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        164. “Net Unrestricted Cash and Investments” means all of the Unrestricted
Cash and Investments as of the Effective Date, after Reorganized BSA has received the
proceeds of the Foundation Loan, less (a) $25,000,000 (subject to potential variance as
set forth in Article V.M), which shall be funded first from the proceeds of the Foundation
Loan, (b) an amount of Cash equal to the JPM Exit Fee, (c) an amount of Cash sufficient
to fund all unpaid Allowed Administrative Expense Claims, (d) without duplication, an
amount of Cash sufficient to fund the Professional Fee Reserve, (e) an amount of Cash
equal to the Creditor Representative Fee Cap, (f) the amount of Cash estimated to be
required to satisfy Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed
Secured Claims, and Allowed Convenience Claims, and (g) an amount of Cash sufficient
to fund all accrued but unpaid interest and reasonable fees and expenses of JPM as of the
Effective Date to the extent not paid pursuant to the Cash Collateral Order.

      165. “Non-Abuse Claim” means any Claim against the Debtors that is not an
Abuse Claim.

        166. “Non-Abuse Insurance Policy” means any and all known and unknown
contracts, binders, certificates or Insurance Policies currently or previously in effect at
any time on or before the Effective Date naming the Debtors, or either of them, or any
predecessor, subsidiary, or past or present Affiliate of the Debtors, as an insured (whether
as the primary or an additional insured), or otherwise alleged to afford the Debtors
insurance coverage, upon which any claim could have been, has been, or may be made
with respect to any Non-Abuse Claim and which does not include coverage for Abuse
Claims. Non-Abuse Insurance Policies do not include Abuse Insurance Policies (which
Abuse Insurance Policies, for the avoidance of doubt, include the Specified Insurance
Policies).

         167. “Non-Abuse Litigation Claim” means any Claim that is a prepetition
unsecured non-priority Claim against the Debtors relating to pending or threatened
litigation against one or both of the Debtors that does not relate to Abuse. For the
avoidance of doubt, Non-Abuse Litigation Claims include (a) all personal injury or
wrongful death Claims against the Debtors that do not relate to Abuse and (b) all Claims
against the Debtors asserted by the Girl Scouts of the United States of America.
Non-Abuse Litigation Claims do not include any Administrative Expense Claims that
may be asserted by holders of Non-Abuse Litigation Claims.

        168. “Non-Settling Insurance Company” means any Insurance Company to the
extent it is not a Settling Insurance Company.

       169. “Northern Tier Assignment” means that certain Assignment of
Agreements, Licenses, Permits and Contracts, dated as of March 21, 2019, by and from
the BSA, as assignor, and JPM, as assignee, which secures the BSA’s obligations under
the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and
the 2019 RCF Agreement.

      170. “Northern Tier Mortgage” means that certain Mortgage, Security
Agreement, Assignment of Rents and Leases and Fixture Filing, dated as of March 21,


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2019, by and from the BSA, as mortgagor, and JPM, as mortgagee, which secures the
BSA’s obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the
2012 Bond Agreement, and the 2019 RCF Agreement.

        171. “Notice and Claims Agent” means Omni Agent Solutions, in its capacity
as “claims and noticing agent” for the Debtors, and any successor thereto.

       172. “Official Committees” means the Tort Claimants’ Committee and the
Creditors’ Committee.

      173. “Oil and Gas Interests” means those certain mineral or royalty interests
owned by the BSA, consisting of approximately 1,027 properties located in Alabama,
Arkansas, California, Florida, Georgia, Illinois, Louisiana, Michigan, Mississippi,
Nebraska, New Mexico, North Dakota, Oklahoma, Oregon, Texas, South Dakota and
Wyoming. The Oil and Gas Interests include those listed on Schedule 4.

        174. “Other Priority Claim” means any Claim against the Debtors that is
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code, other
than an Administrative Expense Claim or a Priority Tax Claim.

        175. “Other Secured Claim” means any Secured Claim against the Debtors
other than any 2010 Credit Facility Claim, 2019 RCF Claim, 2010 Bond Claim, or 2012
Bond Claim.

        176. “Participating Chartered Organization” means a Chartered Organization
that does not (a) object to confirmation of the Plan or (b) inform Debtors’ counsel in
writing on or before the confirmation objection deadline that it does not wish to make the
Participating Chartered Organization Insurance Assignment. Notwithstanding the
foregoing, with respect to any Chartered Organization that is a debtor in bankruptcy as of
the Confirmation Date, such Chartered Organization shall be a Participating Chartered
Organization only if it advises Debtors’ counsel in writing that it wishes to make the
Participating Chartered Organization Insurance Assignment, and, for the avoidance of
doubt, absent such written advisement, none of such Chartered Organization’s rights to or
under the Abuse Insurance Policies shall be subject to the Participating Chartered
Organization Insurance Assignment. A list of Chartered Organizations that are not
Participating Chartered Organizations is attached hereto as Exhibit K.

        177. “Participating Chartered Organization Insurance Action” means any Cause
of Action of the Participating Chartered Organizations, or any of them, under the laws of
any jurisdiction, against any Non-Settling Insurance Company, arising from or related to
an Abuse Insurance Policy (excluding Chartered Organization Reserved Policies),
including: (a) any such Non-Settling Insurance Company’s failure to provide coverage or
otherwise pay under an Abuse Insurance Policy (excluding Chartered Organization
Reserved Policies); (b) the refusal of any Non-Settling Insurance Company to
compromise and settle any Abuse Claim under or pursuant to any Abuse Insurance Policy
(excluding Chartered Organization Reserved Policies); (c) the interpretation or
enforcement of the terms of any Abuse Insurance Policy (excluding Chartered



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Organization Reserved Policies) with respect to any Abuse Claim (excluding Abuse
Claims that are not Post-1975 Chartered Organization Abuse Claims); (d) any conduct by
any Non-Settling Insurance Company that could give rise to extra-contractual damages,
or other wrongful conduct under applicable law (excluding conduct relating to Chartered
Organization Reserved Policies); or (e) any right to receive proceeds held by such
Participating Chartered Organization with respect to an Abuse Insurance Policy
(excluding Chartered Organization Reserved Policies). For the avoidance of doubt, no
Cause of Action of the Participating Chartered Organizations, or any of them, against any
Settling Insurance Company shall be deemed a Chartered Organization Insurance Action,
except for any Cause of Action arising from or related to an Insurance Settlement
Agreement.

        178. “Participating Chartered Organization Insurance Assignment” means the
assignment and transfer by the Participating Chartering Organizations (and each of them)
to the Settlement Trust of their rights in and to (a) the Participating Chartered
Organization Insurance Actions, (b) the Insurance Action Recoveries, (c) the Insurance
Settlement Agreements, and (d) all other rights, claims, benefits, or Causes of Action
under or with respect to the Abuse Insurance Policies (but not the policies themselves);
provided, however, that the Participating Chartered Organization Insurance Assignment
shall not apply to Chartered Organization Reserved Policies or any rights, claims,
benefits, or Causes of Action thereunder or with respect thereto.

       179. “Participating Chartered Organization Insurance Rights” has the meaning
ascribed to such term in Article V.S.1.c.

       180.   “Participating Chartered Organization Settlement Contribution” means:

               a.     to the maximum extent permitted by applicable law, the
       Participating Chartered Organization Insurance Assignment;

               b.      the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter
       11 Cases by or on behalf of any Participating Chartered Organization, including
       any Indirect Abuse Claims, without any further notice to or action, order, or
       approval of the Bankruptcy Court, and the agreement of each Participating
       Chartered Organization not to (i) file or assert any Claim or Claims against the
       Settlement Trust, the Debtors, or Reorganized BSA arising from any act or
       omission of the Debtors on or prior to the Confirmation Date or (ii) file or assert
       any rights or interests in any property transferred to the Settlement Trust under the
       Plan; and

              c.      the assignment of any and all Perpetrator Indemnification Claims
       held by the Participating Chartered Organizations.

      181. “Pension Plan” means the Boy Scouts of America Retirement Plan for
Employees, a single-employer, qualified, defined benefit pension plan that is subject to




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the Employee Retirement Income Security Act of 1974, as amended, and the Internal
Revenue Code, of which BSA is the sponsor.

        182. “Perpetrator” means any individual who personally committed or is
alleged to have personally committed an act of Abuse that forms the basis for an Abuse
Claim. The term “Perpetrator” does not include any individual who did not personally
commit or is not alleged to have personally committed an act of Abuse that forms the
basis for an Abuse Claim, against whom an Abuse Claim is nevertheless asserted or may
be asserted, including by virtue of such individual’s position or service as an employee or
volunteer of the Debtors or as a Scout participant, or by virtue of such individual’s
position or service as an employee or volunteer of a Local Council or a Chartered
Organization or as a Scout participant.

        183. “Perpetrator Indemnification Claim” means a Claim against a Perpetrator
for indemnification or contribution arising from or relating to an Abuse Claim.

         184.   “Person” has the meaning set forth in section 101(41) of the Bankruptcy
Code.”

         185.   “Petition Date” means February 18, 2020.

       186. “Philmont Assignment” means that certain Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010
Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019
RCF Agreement.

        187. “Philmont Mortgage” means that certain Mortgage, Security Agreement,
Assignment of Rents and Leases and Fixture Filing, dated as of March 21, 2019, by and
from the BSA, as mortgagor, and JPM, as mortgagee, which secures the BSA’s
obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond
Agreement, and the 2019 RCF Agreement.

       188. “Plan” means this Fifth Amended Plan of Reorganization for Boy Scouts
of America and Delaware BSA, LLC filed by the Debtors, as the same may be amended
or modified from time to time pursuant to section 1127 of the Bankruptcy Code.

        189. “Plan Documents” means, collectively, the Plan, the Disclosure Statement,
the Disclosure Statement Order, each of the documents that comprises the Plan
Supplement, and all of the exhibits and schedules attached to any of the foregoing
(including the Settlement Trust Documents, the Hartford Insurance Settlement
Agreement, and the TCJC Settlement Agreement). The Plan Documents shall be in form
and substance acceptable to (a) the Debtors, the Ad Hoc Committee, the Coalition. the
Future Claimants’ Representative and Hartford and (b) the Creditors’ Committee and
JPM in accordance with their consent rights under the JPM / Creditors’ Committee Term
Sheet.




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         190. “Plan Supplement” means the compilation of documents and forms of
documents, agreements, schedules, exhibits, and annexes to the Plan, which the Debtors
shall file no later than fourteen (14) days before the Voting Deadline, unless otherwise
ordered by the Bankruptcy Court, and additional documents filed with the Bankruptcy
Court before the Effective Date as amendments, modifications or supplements to the Plan
Supplement. The Plan Supplement will include the following: (a) the Amended BSA
Bylaws; (b) the Assumed Contracts and Unexpired Leases Schedule; (c) the form of the
BSA Settlement Trust Note; (d) the form of the Document Agreement; (e) the form of the
DST Agreement; (f) the form of the DST Note; (g) the name of the Creditor
Representative; (h) changes, if any, to Reorganized BSA’s directors and officers; (i) the
form of the Foundation Loan Agreement; (j) the form of agreement reflecting the terms
of the Leaseback Requirement; (k) the Rejected Contracts and Unexpired Leases
Schedule; (l) the forms of the Restated 2010 Bond Documents; (m) the forms of the
Restated 2012 Bond Documents; (n) the forms of the Restated Credit Facility
Documents; (o) the form of the Restated Security Agreement; (p) the names of the initial
members of the Settlement Trust Advisory Committee; (q) the name of the initial Special
Reviewer; (r) the execution copy of the Hartford Insurance Settlement Agreement once
the settlement memorialized in the term sheet appended to the Sixth Mediators’ Report
[D.I. 6210] filed on September 14, 2021 is set forth in a definitive written settlement
agreement that is consistent with such term sheet and executed by all parties thereto (and
any additional parties that execute a joinder thereto from time to time); and (s) the
execution copy of the TCJC Settlement Agreement once the settlement memorialized in
the term sheet appended to the Sixth Mediators’ Report [D.I. 6210] filed on September
14, 2021 is set forth in a definitive written settlement agreement that is consistent with
such term sheet and executed by all parties thereto (and any additional parties that
execute a joinder thereto from time to time); provided that the Plan Documents listed in
clauses (b) and (k) of the foregoing sentence will be revised, in the Debtors’ discretion,
subject to Article VI, to account for any additional Executory Contracts or Unexpired
Leases to be assumed or rejected in advance of the Confirmation Hearing. The Plan
Supplement shall be served only on those parties that have requested notice in the
Chapter 11 Cases pursuant to Bankruptcy Rule 2002 and any party in interest who
requests in writing a copy from counsel to the Debtors. Once the Plan Supplement is
filed, a copy will also be available for review on the Notice and Claims Agent’s website
free of charge at https://omniagentsolutions.com/BSA. The Plan Supplement shall be in
form and substance reasonably acceptable to the Creditors’ Committee and JPM.

         191. “Post-1975 Chartered Organization Abuse Claims” means any Abuse
Claim against a Participating Chartered Organization that relates to Abuse alleged to
have first occurred on or after January 1, 1976; provided, however, that the term
“Post-1975 Chartered Organization Abuse Claims” shall be limited to any Claim against
a Participating Chartered Organization that is attributable to, arises from, is based upon,
relates to, or results from Abuse that occurred in connection, in whole or in part, with the
Participating Contributing Chartered Organization’s or its personnel’s or affiliates’
involvement in, or sponsorship of, one or more Scouting units. (including any such Claim
that has been asserted or may be amended to assert in a proof of claim alleging Abuse,
whether or not timely filed, in the Chapter 11 Cases, or any such Claim that has been
asserted against the Settlement Trust), including any proportionate or allocable share of


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liability based thereon. For the avoidance of doubt, no Claim alleging Abuse shall be a
“Post-1975 Chartered Organization Abuse Claim” against a Participating Chartered
Organization if such Claim is wholly unrelated to Scouting.

      192. “Post-Effective Date Chartered Organization Settlement” shall have the
meaning ascribed to such term in Article IV.I.

       193. “Post-Effective Date Insurance Settlement” shall have the meaning
ascribed to such term in Article IV.K.

       194. “Prepetition Debt and Security Documents” means, collectively, the 2010
Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents, the
2012 Bond Documents, the Prepetition Security Documents (2019), and the Prepetition
Security Agreement (2020).

       195.     “Prepetition Security Agreement (2019)” means that certain Third
Amended and Restated Security Agreement, dated as of March 21, 2019, by and among
the BSA and Arrow, as debtors, JPM, in its capacity as collateral agent, JPM, in its
capacity as the lender under each of the 2010 Credit Agreement and the 2019 RCF
Agreement, and as holder under each of the 2010 Bond Agreement and the 2012 Bond
Agreement.

       196. “Prepetition Security Agreement (2020)” means that certain Consent and
Security Agreement dated as of February 3, 2020, by and among Delaware BSA, the
BSA, JPM, as collateral agent, and JPM, in its capacity as the lender under the 2010
Credit Agreement and the 2019 RCF Agreement, and as holder under the 2010 Bond
Agreement and the 2012 Bond Agreement.

        197. “Prepetition Security Documents (2019)” means, collectively, the
Prepetition Security Agreement (2019), the Florida Sea Base Mortgage, the Florida Sea
Base Assignment, the Headquarters Deed of Trust, the Headquarters Assignment, the
Northern Tier Mortgage, the Northern Tier Assignment, the Philmont Mortgage, the
Philmont Assignment, and the Arrow Collateral Assignment.

       198. “Priority Tax Claim” means any Claim of a Governmental Unit against the
Debtors that is entitled to priority in payment under section 507(a)(8) of the Bankruptcy
Code.

        199. “Privileged Information” means any privileged information that relates, in
whole or in part, to any Abuse Claim, including: (a) the Debtors’ books and records
transferred to the Settlement Trust in accordance with the Document Agreement; (b) any
privileged information containing a factual or legal analysis or review of any Abuse
Claim; (c) any privileged information evaluating the reasonableness, effectiveness, or
Confirmability of the Plan or any other chapter 11 plan filed or that could be filed in the
Chapter 11 Cases; (d) any privileged information exchanged by the Debtors or their
professionals, on the one hand, and any of the Related Non-Debtor Entities, Local
Councils, the Ad Hoc Committee, either Official Committee, the Future Claimants’
Representative, or their respective Representatives, on the other hand, related to the Plan,


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the Plan Documents, or the Abuse Claims; and (e) information shared pursuant to that
certain Joint Defense, Common Interest, and Confidentiality Agreement among the BSA,
the Ad Hoc Committee, and each Local Council that executed a joinder to said agreement
that was acknowledged in writing by the BSA and the Ad Hoc Committee; (f) any
privileged information containing a factual or legal analysis of the Debtors’ potential
exposure in connection with any Abuse Claim or any litigation related thereto; and
(g) any Common-Interest Communications with Insurers.

        200. “Pro Rata” means, at any time, with respect to any Claim, the proportion
that the amount of such Claim in a particular Class or group of Classes bears to the
aggregate amount of all Claims (including Disputed Claims) in such Class or group of
Classes, unless in each case the Plan provides otherwise.

        201. “Pro Rata Share” means the proportion that an Allowed Claim in a
particular Class bears to the aggregate amount of all Allowed Claims in that Class.

       202.     “Professional” means any Person retained by the Debtors, the Tort
Claimants’ Committee, the Creditors’ Committee, or the Future Claimants’
Representative pursuant to a Final Order of the Bankruptcy Court entered under
sections 327, 328, 363, or 1103 of the Bankruptcy Code.

        203. “Professional Fee Claim” means any Claim of a Professional or other
Person for Allowance by the Bankruptcy Court and payment by the Debtors of
compensation for services rendered and/or reimbursement of costs or expenses incurred
in the Chapter 11 Cases for the period from the Petition Date to and including the
Effective Date under sections 328, 330, 331, or 503(b) of the Bankruptcy Code, including
a Claim for reimbursement and/or payment of Coalition Restructuring Expenses under
Article V.T.

       204. “Professional Fee Reserve” means a segregated account funded from
Unrestricted Cash and Investments on hand of the Debtors as of the Effective Date in an
amount equal to the Professional Fee Reserve Amount as of such date, solely for the
purpose of paying all Allowed Professional Fee Claims.

       205. “Professional Fee Reserve Amount” means the aggregate Accrued
Professional Fees as of the Effective Date, as estimated by the Professionals in
accordance with Article II.A.2.

       206. “Proof of Claim” means any proof of claim filed with the Bankruptcy
Court or the Notice and Claims Agent pursuant to section 501 of the Bankruptcy Code
and Bankruptcy Rules 3001 or 3002 that asserts a Claim against either of the Debtors.

        207. “Protected Parties” means the following Persons: (a) the Debtors;
(b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Local Councils;
(e) the Contributing Chartered Organizations; (f) the Settling Insurance Companies,
including Hartford; and (g) all of such Persons’ Representatives; provided, however, that
no Perpetrator is or shall be a Protected Party. Notwithstanding the foregoing, a



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Contributing Chartered Organization shall be a Protected Party with respect to Abuse
Claims only as set forth in the definition of “Abuse Claim.”

       208. “Quarterly Fees” means all fees due and payable pursuant to section
1930(a)(6) of title 28 of the United States Code.

         209. “Reinstatement” means (a) leaving unaltered the legal, equitable and
contractual rights to which a Claim entitles the holder of such Claim or
(b) notwithstanding any contractual provision or applicable law that entitles the holder of
such Claim to demand or receive accelerated payment of such Claim after the occurrence
of a default, (i) curing any such default that occurred before or after the Petition Date,
other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code;
(ii) reinstating the maturity of such Claim as such maturity existed before such default;
(iii) compensating the holder of such Claim for any damages incurred as a result of any
reasonable reliance by such holder on such contractual provision or such applicable law;
(iv) if such Claim arises from any failure to perform a nonmonetary obligation,
compensating the holder of such Claim (other than the Debtors or an “insider” of the
Debtors within the meaning of section 101(31) of the Bankruptcy Code) for any actual
pecuniary loss incurred by such holder as the result of such failure; and (v) not otherwise
altering the legal, equitable or contractual rights to which such Claim entitles the holder
thereof. “Reinstated” has a correlative meaning.

        210. “Rejected Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts or Unexpired Leases to be rejected by the BSA under the Plan, as
set forth in the Plan Supplement, as may be amended, modified, or supplemented from
time to time.

        211. “Rejection Damages Bar Date” has the meaning ascribed to such term in
Article VI.B.

       212. “Rejection Damages Claim” means a Claim for damages alleged to arise
from the rejection of an Executory Contract or Unexpired Lease pursuant to section 365
or 1123 of the Bankruptcy Code.

       213. “Related Non-Debtor Entities” means the Entities listed on Exhibit H,
including non-debtor Affiliates of the Debtors that are directly or indirectly wholly owned
by, or subject to the control of, the BSA. For the avoidance of doubt, Related
Non-Debtor Entities do not include Local Councils or Chartered Organizations.

       214.    “Release Injunctions” means the injunctions described in Article X.L.

        215. “Released Parties” means, collectively, the following Persons, in each
case in its or their respective capacities as such: (a) the Debtors; (b) Reorganized BSA;
(c) the Related Non-Debtor Entities; (d) the Creditors’ Committee; (e) the members of
the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee;
(g) the members of the Tort Claimants’ Committee in their capacities as such; (h) the
Future Claimants’ Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance
Companies, including Hartford; (l) the Contributing Chartered Organizations, including


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TCJC; (m) the Foundation, in its capacity as lender under the Foundation Loan
Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in
their capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of
such Persons’ Representatives; provided, however, that no Perpetrator is or shall be a
Released Party; provided further, that the definition of “Released Parties” shall in all
instances be subject to Article X.J.

       216.    “Releases” means the releases set forth in Article X.J.

         217. “Releasing Claim Holder” means, collectively, (a) all holders of Claims
that vote to accept the Plan and do not opt out of the releases set forth in Article X.J.4;
(b) all holders of Claims that are presumed to accept the Plan, except for holders of such
Claims that file a timely objection to the releases set forth in Article X.J.4; (c) all holders
of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
the releases set forth in Article X.J.4; and (d) all of such Persons’ predecessors,
successors and assigns, subsidiaries, affiliates, current and former officers, directors,
principals, shareholders, members, partners, employees, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, management companies, and other professionals, and all such Persons’
respective heirs, executors, estates, servants and nominees, in their respective capacities
as such. No holder of a Claim in a Class that is Impaired under the Plan will be deemed a
“Releasing Claim Holder” to the extent such holder abstained from voting.

       218. “Reorganized BSA” means the BSA, as reorganized pursuant to and under
the Plan on or after the Effective Date.

        219. “Representatives” means, with respect to any Person, such Person’s
(a) predecessors, successors, assigns, subsidiaries, and Affiliates, (b) current and former
officers, directors, principals, equity holders, trustees, members, partners, managers,
officials, board members, advisory board members, employees, agents, volunteers,
attorneys, financial advisors, accountants, investment bankers, consultants,
representatives, and other professionals, and (c) respective heirs, executors, estates, and
nominees, in each case solely in its capacity as such.

        220. “Restated 2010 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory
note, security agreement, and all documentation executed and delivered in connection
therewith, in each case containing substantially the same terms as the 2010 Bond
Documents except that: (a) the amortization schedule attached to the 2010 Bond shall be
amended and restated such that (i) interest is payable in monthly installments (at the same
rates in the 2010 Bond Documents) beginning on the date that is one month after the
Effective Date (as to be specified in the Restated 2010 Bond Documents) and ending on
the Restated Maturity Date, and (ii) principal is payable in monthly installments (in the
same monthly amounts as the periodic amortization amounts in the 2010 Bond
Documents) beginning on the date that is two years after the Effective Date (as to be
specified in the Restated 2010 Bond Documents) and ending on the Restated Maturity
Date; and (b) the Restated 2010 Bond Documents shall be guaranteed by Arrow. The


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covenants in the Restated 2010 Bond Documents shall be in form and substance
acceptable to JPM and the BSA. The obligations under the Restated 2010 Bond
Documents shall be secured by the Restated Security Agreement. The then-current forms
of the Restated 2010 Bond Documents shall be filed with the Plan Supplement.

        221. “Restated 2012 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory
note, security agreement, and all documentation executed and delivered in connection
therewith, in each case containing substantially the same terms as the 2012 Bond
Documents except that: (a) the amortization schedule attached to the 2012 Bond shall be
amended and restated such that (i) interest is payable in monthly installments (at the same
rates in the 2012 Bond Documents) beginning on the date that is one month after the
Effective Date (as to be specified in the Restated 2012 Bond Documents) and ending on
the Restated Maturity Date, and (ii) principal is payable in monthly installments (in the
same monthly amounts as the periodic amortization amounts in the 2012 Bond
Documents) beginning on the date that is two years after the Effective Date (as to be
specified in the Restated 2012 Bond Documents) and ending on the Restated Maturity
Date; and (b) the Restated 2012 Bond Documents shall be guaranteed by Arrow. The
covenants in the Restated 2012 Bond Documents shall be in form and substance
acceptable to JPM and the BSA. The obligations under the Restated 2012 Bond
Documents shall be secured by the Restated Security Agreement. The then-current forms
of the Restated 2012 Bond Documents shall be filed with the Plan Supplement.

         222. “Restated Credit Facility Documents” means those certain restated credit
facility documents, which shall contain substantially the same terms as the 2010 Credit
Facility Documents and the 2019 RCF Documents, as applicable to the 2010 Credit
Facility Claims and the 2019 RCF Claims, except that: (a) the revolving credit facilities
provided under the 2010 Credit Facility Documents and the 2019 RCF Documents shall
be frozen and converted to term loans; (b) the Revolving Maturity Date and the Term
Loan Maturity Date (each as defined in the 2010 Credit Facility Documents) and the
Maturity Date (as defined in the 2019 RCF Documents) shall be extended to the Restated
Maturity Date; (c) interest is payable in quarterly installments (at the same rates in the
applicable Prepetition Debt and Security Documents) beginning on the date that is three
months after the Effective Date (as to be specified in the Restated Credit Facility
Documents) and ending on the Restated Maturity Date; (d) principal is payable in
quarterly installments (at 1/40th of the outstanding balance on the Effective Date)
beginning on the date that is two years after the Effective Date (as to be specified in the
Restated Credit Facility Documents) and ending on the Restated Maturity Date; and (e)
the Restated Credit Facility Documents shall be guaranteed by Arrow. The covenants in
the Restated Credit Facility Documents shall be in form and substance acceptable to JPM
and the BSA. The obligations under the Restated Credit Facility Documents shall be
secured by the Restated Security Agreement. The then-current forms of the Restated
Credit Facility Documents shall be filed with the Plan Supplement.

      223. “Restated Debt and Security Documents” means, collectively, the Restated
2010 Bond Documents, the Restated 2012 Bond Documents, the Restated Credit Facility
Documents, and the Restated Security Agreement. The Restated Debt and Security


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Documents shall be on terms acceptable to JPM and the BSA, and reasonably acceptable
to the Creditors’ Committee.

        224. “Restated Maturity Date” means the maturity date applicable to each of
the Restated Debt and Security Documents in accordance with the terms thereof, which
shall in each case be the date that is ten (10) years after the Effective Date.

         225. “Restated Security Agreement” means that certain restated security
agreement, pursuant to which Reorganized BSA and Arrow shall grant blanket
first-priority liens on and security interests in all of Reorganized BSA’s and Arrow’s
assets, including all collateral secured by the Prepetition Security Documents (2019), to
JPM to secure Reorganized BSA’s and Arrow’s obligations under the Restated 2010
Bond Documents, the Restated 2012 Bond Documents and the Restated Credit Facility
Documents. The then-current form of the Restated Security Agreement shall be filed
with the Plan Supplement.

        226. “Restoration Plan” means the Boy Scouts of America Retirement Benefit
Restoration Plan, a non-qualified defined benefit retirement plan under section 457(f) of
the Internal Revenue Code, which provides supplemental retirement benefits to certain
current and former employees of the Debtors or Local Councils.

       227. “Schedules” means, with respect to each Debtor, the schedules of assets
and liabilities and the statement of financial affairs filed by such Debtor with the
Bankruptcy Court pursuant to sections 521 and 1106(a)(2) of the Bankruptcy Code and
Bankruptcy Rule 1007, as such schedules and statements may be amended or
supplemented from time to time prior to the Effective Date.

        228.   “Scouting Released Claims” has the meaning ascribed to such term in
Article X.J.

       229. “Scouting University” means that certain parcel of real property owned by
the BSA located at 1301 Solana Boulevard, Westlake, Texas 76262, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon, the sale of which
was approved pursuant to the Order, Pursuant to Section 363 of the Bankruptcy Code,
Authorizing the Sale of Certain Real Property Located in Westlake Texas, entered by the
Bankruptcy Court on June 14, 2021 at Docket No. 5326.

        230. “Secured” means, with respect to any Claim, the extent to which the
Claim is: (a) secured by a Lien on property of a Debtor’s Estate (i) as set forth in the
Plan, (ii) as agreed to by the holder of such Claim and the Debtors, or (iii) as determined
by a Final Order in accordance with section 506(a) of the Bankruptcy Code; or (b) subject
to any setoff right of the holder of such Claim under section 553 of the Bankruptcy Code,
but, with respect to both of the foregoing clauses (a) and (b), only to the extent of the
value of the interest of such holder in the Estate’s interest in the property securing such
Claim or the amount subject to setoff, as applicable.




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       231. “Settlement of Restricted and Core Asset Disputes” has the meaning
ascribed to such term in Article V.S.3.

       232. “Settlement Trust” means the trust organized under the laws of the state
of Delaware and established under Article IV and the Settlement Trust Agreement for the
purposes set forth therein, including assuming liability for all Abuse Claims, holding,
preserving, maximizing, and administering the Settlement Trust Assets, and directing the
processing, liquidation and payment of all compensable Abuse Claims in accordance
with the Settlement Trust Documents.

        233. “Settlement Trust Advisory Committee” or “STAC” means the committee
serving in accordance with Article IV and the Settlement Trust Agreement, which shall
have the powers, duties and obligations set forth in the applicable Settlement Trust
Agreement. The initial members of the Settlement Trust Advisory Committee shall be
identified in the Plan Supplement.

        234. “Settlement Trust Agreement” means the Settlement Trust Agreement
dated as of the Effective Date, substantially in the form attached hereto as Exhibit B, as
the same may be amended or modified from time to time in accordance with the terms
thereof, which shall be in form and substance acceptable to (a) the Debtors, the Ad Hoc
Committee, the Coalition and the Future Claimants’ Representative and (b) the Creditors’
Committee with respect to the treatment of Non-Abuse Litigation Claims.

        235. “Settlement Trust Assets” means the following assets and any income,
profits and proceeds realized, received or derived from such assets subsequent to the
transfer of such assets to the Settlement Trust:

               a.     the BSA Settlement Trust Contribution;

               b.     the Local Council Settlement Contribution;

              c.      the Contributing Chartered Organization Settlement Contribution,
       including the TCJC Settlement Contribution;

               d.     the Participating Chartered Organization Settlement Contribution;
       and

              e.      any and all funds, proceeds or other consideration contributed to
       the Settlement Trust under the terms of any Insurance Settlement Agreement,
       including the Hartford Settlement Contribution.

       236. “Settlement Trust Causes of Action” means any Estate Cause of Action
and any Cause of Action held by any Local Council or other Person that is or becomes a
Protected Party or a Limited Protected Party, which Estate Cause of Action or other such
Cause of Action, as applicable, is not otherwise expressly released under the Plan or the
Plan Documents, in each case solely attributable to: (a) all defenses to any Abuse Claim,
including all defenses under section 502 of the Bankruptcy Code; (b) with respect to
Abuse Claims, all rights of setoff, recoupment, contribution, reimbursement, subrogation


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or indemnity (as those terms are defined by the non-bankruptcy law of any relevant
jurisdiction) and any other indirect claim of any kind whatsoever, whenever and wherever
arising or asserted; (c) any other Causes of Action with respect to Abuse Claims that
either Debtor, any Related Non-Debtor Entity, any Local Council or any other Protected
Party or Limited Protected Party would have had under applicable law if the Chapter 11
Cases had not occurred and the holder of such Abuse Claim had asserted such Cause of
Action by initiating civil litigation against either Debtor, any Related Non-Debtor Entity,
any Local Council or any other Protected Party or Limited Protected Party (including any
Causes of Action against co-defendants); and (d) any Cause of Action of either Debtor,
any Related Non-Debtor Entity, any Local Council or any other Protected Party or
Limited Protected Party, under the laws of any jurisdiction, for reimbursement,
indemnity, contribution, breach of contract, or otherwise arising from or relating to any
payments made by either Debtor, any Related Non-Debtor Entity, any Local Council or
any other Protected Party or Limited Protected Party on account of Abuse Claims on or
before the Effective Date.

        237. “Settlement Trust Documents” means, collectively, (a) the Settlement
Trust Agreement, (b) the Trust Distribution Procedures, (c) the Document Agreement,
(d) the Confirmation Order, and (e) any other agreements, instruments and documents
governing the establishment, administration and operation of the Settlement Trust, which
shall be substantially in the forms set forth as exhibits hereto or in the Plan Supplement,
as the same may be amended or modified from time to time in accordance with the terms
thereof.

        238. “Settlement Trust Expenses” means any liabilities, costs, or expenses of,
or imposed upon, or in respect of, the Settlement Trust once established (except for
payments to holders of Abuse Claims on account of such Claims). Settlement Trust
Expenses shall also expressly include: (a) any and all liabilities, costs, and expenses
incurred subsequent to the Effective Date in connection with the Settlement Trust Assets
(including the prosecution of any Settlement Trust Causes of Action and Insurance
Actions), in each case whether or not any such action results in a recovery for the
Settlement Trust; (b) the reasonable documented costs and expenses incurred by
Reorganized BSA, the Related Non-Debtor Entities, the Local Councils, the Ad Hoc
Committee, or the Contributing Chartered Organizations in taking any action on behalf of
or at the direction of the Settlement Trust, if any, following such Entities’ transfer to the
Settlement Trust of copies of all records and documents in their possession, custody or
control pertaining to Abuse Claims in accordance with the Document Agreement; and (c)
reasonable, documented and contractual professional or advisory fees incurred by the
Coalition for up to thirty (30) days after the Effective Date in connection with the initial
effectuation of the Plan and the Settlement Trust.

      239. “Settlement Trustee” means Eric D. Green or any successor trustee who
may subsequently be appointed pursuant to the terms of the Settlement Trust Agreement.

       240. “Settling Insurance Company” means, solely with respect to Abuse
Insurance Policies that are the subject of an Insurance Settlement Agreement, any
Insurance Company that contributes funds, proceeds or other consideration to or for the


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benefit of the Settlement Trust pursuant to an Insurance Settlement Agreement that is
approved by (a) an order of the Bankruptcy Court (including the Confirmation Order) and
is designated as a Settling Insurance Company in the Confirmation Order or the
Affirmation Order or (b) the Settlement Trust. Without limiting the foregoing, subject to
Confirmation of the Plan and approval of the Hartford Insurance Settlement Agreement
by an order of the Bankruptcy Court (including in the Confirmation Order), Hartford is a
Settling Insurance Company and shall be designated as such in the Confirmation Order
and the Affirmation Order.

       241. “Special Reviewer” means the individual approved by the Coalition for
the purposes set forth in the Settlement Trust Agreement. The name of the initial Special
Reviewer shall be identified in the Plan Supplement.

        242. “Specified Insurance Policy” means any BSA Insurance Policy with an
inception date of March 1, 2013 to the present, except for the excess liability policy
issued to the BSA by Navigators Specialty Insurance Company for the period from March
1, 2013 to February 28, 2014.

        243. “Specified Primary Insurance Policy” means any Specified Insurance
Policy that is a primary Abuse Insurance Policy. Specified Primary Insurance Policies
include primary Abuse Insurance Policies issued by Old Republic Insurance Company for
the periods of coverage between March 1, 2013 and February 28, 2019, and by Evanston
Insurance Company for the period of coverage between March 1, 2019 and February 28,
2020.

        244. “Specified Excess Insurance Policy” means any Specified Insurance
Policy that is an umbrella or excess Abuse Insurance Policy.

       245. “Summit Bechtel Reserve” means the parcels of real property that
comprise the Summit Bechtel Family National Scout Reserve, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon.

       246. “TCJC” means The Church of Jesus Christ of Latter-day Saints, a Utah
corporation sole, including any affiliates or personnel.

       247. “TCJC Settlement Contribution” shall mean the “Settlement Amount” as
defined in the TCJC Settlement Agreement, which is equal to Two Hundred Fifty Million
Dollars ($250,000,000).

         248.   “TCJC Settlement” has the meaning ascribed to such term in Article
V.S.5.

        249. “TCJC Settlement Agreement” means that certain settlement agreement,
which remains subject to definitive documentation, by and between TCJC, the Debtors,
the Ad Hoc Committee, the Coalition, the Future Claimants’ Representative, and certain
state court counsel to holders of Direct Abuse Claims, as such agreement is described in
the term sheet appended to the Sixth Mediators’ Report [D.I. 6210] filed on September


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14, 2021. Upon its execution by all of the parties thereto, the TCJC Settlement
Agreement shall be filed with the Plan Supplement and attached hereto as Exhibit J-1.

        250. “Tort Claimants’ Committee” means the official committee of tort
claimants, consisting of survivors of childhood sexual abuse, appointed by the United
States Trustee in the Chapter 11 Cases under section 1102(a) of the Bankruptcy Code.

       251. “Trust Distribution Procedures” means the Boy Scouts of America Trust
Distribution Procedures for Abuse Claims, substantially in the form attached hereto as
Exhibit A, as the same may be amended or modified from time to time in accordance
with the terms thereof, which shall be acceptable to (a) the Debtors, the Ad Hoc
Committee, the Coalition and the Future Claimants’ Representative and (b) the Creditors’
Committee with respect to the treatment of Non-Abuse Litigation Claims.

        252. “Unexpired Lease” means a lease to which BSA is a party, including any
and all pre- and post-petition amendments thereto, that is subject to assumption or
rejection under section 365 of the Bankruptcy Code.

        253. “Unimpaired” means any Claim that is not Impaired, including any Claim
that is Reinstated.

        254. “United States Trustee” means the Office of the United States Trustee for
the District of Delaware.

        255. “Unrestricted Cash and Investments” means all Cash and balance sheet
investments owned by the Debtors as of the date that is immediately prior to the Effective
Date that are not subject to legally enforceable restrictions requiring the use or
disposition of such assets for a particular purpose.

        256. “Volunteer Screening Database” is the database established and
maintained by the BSA to, among other things, track and remove from Scouting
volunteer leaders suspected of having acted in an inappropriate sexual manner with youth
participants in Scouting.

       257. “Voting Deadline” means the date by which all Persons entitled to vote on
the Plan must vote to accept or reject the Plan.

        258. “Voting Procedures” means those certain procedures and supplemental
procedures approved by the Bankruptcy Court for soliciting and tabulating the votes to
accept or reject the Plan cast by holders of Claims against the Debtors entitled to vote on
the Plan. The Voting Procedures shall be in form and substance reasonably acceptable to
the Creditors’ Committee as they pertain to Convenience Claims, General Unsecured
Claims and Non-Abuse Litigation Claims.

       259. “Warehouse and Distribution Center” means that certain parcel of real
property owned by the BSA located at 2109 Westinghouse Boulevard, Charlotte, North
Carolina 28269, together with the buildings, structures, fixtures, additions, enlargements,



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       extensions, modifications, repairs, replacements and other improvements now or
       hereafter located thereon.

              260. “Workers’ Compensation Program” means the Debtors’ (a) written
       contracts, agreements, agreements of indemnity, in each case relating to workers’
       compensation, (b) self-insured workers’ compensation bonds, policies, programs, and
       plans for workers’ compensation and (c) workers’ compensation insurance issued to or
       entered into at any time by any of the Debtors.

               261. “Youth Member” means a youth member of the BSA registered as of
       December 31 of any applicable year in a core program (Cub Scouts, Scouts BSA (in each
       case under age 18), Sea Scouts, Venturing, or Exploring (in each case under age 21)),
       whose registration is current as of such date and who has paid the individual annual
       registration fee (which fee has not been refunded in whole or in part).

        B.       Interpretation; Application of Definitions and Rules of Construction. For
purposes of the Plan, unless otherwise provided herein: (1) whenever from the context it is
appropriate, each term, whether stated in the singular or the plural, will include both the singular
and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (2) unless otherwise provided in the Plan, any
reference in the Plan to a contract, instrument, release, or other agreement or document being in
a particular form or on particular terms and conditions means that such document will be
substantially in such form or substantially on such terms and conditions; provided, however, that
the rule of interpretation set forth in clause (2) shall not be imputed to any contract, lease,
instrument, release, or other agreement as to which JPM or the Creditors’ Committee have
consent rights pursuant to the JPM / Creditors’ Committee Term Sheet, and such consent rights
shall be as set forth in the JPM / Creditors’ Committee Term Sheet and incorporated herein
pursuant to Article I.D; (3) any reference in the Plan to an existing document, schedule or exhibit
filed or to be filed means such document, schedule or exhibit, as it may have been or may be
amended, modified, or supplemented pursuant to the Plan; (4) any reference to a Person as a
holder of a Claim or Interest includes that Person’s successors and assigns; (5) unless otherwise
stated, all references in the Plan to Articles are references to Articles of the Plan, as the same
may be amended or modified from time to time in accordance with the terms hereof; (6) the
words “herein,” “hereof,” “hereto,” “hereunder” and other words of similar import refer to the
Plan as a whole and not to any particular Article or clause contained in the Plan; (7) subject to
the provisions of any contract, certificate of incorporation, by-law, instrument, release, or other
agreement or document entered into in connection with the Plan, the rights and obligations
arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with
the applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (8) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy
Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy
Code or the Bankruptcy Rules, as the case may be, and if such term is not defined in the
Bankruptcy Code or the Bankruptcy Rules, such term shall be ascribed its commonly understood
meaning, or the meaning set forth in commonly used dictionaries; (9) any immaterial
effectuating provisions may be interpreted by Reorganized BSA in such a manner that is
consistent with the overall purpose and intent of the Plan all without further notice to or action,
order, or approval of the Bankruptcy Court or any other Person; (10) captions and headings to


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Articles are inserted for convenience of reference only and are not intended to be a part of or to
affect the interpretation of the Plan; (11) the rules of construction set forth in section 102 of the
Bankruptcy Code shall apply; (12) any reference to a Person’s “subsidiaries” means its direct and
indirect subsidiaries; and (13) in computing any period of time prescribed or allowed by the Plan,
unless otherwise expressly provided herein, the provisions of Bankruptcy Rule 9006(a) shall
apply.

        C.     Reference to Monetary Figures. All references in the Plan to monetary figures
shall refer to the legal tender of the United States of America unless otherwise expressly
provided.

        D.       Consent Rights. Notwithstanding anything herein to the contrary, the consent
rights of JPM and the Creditors’ Committee, respectively, as set forth in the JPM / Creditors’
Committee Term Sheet, with respect to the form and substance of the Plan, all exhibits and
schedules to the Plan, the Plan Supplement, and the other Plan Documents, including any
amendments, restatements, supplements, or other modifications to such documents, and any
consents, waivers, or other deviations under or from any such documents, to the extent they
pertain to the treatment of the 2010 Credit Facility Claims, the 2019 RCF Claims, the 2010 Bond
Claims, or the 2012 Bond Claims (in the case of JPM) or Convenience Claims, General
Unsecured Claims, or Non-Abuse Litigation Claims (in the case of the Creditors’ Committee),
shall be incorporated herein by this reference (including to the applicable definitions in Article
I.A) and fully enforceable as if stated in full herein. TCJC will have consent rights with respect
to any modifications to the Plan, the Settlement Trust Documents, the Confirmation Order, and
the Affirmation Order relating to the Channeling Injunction, releases by holders of Abuse
Claims, and related definitional terms including, for the avoidance of doubt, “Abuse,” “Abuse
Claim,” and “Protected Parties,” but only to the extent that such modifications would affect
TCJC.

       E.       Controlling Document. In the event of any conflict between the terms and
provisions in the Plan (without reference to the Plan Supplement), on the one hand, and the terms
and provisions in the Disclosure Statement, the Plan Supplement, any other instrument or
document created or executed pursuant to the Plan, or any order (other than the Confirmation
Order) referenced in the Plan (or any exhibits, schedules, appendices, supplements, or
amendments to any of the foregoing), on the other hand, the Plan (without reference to the Plan
Supplement) shall govern and control; provided, however, that (1) in the event of a conflict
between Confirmation Order, on the one hand, and any of the other Plan Documents, on the
other hand, the Confirmation Order shall govern and control in all respects, and (2) in the event
of a conflict between the terms and provisions of the Plan, the Disclosure Statement, the Plan
Supplement, or any other Plan Document, on the one hand, and the terms and provisions of the
Hartford Insurance Settlement Agreement, on the other hand, the terms and provisions of the
Hartford Insurance Settlement Agreement shall control.




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                                   ARTICLE II.

         ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS

A.      Administrative Expense Claims.

        1.      Administrative Expense Claims Generally. Except to the extent that a
holder of an Allowed Administrative Expense Claim agrees to less favorable treatment
with respect to such Allowed Administrative Expense Claim, each holder of an Allowed
Administrative Expense Claim (other than Professional Fee Claims, which are governed
by Article II.A.2) shall receive, on account of and in full and complete settlement, release
and discharge of, and in exchange for, such Claim, payment of Cash in an amount equal
to the unpaid portion of such Allowed Administrative Expense Claim, or such amounts
and on other such terms as may be agreed to by the holders of such Claims, on or as soon
as reasonably practicable after the later of: (a) the Effective Date; (b) the first Business
Day after the date that is thirty (30) calendar days after the date such Administrative
Expense Claim becomes an Allowed Administrative Expense Claim; (c) such other
date(s) as such holder and the Debtors or Reorganized BSA shall have agreed; or (d) such
other date ordered by the Bankruptcy Court; provided, however, that Allowed
Administrative Expense Claims that arise in the ordinary course of the Debtors’
non-profit operations during the Chapter 11 Cases may be paid by the Debtors or
Reorganized BSA in the ordinary course of operations and in accordance with the terms
and conditions of the particular agreements governing such obligations, course of
dealing, course of operations, or customary practice. Notwithstanding anything to the
contrary herein or in the Cash Collateral Order, no Claim on account of any diminution in
the value of the Prepetition Secured Parties’ interests in the Prepetition Collateral
(including Cash Collateral) (as each such capitalized term is defined in the Cash
Collateral Order) from and after the Petition Date shall be Allowed unless such Claim is
Allowed by a Final Order of the Bankruptcy Court. The Hartford Administrative Claim
shall be an Allowed Administrative Expense Claim and shall be paid in full in cash to
Hartford on, or as soon as reasonably practicable after, the Effective Date.

        2.     Professional Fee Claims.

                a.      Final Fee Applications. All Professionals or other Persons
        requesting the final Allowance and payment of compensation and/or
        reimbursement of expenses pursuant to sections 328, 330, 331 and/or 503(b) or
        under Article V.T as described therein, for services rendered during the period
        from the Petition Date to and including the Effective Date shall file and serve
        final applications for Allowance and payment of Professional Fee Claims on
        counsel to the Debtors and the United States Trustee no later than the first
        Business Day that is forty-five (45) days after the Effective Date. Objections to
        any Professional Fee Claim must be filed and served on Reorganized BSA and the
        applicable Professional within twenty-one (21) calendar days after the filing of the
        final fee application that relates to the Professional Fee Claim (unless otherwise
        agreed by the Debtors or Reorganized BSA, as applicable, and the Professional
        requesting Allowance and payment of a Professional Fee Claim). The Fee


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   Examiner shall continue to act in its appointed capacity unless and until all
   Professional Fee Claims have been approved by order of the Bankruptcy Court,
   and Reorganized BSA shall be responsible to pay the fees and expenses incurred
   by the Fee Examiner in rendering services after the Effective Date.

           b.      Professional Fee Reserve. On the Effective Date, the Debtors shall
   establish and fund the Professional Fee Reserve with Cash in an amount equal to
   the Professional Fee Reserve Amount plus a reasonable cushion amount
   determined by the Debtors. Funds held in the Professional Fee Reserve shall not
   be considered property of the Debtors’ Estates, Reorganized BSA, the Settlement
   Trust, or the Core Value Cash Pool. Professional Fees owing on account of
   Allowed Professional Fee Claims shall be paid in Cash from funds held in the
   Professional Fee Reserve as soon as reasonably practicable after such
   Professional Fee Claims are Allowed by a Final Order of the Bankruptcy Court or
   authorized to be paid under the Compensation Procedures Order; provided,
   however, that Reorganized BSA’s obligations with respect to Allowed
   Professional Fee Claims shall not be limited by or deemed limited to the balance
   of funds held in the Professional Fee Reserve. To the extent the funds held in the
   Professional Fee Reserve are insufficient to satisfy the Allowed Professional Fee
   Claims in full, each holder of an Allowed Professional Fee Claim shall have an
   Allowed Administrative Expense Claim for any deficiency, which shall be
   satisfied in accordance with Article II.A.1. No Liens, Claims, interests, charges,
   or other Encumbrances or liabilities of any kind shall encumber the Professional
   Fee Reserve in any way. When all Allowed Professional Fee Claims have been
   paid in full, amounts remaining in the Professional Fee Reserve, if any, shall be
   transferred to the Settlement Trust.

           c.      Professional Fee Reserve Amount. To be eligible for payment for
   Accrued Professional Fees incurred up to and including the Effective Date,
   Professionals shall estimate their Accrued Professional Fees as of the Effective
   Date and deliver such estimate to the Debtors at least five (5) Business Days prior
   to the anticipated Effective Date, and Coalition Professionals shall provide the
   Debtors a reasonable estimate of total Coalition Restructuring Expenses in
   accordance with Article V.T. If a Professional or Coalition Professional does not
   provide such estimate, the Debtors may estimate the unbilled fees and expenses of
   such Professional or Coalition Professional. The total amount so estimated will
   constitute the Professional Fee Reserve Amount, provided that such estimate will
   not be considered an admission or limitation with respect to the fees and expenses
   of such Professional or Coalition Professional.

           d.    Post-Effective Date Fees and Expenses. From and after the
   Effective Date, any requirement that Professionals comply with sections 327
   through 331 or 1103 of the Bankruptcy Code in seeking retention or
   compensation for services rendered after such date shall terminate, and
   Professionals may be employed and paid in the ordinary course of operations
   without any further notice to or action, order, or approval of the Bankruptcy
   Court. The reasonable and documented fees and expenses incurred by the


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               Professionals to the Creditors’ Committee after the Effective Date until the
               complete dissolution of the Creditors’ Committee for all purposes in accordance
               with Article X.R will be paid by Reorganized BSA in the ordinary course of
               business (and not later than thirty (30) days after submission of invoices).

        B.      Priority Tax Claims. Except to the extent that a holder of an Allowed Priority
Tax Claim agrees to less favorable treatment, each holder of an Allowed Priority Tax Claim shall
receive on account of and in full and complete settlement, release and discharge of, and in
exchange for, such Allowed Priority Tax Claim, at the sole option of the Debtors or Reorganized
BSA, as applicable: (1) Cash in an amount equal to such Allowed Priority Tax Claim on or as
soon as reasonably practicable after the later of (a) the Effective Date, to the extent such Claim is
an Allowed Priority Tax Claim on the Effective Date; (b) the first Business Day after the date
that is thirty (30) calendar days after the date such Priority Tax Claim becomes an Allowed
Priority Tax Claim; and (c) the date such Allowed Priority Tax Claim is due and payable in the
ordinary course as such obligation becomes due; provided, however, that the Debtors reserve the
right to prepay all or a portion of any such amounts at any time under this option without penalty
or premium; or (2) regular installment payments in Cash of a total value, as of the Effective Date
of the Plan, equal to the Allowed amount of such Claim over a period ending not later than five
years after the Petition Date.

                                          ARTICLE III.

         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

       A.      Classification of Claims and Interests.

               1.      Grouping of Debtors for Convenience. The Plan is being proposed as a
       joint plan of reorganization of the Debtors for administrative purposes only and
       constitutes a separate chapter 11 plan of reorganization for each Debtor. The Plan is not
       premised upon the substantive consolidation of the Debtors with respect to the Classes of
       Claims or Interests set forth in the Plan.

               2.      Classification in General. For purposes of organization, voting, and all
       matters related to Confirmation, and except as otherwise provided herein, all Claims
       (other than Administrative Expense Claims and Priority Tax Claims) against and Interests
       in the Debtors are classified as set forth in this Article III. In accordance with section
       1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax
       Claims described in Article II have not been classified and are excluded from the
       following Classes. A Claim or Interest is classified in a particular Class only to the
       extent that the Claim or Interest falls within the description of such Class, and is
       classified in another Class or Classes to the extent that any remainder of the Claim or
       Interest falls within the description of such other Class or Classes. Notwithstanding
       anything to the contrary contained in the Plan, no distribution shall be made on account
       of any Claim that is not Allowed for distribution purposes (if applicable) or any Claim
       that has been satisfied, released, or otherwise settled prior to the Effective Date.




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              3.      Summary of Classification. The following table designates the Classes of
       Claims against and Interests in the Debtors and specifies which of those Classes are
       (a) Impaired or Unimpaired by the Plan; (b) entitled to vote to accept or reject the Plan in
       accordance with section 1126 of the Bankruptcy Code; or (c) presumed to accept or
       deemed to reject the Plan.

Clas                Claim                 Status                         Voting Rights
 s
 1     Other Priority Claims           Unimpaire        Presumed to Accept; Not Entitled to Vote
                                       d
 2     Other Secured Claims            Unimpaire        Presumed to Accept; Not Entitled to Vote
                                       d
3A     2010 Credit Facility Claims     Impaired         Entitled to Vote
3B     2019 RCF Claims                 Impaired         Entitled to Vote
4A     2010 Bond Claims                Impaired         Entitled to Vote
4B     2012 Bond Claims                Impaired         Entitled to Vote
 5     Convenience Claims              Impaired         Entitled to Vote
 6     General Unsecured Claims        Impaired         Entitled to Vote
 7     Non-Abuse Litigation Claims     Impaired         Entitled to Vote
 8     Direct Abuse Claims             Impaired         Entitled to Vote
 9     Indirect Abuse Claims           Impaired         Entitled to Vote
10     Interests in Delaware BSA       Impaired         Deemed to Reject; Not Entitled to Vote

       B.      Treatment of Claims and Interests.

               1.     Class 1 – Other Priority Claims.

                      a.       Classification: Class 1 consists of all Other Priority Claims.

                        b.      Treatment: Except to the extent that a holder of an Allowed Other
               Priority Claim agrees to less favorable treatment of such Claim, in full and final
               satisfaction of such Allowed Other Priority Claim, at the sole option of
               Reorganized BSA: (i) each such holder shall receive payment in Cash in an
               amount equal to such Allowed Other Priority Claim, payable on or as soon as
               reasonably practicable after the last to occur of (x) the Effective Date, (y) the date
               on which such Other Priority Claim becomes an Allowed Other Priority Claim,
               and (z) the date on which the holder of such Allowed Other Priority Claim and the
               Debtors or Reorganized BSA, as applicable, shall otherwise agree in writing; or
               (ii) satisfaction of such Allowed Other Priority Claim in any other manner that
               renders the Allowed Other Priority Claim Unimpaired, including Reinstatement.

                       c.     Voting: Class 1 is Unimpaired, and each holder of an Other
               Priority Claim is conclusively presumed to have accepted the Plan pursuant to
               section 1126(f) of the Bankruptcy Code. Therefore, holders of Other Priority
               Claims are not entitled to vote to accept or reject the Plan, and the votes of such
               holders will not be solicited with respect to Other Priority Claims.




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   2.     Class 2 – Other Secured Claims.

           a.      Classification: Class 2 consists of all Other Secured Claims. To
   the extent that Other Secured Claims are Secured by different collateral or
   different interests in the same collateral, such Claims shall be treated as separate
   subclasses of Class 2 for purposes of voting to accept or reject the Plan and
   receiving Distributions under the Plan.

           b.      Treatment: Except to the extent that a holder of an Allowed Other
   Secured Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction of such Allowed Other Secured Claim, each holder of an Allowed
   Other Secured Claim will receive, at the sole option of Reorganized BSA:
   (i) Cash in an amount equal to the Allowed amount of such Claim, including the
   payment of any interest required to be paid under section 506(b) of the
   Bankruptcy Code, payable on or as soon as reasonably practicable after the last to
   occur of (x) the Effective Date, (y) the date on which such Other Secured Claim
   becomes an Allowed Other Secured Claim, and (z) the date on which the holder
   of such Allowed Other Secured Claim and the Debtors or Reorganized BSA, as
   applicable, shall otherwise agree in writing; (ii) satisfaction of such Other Secured
   Claim in any other manner that renders the Allowed Other Secured Claim
   Unimpaired, including Reinstatement; or (iii) return of the applicable collateral on
   the Effective Date or as soon as reasonably practicable thereafter in satisfaction of
   the Allowed amount of such Other Secured Claim.

           c.     Voting: Class 2 is Unimpaired, and each holder of an Other
   Secured Claim is conclusively presumed to have accepted the Plan pursuant to
   section 1126(f) of the Bankruptcy Code. Therefore, holders of Other Secured
   Claims are not entitled to vote to accept or reject the Plan, and the votes of such
   holders will not be solicited with respect to Other Secured Claims.

   3.     Class 3A – 2010 Credit Facility Claims.

          a.      Classification:   Class 3A consists of all 2010 Credit Facility
   Claims.

           b.     Allowance: On the Effective Date, all 2010 Credit Facility Claims
   shall be deemed fully Secured and Allowed pursuant to section 506(a) of the
   Bankruptcy Code, and not subject to any counterclaim, defense, offset, or
   reduction of any kind, in an aggregate amount not less than $80,762,060
   (including $44,299,743 of undrawn amounts under letters of credit issued under
   the 2010 Credit Facility Documents, provided such letters of credit are drawn on
   or before the Effective Date), plus any accrued but unpaid interest and reasonable
   fees and expenses as of the Effective Date to the extent not paid pursuant to the
   Cash Collateral Order. Because all 2010 Credit Facility Claims are deemed fully
   Secured, there are no unsecured 2010 Credit Facility Claims, and the holders of




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   such Claims do not have or hold any Class 6 Claims against the Debtors on
   account of any 2010 Credit Facility Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2010
   Credit Facility Claim agrees to less favorable treatment of such Claim, in full and
   final satisfaction, settlement, release, and discharge of, and in exchange for an
   Allowed 2010 Credit Facility Claim, each holder of an Allowed 2010 Credit
   Facility Claim shall receive a Claim under the Restated Credit Facility Documents
   in an amount equal to the amount of such holder’s Allowed 2010 Credit Facility
   Claim.

         d.      Voting: Class 3A is Impaired, and each holder of an Allowed
   2010 Credit Facility Claim is entitled to vote to accept or reject the Plan.

   4.     Class 3B – 2019 RCF Claims.

          a.      Classification: Class 3B consists of all 2019 RCF Claims.

           b.     Allowance: On the Effective Date, all 2019 RCF Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any
   kind, in an aggregate amount not less than $61,542,720 (including $41,542,720 of
   undrawn amounts under letters of credit issued under the 2019 RCF Documents,
   provided such letters of credit are not drawn on or before the Effective Date), plus
   any accrued but unpaid interest and reasonable fees and expenses as of the
   Effective Date to the extent not paid pursuant to the Cash Collateral Order.
   Because all 2019 RCF Claims are deemed fully Secured, there are no unsecured
   2019 RCF Claims, and the holders of such Claims do not have or hold any Class 6
   Claims against the Debtors on account of any 2019 RCF Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2019
   RCF Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2019 RCF Claim, each holder of an Allowed 2019 RCF Claim shall receive a
   Claim under the Restated Credit Facility Documents in an amount equal to the
   amount of such holder’s Allowed 2019 RCF Claim.

         d.      Voting: Class 3B is Impaired, and each holder of an Allowed 2019
   RCF Claim is entitled to vote to accept or reject the Plan.

   5.     Class 4A – 2010 Bond Claims.

          a.      Classification: Class 4A consists of all 2010 Bond Claims.

           b.     Allowance: On the Effective Date, all 2010 Bond Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any
   kind, in an aggregate amount of not less than $40,137,274, plus any accrued but


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   unpaid interest and reasonable fees and expenses as of the Effective Date to the
   extent not paid pursuant to the Cash Collateral Order. Because all 2010 Bond
   Claims are deemed fully Secured, there are no unsecured 2010 Bond Claims, and
   the holders of such Claims do not have or hold any Class 6 Claims against the
   Debtors on account of any 2010 Bond Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2010
   Bond Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2010 Bond Claim, each holder of an Allowed 2010 Bond Claim shall receive a
   Claim under the Restated 2010 Bond Documents in an amount equal to the
   amount of such holder’s Allowed 2010 Bond Claim.

         d.     Voting: Class 4A is Impaired, and each holder of an Allowed
   2010 Bond Claim is entitled to vote to accept or reject the Plan.

   6.     Class 4B – 2012 Bond Claims.

          a.      Classification: Class 4B consists of all 2012 Bond Claims.

           b.     Allowance: On the Effective Date, all 2012 Bond Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any
   kind, in an aggregate amount of not less than $145,662,101, plus any accrued but
   unpaid interest and reasonable fees and expenses as of the Effective Date to the
   extent not paid pursuant to the Cash Collateral Order. Because all 2012 Bond
   Claims are deemed fully Secured, there are no unsecured 2012 Bond Claims, and
   the holders of such Claims do not have or hold any Class 6 Claims against the
   Debtors on account of any 2012 Bond Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2012
   Bond Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2012 Bond Claim, each holder of an Allowed 2012 Bond Claim shall receive a
   Claim under the Restated 2012 Bond Documents in an amount equal to the
   amount of such holder’s Allowed 2012 Bond Claim.

         d.      Voting: Class 4B is Impaired, and each holder of an Allowed 2012
   Bond Claim is entitled to vote to accept or reject the Plan.

   7.     Class 5 – Convenience Claims.

          a.      Classification: Class 5 consists of all Convenience Claims.

           b.     Treatment: In full and final satisfaction, settlement, release, and
   discharge of, and in exchange for, an Allowed Convenience Claim, each holder of
   an Allowed Convenience Claim shall receive, on the Effective Date or within
   thirty (30) days following the date that such Convenience Claim becomes


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   Allowed (if such Claim becomes Allowed after the Effective Date), Cash in an
   amount equal to 100% of such holder’s Allowed Convenience Claim.

          c.       Voting: Class 5 is Impaired, and each holder of a Convenience
   Claim is entitled to vote to accept or reject the Plan.

   8.     Class 6 – General Unsecured Claims.

          a.      Classification: Class 6 consists of all General Unsecured Claims.

          b.      Treatment: Except to the extent that a holder of an Allowed
   General Unsecured Claim agrees to less favorable treatment of such Claim, in
   exchange for full and final satisfaction, settlement, release, and discharge of, and
   in exchange for, such Allowed General Unsecured Claim, each holder of an
   Allowed General Unsecured Claim shall receive, subject to the holder’s ability to
   elect Convenience Claim treatment on account of the Allowed General Unsecured
   Claim, its Pro Rata Share of the Core Value Cash Pool up to the full amount of
   such Allowed General Unsecured Claim in the manner described in Article VII.

         c.     Voting: Class 6 is Impaired, and each holder of a General
   Unsecured Claim is entitled to vote to accept or reject the Plan.

   9.     Class 7 – Non-Abuse Litigation Claims.

          a.      Classification:   Class 7 consists of all Non-Abuse Litigation
   Claims.

            b.     Treatment: Except to the extent that a holder of an Allowed
   Non-Abuse Litigation Claim agrees to less favorable treatment of such Claim, in
   full and final satisfaction, settlement, release, and discharge of, and in exchange
   for, each Allowed Non-Abuse Litigation Claim, each holder thereof shall, subject
   to (i) the holder’s ability to elect Convenience Claim treatment as provided in the
   following sentence and (ii) the terms and conditions of Article IV.D.3 (as
   applicable), retain the right to recover up to the amount of such holder’s Allowed
   Non-Abuse Litigation Claim from (x) available insurance coverage or the
   proceeds of any Insurance Policy, including any Abuse Insurance Policy or
   Non-Abuse Insurance Policy, (y) applicable proceeds of any Insurance Settlement
   Agreements, and (z) co-liable non-debtors (if any) or their insurance coverage.
   Solely to the extent that the holder of an Allowed Non-Abuse Litigation Claim
   fails to recover in full from the foregoing sources on account of such Allowed
   Claim after exhausting its remedies in respect thereof, such holder may elect to
   have the unsatisfied portion of its Allowed Claim treated as an Allowed
   Convenience Claim and receive cash in an amount equal to the lesser of (a) the
   amount of the unsatisfied portion of the Allowed Non-Abuse Litigation Claim and
   (b) $50,000.




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           c.     Voting: Class 7 is Impaired, and each holder of a Non-Abuse
   Litigation Claim is entitled to vote to accept or reject the Plan.

   10.   Class 8 – Direct Abuse Claims.

         a.     Classification: Class 8 consists of all Direct Abuse Claims.

         b.     Treatment:

                 (i)     The Settlement Trust shall receive, for the benefit of
         holders of Abuse Claims, the BSA Settlement Trust Contribution, the
         Local Council Settlement Contribution, the Contributing Chartered
         Organization Settlement Contribution, the Participating Chartered
         Organization Settlement Contribution, the Hartford Settlement
         Contribution (subject to the terms and conditions set forth in the Hartford
         Insurance Settlement Agreement), and the proceeds of any other
         applicable Insurance Settlement Agreements. In addition, each holder of a
         properly completed non-duplicative proof of claim asserting a Direct
         Abuse Claim who filed such Claim by the Bar Date or was permitted by a
         Final Order of the Bankruptcy Court to file a late claim may, following the
         Effective Date elect on his or her Ballot to receive an Expedited
         Distribution, subject to criteria set forth in the Trust Distribution
         Procedures, elect to receive an Expedited Distribution in exchange for
         providing a full and final release in favor of the Settlement Trust, the
         Protected Parties and the Chartered Organizations. The Settlement Trust
         shall make the Expedited Distributions on one or more dates occurring on
         or as soon as reasonably practicable after the latest to occur of (a) the
         Effective Date, (b) the date the applicable holders of Direct Abuse Claims
         who have elected to receive an Expedited Distribution have satisfied the
         criteria set forth in the Trust Distribution Procedures, and (bc) the date
         upon which the Settlement Trust has sufficient Cash to fund the full
         amount of the Expedited Distributions while retaining sufficient Cash
         reserves to fund applicable Settlement Trust Expenses, as determined by
         the Settlement Trustee.

                 (ii)   As of the Effective Date, the Protected Parties’ liability for
         all Direct Abuse Claims shall be assumed in full by the Settlement Trust
         without further act, deed, or court order and shall be satisfied solely from
         the Settlement Trust as set forth in the Settlement Trust Documents.
         Pursuant to the Channeling Injunction set forth in Article X.F, each holder
         of a Direct Abuse Claim shall have such holder’s Direct Abuse Claim
         against the Protected Parties (and each of them) permanently channeled to
         the Settlement Trust, and such Direct Abuse Claim shall thereafter be
         asserted exclusively against the Settlement Trust and processed,
         liquidated, and paid in accordance with the terms, provisions, and
         procedures of the Settlement Trust Documents. Holders of Direct Abuse
         Claims shall be enjoined from prosecuting any outstanding, or filing any


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          future, litigation, Claims, or Causes of Action arising out of or related to
          such Direct Abuse Claims against any of the Protected Parties and may not
          proceed in any manner against any of the Protected Parties in any forum
          whatsoever, including any state, federal, or non-U.S. court or any
          administrative or arbitral forum, and are required to pursue such Direct
          Abuse Claims solely against the Settlement Trust as provided in the
          Settlement Trust Documents.

                   (iii)   As of the Effective Date, the Limited Protected Parties’
          liability for all Post-1975 Chartered Organization Abuse Claims shall be
          assumed in full by the Settlement Trust without further act, deed, or court
          order and shall be satisfied solely from the Settlement Trust as set forth in
          the Settlement Trust Documents. Pursuant to the Channeling Injunction
          set forth in Article X.F, each holder of a Post-1975 Chartered
          Organization Abuse Claim shall have such holder’s Post-1975 Chartered
          Organization Abuse Claim against the Limited Protected Parties (and each
          of them) permanently channeled to the Settlement Trust, and such
          Post-1975 Chartered Organization Abuse Claim shall thereafter be
          asserted exclusively against the Settlement Trust and processed,
          liquidated, and paid in accordance with the terms, provisions, and
          procedures of the Settlement Trust Documents. Holders of Post-1975
          Chartered Organization Abuse Claims shall be enjoined from prosecuting
          any outstanding, or filing any future, litigation, Claims, or Causes of
          Action arising out of or related to such Post-1975 Chartered Organization
          Abuse Claim against any of the Limited Protected Parties and may not
          proceed in any manner against any of the Limited Protected Parties in any
          forum whatsoever, including any state, federal, or non-U.S. court or any
          administrative or arbitral forum, and are required to pursue such Post-1975
          Chartered Organization Abuse Claims solely against the Settlement Trust
          as provided in the Settlement Trust Documents.

                  (iv)   For the avoidance of doubt, the Protected Parties shall
          include: (a) the Debtors; (b) Reorganized BSA; (c) the Related
          Non-Debtor Entities; (d) the Local Councils; (e) the Contributing
          Chartered Organizations, including TCJC; (f) the Settling Insurance
          Companies, including Hartford; and (g) all of such Persons’
          Representatives. The Limited Protected Parties shall include the
          Participating Chartered Organizations.

          c.       Voting: Class 8 is Impaired, and each holder of a Direct Abuse
   Claim is entitled to vote to accept or reject the Plan.

   11.    Class 9 – Indirect Abuse Claims.

          a.     Classification: Class 9 consists of all Indirect Abuse Claims.




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         b.     Treatment:

                 (i)     As of the Effective Date, the Protected Parties’ liability for
         all Indirect Abuse Claims shall be assumed in full by the Settlement Trust
         without further act, deed, or court order and shall be satisfied solely from
         the Settlement Trust as set forth in the Settlement Trust Documents solely
         to the extent that an Indirect Abuse Claim has not been deemed withdrawn
         with prejudice, irrevocably waived, released and expunged in connection
         with the Local Council Settlement Contribution, the Contributing
         Chartered Organization Trust Contribution, the Participating Chartered
         Organization Trust Contribution, or the Hartford Insurance Settlement
         Agreement. Pursuant to the Channeling Injunction set forth in Article
         X.F, each holder of an Indirect Abuse Claim shall have such holder’s
         Indirect Abuse Claim against the Protected Parties (and each of them)
         permanently channeled to the Settlement Trust, and such Indirect Abuse
         Claim shall thereafter be asserted exclusively against the Settlement Trust
         and processed, liquidated, and paid in accordance with the terms,
         provisions, and procedures of the Settlement Trust Documents. Holders
         of Indirect Abuse Claims shall be enjoined from prosecuting any
         outstanding, or filing any future, litigation, Claims, or Causes of Action
         arising out of or related to such Abuse Claims against any of the Protected
         Parties and may not proceed in any manner against any the Protected
         Parties in any forum whatsoever, including any state, federal, or non-U.S.
         court or any administrative or arbitral forum, and are required to pursue
         such Indirect Abuse Claims solely against the Settlement Trust as
         provided in the Settlement Trust Documents.

                  (ii)    As of the Effective Date, the Limited Protected Parties’
         liability for all Post-1975 Chartered Organization Abuse Claims shall be
         assumed in full by the Settlement Trust without further act, deed, or court
         order and shall be satisfied solely from the Settlement Trust as set forth in
         the Settlement Trust Documents. Pursuant to the Channeling Injunction
         set forth in Article X.F, each holder of a Post-1975 Chartered
         Organization Abuse Claim shall have such holder’s Post-1975 Chartered
         Organization Abuse Claim against the Limited Protected Parties (and each
         of them) permanently channeled to the Settlement Trust, and such
         Post-1975 Chartered Organization Abuse Claim shall thereafter be
         asserted exclusively against the Settlement Trust and processed,
         liquidated, and paid in accordance with the terms, provisions, and
         procedures of the Settlement Trust Documents. Holders of Post-1975
         Chartered Organization Abuse Claims shall be enjoined from prosecuting
         any outstanding, or filing any future, litigation, Claims, or Causes of
         Action arising out of or related to such Post-1975 Chartered Organization
         Abuse Claims against any of the Limited Protected Parties and may not
         proceed in any manner against any the Limited Protected Parties in any
         forum whatsoever, including any state, federal, or non-U.S. court or any
         administrative or arbitral forum, and are required to pursue such Post-1975


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                      Chartered Organization Abuse Claims solely against the Settlement Trust
                      as provided in the Settlement Trust Documents.

                              (iii)  For the avoidance of doubt, the Protected Parties shall
                      include: (a) the Debtors; (b) Reorganized BSA; (c) the Related
                      Non-Debtor Entities; (d) the Local Councils; (e) the Contributing
                      Chartered Organizations, including TCJC; (f) the Settling Insurance
                      Companies, including Hartford; and (g) all of such Persons’
                      Representatives. The Limited Protected Parties shall include the
                      Participating Chartered Organizations.

                      c.       Voting: Class 9 is Impaired, and each holder of an Indirect Abuse
               Claim is entitled to vote to accept or reject the Plan.

               12.    Class 10 – Interests in Delaware BSA.

                      a.      Classification: Class 10 consists of all Interests in Delaware BSA.

                      b.      Treatment: On the Effective Date, Interests in Delaware BSA shall
               be deemed cancelled without further action by or order of the Bankruptcy Court
               and shall be of no further force or effect, whether surrendered for cancellation or
               otherwise.

                       c.     Voting: Class 10 is Impaired, and each holder of an Interest in
               Delaware BSA shall be conclusively deemed to have rejected the Plan pursuant to
               section 1126(g) of the Bankruptcy Code. Therefore, holders of Interests in
               Delaware BSA are not entitled to vote to accept or reject the Plan, and the votes
               of such holders will not be solicited with respect to Interests in Delaware BSA.

        C.     Elimination of Vacant Classes. Any Class of Claims against or Interests in the
Debtors that, as of the commencement of the Confirmation Hearing, does not have at least one
holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes
shall be considered vacant, deemed eliminated from the Plan for purposes of voting to accept or
reject the Plan, and disregarded for purposes of determining whether the Plan satisfies section
1129(a)(8) of the Bankruptcy Code with respect to that Class.

        D.     Cramdown. If any Class is deemed to reject the Plan or is entitled to vote on the
Plan and does not vote to accept the Plan, the Debtors may (1) seek Confirmation of the Plan
under section 1129(b) of the Bankruptcy Code or (2) amend or modify the Plan in accordance
with the terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims
are, or any class of Claims is, impaired, the Bankruptcy Court shall, after notice and a hearing,
determine such controversy on or before the Confirmation Date.




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                                         ARTICLE IV.

                                    SETTLEMENT TRUST

        A.      Establishment of the Settlement Trust. The Settlement Trust shall be established
on the Effective Date in accordance with the Plan Documents. The Settlement Trust shall be a
“qualified settlement fund” within the meaning of the Treasury Regulations issued under Section
468B of the Internal Revenue Code, with respect to which Reorganized BSA shall timely make
an election to treat the Settlement Trust as a “grantor trust” for U.S. federal income tax purposes
and, to the extent permitted under applicable law, for state and local income tax purposes.

       B.      Purposes of the Settlement Trust.

               1.      The purposes of the Settlement Trust shall be to assume liability for all
       Abuse Claims, to hold, preserve, maximize and administer the Settlement Trust Assets,
       and to direct the processing, liquidation and payment of all compensable Abuse Claims in
       accordance with the Settlement Trust Documents. The Settlement Trust shall resolve
       Abuse Claims in accordance with the Settlement Trust Documents in a fair, consistent,
       equitable manner, and on a pro rata basis, in compliance with the terms of the Settlement
       Trust Documents and to the extent of available Settlement Trust Assets.

               2.     In the event of any ambiguity or conflict between the terms of the
       Settlement Trust Agreement or any related document required or provided for under the
       Settlement Trust Documents (other than the Confirmation Order), on the one hand, and
       the terms of the Plan and the Confirmation Order, on the other hand, the terms of the Plan
       and the Confirmation Order shall control, notwithstanding that the Settlement Trust
       Agreement and related documents required or provided for under the Settlement Trust
       Documents may be incorporated in or annexed to the Plan or the Confirmation Order.

       C.      Transfer of Claims to the Settlement Trust.

              1.       On the Effective Date or as otherwise provided herein, and without further
       action of any Person, the Settlement Trust shall assume the liabilities, obligations, and
       responsibilities, financial or otherwise, of (a) the Protected Parties for all Abuse Claims
       and (b) the Limited Protected Parties for all Post-1975 Chartered Organization Abuse
       Claims. These assumptions by the Settlement Trust shall not affect (i) the application of
       the Discharge Injunction or the Channeling Injunction or (ii) any Non-Settling Insurance
       Company’s obligation under any Abuse Insurance Policy or applicable law.

              2.       Except as otherwise expressly provided in the Plan, the Settlement Trust
       Agreement, or the Trust Distribution Procedures, the Settlement Trust shall have control
       over the Settlement Trust Causes of Action and the Insurance Actions, and the Settlement
       Trust shall thereby become the estate representative pursuant to section 1123(b)(3)(B) of
       the Bankruptcy Code with the exclusive right (except as otherwise provided in Article
       IV.D.4) to enforce each of the Settlement Trust Causes of Action and the Insurance
       Actions, and the proceeds of the recoveries on any of the Settlement Trust Causes of
       Action or the Insurance Actions shall be deposited in and become the property of the


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Settlement Trust, and the Settlement Trust shall have the right to enforce the Plan and
any of the other Plan Documents (including the Document Agreement) according to their
respective terms, including the right to receive the Settlement Trust Assets as provided in
the Plan; provided, however, that (a) the Settlement Trust shall have no other rights
against the Protected Parties except to enforce the Plan and any of the other Plan
Documents; (b) the Settlement Trust shall have no other rights against the Limited
Protected Parties with respect to Post-1975 Chartered Organization Abuse Claims; (c) the
Settlement Trust Causes of Action, the Insurance Actions, and the Participating Chartered
Organization Insurance Actions shall not include any Claims or Interests fully and finally
released, compromised, or settled pursuant to the Plan or any Plan Documents, or any
Claims against Hartford released, compromised and settled under the Hartford Insurance
Settlement Agreement; and (d) for the avoidance of doubt, the Settlement Trust Causes of
Action, the Insurance Actions, and the Participating Chartered Organization Insurance
Actions do not include any rights of the Protected Parties or the Limited Protected Parties
arising under the Channeling Injunction or any of the Injunctions, Releases, or
Discharges granted under the Plan and the Confirmation Order.

D.      Transfer of Settlement Trust Assets to the Settlement Trust.

        1.      Transfers on the Effective Date. On the Effective Date, subject to Article
IV.D.2, all right, title, and interest in and to the Settlement Trust Assets and any proceeds
thereof shall be automatically, and without further act or deed, transferred to, vested in,
and assumed by the Settlement Trust free and clear of all Encumbrances or Claims or
other interests of any Person, subject to the Channeling Injunction and other provisions of
the Plan. Notwithstanding the foregoing, the Settlement Trust shall satisfy, to the extent
required under applicable law and in accordance with the Trust Distribution Procedures,
any retrospective premiums and self-insured retentions arising out of any Abuse Claims
under the Abuse Insurance Policies. The Debtors and the Local Councils shall establish
an appropriate escrow mechanism to ensure that the Cash to be paid to the Settlement
Trust by Local Councils on the Effective Date can be paid in a timely manner.

        2.      Transfers after the Effective Date. To the extent any of the Settlement
Trust Assets are not transferred to the Settlement Trust by operation of law on the
Effective Date pursuant to the Plan, then when such assets accrue or become transferable
subsequent to the Effective Date, they shall automatically and immediately transfer to the
Settlement Trust free and clear of all Encumbrances and Claims or other interests of any
Person, subject to the Channeling Injunction and other provisions of the Plan. To the
extent any Artwork is not physically transferred to the Settlement Trust on the Effective
Date, the Debtors or Reorganized BSA and the Settlement Trust shall mutually agree on
the terms of the storage and subsequent physical transfer thereof. For the avoidance of
doubt, title to the Artwork (and the risk of loss thereof) will transfer to the Settlement
Trust on the Effective Date. To the extent that any action of a Protected Party or Limited
Protected Party is required to effectuate such transfer, such Protected Party or Limited
Protected Party shall promptly transfer, assign, and contribute, such remaining Settlement
Trust Assets to the Settlement Trust. In the event a Protected Party or a Limited
Protected Party breaches any obligation contained in this section, the Settlement Trust
will have no adequate remedy at law and shall be entitled to preliminary and permanent


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declaratory and injunctive relief. This Article IV.D.2 applies, without limitation, to
(a) that portion of the Local Council Settlement Contribution required to be contributed
to the Settlement Trust after the Effective Date and (b) the transfer to the Settlement
Trust of the Warehouse and Distribution Center, subject to the Leaseback Requirement.

       3.     Specified Insurance Policies and Non-Abuse Litigation Claims.

               a.      The Settlement Trust shall have consent over any post-Effective
       Date settlement of any Non-Abuse Litigation Claim (such consent not to be
       unreasonably withheld) that is entitled to a recovery from the proceeds of
       Specified Insurance Policies. A condition of payment of a Non-Abuse Litigation
       Claim by the Settlement Trust from a Specified Insurance Policy shall be a release
       by the holder of such Non-Abuse Litigation Claim of the Debtors, the Local
       Councils, and any other insureds under applicable Specified Insurance Policies.
       Before the Settlement Trust settles any Specified Insurance Policy(ies) under
       which the holder of a Non-Abuse Litigation Claim is seeking to recover, the
       holder of a Non-Abuse Litigation Claim may recover up to the full amount of
       such Claim in the first instance from any such available unsettled Specified
       Primary Insurance Policy(ies) or unsettled Specified Excess Insurance Policy(ies).
       If and when the Settlement Trust settles one or more Specified Insurance Policies
       under which the holder of a Non-Abuse Litigation Claim is seeking to recover:
       (a) the holder of such Non-Abuse Litigation Claim shall remain entitled to
       recover up to $1,000,000 of such Claim under any such Specified Primary
       Insurance Policy(ies); and (b) any amounts exceeding $1,000,000 shall be
       recoverable in the first instance from any such available unsettled Specified
       Excess Insurance Policies. Subject to a review of the details concerning a
       Non-Abuse Litigation Claim by the Settlement Trustee, to the extent that the
       holder of a Non-Abuse Litigation Claim cannot, as a result of the Settlement
       Trust’s release of such Specified Insurance Policy(ies), recover the full amount of
       any judgment or settlement of such Claim consented to by the Settlement Trust
       (such consent not to be unreasonably withheld) from any Specified Insurance
       Policy(ies) under which the holder of a Non-Abuse Litigation Claim is seeking to
       recover, then any unpaid amounts (up to applicable policy limits) shall be
       submitted to the Settlement Trust, which shall pay such amounts out of the
       proceeds of the Specified Insurance Policies.

               b.      The Settlement Trustee shall have a duty to treat Direct Abuse
       Claims and Non-Abuse Litigation Claims that implicate the Specified Insurance
       Policies fairly and equally. In negotiating any settlements involving Specified
       Insurance Policies, the Settlement Trustee shall bear in mind the interests of both
       Direct Abuse Claims and Non-Abuse Litigation Claims in structuring any
       settlement and use best efforts to maximize recoveries for both constituencies.

               c.    Notwithstanding anything to the contrary in the Plan, with respect
       to any Non-Abuse Litigation Claim that has been asserted or could be asserted
       against any Local Council, notice of which is provided to the Debtors, the
       Coalition, the Tort Claimants’ Committee, and the Future Claimants’


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               Representative prior to the Effective Date, the rights of the Local Council to
               recover for such Non-Abuse Litigation Claim under the Specified Insurance
               Policies up to the applicable coverage limits shall be preserved; provided,
               however, that if the holder of a Non-Abuse Litigation Claim provides a full and
               complete written release of any claims that such holder of a Non-Abuse Litigation
               Claim may have against the Local Council related to the Non-Abuse Litigation
               Claim, then the Local Council will be deemed to have waived any rights it may
               have against the Specified Insurance Policy with respect to such Non-Abuse
               Litigation Claim.

               4.      Settlement Trust Causes of Action. The transfer of the Settlement Trust
       Causes of Action to the Settlement Trust, insofar as they relate to the ability to defend
       against or reduce the amount of Abuse Claims, shall be considered the transfer of a
       non-exclusive right enabling the Settlement Trust to defend itself against asserted Abuse
       Claims, which transfer shall not impair, affect, alter, or modify the right of any Person,
       including the Protected Parties, the Limited Protected Parties, an insurer or alleged
       insurer, or co-obligor or alleged co-obligor, sued on account of an Abuse Claim or on
       account of any asserted right relating to any Abuse Insurance Policy, to assert each and
       every defense or basis for claim reduction such Person could have asserted had the
       Settlement Trust Causes of Action not been assigned to the Settlement Trust (including
       any defense or basis for claim reduction that any Insurance Company or other insurer or
       alleged insurer could have asserted under section 502 of the Bankruptcy Code, applicable
       non-bankruptcy law, or any Abuse Insurance Policy or other agreement with respect to (a)
       any alleged liability of the BSA or any Local Council, Contributing Chartered
       Organization, Participating Chartered Organization or any other insured Person for any
       Abuse Claim or (b) any alleged liability of any Insurance Company or other insurer or
       alleged insurer to provide indemnity or defense relating to any Abuse Claim or any
       alleged extracontractual liability of any Insurance Company or other insurer or alleged
       insurer relating to any Abuse Claim).

         E.     Settlement Trustee. There shall be one Settlement Trustee, who shall be
appointed by the Bankruptcy Court in the Confirmation Order. The initial Settlement Trustee
shall be Eric D. Green. Any successor Settlement Trustee shall be appointed in accordance with
the terms of the Settlement Trust Agreement. For purposes performing his or her duties and
fulfilling his or her obligations under the Settlement Trust and the Plan, the Settlement Trustee
shall be deemed to be, and the Confirmation Order shall provide that he or she is, a “party in
interest” within the meaning of section 1109(b) of the Bankruptcy Code. The Settlement Trustee
shall be the “administrator” of the Settlement Trust as such term is used in Treas. Reg. Section
1.468B-2(k)(3).

       F.      Settlement Trust Advisory Committee.

              1.      The Settlement Trust Advisory Committee shall be established pursuant to
       the Settlement Trust Agreement. The initial STAC shall be composed of seven (7)
       members, five (5) of which shall be selected by the Coalition and two (2) of which shall
       be selected by the Tort Claimants’ Committee, subject to discussion between and the
       consent of the Coalition and the Tort Claimants’ Committee. The STAC members shall


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       be reasonably acceptable to the Debtors and shall have the functions, duties, and rights
       provided in the Settlement Trust Agreement. Each STAC member shall serve in
       accordance with the terms and conditions of the Settlement Trust Agreement.

               2.     The commencement or continuation of a STAC Tort Election Claim (as
       defined in Article XII.B of the Trust Distribution Procedures) and the approval of any
       global settlement after the Effective Date that causes an Insurance Company or a
       Chartered Organization to become a Protected Party must be approved by the Settlement
       Trustee, the Future Claimants’ Representative and the majority of the STAC, provided,
       however, that the refusal of any of the foregoing to (a) authorize the commencement or
       continuation of a STAC Tort Election Claim or (b) approve a global settlement after the
       Effective Date that causes an Insurance Company or a Chartered Organization to become
       a Protected Party shall be subject to immediate review under the standard set forth in the
       Settlement Trust Agreement by the Special Reviewer if three (3) members of the STAC
       so require.

        G.     Future Claimants’ Representative. The Settlement Trust Agreement shall provide
for the continuation of the Future Claimants’ Representative to represent the interests of holders
of Future Abuse Claims. The initial Future Claimants’ Representative shall be James L. Patton,
Jr. so long as he is the Future Claimants’ Representative in the Chapter 11 Cases as of the
Effective Date.

        H.     Trust Distribution Procedures. On the Effective Date, the Settlement Trust shall
implement the Trust Distribution Procedures in accordance with the terms of the Settlement
Trust Agreement. From and after the Effective Date, the Settlement Trustee shall have the
authority to administer, amend, supplement, or modify the Trust Distribution Procedures solely
in accordance with the terms thereof and the Settlement Trust Agreement.

       I.      Post-Effective Date Contributing Chartered Organizations.

               1.     Notwithstanding any present exclusionary language in the Plan, after the
       Effective Date, any Chartered Organization that is not a Contributing Chartered
       Organization as of the Effective Date may become a Protected Party if the Bankruptcy
       Court, after notice and an opportunity for parties in interest to be heard, approves a
       settlement agreement between such Chartered Organization and the Settlement Trustee (a
       “Post-Effective Date Chartered Organization Settlement”). After the Effective Date, the
       Settlement Trustee shall have the exclusive authority to seek approval of a Post-Effective
       Date Chartered Organization Settlement. Upon the Bankruptcy Court’s entry of a Final
       Order approving a Post-Effective Date Chartered Organization Settlement, Exhibit C
       shall be amended by the Settlement Trustee to include such Chartered Organization, and
       such Chartered Organization (and any related Persons or Representatives, as applicable)
       shall be deemed to be a Contributing Chartered Organization and a Protected Party for all
       purposes hereunder. A list of Chartered Organizations that may potentially become
       Contributing       Chartered        Organization        may      be       accessed      at
       https://omniagentsolutions.com/bsa-SAballots.




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        2.      Any Chartered Organization that becomes a Protected Party in accordance
with this Article IV.I shall have all of the rights, remedies and obligations of a Protected
Party under the Plan, including under the Channeling Injunction, notwithstanding that
such Chartered Organization was not a Protected Party under the Plan as of the Effective
Date.

J.      Post-Effective Date Participating Chartered Organizations.

         1.     Notwithstanding any present exclusionary language in the Plan, after the
Effective Date, any Chartered Organization that is not a Participating Chartered
Organization as of the Effective Date may become a Participating Chartered Organization
by agreement with the Settlement Trustee and without further order of the Bankruptcy
Court; provided, however, that the Settlement Trustee shall file a notice with the
Bankruptcy Court within thirty (30) days of entering into any agreement with a Chartered
Organization that deems such Chartered Organization to be a Limited Protected Party,
together with an amendment to Exhibit J removing such Chartered Organization from the
list of Chartered Organizations that are not Participating Chartered Organizations.

        2.     Any Chartered Organization that becomes a Limited Protected Party in
accordance with this Article IV.J shall have all of the rights, remedies and obligations of
a Limited Protected Party under the Plan, including under the Limited Channeling
Injunction, notwithstanding that such Chartered Organization was not a Limited
Protected Party under the Plan as of the Effective Date.

K.      Post-Effective Date Settling Insurance Companies.

        1.      Notwithstanding any present exclusionary language in the Plan, after the
Effective Date, any Insurance Company that is a Non-Settling Insurance Company may,
within twelve (12) months of the Effective Date (the “Insurance Settlement Period”),
enter into an Insurance Settlement Agreement with the Settlement Trustee (a
“Post-Effective Date Insurance Settlement”); provided, however, that the Settlement
Trustee shall file a notice with the Bankruptcy Court within thirty (30) days of entering
into any such Post-Effective Date Insurance Settlement, together with an amendment to
Exhibit I including such Post-Effective Date Insurance Settlement, and such Insurance
Company (and any related Persons or Representatives, as applicable) shall be deemed to
be a Settling Insurance Company and a Protected Party for all purposes hereunder. The
Post-Effective Date Insurance Settlement and amendment shall be deemed binding and
effective absent objection by any Person within fifteen (15) calendar days. The
Settlement Trustee shall have the sole discretion, upon order of the Bankruptcy Court, to
extend the Insurance Settlement Period.

        2.      Any Insurance Company that becomes a Protected Party in accordance
with this Article IV.K shall have all of the rights, remedies and obligations of a Protected
Party under the Plan, including under the Channeling Injunction, notwithstanding that
such Insurance Company was not a Protected Party under the Plan as of the Effective
Date.




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        L.      Settlement Trust Expenses. The Settlement Trust shall pay all Settlement Trust
Expenses from the Settlement Trust Assets. The Settlement Trust shall bear sole responsibility
with respect to the payment of the Settlement Trust Expenses. Additionally, the Settlement Trust
shall promptly pay all reasonable and documented Settlement Trust Expenses incurred by any
Protected Party for any and all liabilities, costs or expenses as a result of taking action on behalf
of or at the direction of the Settlement Trust following the transfer to the Settlement Trust of
copies of all records and documents in such Persons’ possession, custody or control pertaining to
Abuse Claims in accordance with the Document Agreement. To the maximum extent permitted
by applicable law, the Settlement Trustee shall not have or incur any liability for actions taken or
omitted in his or her capacity as Settlement Trustee, or on behalf of the Settlement Trust, except
those acts found by Final Order to be arising out of his or her willful misconduct, bad faith, gross
negligence or fraud, and shall be entitled to indemnification and reimbursement for reasonable
fees and expenses in defending any and all of his or her actions or omissions in his or her
capacity as Settlement Trustee, or on behalf of the Settlement Trust, except for any actions or
omissions found by Final Order to be arising out of his or her willful misconduct, bad faith, gross
negligence or fraud. Any valid indemnification claim of the Settlement Trustee shall be satisfied
only from the Settlement Trust Assets.

         M.     Reimbursement by Settlement Trust. From and after the Effective Date, the
Settlement Trust shall reimburse, to the fullest extent permitted by applicable law, Reorganized
BSA and each of the Local Councils for any documented out-of-pocket, losses, costs, and
expenses (including judgments, attorneys’ fees, and expenses) incurred by Reorganized BSA or
any Local Council after the Effective Date attributable to the defense of a Direct Abuse Claim
that is channeled to the Settlement Trust if the holder of such Direct Abuse Claim seeks to hold
Reorganized BSA or such Local Council liable for such Direct Abuse Claim in violation of the
terms of the Plan or the Confirmation Order; provided that the Settlement Trust’s reimbursement
obligations to Reorganized BSA and any Local Council for any Direct Abuse Claim shall be
capped at and shall not exceed the amount actually payable by the Settlement Trust to the holder
of such Direct Abuse Claim under the Trust Distribution Procedures (i.e., the amount paid based
on the Settlement Trust payment percentage) and shall be deducted on a dollar-for-dollar basis
against such holder’s distribution from the Settlement Trust on account of such Direct Abuse
Claim. Reorganized BSA and any Local Council shall provide notice to the Settlement Trust
within ten (10) business days of the service of any claim or lawsuit filed by a holder of an Abuse
Claim that could result in any reimbursement obligations by the Settlement Trust under this
provision. In the event that any litigation asserting an Abuse Claim is filed naming Reorganized
BSA or any Local Council as a defendant in violation of the terms of the Plan or the
Confirmation Order, the Settlement Trust shall, at the request of Reorganized BSA or such Local
Council, promptly appear (1) before the Bankruptcy Court to obtain entry of an order enforcing
the Channeling Injunction and (2) in such litigation and seek the dismissal of the case. Other
than this limited reimbursement obligation, the Settlement Trust shall not be required to
reimburse or indemnify any Protected Parties or Limited Protected Parties for any claims,
liabilities, losses, actions, suits, proceedings, third-party subpoenas, damages, costs and
expenses, including any liabilities related to, arising out of, or in connection with any Abuse
Claim. Except for the right to seek reimbursement or indemnity set forth in this Article IV.M,
the Debtors, the Local Councils, the Contributing Chartered Organizations, the Participating
Chartered Organizations and any other Person that is or becomes a Protected Party shall be



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forever barred from seeking compensation from the Settlement Trust for or on account of any
Claims arising prior to the Petition Date.

        N.     Trust Defense of TCJC Settlement. In the event that any litigation in any forum
asserting an Abuse Claim is filed naming TCJC as a defendant in violation of the terms of the
Plan or the Confirmation Order, the Settlement Trust shall, at the request of TCJC, promptly
appear (1) before the Bankruptcy Court to obtain entry of an order enforcing the Channeling
Injunction and (2) in such litigation seek the dismissal of the case. Under no circumstances shall
the Settlement Trust be required to reimburse or indemnity TCJC for any claims, liabilities,
losses, actions, suits, proceedings, third-party subpoenas, damages, costs, and expenses,
including any liabilities related to, arising out of, or in connection with, any Abuse Claim.

       O.       Assignment of Claims and Defenses. Notwithstanding anything herein to the
contrary, on the Effective Date, the Debtors, the Local Councils and any other party that is or
becomes a Protected Party or a Limited Protected Party shall be deemed to assign any and all
Claims and defenses to the Settlement Trust that arise from or relate to Abuse Claims, including
any Claims and defenses against co-defendants; provided, however, that with respect to Limited
Protected Parties, the foregoing assignment shall be limited to Claims and defenses that arise
from or relate to Post-1975 Chartered Organization Abuse Claims.

       P.     Investment Guidelines. All monies held in the Settlement Trust shall be invested,
subject to the investment limitations and provisions enumerated in the Settlement Trust
Agreement.

       Q.     Excess Settlement Trust Assets. To the extent any Settlement Trust Assets
remain at such time as the Settlement Trust is dissolved under the terms of the Settlement Trust
Documents, any remaining Settlement Trust Assets shall be distributed to Reorganized BSA.

       R.      Document Agreement. Reorganized BSA, the Local Councils, the Contributing
Chartered Organizations and the Settlement Trust shall enter into the Document Agreement on
the Effective Date, substantially in the form contained in the Plan Supplement. The Document
Agreement shall provide for copies of certain documents, books and records of Reorganized
BSA, the Local Councils, and any Contributing Chartered Organizations to be transferred to the
Settlement Trust. The parties to the Document Agreement shall be bound by the terms thereof.

        S.     Privileged Information. The transfer or assignment of any Privileged Information
to the Settlement Trustee shall not result in the destruction or waiver of any applicable privileges
pertaining thereto. Further, with respect to any privileges: (1) they are transferred to or
contributed for the purpose of enabling the Settlement Trustee to perform his or her duties to
administer the Settlement Trust; (2) they are vested solely in the Settlement Trustee and not in
the Settlement Trust, the STAC, the Future Claimants’ Representative, the Special Reviewer, the
SASAC (as defined in the Settlement Trust Agreement), any other Person, committee or
subcomponent of the Settlement Trust, or any other Person (including counsel and other
professionals) who has been engaged by, represents, or has represented any holder of an Abuse
Claim; and (3) the Settlement Trustee shall keep, handle and maintain such Privileged
Information in accordance with the terms of the Document Agreement. The Settlement Trustee
shall succeed to and hold all rights to and interest in and related to the Debtors’, Local Councils’


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and Contributing Chartered Organizations’ privileges, including the attorney-client privilege, any
Common-Interest Communications with Insurers, and any protection granted by joint defense,
common interest, and/or confidentiality agreement, as to all documents, communications, and
other information, including any information transferred pursuant to the Document Agreement.
The Settlement Trustee shall be permitted to use Privileged Information for any purpose related
to the administration of the Settlement Trust and the settlement of Abuse Claims and shall be
permitted to share Privileged Information with any professional retained by the Settlement Trust;
provided, however, that the Settlement Trustee shall not share Privileged Information with the
STAC or any holder of an Abuse Claim except as required by law or as the Settlement Trustee
determines in good faith is required by law. Notwithstanding the foregoing, nothing herein shall
preclude the Settlement Trustee from providing Privileged Information to any Insurance
Company as necessary to preserve, secure, or obtain the benefit of any rights under any Abuse
Insurance Policy.

        T.      No Liability. The Protected Parties and the Limited Protected Parties shall neither
have nor incur any liability to, or be subject to any right of action by, any Person for any act,
omission, transaction, event, or other circumstance in connection with or related to the
Settlement Trust, the Settlement Trustee, or the Settlement Trust Documents, including the
administration of Abuse Claims and the distribution of Settlement Trust Assets by the Settlement
Trust, or any related agreement.

        U.      U.S. Federal Income Tax Treatment of the Settlement Trust. The Settlement
Trust shall be a “qualified settlement fund” within the meaning of the Treasury Regulations
issued under Section 468B of the Internal Revenue Code. Reorganized BSA shall make a
“grantor trust” election under Treasury Regulation section 1.468B-1(k) with respect to the
Settlement Trust for U.S. federal income tax purposes and, to the extent permitted under
applicable law, for state and local income tax purposes. All parties shall report consistently with
such grantor trust election. The Settlement Trust shall file (or cause to be filed) statements,
returns, or disclosures relating to the Settlement Trust that are required by any Governmental
Unit. The Settlement Trustee shall be responsible for the payment of any taxes imposed on the
Settlement Trust or the Settlement Trust Assets, including estimated and annual U.S. federal
income taxes in accordance with the terms of the Settlement Trust Agreement. The Settlement
Trustee may request an expedited determination of taxes on the Settlement Trust under section
505(b) of the Bankruptcy Code for all returns filed for, or on behalf of, the Settlement Trust for
all taxable periods through the dissolution of the Settlement Trust.

         V.       Institution and Maintenance of Legal and Other Proceedings. As of the Effective
Date, the Settlement Trust shall be empowered to initiate, prosecute, defend, settle, maintain,
administer, preserve, pursue, and resolve all legal actions and other proceedings related to any
asset, liability, or responsibility of the Settlement Trust, including the Insurance Actions, Abuse
Claims, and the Settlement Trust Causes of Action. Without limiting the foregoing, on and after
the Effective Date, the Settlement Trust shall be empowered to initiate, prosecute, defend, settle,
maintain, administer, preserve, pursue, and resolve all such actions, in the name of the Debtors
or Reorganized BSA, if deemed necessary or appropriate by the Settlement Trust. The
Settlement Trust shall be responsible for the payment of all damages, awards, judgments,
settlements, expenses, costs, fees, and other charges incurred on or after the Effective Date
arising from, relating to, or associated with any legal action or other proceeding which is the


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subject of this Article IV.V and shall pay Indirect Abuse Claims, in accordance with the Trust
Distribution Procedures, that may arise from deductibles or other charges. Furthermore, without
limiting the foregoing, the Settlement Trust shall be empowered to maintain, administer,
preserve, or pursue the Insurance Actions and the Insurance Action Recoveries.

       W.      Notation on Claims Register Regarding Abuse Claims. On the Effective Date, all
Abuse Claims filed against the Debtors in the Chapter 11 Cases shall be marked on the Claims
Register as “Channeled to the Settlement Trust” and resolved exclusively in accordance with the
Trust Distribution Procedures.

                                           ARTICLE V.

                     MEANS FOR IMPLEMENTATION OF THE PLAN

       A.      General. On and after the Confirmation Date, the Debtors shall be empowered
and authorized to take or cause to be taken, prior to the Effective Date, all actions consistent with
the Plan as may be necessary or appropriate to enable them to implement the provisions of the
Plan before, on, or after the Effective Date, including the creation of the Settlement Trust and the
preparations for the transfer of the Settlement Trust Assets to the Settlement Trust.

       B.      Operations of the Debtors between Confirmation and the Effective Date. The
Debtors shall continue to operate as debtors and debtors in possession during the period from the
Confirmation Date to the Effective Date.

       C.      BSA Governance Documents. From and after the Effective Date, Reorganized
BSA shall be governed pursuant to the BSA Charter and the Amended BSA Bylaws. The
Amended BSA Bylaws shall contain such provisions as are necessary to satisfy the provisions of
the Plan, subject to further amendment thereof after the Effective Date as permitted by applicable
law. Under the BSA Charter, the BSA has no power to issue certificates of stock, its object and
purpose being solely of a charitable character and not for pecuniary profit; accordingly, the
requirement of section 1123(a)(6) does not apply to the BSA.

       D.      Continued Legal Existence of BSA. The BSA shall continue to exist on and after
the Effective Date, with all of the powers it is entitled to exercise under applicable law and
pursuant to the BSA Charter and the Amended BSA Bylaws, subject to further amendment of the
Amended BSA Bylaws after the Effective Date, as permitted by applicable law.

       E.    Reorganized BSA’s Directors and Senior Management. Pursuant to section
1129(a)(5) of the Bankruptcy Code, to the extent that there are anticipated changes in
Reorganized BSA’s directors and officers, the Debtors will identify any such changes in the Plan
Supplement. On and after the Effective Date, the Amended BSA Bylaws, as such may be
amended thereafter from time to time, shall govern the designation and election of directors of
Reorganized BSA.

        F.      Dissolution of Delaware BSA. On the Effective Date, Delaware BSA’s members,
directors, officers and employees shall be deemed to have resigned, and Delaware BSA shall be
deemed to have dissolved for all purposes and be of no further legal existence under any



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applicable state or federal law, without the need for any further action or the filing of any plan of
dissolution, notice, or application with the Secretary of State of the State of Delaware or any
other state or government authority, and without the need to pay any franchise or similar taxes to
effectuate such dissolution. Any Allowed Claims against Delaware BSA will be treated as set
forth in Article III.B.

        G.      Due Authorization. As of the Effective Date, all actions contemplated by the Plan
that require corporate action of the Debtors, or either of them, including actions requiring a vote
of the National Executive Board or the National Executive Committee of the BSA or the sole
member of Delaware BSA, and execution of all documentation incident to the Plan, shall be
deemed to have been authorized, approved, and, to the extent taken prior to the Effective Date,
ratified in all respects without any requirement of further action by the Bankruptcy Court,
members, officers, or directors of the Debtors, Reorganized BSA, or any other Person.

        H.      Cancellation of Interests. As of the Effective Date, in accordance with Article
III.B.12, Interests in Delaware BSA shall be deemed cancelled without further action by or order
of the Bankruptcy Court and shall be of no further force or effect.

       I.      Restatement of Indebtedness.

               1.      Except as otherwise provided in the Plan, or in any contract, instrument,
       release or other agreement or document entered into or delivered in connection with the
       Plan, and subject to the treatment afforded to holders of Allowed Claims in Class 3A, 3B,
       4A, or 4B under Article III, on the Effective Date, all Prepetition Debt and Security
       Documents, including all agreements, instruments, and other documents evidencing or
       issued pursuant to the 2010 Credit Facility Documents, the 2019 RCF Documents, the
       2010 Bond Documents, the 2012 Bond Documents, or any indebtedness or other
       obligations thereunder, and any rights of any holder in respect thereof, shall be deemed
       amended and restated in the form of the Restated Debt and Security Documents on the
       terms set forth herein.

              2.      Any provision in any document, instrument, lease, or other agreement that
       causes or effectuates, or purports to cause or effectuate, a default, termination, waiver, or
       other forfeiture of, or by, the Debtors as a result of the satisfactions, Injunctions,
       Releases, Discharges and other transactions provided for in the Plan shall be deemed null
       and void and shall be of no force or effect. Nothing contained herein shall be deemed to
       cancel, terminate, release, or discharge the obligation of the Debtors or any of their
       counterparties under any Executory Contract or Unexpired Lease to the extent such
       Executory Contract or Unexpired Lease has been assumed by the Debtors pursuant to a
       Final Order of the Bankruptcy Court, including the Confirmation Order.

        J.     Cancellation of Liens. Except as otherwise provided in the Plan, on the Effective
Date, any Lien securing any Allowed Secured Claim (other than a Lien securing any Allowed
Secured Claim that is Reinstated pursuant to the Plan, including, for avoidance of doubt, the
liens securing the Restated Debt and Security Documents) shall be deemed released and the
holder of such Allowed Secured Claim shall be authorized and directed to release any collateral
or other property of any Debtor (including any cash collateral) held by such holder and to take


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such actions as may be requested by the Debtors (or Reorganized BSA, as the case may be) to
evidence the release of such Lien, including the execution, delivery, and filing or recording of
such releases as may be requested by the Debtors (or Reorganized BSA, as the case may be).

        K.     Effectuating Documents and Further Transactions. The Chief Executive Officer
and President, the Chief Financial Officer, and the General Counsel of the BSA are authorized to
execute, deliver, file or record such contracts, instruments, releases, indentures, and other
agreements or documents and take or direct such actions as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of the Plan in the name of and on behalf
of Reorganized BSA, without the need for any approvals, authorizations, actions, or consents
except for those expressly required pursuant to the Plan.

       L.     Sources of Consideration for Distributions. Distributions under the Plan shall be
funded from the following sources:

             1.     the Debtors shall fund Distributions on account of and satisfy Allowed
       General Unsecured Claims exclusively from the Core Value Cash Pool;

               2.      the Settlement Trust shall fund distributions on account of and satisfy
       compensable Abuse Claims in accordance with the Trust Distribution Procedures from
       (a) the BSA Settlement Trust Contribution, (b) the Local Council Settlement
       Contribution, (c) the Contributing Chartered Organization Settlement Contribution,
       (d) the Participating Chartered Organization Settlement Contribution, (e) the Hartford
       Settlement Contribution, and (f) any and all funds, proceeds or other consideration
       contributed to the Settlement Trust under the terms of any Insurance Settlement
       Agreement;

               3.    the Debtors shall satisfy 2010 Credit Facility Claims, 2019 RCF Claims,
       2010 Bond Claims, and 2012 Bond Claims in accordance with the terms of the Restated
       2010 Bond Documents, the Restated 2012 Bond Documents and the Restated Credit
       Facility Documents, as applicable; and

               4.     the Debtors shall fund Distributions on account of and satisfy all other
       Allowed Claims with Unrestricted Cash and Investments on hand on or after the
       Effective Date in accordance with the terms of the Plan and the Confirmation Order.

        M.     Calculation of Minimum Unrestricted Cash and Investments. The minimum
amount of Unrestricted Cash and Investments to be retained by Reorganized BSA on the
Effective Date shall be:

               1.     $25,000,000 if the Effective Date occurs on or before September 30, 2021;

              2.    $37,000,000 if the Effective Date occurs on or after October 1, 2021 but
       before November 1, 2021;

              3.    $36,000,000 if the Effective Date occurs on or after November 1, 2021 but
       before December 1, 2021;



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               4.    $40,000,000 if the Effective Date occurs on or after December 1, 2021 but
       before January 1, 2022;

              5.     $57,000,000 if the Effective Date occurs on or after January 1, 2022 but
       before February 1, 2022;

              6.     $41,000,000 if the Effective Date occurs on or after February 1, 2022 but
       before March 1, 2022;

              7.     $55,000,000 if the if the Effective Date occurs on or after March 1, 2022
       but before April 1, 2022; and

               8.      $54,000,000 if the Effective Date occurs on or after April 1, 2022.

Without limiting the foregoing, in accordance with the Hartford Insurance Settlement Agreement
and the Allowance of the Hartford Administrative Expense Claim under the Plan, the Net
Unrestricted Cash and Investments shall be reduced on a dollar-for-dollar basis equal to fifty
percent (50%) of the Allowed Hartford Administrative Expense Claim, or $1,000,000.

        N.     Resolution of Abuse Claims. All Abuse Claims shall be channeled to and
resolved by the Settlement Trust in accordance with the Trust Distribution Procedures; provided,
that any Non-Settling Insurance Company may, subject to Article X.M, raise any valid Insurance
Coverage Defense in response to a demand by the Settlement Trust, including any right of such
Non-Settling Insurance Company to assert any defense that could, but for the Settlement Trust’s
assumption of the liabilities, obligations, and responsibilities of the Protected Parties for Abuse
Claims, have been raised by the Debtors or other applicable Protected Party with respect to such
Claim.

       O.     Funding by the Settlement Trust. The Settlement Trust shall have no obligation
to fund costs or expenses other than those set forth in the Plan or the Settlement Trust
Documents, as applicable.

        P.      Core Value Cash Pool. Reorganized BSA shall deposit Cash into the Core Value
Cash Pool by making four semi-annual installment payments equal to $6,250,000. Reorganized
BSA shall make the first deposit six (6) months after the Effective Date; the second installment
on the first anniversary after the Effective Date; the third installment eighteen (18) months after
the Effective Date; and the fourth installment on the second anniversary of the Effective Date.

        Q.      Creditor Representative; Disbursing Agent. The Creditor Representative shall be
appointed as of the Effective Date. The Creditor Representative shall be responsible for
assisting Reorganized BSA and its professionals in their efforts to efficiently reconcile
Convenience Claims, General Unsecured Claims, and Non-Abuse Litigation Claims. The
identity of the Creditor Representative shall be determined by the Creditors’ Committee, with the
consent of the Debtors (such consent not to be unreasonably withheld). The Debtors or
Reorganized BSA, as applicable, will use commercially reasonable efforts to assist the Creditor
Representative in reconciling Convenience Claims, General Unsecured Claims, and Non-Abuse
Litigation Claims on or before the applicable Claims Objection Deadline. The reasonable fees
and actual and necessary costs and expenses of the Creditor Representative shall be paid by


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Reorganized BSA up to the Creditor Representative Fee Cap, and Reorganized BSA shall have
no obligation to compensate or reimburse the costs or expenses of the Creditor Representative
beyond the amount of the Creditor Representative Fee Cap. The Disbursing Agent shall have the
rights, powers and responsibilities provided in Article VII. The reasonable fees and actual and
necessary costs and expenses of the Disbursing Agent, if any, shall be paid by Reorganized BSA.

        R.      Residual Cash in Core Value Cash Pool. To the extent any Cash remains in the
Core Value Cash Pool after all Allowed General Unsecured Claims have been satisfied in full,
such remaining Cash shall: (1) first, on account of any Allowed Non-Abuse Litigation Claims
that shall not have elected to be treated as an Allowed Convenience Claim under Article III.B.9
to satisfy any deficiency in payments of such Allowed Claims (a) from available insurance
coverage, including Abuse Insurance Policies and Non-Abuse Insurance Policies, (b) from
applicable proceeds of any Insurance Settlement Agreements, and (c) from co-liable non-debtors
(if any) or their insurance coverage; (2) second, to pay interest to holders of Allowed General
Unsecured Claims in accordance with Article VII.L; and (3) third irrevocably re-vest in
Reorganized BSA.

        S.      Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration
for the distributions and other benefits provided under the Plan and the Plan Documents, as of
the Effective Date, the provisions of the Plan, including the Abuse Claims Settlement, the
Hartford Insurance Settlement, the JPM / Creditors’ Committee Settlement, the TCJC
Settlement, and the Settlement of Restricted and Core Asset Disputes set forth in this Article
V.S, shall constitute good-faith compromises and settlements of Claims, Interests, and
controversies among the parties thereto relating to the contractual, legal, equitable and
subordination rights that holders of Claims or Interests may have with respect to any Claim or
Interest under the Plan or any Distribution to be made on account of an Allowed Claim. The
Plan shall be deemed a motion, proposed by the Debtors and joined by the parties to the Abuse
Claims Settlement, the Hartford Insurance Settlement Agreement, the JPM / Creditors’
Committee Settlement, the TCJC Settlement, and the Settlement of Restricted and Core Asset
Disputes, respectively, and the entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the compromise and settlement of all such Claims, Interests, and
controversies among the parties thereto, as well as a finding by the Bankruptcy Court that such
compromise or settlement is in the best interests of the Debtors, their Estates, and holders of
such Claims and Interests, and is fair, equitable and reasonable.

              1.      Abuse Claims Settlement. The treatment provided for Abuse Claims,
       including Post-1975 Chartered Organization Abuse Claims, under the Plan incorporates
       and reflects a proposed compromise and settlement of all Scouting Released Claims,
       including all Abuse Claims against the Protected Parties and all Post-1975 Chartered
       Organization Abuse Claims against the Limited Protected Parties (the “Abuse Claims
       Settlement”), and the Plan constitutes a request for the Bankruptcy Court to authorize and
       approve the Abuse Claims Settlement. The following constitute the provisions and
       conditions of the Abuse Claims Settlement:

                    a.      Local Council Settlement Contribution. The Local Councils shall
              make, cause to be made, or be deemed to have made, as applicable, the Local


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   Council Settlement Contribution. If a Local Council is unable to transfer its
   rights, titles, privileges, interests, claims, demands or entitlements, as of the
   Effective Date, to any proceeds, payments, benefits, Causes of Action, choses in
   action, defense, or indemnity, now existing or hereafter arising, accrued or
   unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
   undisputed, fixed or contingent, arising under or attributable to (i) the Abuse
   Insurance Policies, the Insurance Settlement Agreements, and claims thereunder
   and proceeds thereof; (ii) Insurance Actions, and (iii) the Insurance Action
   Recoveries (the “Local Council Insurance Rights”), then the Local Council shall,
   at the sole cost and expense of the Settlement Trust: (a) take such actions
   reasonably requested by the Settlement Trustee to pursue any of the Local Council
   Insurance Rights for the benefit of the Settlement Trust; and (b) promptly transfer
   to the Settlement Trust any amounts recovered under or on account of any of the
   Local Council Insurance Rights; provided, however, that while any such amounts
   are held by or under the control of any Local Council, such amounts shall be held
   for the benefit of the Settlement Trust.




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           b.       Contributing Chartered Organization Settlement Contribution. The
   Contributing Chartered Organizations, including TCJC, shall make, cause to be
   made, or be deemed to have made, as applicable, the Contributing Chartered
   Organization Settlement Contribution, including the TCJC Settlement
   Contribution. If a Contributing Chartered Organization is unable to transfer its
   rights, titles, privileges, interests, claims, demands or entitlements, if any, as of
   the Effective Date, to any proceeds, payments, benefits, Causes of Action, choses
   in action, defense, or indemnity, now existing or hereafter arising, accrued or
   unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
   undisputed, fixed or contingent, arising under or attributable to (i) the Abuse
   Insurance Policies, the Insurance Settlement Agreements, and claims thereunder
   and proceeds thereof, (ii) the Insurance Actions, and (iii) the Insurance Action
   Recoveries (the “Contributing Chartered Organization Insurance Rights”), then
   the Contributing Chartered Organization shall, at the sole cost and expense of the
   Settlement Trust: (a) take such actions reasonably requested by the Settlement
   Trustee to pursue any of the Contributing Chartered Organization Insurance
   Rights for the benefit of the Settlement Trust; and (b) promptly transfer to the
   Settlement Trust any amounts recovered under or on account of any of the
   Contributing Chartered Organization Insurance Rights; provided, however, that
   while any such amounts are held by or under the control of any Contributing
   Chartered Organization, such amounts shall be held for the benefit of the
   Settlement Trust.




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           c.      Participating Chartered Organization Settlement Contribution. The
   Participating Chartered Organizations shall make, cause to be made, or be deemed
   to have made, as applicable, the Participating Chartered Organization Settlement
   Contribution. In addition, to the extent that the Settlement Trust’s allowance of a
   particular Abuse Claim results in an Allowed Claim Amount (as defined in the
   Trust Distribution Procedures) for such Claim that exceeds the available limits of
   the Abuse Insurance Policies potentially applicable to such Claim, then, with
   respect to Post-1975 Chartered Organization Abuse Claims, the Settlement Trust
   shall have the right to assert a claim against applicable Participating Chartered
   Organizations solely to the extent and availability of such Participating Chartered
   Organizations’ own liability insurance (or, if permitted by applicable law, directly
   against such liability insurance), in all cases without recourse to any
   non-insurance assets of such Participating Chartered Organizations. If a
   Participating Chartered Organization is unable to transfer its rights, titles,
   privileges, interests, claims, demands or entitlements, if any, as of the Effective
   Date, to any proceeds, payments, benefits, Causes of Action, choses in action,
   defense, or indemnity, now existing or hereafter arising, accrued or unaccrued,
   liquidated or unliquidated, matured or unmatured, disputed or undisputed, fixed or
   contingent, arising under or attributable to (i) the Abuse Insurance Policies
   (excluding the Chartered Organization Reserved Policies), the Insurance
   Settlement Agreements, and claims thereunder and proceeds thereof, (ii) the
   Insurance Actions, and (iii) the Insurance Action Recoveries (the “Participating
   Chartered Organization Insurance Rights”), then the Participating Chartered
   Organization shall, at the sole cost and expense of the Settlement Trust: (a) take
   such actions reasonably requested by the Settlement Trustee to pursue any of the
   Participating Chartered Organization Insurance Rights for the benefit of the
   Settlement Trust; and (b) promptly transfer to the Settlement Trust any amounts
   recovered under or on account of any of the Participating Chartered Organization
   Insurance Rights; provided, however, that while any such amounts are held by or
   under the control of any Participating Chartered Organization, such amounts shall
   be held for the benefit of the Settlement Trust.

           d.     Claims Deemed Withdrawn with Prejudice. On the Effective Date,
   any and all Claims that have been asserted in the Chapter 11 Cases by or on
   behalf of any Local Council, Participating Chartered Organization, Contributing
   Chartered Organization, or Settling Insurance Company shall be deemed
   withdrawn with prejudice and irrevocably waived, released and expunged from
   the Claims Register without any further notice to or action, order, or approval of
   the Bankruptcy Court, except that any withdrawal, waiver, release or
   expungement of any Claims asserted by Hartford or TCJC shall be governed by
   the terms and conditions of the Hartford Insurance Settlement Agreement and the
   TCJC Settlement Agreement, respectively.          Further, no Local Council,
   Participating Chartered Organization, Contributing Chartered Organization, or
   Settling Insurance Company shall file or assert any Claim or Claims against the
   Debtors or Reorganized BSA arising from any act or omission of the Debtors
   prior to the Confirmation Date, except as provided otherwise in the Hartford



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       Insurance Settlement Agreement (including with respect to the Hartford
       Additional Administrative Expense Claim, if applicable).

               e.      Entitlement to Become a Protected Party. Notwithstanding
       anything to the contrary set forth in the Plan or any other document filed with the
       Bankruptcy Court: (i) no Local Council shall be treated as a Protected Party under
       the Plan if any part of the Cash or Property Contribution (as defined on Exhibit F)
       components of the Local Council Settlement Contribution is not contributed to
       the Settlement Trust on the Effective Date as described on Exhibit F, it being
       understood that the Property contribution shall be deemed to have been
       contributed on the Effective Date for Purposes of this provision when all
       individual Local Councils that are to make a Property Contribution have provided
       a notice of intent to contribute property to the Settlement Trust in accordance with
       the terms of the Property Contribution set forth on Exhibit F; (ii) no Contributing
       Chartered Organization shall be treated as a Protected Party under the Plan until
       its Contributing Chartered Organization Settlement Contribution shall have been
       made; (iii) no Settling Insurance Company shall be treated as a Protected Party
       under the Plan until such Settling Insurance Company shall have made its
       contribution to the Settlement Trust pursuant to an Insurance Settlement
       Agreement, except that Hartford shall be treated as a Settling Insurance Company
       and Protected Party upon the payment of the Initial Payment to the Settlement
       Trust and the payment of the Additional Payment into the Escrow Account (as
       such capitalized terms are defined in the Hartford Insurance Settlement
       Agreement); and (iv) no Participating Chartered Organization shall be treated as a
       Protected Party solely based on the Participating Chartered Organization
       Insurance Assignment.

                f.     Entitlement to Become a Limited Protected Party.
       Notwithstanding anything to the contrary set forth in the Plan or any other
       document filed with the Bankruptcy Court, no Chartered Organization shall be
       treated as a Limited Protected Party under the Plan if it objects to Confirmation of
       the Plan or informs Debtors’ counsel in writing on or before the deadline to object
       to Confirmation of the Plan that it does not wish to make the Chartered
       Organization Insurance Assignment.          Notwithstanding the foregoing, no
       Chartered Organization that is a debtor in bankruptcy as of the Confirmation Date
       (including the Archbishop of Agaña, a Corporation Sole) shall be treated as a
       Participating Chartered Organization unless it advises Debtors’ counsel in writing
       that it wishes to make the Chartered Organization Insurance Assignment.

        2.      JPM / Creditors’ Committee Settlement. The treatment provided for
under the Plan for Allowed 2010 Credit Facility Claims, Allowed 2019 RCF Claims,
Allowed 2010 Bond Claims, Allowed 2012 Bond Claims, Allowed Convenience Claims,
Allowed General Unsecured Claims, and Allowed Non-Abuse Litigation Claims,
together with the terms and conditions of the JPM / Creditors’ Committee Term Sheet,
reflects a proposed compromise and settlement by and among the Debtors, the Creditors’




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        Committee and JPM (the “JPM / Creditors’ Committee Settlement”).2 The following
        constitutes the provisions and conditions of the JPM / Creditors’ Committee Settlement:

                         a.     Allowance and Treatment of 2010 Credit Facility Claims, 2019
                 RCF Claims, 2010 Bond Claims and 2012 Bond Claims. The 2010 Credit
                 Facility Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond
                 Claims shall be Allowed in the amounts set forth in Article III.B and receive the
                 treatment afforded to such Claims thereunder. The Debtors acknowledge and
                 agree that the Claims held by JPM (the 2010 Credit Facility Claims, the 2019
                 RCF Claims, the 2010 Bond Claims and the 2012 Bond Claims), are core to the
                 Debtors’ charitable mission and were incurred in furtherance of the Debtors’
                 charitable mission.

                        b.      Treatment of Convenience Claims, General Unsecured Claims, and
                 Non-Abuse Litigation Claims. Convenience Claims, General Unsecured Claims,
                 and Non-Abuse Litigation Claims shall receive the treatment afforded to such
                 Claims under Article III.B. The Debtors acknowledge and agree that General
                 Unsecured Claims, Convenience Claims, and Non-Abuse Litigation Claims are
                 held by creditors who are core to the Debtors’ charitable mission or creditors
                 whose Claims in such Classes, if Allowed, were incurred in furtherance of the
                 Debtors’ charitable mission; accordingly, payments by Reorganized BSA under
                 the Plan on account of such Allowed Claims, if applicable, will be made from
                 Cash relating to Reorganized BSA’s core assets.

                        c.      Challenge Period. As of the Effective Date, (i) the Challenge
                 Period (as defined in the Cash Collateral Order) shall be deemed to have expired
                 with respect to the Creditors’ Committee; (ii) the Stipulations (as defined in the
                 Cash Collateral Order) and other admissions, agreements and releases set forth in
                 the Cash Collateral Order shall be final and binding on the Creditors’ Committee.
                 The ability of any other party to bring a Challenge Proceeding (as defined in the
                 Cash Collateral Order) shall be governed by the terms and conditions of the Cash
                 Collateral Order.

                3.    Settlement of Restricted and Core Asset Disputes. As a proposed
        compromise and settlement of any and all disputes concerning the Debtors’ restricted
        and/or core assets, including the claims asserted in the complaint filed by the Tort
        Claimants’ Committee in the adversary proceeding entitled Official Tort Claimants’
        Committee of Boy Scouts of America and Delaware BSA, LLC v. Boy Scouts of America
        and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS) (the “Settlement of Restricted
        and Core Asset Disputes”), the Debtors shall: (a) reduce the minimum amount of
        Unrestricted Cash and Investments to be retained by Reorganized BSA on the Effective
        Date from $75,000,000 to $25,000,000 (subject to potential variance as set forth in
        Article V.M); and (b) issue the BSA Settlement Trust Note to the Settlement Trust as of
        the Effective Date in accordance with Article V.X. As further consideration in

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    In the event of a conflict between the terms and conditions of the Plan, on the one hand, and the terms and
    conditions of the JPM / Creditors’ Committee Term Sheet, on the other hand, the terms of the Plan shall control.


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connection with the Settlement of Restricted and Core Asset Disputes, the Debtors have
agreed under the Plan to: (i) fund the Core Value Cash Pool, in the amount of
$25,000,000; and (ii) make the BSA Settlement Trust Contribution, including all of the
Net Unrestricted Cash and Investments. The proceeds of the Foundation Loan, in the
amount of $42,800,000 (which Reorganized BSA will use exclusively for working capital
and general corporate purposes), will permit the Debtors to contribute to the Settlement
Trust a substantial amount of core value consideration in Cash on the Effective Date.

        4.      Hartford Insurance Settlement. The Plan incorporates the Hartford
Insurance Settlement Agreement, which, upon its execution by all of the parties thereto,
shall be filed with the Plan Supplement and attached hereto as Exhibit I-1, and the Plan
shall constitute a motion by the Debtors for the Bankruptcy Court to approve the
proposed compromises and settlements and sale of the Hartford Policies set forth in the
Hartford Insurance Settlement Agreement (the “Hartford Insurance Settlement”),
pursuant to sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code and
Bankruptcy Rule 9019, including approval of (i) the Hartford Insurance Settlement
Agreement, (ii) the sale by the Debtors and the Estates, and the purchase by Hartford, of
the Hartford Policies, free and clear of all Interests of any Person or Entity (as such terms
are defined in the Hartford Insurance Settlement Agreement; for the avoidance of doubt,
the term “Interests” as used in this Article V.S.4 shall have the meaning given to the term
“‘Interests” in the Hartford Insurance Settlement Agreement, rather than as such term is
defined in Article I of this Plan), provided that the Interests, if any, of Chartered
Organizations under the Hartford Policies shall, to the extent such Chartered
Organizations are not beneficiaries of the Channeling Injunction, attach to the proceeds
of the sale of the Hartford Policies, (iii) the settlement, compromise and release of the
Hartford Released Claims (as defined in the Hartford Insurance Settlement Agreement)
as provided in the Hartford Insurance Settlement Agreement, and (iv) the Allowance of
the Hartford Administrative Expense Claim. The Confirmation Order shall constitute the
Bankruptcy Court’s approval of such motion pursuant to sections 363, 503(b), 507(a)(2),
1123 and 1141 of the Bankruptcy Code and Bankruptcy Rule 9019 and Allowance of the
Hartford Administrative Expense Claim and shall include findings of fact and
conclusions of law pertaining to such approval, in form and substance acceptable to
Hartford, including findings and conclusions designating Hartford as a good-faith
purchaser of the Hartford Policies.

       5.      TCJC Settlement. The Plan incorporates the TCJC Settlement Agreement,
which, upon its execution by all of the parties thereto, shall be filed with the Plan
Supplement and attached hereto as Exhibit J-1, and the Plan shall constitute a motion by
the Debtors for the Bankruptcy Court to approve the proposed compromises and
settlements set forth in the TCJC Settlement Agreement (the “TCJC Settlement”)
pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, including,
as provided in the TCJC Settlement Agreement, payment of the TCJC Settlement
Contribution to the Settlement Trust as a compromise and settlement of all TCJC Abuse
Claims, TCJC Claims, and disputes relating to the Plan, including the TCJC Insurance
Rights (as such terms are defined in the TCJC Settlement Agreement). The Confirmation
Order shall constitute the Bankruptcy Court’s approval of such motion pursuant to
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and shall include


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       findings of fact and conclusions of law pertaining to such approval, in form and
       substance acceptable to TCJC.

         T.     Payment of Coalition Restructuring Expenses. On or as soon as reasonably
practicable after the Effective Date, Reorganized BSA shall reimburse state court counsel for
amounts they have paid to the Coalition Professionals for, and/or pay the Coalition Professionals
for amounts payable by state court counsel but not yet paid to Coalition Professionals for,
reasonable, documented, and contractual professional advisory fees and expenses incurred by the
Coalition Professionals (the “Coalition Restructuring Expenses”) from the Coalition’s inception
up to and including the Effective Date, up to a maximum amount equal to (a) $950,000 per
month for the period from August 16, 2021 up to and including the Effective Date (pro-rated for
any partial month), plus (b) $10,500,000; provided, however, that, without limiting the
foregoing, under no circumstance shall the Debtors or Reorganized BSA have any obligation to
(i) pay or reimburse the Coalition, any of its members, or any Persons affiliated with the
Coalition for any costs, fees or expenses other than the Coalition Restructuring Expenses or
(ii) pay or reimburse any Coalition Restructuring Expenses that constitute transaction, success or
similar contingent fees. The Coalition shall provide the Debtors a reasonable estimate of the
total Coalition Restructuring Expenses as of the Effective Date no later than the date that is five
(5) Business Days before the anticipated Effective Date. Notwithstanding anything to the
contrary in the Plan, the Coalition Restructuring Expenses shall be subject to the terms of Article
II.A.2, with the following modifications: (x) Coalition Professionals shall comply with the
procedures and processes set forth in Article II.A.2 by filing final fee application(s), which, for
attorneys or law firms who are Coalition Professionals, shall include time entry detail, which
may be redacted for privilege; and (y) payment or reimbursement of Coalition Restructuring
Expenses shall be subject to the review and procedure of the Fee Examiner. For the avoidance
of doubt, the Coalition Professionals shall not be considered retained professionals of the
Debtors, the Creditors’ Committee, the Tort Claimants’ Committee, or the Future Claimants’
Representative, and the retention of the Coalition Professionals shall not have been required to
satisfy the standards for retention set forth in sections 327, 328 or 1103 of the Bankruptcy Code.

        U.      Good-Faith Compromise and Settlement. The Plan (including its incorporation of
the Abuse Claims Settlement, the Hartford Insurance Settlement, the JPM / Creditors’
Committee Settlement, the TCJC Settlement, and the Settlement of Restricted and Core Asset
Disputes), the Plan Documents, and the Confirmation Order constitute a good-faith compromise
and settlement of Claims, Interests and controversies based upon the unique circumstances of
these Chapter 11 Cases, and none of the foregoing documents, the Disclosure Statement, or any
other papers filed in furtherance of Confirmation, nor any drafts of such documents, may be
offered into evidence or deemed as an admission in any context whatsoever beyond the purposes
of the Plan, in any other litigation or proceeding, except as necessary, and as admissible in such
context, to enforce their terms before the Bankruptcy Court or any other court of competent
jurisdiction. The Plan, the Abuse Claims Settlement, the Hartford Insurance Settlement, the JPM
/ Creditors’ Committee Settlement, the TCJC Settlement, the Settlement of Restricted and Core
Asset Disputes, the Plan Documents, and the Confirmation Order will be binding as to the
matters and issues described therein, but will not be binding with respect to similar matters or
issues that might arise in any other litigation or proceeding in which none of the Debtors,
Reorganized BSA, the Protected Parties, or the Settlement Trust is a party.



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V.      Restated Debt and Security Documents.

         1.     On the Effective Date, the Prepetition Debt and Security Documents shall
be amended and restated in the form of the Restated Debt and Security Documents, and
Reorganized BSA, JPM and Arrow shall, and shall be authorized, to execute, deliver and
enter into the Restated Debt and Security Documents as of such date, in principal
amounts equal to the Allowed amounts set forth in Article III.B.3, Article III.B.4, Article
III.B.5, and Article III.B.6 without the need for any further corporate action or any further
notice to or order of the Bankruptcy Court. The Debtors or Reorganized BSA, as
applicable, JPM, and Arrow shall take all actions necessary to continue the Debtors’
obligations under the Prepetition Debt and Security Documents, as amended and restated
by the Restated Debt and Security Documents and to give effect to the Restated Debt and
Security Documents, including surrendering any debt instruments or securities that are no
longer applicable under the Restated Debt and Security Documents to the Debtors or
Reorganized BSA. Entry of the Confirmation Order shall be deemed approval of the
JPM Exit Fee, and Reorganized BSA is authorized and directed to pay the JPM Exit Fee
to JPM on the Effective Date.

        2.      Except as otherwise modified by the Restated Debt and Security
Documents, all Liens, mortgages and security interests securing the obligations arising
under the Restated Debt and Security Documents that were collateral securing the
Debtors’ obligations under the Prepetition Debt and Security Documents as of the
Petition Date are unaltered by the Plan, and all such Liens, mortgages and security
interests are reaffirmed and perfected with respect to the Restated Debt and Security
Documents to the same extent, in the same manner and on the same terms and priorities
as they were under the Prepetition Debt and Security Documents, except as the foregoing
may be modified pursuant to the Restated Debt and Security Documents. All Liens and
security interests granted and continuing pursuant to the Restated Debt and Security
Documents shall be (a) valid, binding, perfected, and enforceable Liens and security
interests in the personal and real property described in and subject to such documents,
with the priorities established in respect thereof under applicable non-bankruptcy law; (b)
granted in good faith and deemed not to constitute a fraudulent conveyance or fraudulent
transfer; and (c) not otherwise subject to avoidance, recharacterization, or subordination
(whether equitable, contractual or otherwise) under any applicable law. The Debtors,
Reorganized BSA, Arrow, and JPM are authorized to make, and to the extent required by
the Restated Debt and Security Documents, the Debtors, Reorganized BSA, Arrow will
make, all filings and recordings, and obtain all governmental approvals and consents
necessary (but otherwise consistent with the consents and approvals obtained in
connection with the Prepetition Debt and Security Documents) to establish, attach and
perfect such Liens and security interests under any applicable law (it being understood
that perfection shall occur automatically by virtue of the entry of the Confirmation Order
and any such filings, recordings, approvals, and consents shall not be required), and will
thereafter cooperate to make all other filings and recordings that otherwise would be
necessary under applicable law to give notice of such Liens and security interests to third
parties. For purposes of all mortgages and deposit account control agreements that
secured the obligations arising under the Prepetition Debt and Security Documents, the
Restated Debt and Security Documents are deemed an amendment and restatement of the


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Prepetition Debt and Security Documents, and such mortgages and control agreements
shall survive the Effective Date, shall not be cancelled, and shall continue to secure
Reorganized BSA’s obligations under the Restated Debt and Security Documents, except
as expressly set forth therein.

        3.     The definitive terms of the Restated Debt and Security Documents shall be
(x) acceptable to JPM and the BSA, (y) reasonably acceptable to the Creditors’
Committee, and (z) substantially the same as the Prepetition Debt and Security
Documents, except that, as to be specified in the Restated Debt and Security Documents:

               a.     the maturity dates under the Restated 2010 Bond Documents, the
       Restated 2012 Bond Documents, and the Restated Credit Facility Documents will
       be the Restated Maturity Date;

              b.     principal under the Restated 2010 Bond Documents and the
       Restated 2012 Bond Documents shall be payable in monthly installments, in the
       same monthly amounts as the prepetition periodic amortization amounts,
       beginning on the date that is two (2) years after the Effective Date and ending on
       the Restated Maturity Date; provided, that the scheduled principal amounts
       payable under the Restated 2010 Bond Documents and the Restated 2012 Bond
       Documents shall be reduced, on a pro rata basis, by an amount equal to the Excess
       Cash and Investments, if any, that are remitted to JPM under the Excess Cash
       Sweep;

              c.     interest under the Restated 2010 Bond Documents and the Restated
       2012 Bond Documents shall be payable in monthly installments, at the currently
       applicable existing rates in the 2010 Bond Documents and the 2012 Bond
       Documents, beginning on the date that is one month after the Effective Date and
       ending on the Restated Maturity Date;

               d.      principal under the Restated Credit Facility Documents shall be
       payable in quarterly installments, set at 1/40th of the outstanding balance on the
       Effective Date, beginning on the date that is two (2) years after the Effective Date
       and ending on the Restated Maturity Date; provided, that the principal amounts
       payable under the Restated Credit Facility Documents shall be reduced, on a pro
       rata basis, by an amount equal to the Excess Cash and Investments, if any, that are
       remitted to JPM under the Excess Cash Sweep;

               e.     interest under the Restated Credit Facility Documents shall be
       payable in quarterly installments at the applicable existing rates in the Prepetition
       Debt and Security Documents, beginning on the date that is three (3) months after
       the Effective Date and ending on the Restated Maturity Date;

               f.       all of the obligations of Reorganized BSA under the Restated Debt
       and Security Documents shall be secured by first-priority liens on and security
       interests in all of the assets of Reorganized BSA;




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              g.     all of the obligations of Reorganized BSA under the Restated Debt
       and Security Documents shall be guaranteed by Arrow; and

               h.      beginning on December 31 of the calendar year that is two (2)
       years after the Effective Date and continuing on December 31 of each successive
       calendar year until December 31 of the calendar year that is immediately prior to
       the calendar year of the Restated Maturity Date, Reorganized BSA shall remit to
       JPM, as soon as reasonably practicable but in no case later than thirty (30) days of
       such date, twenty-five percent (25%) of the Excess Cash and Investments in
       excess of $75,000,000, if any, as of such date, measured on a pro forma basis after
       having given effect to the principal payment, if any, due on February 15 of the
       following year under the BSA Settlement Trust Note, if applicable (the “Excess
       Cash Sweep”), and JPM shall apply any such amounts on a pro rata basis to the
       unpaid principal balances under the Restated Debt and Security Documents. For
       the avoidance of doubt, no payments shall be made on account of the Excess Cash
       Sweep until the last Distribution is made on account of Allowed General
       Unsecured Claims.

         4.      Except as provided for in an Insurance Settlement Agreement, neither any
provision of the Plan nor the occurrence of the Effective Date shall alter, amend, or
otherwise impair the rights and obligations of the Debtors, Reorganized BSA, JPM, or
any applicable Insurance Company holding one or more letters of credit issued by JPM to
secure obligations arising under one or more BSA Insurance Policies. Without limiting
the foregoing, nothing in the Plan or the Confirmation Order shall preclude any such
Insurance Company from exercising any applicable rights on any such letter of credit
issued, or other security provided, for the benefit of the Insurance Company in
accordance with the terms and conditions of the documents governing such letter of
credit or other security, or applying amounts therefrom to any Claim secured by such
letter of credit or other security, and the Debtors, Reorganized BSA, and JPM reserve any
and all rights with respect to such Insurance Company’s exercise of any applicable rights.

W.     Foundation Loan.

        1.      On the Effective Date, the Foundation Loan Agreement and any applicable
collateral and other loan documents governing the Foundation Loan shall be executed and
delivered, and Reorganized BSA shall be authorized to execute, deliver and enter into,
the Foundation Loan Agreement and related documentation governing the Foundation
Loan without the need for any further corporate action or any further notice to or order of
the Bankruptcy Court.

        2.     As of the Effective Date, upon the granting of Liens in accordance with
the Foundation Loan Agreement and any applicable collateral and other loan documents
governing the Foundation Loan, all of the Liens and security interests granted thereunder
(a) shall be deemed to have been granted, (b) shall be legal, binding, automatically
perfected, non-avoidable, and enforceable Liens on, and security interests in, the
applicable collateral as of the Effective Date in accordance with the respective terms of
the Foundation Loan Agreement and related documentation, subject to the Liens and


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       security interests set forth in the Restated Debt and Security Documents, as permitted
       under the Foundation Loan Agreement and related documentation. All Liens and security
       interests granted pursuant to the Foundation Loan Agreement and related documentation
       shall be (i) valid, binding, perfected, and enforceable Liens and security interests in the
       personal and property described in and subject to such documents, with the priorities
       established in respect thereof under applicable non-bankruptcy law; (ii) granted in good
       faith and deemed not to constitute a fraudulent conveyance or fraudulent transfer; and
       (c) not otherwise subject to avoidance, recharacterization, or subordination (whether
       equitable, contractual or otherwise) under any applicable law. The Debtors, Reorganized
       BSA, Arrow, and the Foundation are authorized to make, and to the extent contemplated
       by the Foundation Loan Agreement and related documentation, the Debtors, Reorganized
       BSA, Arrow will make, all filings and recordings, and obtain all governmental approvals
       and consents necessary to establish, attach and perfect such Liens and security interests
       under any applicable law (it being understood that perfection shall occur automatically by
       virtue of the entry of the Confirmation Order and any such filings, recordings, approvals,
       and consents shall not be required), and will thereafter cooperate to make all other filings
       and recordings that otherwise would be necessary under applicable law to give notice of
       such Liens and security interest to third parties.

        X.      BSA Settlement Trust Note. On the Effective Date, Reorganized BSA shall
execute, issue and deliver the BSA Settlement Trust Note to the Settlement Trust and execute
and deliver any related documentation governing the BSA Settlement Trust Note, including any
related security agreement, without the need for any further corporate action or any further notice
to or order of the Bankruptcy Court. The BSA Settlement Trust Note will commence on the
Effective Date and will be due ninety-one (91) days after the date that is ten (10) years after the
Effective Date and shall bear interest at a rate of 5.5% per annum, payable semi-annually, subject
to a payment-in-kind election for the eighteen (18) months immediately following the Effective
Date. The obligations of Reorganized BSA under the BSA Settlement Trust Note shall be
secured by second-priority liens on and security interests in inventory, accounts receivable
(except the Arrow Intercompany Note), Cash and the Headquarters. Principal under the BSA
Settlement Trust Note shall be payable in annual installments due on February 15 of each year
during the term of the BSA Settlement Trust Note, commencing on February 15 of the second
year following the Effective Date. Such annual principal payments shall be equal to the sum of
the following calculation: (a) $4,500,000; plus (b) $3.50 multiplied by the aggregate number of
Youth Members as of December 31 of the preceding year up to the forecasted number of Youth
Members for such year as set forth in the Debtors’ five-year business plan; plus (c) $50
multiplied by the aggregate number of High Adventure Base Participants during the preceding
calendar year; plus (d) $50 multiplied by the aggregate number of Youth Members in excess of
the forecasted number of Youth Members for such year, excluding the portion of the excess that
is comprised of members under the ScoutReach program, as set forth in the Debtors’ five-year
business plan; plus (e) $150 multiplied by the aggregate number of High Adventure Base
Participants, excluding those attending events with a registration fee of less than $300 (e.g., for
non-typical High Adventure Base activities), in excess of the forecasted number of High
Adventure Base Participants for such year as set forth in the Debtors’ five-year business plan.
The forecasted numbers of Youth Members and High Adventure Base Participants referenced in
clauses (b), (d) and (e) of the foregoing sentence are included in the Financial Projections
attached to the Disclosure Statement. The forecast for years after 2025 shall be deemed to be the


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forecast for calendar year 2025. The BSA Settlement Trust Note may be prepaid at any time
without penalty.

        Y.      DST. The DST shall be established on the Effective Date in accordance with the
DST Agreement. The purposes of the DST shall be to: (1) issue the DST Note to the Settlement
Trust as of the Effective Date; (2) collect, manage and invest Cash contributed by Local Councils
on a monthly basis to an account (and any replacement thereof) owned by the DST in accordance
with the DST Note Mechanics; and (3) make annual payments (a) to the Pension Plan or (b)
toward principal and interest on the DST Note, as determined in accordance with the DST Note
Mechanics and the DST Agreement. In the event of a conflict between the terms or provisions of
the Plan and the DST Agreement, the terms of the Plan shall control.

        Z.     Pension Plan. No provision contained in the Plan, Confirmation Order, the
Bankruptcy Code (including section 1141 of the Bankruptcy Code), or any other document filed
or order entered in the Chapter 11 Cases shall be construed to exculpate, discharge, release or
relieve the Debtors, the Local Councils, or any other party, in any capacity, from any liability or
responsibility to any Person with respect to the Pension Plan under any law, governmental
policy, or regulatory provision. The Pension Plan shall not be enjoined or precluded from
enforcing any such liability or responsibility as a result of any of the provisions of the Plan
(including those provisions providing for exculpation, satisfaction, release and discharge of
Claims against the Debtors), the Confirmation Order, the Bankruptcy Code (including section
1141 of the Bankruptcy Code), or any other document filed or order entered in the Chapter 11
Cases. The Settlement Trust shall not have any liability to any Person on account of the Pension
Plan, including liability as a member of a “Controlled Group” as defined in 29 U.S.C.
§ 1301(a)(14)(A) or on any other basis whatsoever.

As of the Effective Date, Reorganized BSA shall assume and continue the Pension Plan to the
extent of its obligations under the Pension Plan and applicable law, including, as applicable,
(1) satisfaction of the minimum funding requirements under 26 U.S.C. §§ 412 and 430 and 29
U.S.C. §§ 1082 and 1083, (2) payment of all required Pension Benefit Guaranty Corporation
premiums in accordance with 29 U.S.C. §§ 1306 and 1307, and (3) administration of the Pension
Plan in all material respects in accordance with the applicable provisions of the Employee
Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1301 et seq., and the Internal
Revenue Code. Notwithstanding the foregoing, Reorganized BSA reserves all of its rights under
the Pension Plan. All Proofs of Claim filed by the Pension Benefit Guaranty Corporation with
respect to the Pension Plan shall be deemed withdrawn on the Effective Date.

        AA. Single Satisfaction of Allowed General Unsecured Claims. In no event shall any
holder of an Allowed General Unsecured Claim recover more than the full amount of its
Allowed General Unsecured Claim from the Core Value Cash Pool (plus interest from the Core
Value Cash Pool at the federal judgment rate to the extent applicable under the terms hereof),
and to the extent that the holder of an Allowed General Unsecured Claim has received, or in the
future receives, payment on account of such Allowed General Unsecured Claim from a party that
is not a Debtor or Reorganized BSA, such holder shall repay, return, or deliver to the Core Value
Cash Pool any Distribution held by or transferred to such holder to the extent the holder’s total
recovery on account of its Allowed General Unsecured Claim from the third party and from the
Core Value Cash Pool exceeds the amount of such holder’s Allowed General Unsecured Claim


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(plus interest from the Core Value Cash Pool at the federal judgment rate to the extent applicable
under the terms hereof).

        BB. Exemption from Certain Transfer Taxes and Recording Fees. To the maximum
extent permitted pursuant to section 1146(a) of the Bankruptcy Code and applicable law, any
transfers of property pursuant to the Plan, including any transfers to the Settlement Trust by the
Debtors, the Local Councils, the Contributing Chartered Organizations, and the Settling
Insurance Companies, and payments by Reorganized BSA to or from the Core Value Cash Pool,
shall not be taxed under any law imposing a stamp tax or similar tax.

       CC. Non-Monetary Commitments. The Debtors shall take the following actions to
promote healing and reconciliation and to continue the Debtors’ efforts to prevent Abuse from
occurring in Scouting in the future:

               1.     The Debtors shall form a committee (the “Child Protection Committee”)
       of members from the BSA, Local Councils, the Tort Claimants’ Committee, and the
       Coalition (including survivors). The functions of the Child Protection Committee include
       the following:

                      a.      No later than six months after the Effective Date, the BSA will
               present to the Committee on the BSA’s current Youth Protection Program (the
               “Youth Protection Program”). The BSA will report to the Child Protection
               Committee regarding the Youth Protection Program and any changes thereto on
               an annual basis for a period of three years following the Effective Date.

                      b.      Following that presentation, the BSA and Child Protection
               Committee will work with an entity engaged by the BSA that is selected with the
               consultation of the Child Protection Committee that is not currently affiliated with
               the BSA to evaluate the Youth Protection Program (the “Evaluating Entity”). The
               Evaluating Entity will have expertise in the prevention of youth sexual abuse.

                              (i)    Any evaluation will be comprehensive in nature and
                      include input from current BSA volunteers and professionals, survivors of
                      sexual abuse while involved with Scouting, the members of the Child
                      Protection Committee, and the Evaluating Entity.

                              (ii)  The Evaluating Entity will report to the Child Protection
                      Committee assessing the current Youth Protection Program and make
                      specific recommendations for reasonable improvements to the Youth
                      Protection Program that may include mechanisms for the elimination of
                      abuse and accurate and annual reporting regarding the results of the Youth
                      Protection Program, including confirmed instances of sexual abuse that is
                      made available to the public (the “Prospective Reporting”).

                             (iii)   The BSA will engage with the Evaluating Entity, and the
                      Child Protection Committee, and will take appropriate steps as necessary
                      to improve the Program. Changes to the Youth Protection Program will be



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               reported on the BSA’s Youth Protection Program website and training will
               be reasonably adjusted to reflect changes.

                 c.      The BSA will propose and the Child Protection Committee will
        consider a protocol for the review and publication of information in the Volunteer
        Screening Database and the Prospective Reporting, which will take into account
        factors including: (i) the desire to make public credibly identified perpetrators of
        sexual abuse in Scouting; (ii) adequate protections for survivor identities;
        (iii) consideration regarding the protection of third parties, including survivor
        family members and volunteers; (iv) a notification process regarding any
        publication; (v) issues related to privacy and liability related to publication; and
        (vi) the potential appointment or retention of an appropriate neutral party to
        supervise the evaluation and review of the Volunteer Screening Database (the
        “Neutral Supervisor”). If the BSA and Child Protection Committee are unable to
        reach an agreement on the above protocol, the Neutral Supervisor shall mediate
        the dispute to resolution. In accordance with the process outlined above,
        information from the Volunteer Screening Database and Prospective Reporting
        shall be published annually after agreement among the parties or determination by
        the Neutral Supervisor.

                d.     After consultation and recommendations from the Evaluating
        Entity, the Child Protection Committee may propose and the BSA will in good
        faith consider other issues relating to child protection, including: (i) special BSA
        Scouting programs for survivors; and (ii) participation and leadership in a
        comprehensive reporting program to include other youth-serving organizations.

                 e.      The BSA will engage with the Child Protection Committee and
        consider all appropriate measures proposed by the Child Protection Committee to
        improve transparency and accountability with respect to any future instances of
        sexual abuse, including the dissemination of information relating to abuse
        statistics, consistent with practices of other youth-serving organizations, including
        what information may be publically available on the BSA’s website.

                                  ARTICLE VI.

         EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Assumption and Rejection of Executory Contracts and Unexpired Leases.

       1.      On the Effective Date, except as otherwise provided herein, all Executory
Contracts and Unexpired Leases shall be deemed assumed by Reorganized BSA without
the need for any further notice to or action, order, or approval of the Bankruptcy Court
under sections 365 or 1123 of the Bankruptcy Code, except for Executory Contracts or
Unexpired Leases: (a) that are identified on the Rejected Contracts and Unexpired Leases
Schedule; (b) that previously expired or terminated pursuant to their terms; (c) that the
Debtors have previously assumed or rejected pursuant to a Final Order of the Bankruptcy
Court; (d) that are the subject of a motion to reject that remains pending as of the


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       Effective Date; (e) as to which the effective date of rejection will occur (or is requested
       by the Debtors to occur) after the Effective Date; or (f) as to which the Debtors or
       Reorganized BSA, as applicable, determine, in the exercise of their reasonable business
       judgment, that the Cure Amount, as determined by a Final Order or as otherwise finally
       resolved, would render assumption of such Executory Contract or Unexpired Lease
       unfavorable to Debtors or Reorganized BSA; provided that the Debtors reserve the right
       to seek enforcement of an assumed or assumed and assigned Executory Contract or
       Unexpired Lease following the Confirmation Date, including seeking an order of the
       Bankruptcy Court rejecting such Executory Contract or Unexpired Lease for cause.

               2.      Entry of the Confirmation Order shall constitute an order of the
       Bankruptcy Court approving the assumption or rejection, as applicable, of Executory
       Contracts or Unexpired Leases pursuant to the Plan, pursuant to sections 365 and 1123 of
       the Bankruptcy Code. Except as otherwise set forth herein, the assumption or rejection
       of an Executory Contract or Unexpired Lease pursuant to the Plan shall be effective as of
       the Effective Date; provided that the rejection of an Unexpired Lease shall be effective as
       of the later of: (a) the Effective Date; and (b) the date on which the leased premises are
       unconditionally surrendered to the non-Debtor counterparty to the rejected Unexpired
       Lease. Reorganized BSA is authorized to abandon any De Minimis Assets at or on the
       premises subject to an Unexpired Lease that is rejected pursuant to the Plan, and the
       non-Debtor counterparty to such Unexpired Lease may dispose of any such De Minimis
       Assets remaining at or on the leased premises on the applicable lease rejection date.

               3.     Each Executory Contract or Unexpired Lease assumed pursuant to the
       Plan or a Final Order of the Bankruptcy Court shall re-vest in and be fully enforceable by
       Reorganized BSA in accordance with its terms, except as such terms may have been
       modified by the provisions of the Plan, the Confirmation Order, or any Final Order of the
       Bankruptcy Court authorizing and providing for its assumption. Any motions to assume
       Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject
       to approval by a Final Order on or after the Effective Date but may be withdrawn, settled,
       or otherwise prosecuted by Reorganized BSA.

        B.      Rejection Damages Claims. Unless otherwise provided by a Final Order of the
Bankruptcy Court, all Proofs of Claim for Rejection Damages Claims, if any, shall be filed
within thirty (30) days after the latest to occur of: (1) the date of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection; (2) the effective
date of the rejection of such Executory Contract or Unexpired Lease; or (3) the Effective Date
(as applicable, the “Rejection Damages Bar Date”). Claims arising from the rejection of an
Executory Contract or an Unexpired Lease shall be classified as General Unsecured Claims and
subject to the provisions of Article VII and the applicable provisions of the Bankruptcy Code and
the Bankruptcy Rules. Any holder of a Rejection Damages Claim that is required to file a
Proof of Claim in accordance with this Article VI.B but fails to do so on or before the
Rejection Damages Bar Date shall not be treated as a creditor with respect to such Claim
for the purposes of voting or Distributions, and such Rejection Damages Claim shall be
automatically Disallowed, forever barred from assertion, and unenforceable against the
Debtors, their Estates, Reorganized BSA, or its or their respective property, whether by
setoff, recoupment, or otherwise, without the need for any objection by the Debtors or


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Reorganized BSA or further notice to, or action, order, or approval of the Bankruptcy
Court, and such Rejection Damages Claim shall be deemed fully satisfied, released, and
discharged.

      C.      Cure of Defaults under Executory Contracts and Unexpired Leases.

              1.      Any monetary defaults under each Executory Contract and Unexpired
      Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1)
      of the Bankruptcy Code, by payment of the Cure Amount in Cash on the Effective Date
      or in the ordinary course of the Debtors’ or Reorganized BSA’s non-profit operations,
      subject to the limitation described below.

              2.      Except as otherwise provided in the Plan, the Debtors shall, on or before
      the date of filing of the Plan Supplement, cause the Cure and Assumption Notices to be
      served on counterparties to Executory Contracts and Unexpired Leases to be assumed
      pursuant to the Plan. Any objection by a non-Debtor counterparty to an Executory
      Contract or Unexpired Lease to the assumption, assumption and assignment, the related
      Cure Amount, or adequate assurance, must be filed, served, and actually received by the
      Debtors on or prior to the deadline for filing objections to the Plan (or such later date as
      may be provided in the applicable Cure and Assumption Notice); provided that each
      counterparty to an Executory Contract or Unexpired Lease (a) that the Debtors later
      determine to assume or (b) as to which the Debtors modify the applicable Cure Amount,
      must object to the assumption or Cure Amount, as applicable, by the earlier of: (i)
      fourteen (14) days after the Debtors serve such counterparty with a corresponding Cure
      and Assumption Notice; and (ii) the Confirmation Hearing. Any counterparty to an
      Executory Contract or Unexpired Lease that fails to timely object to the proposed
      assumption of any Executory Contract or Unexpired Lease shall be forever barred,
      estopped, and enjoined from contesting the Debtors’ assumption of the applicable
      Executory Contract or Unexpired Lease and from requesting payment of a Cure
      Amount that differs from the amounts paid or proposed to be paid by the Debtors
      or Reorganized BSA, in each case without the need for any objection by the Debtors
      or Reorganized BSA or any further notice to or action, order, or approval of the
      Bankruptcy Court. Reorganized BSA may settle any dispute regarding a Cure
      Amount without any further notice to or action, order, or approval of the
      Bankruptcy Court.

              3.      To the maximum extent permitted by law, to the extent any provision in
      any Executory Contract or Unexpired Lease assumed, or assumed and assigned, pursuant
      to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or would
      be deemed breached by, the assumption or assumption and assignment of such Executory
      Contract or Unexpired Lease (including any change of control or similar provision), then
      such provision shall be deemed preempted and modified such that neither the Debtors’
      assumption or assumption and assignment of the Executory Contract or Unexpired Lease
      nor any of the transactions contemplated by the Plan shall entitle the non-debtor
      counterparty to terminate or modify such Executory Contract or Unexpired Lease or to
      exercise any other purported default-related rights thereunder.



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               4.     The Debtors’ assumption or assumption and assignment of any
       Executory Contract or Unexpired Lease pursuant to the Plan or otherwise, and
       payment of any applicable Cure Amount in accordance with the procedures set
       forth in this Article VI.C, shall result in the full release and satisfaction of any
       Claims or defaults, whether monetary or nonmonetary, including defaults of
       provisions restricting the change in control or ownership interest composition or
       other bankruptcy-related defaults, arising under any assumed, or assumed and
       assigned, Executory Contract or Unexpired Lease at any time prior to the effective
       date of assumption. Any and all Proofs of Claim based upon Executory Contracts
       or Unexpired Leases that have been assumed in the Chapter 11 Cases, including
       pursuant to the Confirmation Order, shall be deemed Disallowed and expunged as
       of the later of: (a) the date of entry of an order of the Bankruptcy Court (including
       the Confirmation Order) approving such assumption; (b) the effective date of such
       assumption; or (c) the Effective Date, in each case without the need for any
       objection by the Debtors or Reorganized BSA or any further notice to or action,
       order, or approval of the Bankruptcy Court.

        D.      Dispute Resolution. In the event of a timely filed objection regarding: (1) a Cure
Amount; (2) the ability of Reorganized BSA or any assignee to provide adequate assurance of
future performance within the meaning of section 365 of the Bankruptcy Code under the
Executory Contract or Unexpired Lease to be assumed; or (3) any other matter pertaining to
assumption or the requirements of section 365(b)(1) of the Bankruptcy Code, such dispute shall
be resolved by a Final Order of the Bankruptcy Court (which may be the Confirmation Order) or
as may be agreed upon by the Debtors or Reorganized BSA, as applicable, and the counterparty
to the Executory Contract or Unexpired Lease. The Debtors or Reorganized BSA, applicable,
shall pay the applicable Cure Amount as soon as reasonably practicable after entry of a Final
Order resolving such dispute and approving such assumption, or as may otherwise be agreed
upon by the Debtors or Reorganized BSA, as applicable, and the counterparty to the Executory
Contract or Unexpired Lease. To the extent that a dispute regarding the applicable Cure Amount
is resolved or determined unfavorably to the Debtors, the Debtors may, in their discretion, reject
the applicable Executory Contract or Unexpired Lease after such determination, which rejection
shall supersede, nullify, and render of no force or effect any earlier assumption or assumption
and assignment. Under no circumstances shall the status of payment of a Cure Amount required
by section 365(b)(1) of the Bankruptcy Code following the entry of a Final Order resolving the
dispute and approving the assumption prevent or delay implementation of the Plan or the
occurrence of the Effective Date.

        E.     Contracts and Leases Entered into After the Petition Date. Contracts and leases
entered into after the Petition Date by the BSA, including any Executory Contracts and
Unexpired Leases assumed by BSA, will be performed by the BSA or Reorganized BSA in the
ordinary course of its charitable non-profit operations. Accordingly, such contracts and leases
(including any assumed Executory Contract and Unexpired Leases) shall survive and remain
unaffected by entry of the Confirmation Order.




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       F.      Insurance Policies.

               1.      Notwithstanding anything to the contrary herein, all Insurance Policies
       issued or entered into prior to the Petition Date shall not be considered Executory
       Contracts and shall neither be assumed nor rejected by the Debtors; provided, however,
       that to the extent any Insurance Policy is determined to be an Executory Contract, then,
       subject to Article IV.V, and notwithstanding anything contained in the Plan to the
       contrary, the Plan will constitute a motion to assume such Insurance Policy and pay all
       future obligations, if any, in respect thereof and, subject to the occurrence of the Effective
       Date, the entry of the Confirmation Order will constitute approval of such assumption
       pursuant to section 365(a) of the Bankruptcy Code and a finding by the Bankruptcy Court
       that each such assumption is in the best interests of the Debtors, their respective Estates
       and all parties in interest. Unless otherwise determined by the Bankruptcy Court
       pursuant to a Final Order or agreed by the parties thereto prior to the Effective Date, no
       payments are required to cure any defaults of any Debtor existing as of the Confirmation
       Date with respect to any Insurance Policy; and prior payments for premiums or other
       charges made prior to the Petition Date under or with respect to any Insurance Policy
       shall be indefeasible. Moreover, as of the Effective Date, all payments of premiums or
       other charges made by the Debtors on or after the Petition Date under or with respect to
       any Insurance Policy shall be deemed to have been authorized, approved, and ratified in
       all respects without any requirement of further action by the Bankruptcy Court.
       Notwithstanding anything to the contrary contained herein, Confirmation shall not
       discharge, impair or otherwise modify any obligations assumed by the foregoing
       assumption, and each such obligation shall be deemed and treated as an Executory
       Contract that has been assumed by the Debtors under the Plan as to which no Proof of
       Claim need be filed.

               2.     Notwithstanding anything to the contrary contained in the Plan, entry of
       the Confirmation Order shall not discharge, impair, or otherwise modify any indemnity
       obligations assumed as a result of the foregoing assumption of the Insurance Policies that
       are D&O Liability Insurance Policies (and related documents), and each such indemnity
       obligations will be deemed and treated as an Executory Contract that has been assumed
       by the Reorganized Debtors under the Plan as to which no Proof of Claim need be filed.

              3.      Other than the permissibility of the Insurance Assignment, or as otherwise
       provided in the Bankruptcy Code, applicable law, the findings made by the Bankruptcy
       Court in the Confirmation Order or the findings made by the District Court in the
       Affirmation Order, the rights and obligations of the parties under the Insurance Policies,
       including the question of whether any breach has occurred, shall be determined under
       applicable law.

       G.      Compensation and Benefits Programs. Other than those Compensation and
Benefits Programs assumed by the Debtors prior to entry of the Confirmation Order, if any, all of
the Compensation and Benefits Programs entered into before the Petition Date and not since
terminated shall be deemed to be, and shall be treated as though they are, Executory Contracts
under the Plan. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of Reorganized BSA’s assumption and continued maintenance and sponsorship of each of such


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Compensation and Benefits Plan under sections 365 and 1123 of the Bankruptcy Code, and the
Debtors’ and Reorganized BSA’s obligations under the Compensation and Benefits Programs
shall survive and remain unaffected by entry of the Confirmation Order and be fulfilled in the
ordinary course of the Debtors’ and Reorganized BSA’s non-profit operations. Compensation
and Benefits Programs assumed by the Debtors prior to entry of the Confirmation Order shall
continue to be fulfilled in the ordinary course of the Debtors’ non-profit operations from and
after the date of any order of the Bankruptcy Court authorizing the assumption of such
Compensation and Benefits Program. All Claims filed on account of an amounts asserted to be
owed under Compensation and Benefits Programs shall be deemed satisfied and expunged from
the Claims Register as of the Effective Date without any further notice to or action, order, or
approval of the Bankruptcy Court.

       H.      Restoration Plan and Deferred Compensation Plan. On the Effective Date the
Restoration Plan and the Deferred Compensation Plan shall be terminated and, to the extent
applicable, shall be deemed rejected by Reorganized BSA pursuant to section 365 of the
Bankruptcy Code and this Article VI. Claims arising from the Debtors’ rejection of the
Restoration Plan and the Deferred Compensation Plan shall be treated as General Unsecured
Claims hereunder. Holders of Allowed Claims arising from such rejection shall be entitled to a
recovery from the Core Value Cash Pool in accordance with the applicable terms of the Plan.

        I.     Workers’ Compensation Program. As of the Effective Date, the Debtors and
Reorganized BSA shall continue to honor their obligations under: (a) all applicable workers’
compensation laws in all applicable states; and (b) the Workers’ Compensation Program. All
Proofs of Claims on account of workers’ compensation, including the Workers’ Compensation
Program, shall be deemed withdrawn automatically and without any further notice to or action,
order, or approval of the Bankruptcy Court; provided, however, that nothing in the Plan shall
limit, diminish, or otherwise alter the Debtors’ or Reorganized BSA’s defenses, Causes of
Action, or other rights under applicable non-bankruptcy law with respect to the Workers’
Compensation Programs; provided further, however, that nothing herein shall be deemed to
impose any obligations on the Debtors or their insurers in addition to what is provided for under
the terms of the Workers’ Compensation Programs and applicable state law.

       J.      Indemnification Obligations.

               1.     Notwithstanding anything in the Plan to the contrary, each Indemnification
       Obligation shall be assumed by Reorganized BSA effective as of the Effective Date,
       pursuant to sections 365 and 1123 of the Bankruptcy Code or otherwise, except for any
       Indemnification Obligation that is or is asserted to be owed to or for the benefit of any
       Perpetrator. Subject to the foregoing sentence, each Indemnification Obligation shall
       remain in full force and effect, shall not be modified, reduced, discharged, impaired, or
       otherwise affected in any way, and shall survive Unimpaired and unaffected, irrespective
       of when such obligation arose. For the avoidance of doubt, this Article VI.J affects only
       the obligations of the Debtors and Reorganized BSA with respect to any Indemnification
       Obligations owed to or for the benefit of past and present directors, officers, employees,
       attorneys, accountants, investment bankers, and other professionals and agents of the
       Debtors, and shall have no effect on nor in any way discharge or reduce, in whole or in
       part, any obligation of any other Person owed to or for the benefit of such directors,


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       officers, employees, attorneys, accountants, investment bankers, and other professionals
       and agents of the Debtors.

               2.     All Proofs of Claim filed on account of an Indemnification Obligation to a
       current or former director, officer, or employee shall be deemed satisfied and expunged
       from the Claims Register as of the Effective Date to the extent such Indemnification
       Obligation is assumed (or honored or reaffirmed, as the case may be) pursuant to the
       Plan, without any further notice to or action, order, or approval of the Bankruptcy Court.

        K.     Gift Annuity Agreements and Life-Income Agreements. The Gift Annuity
Agreements and Life-Income Agreements shall be deemed to be, and shall be treated as though
they are, Executory Contracts under the Plan, and entry of the Confirmation Order will constitute
the Bankruptcy Court’s approval of the Debtors’ assumption of each of such Executory Contract.

        L.       Modifications, Amendments, Supplements, Restatements, or Other Agreements.
Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is
assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and
Executory Contracts and Unexpired Leases related thereto, if any, including easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests,
unless the Debtors reject or repudiate any of the foregoing agreements. Modifications,
amendments, and supplements to, or restatements of, prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority, or amount of any Claims that may arise in connection therewith.

         M.     Reservation of Rights. Neither the inclusion of any Executory Contract or
Unexpired Lease on the Schedules, a Cure and Assumption Notice, or the Rejected Executory
contracts and Unexpired Leases Schedule, nor anything contained in any Plan Document, shall
constitute an admission by the Debtors that a contract or lease is in fact an Executory Contract or
Unexpired Lease or that Reorganized BSA has any liability thereunder. If there is a dispute as of
the Confirmation Date regarding whether a contract or lease is or was executory or unexpired at
the time of assumption, the Debtors, or, after the Effective Date, Reorganized BSA, shall have
thirty (30) days following entry of a Final Order resolving such dispute to alter their treatment of
such contract or lease, including by rejecting such contract or lease nunc pro tunc to the
Confirmation Date.

        N.      Nonoccurrence of Effective Date; Bankruptcy Code Section 365(d)(4). If the
Effective Date fails to occur, the Bankruptcy Court shall retain jurisdiction with respect to any
request to further extend the deadline for assuming or rejecting Unexpired Leases under section
365(d)(4) of the Bankruptcy Code.




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                                        ARTICLE VII.

                      PROVISIONS GOVERNING DISTRIBUTIONS

       A.     Applicability. None of the terms or provision of this Article VII shall apply to
Abuse Claims, which shall be exclusively processed, liquidated and paid by the Settlement Trust
in accordance with the Settlement Trust Documents.

       B.      Distributions Generally. The Disbursing Agent shall make all Distributions to
appropriate holders of Allowed Claims in accordance with the terms of the Plan.

       C.     Distributions on Account of Certain Claims Allowed as of the Effective Date.
Except as otherwise provided in the Plan, on or as soon as practicable after the Effective Date,
the Disbursing Agent shall make Distributions in Cash in amounts equal to all Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims,
Allowed Other Secured Claims, and Allowed Convenience Claims.

       D.     Distributions on Account of Allowed General Unsecured Claims. On each
Distribution Date, the Disbursing Agent shall Distribute to each holder of an Allowed General
Unsecured Claim an amount equal to such holder’s Pro Rata Share of (1) the total balance of the
Core Value Cash Pool as of such date, less (2) the balance of the Disputed Claims Reserve.

        E.     Distributions on Account of Disputed Claims Allowed After the Effective Date.
Distributions on account of any Disputed Claim shall be made to the extent such Claim is
Allowed in accordance with the provisions of Article VIII. Except as otherwise provided in the
Plan, the Confirmation Order, another order of the Bankruptcy Court, or as agreed to by the
relevant parties, Distributions under the Plan on account of Disputed Claims that become
Allowed after the Effective Date shall be made as soon as practicable after the Disputed Claim
becomes an Allowed Claim.

       F.      Rights and Powers of Disbursing Agent.

                1.    The Disbursing Agent shall make all Distributions to the appropriate
       holders of Allowed Claims in accordance with the terms of the Plan, including this
       Article VII. Except as otherwise ordered by the Bankruptcy Court, the Disbursing Agent
       shall not be required to give any bond or surety or other security for the performance of
       its duties.

               2.      The Disbursing Agent shall be empowered to: (a) effect all actions and
       execute all agreements, instruments, and other documents necessary to perform its duties
       under the Plan; (b) make all Distributions contemplated hereby; (c) employ professionals
       to represent it with respect to its responsibilities; and (d) exercise such other powers as
       may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the
       Plan, or as deemed by the Disbursing Agent to be necessary and proper to implement the
       provisions hereof. The Disbursing Agent may request an expedited determination of
       taxes under section 505(b) of the Bankruptcy Code for all returns for all taxable periods
       through the date on which final Distributions are made.



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       G.      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

               1.      Claims Record Date. As of the close of business on the Claims Record
       Date, the various transfer registers for each of the Classes of Claims as maintained by the
       Debtors or their agents shall be deemed closed for purposes of determining whether a
       holder of such a Claim is a record holder entitled to a Distribution under the Plan, and
       there shall be no further changes in the record holders or the permitted designees with
       respect to such Claims. The Debtors or Reorganized BSA, as applicable, shall have no
       obligation to recognize any transfer or designation of such Claims occurring after the
       close of business on the Claims Record Date. With respect to payment of any Cure
       Amounts or assumption disputes, neither the Debtors nor Reorganized BSA shall have
       any obligation to recognize or deal with any party other than the non-Debtor party to the
       applicable Executory Contract or Unexpired Lease as of the close of business on the
       Claims Record Date, even if such non-Debtor party has sold, assigned, or otherwise
       transferred its Claim for a Cure Amount.

              2.      Delivery of Distributions. If a Person holds more than one Claim in any
       one Class, in the Disbursing Agent’s sole discretion, all such Claims will be aggregated
       into one Claim and one Distribution will be made with respect to the aggregated Claim.

               3.      Special Rules for Distributions to Holders of Disputed Claims. Except as
       otherwise provided in the Plan or agreed to by the relevant parties: (a) no partial
       payments and no partial Distributions shall be made with respect to a Disputed Claim
       until all such disputes in connection with such Disputed Claim have been resolved by
       settlement or Final Order; and (b) any Person that holds both an Allowed Claim and a
       Disputed Claim shall not receive any Distribution on account of the Allowed Claim
       unless and until all objections to the Disputed Claim have been resolved by settlement or
       Final Order or the Disputed Claims have been Allowed or expunged. Any Distributions
       arising from property Distributed to holders of Allowed Claims in a Class and paid to
       such holders under the Plan shall also be paid, in the applicable amounts, to any holder of
       a Disputed Claim in such Class that becomes an Allowed Claim after the date or dates
       that such Distributions were earlier paid to holders of Allowed Claims in such Class.

       H.      Undeliverable and Non-Negotiated Distributions.

               1.       Undeliverable Distributions. If any Distribution to a holder of an Allowed
Claim is returned to Reorganized BSA as undeliverable, no further Distributions shall be made
to such holder unless and until Reorganized BSA is notified in writing of such holder’s
then-current address or other necessary information for delivery, at which time such previously
undeliverable Distribution shall be made to such holder within ninety (90) days of receipt of such
holder’s then-current address or other necessary information; provided, however, that any such
undeliverable Distribution shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of 180 days after the date of the initial attempted Distribution.
After such date, all unclaimed property or interests in property shall revert to Reorganized BSA
automatically and without the need for any notice to or further order of the Bankruptcy Court
(notwithstanding any applicable non-bankruptcy escheatment, abandoned, or unclaimed property
laws to the contrary), and the right, title, and interest of any holder to such property or interest in


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property shall be discharged and forever barred; provided that Distributions made from the Core
Value Cash Pool and returned as undeliverable shall revert to the Core Value Cash Pool.

                2.      Non-Negotiated Distributions. If any Distribution to a holder of an
Allowed Claim is not negotiated for a period of 180 days after the Distribution, then such
Distribution shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code
and re-vest in Reorganized BSA or re-vest in the Core Value Cash Pool if such Distribution was
made from the Core Value Cash Pool. After such date, all non-negotiated property or interests in
property shall revert to Reorganized BSA automatically and without the need for any notice to or
further order of the Bankruptcy Court (notwithstanding any applicable non-bankruptcy
escheatment, abandoned, or unclaimed property laws to the contrary), and the right, title, and
interest of any holder to such property or interest in property shall be discharged and forever
barred.

        I.     Manner of Payment under the Plan. Except as otherwise specifically provided in
the Plan, at the option of Reorganized BSA, any Cash payment to be made hereunder may be
made by a check or wire transfer or as otherwise required or provided in applicable agreements
or customary practices of Reorganized BSA.

        J.       Satisfaction of Claims. Except as otherwise specifically provided in the Plan, any
Distributions to be made on account of Allowed Claims under the Plan shall be in complete and
final satisfaction, settlement, and discharge of and exchange for such Allowed Claims.

       K.      Minimum Cash Distributions. Reorganized BSA shall not be required to make
any Distribution of Cash less than twenty dollars ($20) to any holder of an Allowed Claim;
provided, however, that if any Distribution is not made pursuant to this Article VII.K, such
Distribution shall be added to any subsequent Distribution to be made on behalf of the holder’s
Allowed Claim.

        L.      Postpetition Interest. Except as provided in the Cash Collateral Order or in the
following sentence, interest shall not accrue on Impaired Claims; no holder of an Impaired Claim
shall be entitled to interest accruing on or after the Petition Date on any such Impaired Claim,
and interest shall not accrue or be paid on any Disputed Claim in respect of the period from the
Petition Date to the date a Distribution is made thereon if and after such Disputed Claim
becomes an Allowed Claim. Notwithstanding the foregoing, each holder of an Allowed General
Unsecured Claim shall accrue interest on the Allowed amount of such Claim at the federal
judgment rate applicable on the Effective Date; provided, that such interest shall be payable to
each such holder only from the Core Value Cash Pool and only to the extent that the Core Value
Cash Pool shall have been sufficient: (1) first, to satisfy the full amount of all Allowed General
Unsecured Claims; and (2) second, on account of any Allowed Non-Abuse Litigation Claims that
shall not have elected to be treated as an Allowed Convenience Claim under Article III.B.9, to
satisfy any deficiency in payments of such Allowed Claims (a) from available insurance
coverage, including Abuse Insurance Policies and Non-Abuse Insurance Policies, (b) from
applicable proceeds of any Insurance Settlement Agreements, and (c) from co-liable non-debtors
(if any) or their insurance coverage. Neither the Debtors nor Reorganized BSA shall have any
independent obligation to pay interest for or on account of any Allowed General Unsecured



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Claims other than from the Core Value Cash Pool in accordance with the terms of this Article
VII.L.

        M.      Setoffs. The Debtors and Reorganized BSA may, pursuant to the applicable
provisions of the Bankruptcy Code, or applicable non-bankruptcy law, set off against any
applicable Allowed Claim (before any Distribution is made on account of such Claim) any and
all claims, rights, Causes of Action, debts or liabilities of any nature that the Debtors or
Reorganized BSA may hold against the holder of such Allowed Claim; provided, however, that
the failure to effect such a setoff shall not constitute a waiver or release of any such claims,
rights, Causes of Action, debts or liabilities.

       N.      Claims Paid or Payable by Third Parties.

                1.      Claims Paid by Third Parties. A Claim shall be reduced in full, and such
Claim shall be Disallowed without an objection to such Claim having to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court, to the extent that the
holder of such Claim receives payment in full on account of such Claim from a party that is not a
Debtor or Reorganized BSA. To the extent a holder of a Claim receives a Distribution on
account of such Claim and receives payment from a party that is not a Debtor or Reorganized
BSA on account of such Claim, such holder shall repay, return, or deliver any Distribution held
by or transferred to such holder to Reorganized BSA to the extent the holder’s total recovery on
account of such Claim from the third party and under the Plan exceeds the amount of such Claim
as of the date of any such Distribution under the Plan.

                2.      Non-Abuse Litigation Claims Payable from Insurance. Subject to Article
IV.D.3, no Distributions under the Plan shall be made on account of any Allowed Non-Abuse
Litigation Claim that is payable pursuant to an Insurance Policy until the holder of such Allowed
Non-Abuse Litigation Claim has exhausted all remedies with respect to such insurance policy,
including pursuing such insurance through litigation and obtaining entry of a final,
non-appealable order. To the extent that one or more of the Insurance Companies satisfies in full
or in part an Allowed Non-Abuse Litigation Claim, then immediately upon such satisfaction, the
portion of the Claim so satisfied may be expunged from the Claims Register by the Notice and
Claims Agent without an objection to such Claim having to be filed and without any further
notice to or action, order, or approval of the Bankruptcy Court.

       O.      Compliance with Tax Requirements and Allocations.

                1.      In connection with the Plan and all Distributions hereunder, the
Disbursing Agent shall comply with all tax withholding and reporting requirements imposed on
them by any federal, state or local taxing authority, and all Distributions pursuant to the Plan
shall be subject to such withholding and reporting requirements. Notwithstanding any provision
in the Plan to the contrary, the Disbursing Agent shall be authorized to take all actions necessary
or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the Distribution to be made under the Plan to generate sufficient funds to
pay applicable withholding taxes, withholding Distributions pending receipt of information




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necessary to facilitate such Distributions including tax certification forms, or establishing any
other mechanisms it believes are reasonable and appropriate.

               2.      For tax purposes, Distributions in full or partial satisfaction of Allowed
Claims shall be allocated first to the principal amount of Allowed Claims, with any excess
allocated to unpaid interest that accrued on such Claim.

                                        ARTICLE VIII.

         PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                        AND DISPUTED CLAIMS

        A.     Applicability.     All Disputed Claims against the Debtors, other than
Administrative Expense Claims, shall be subject to the provisions of this Article VIII. All
Administrative Expense Claims shall be determined and, if Allowed, paid in accordance with
Article II. None of the terms or provision of this Article VIII shall apply to Abuse Claims, which
shall be exclusively processed, liquidated and paid by the Settlement Trust in accordance with
the Settlement Trust Documents.

        B.     Allowance of Claims. After the Effective Date, Reorganized BSA shall have and
retain any and all rights and defenses that the Debtors, or either of them, had with respect to any
Claim immediately before the Effective Date. Except as expressly provided in the Plan or in any
order entered in the Chapter 11 Cases before the Effective Date (including the Confirmation
Order), no Claim shall become an Allowed Claim unless and until such Claim becomes Allowed
by Final Order of the Bankruptcy Court or by agreement between the Debtors or Reorganized
BSA, on the one hand, and the holder of such Claim, on the other.

       C.      Claims Administration Responsibilities.

               1.     Except as otherwise expressly provided in the Plan, from and after the
       Effective Date, Reorganized BSA shall have the authority (a) to file, withdraw, or litigate
       to judgment objections to Claims; (b) to settle or compromise any Disputed Claim
       without any further notice to or action, order, or approval by the Bankruptcy Court; and
       (c) to administer and adjust the Claims Register to reflect any such settlements or
       compromises without any further notice to or action, order, or approval by the
       Bankruptcy Court.

              2.     Reorganized BSA shall consult with the Creditor Representative in
       connection with the reconciliation, settlement and administration of Convenience Claims,
       General Unsecured Claims and Non-Abuse Litigation Claims and shall use commercially
       reasonable efforts to resolve such Claims before the applicable Claims Objection
       Deadline.

       D.     Estimation of Claims. The Debtors (before the Effective Date) or Reorganized
BSA (on and after the Effective Date) may at any time request that the Bankruptcy Court
estimate any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of
whether an objection was previously filed with the Bankruptcy Court with respect to such Claim



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or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court
shall retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to such Claim, including during the pendency of any appeal relating to any such
objection. In the event that the Bankruptcy Court estimates any Disputed Claim, that estimated
amount will constitute either the Allowed amount of such Claim or a maximum limitation on
such Claim against any Person. If the estimated amount of a Claim constitutes a maximum
limitation on such Claim, the Debtors (before the Effective Date) or Reorganized BSA (on and
after the Effective Date) may elect to pursue any supplemental proceedings to object to any
ultimate Distribution on such Claim. All of the objection, estimation, settlement, and resolution
procedures set forth in the Plan are cumulative and not necessarily exclusive of one another.
Claims may be estimated and subsequently compromised, objected to, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.

        E.     No Distributions Pending Allowance. No Distributions or other consideration
shall be paid with respect to any Claim that is a Disputed Claim unless and until all objections to
such Disputed Claim are resolved and such Disputed Claim becomes an Allowed Claim by Final
Order of the Bankruptcy Court or agreement between the Debtors or Reorganized BSA, on the
one hand, and the holder of such Claim, on the other.

        F.    Distributions after Allowance. To the extent that a Disputed Claim (or a portion
thereof) becomes an Allowed Claim, Distributions (if any) shall be made to the holder of such
Allowed Claim in accordance with the provisions of the Plan.

        G.     Disputed Claims Reserve. The provisions of this Article VIII.G apply only to the
extent that any General Unsecured Claims remain Disputed as of any Distribution Date.

               1.      If any General Unsecured Claims remain Disputed as of any Distribution
       Date, the undistributed portion of the Core Value Cash Pool shall be held in a segregated
       account. Subject to definitive guidance from the IRS or a court of competent jurisdiction
       to the contrary, or the receipt of a determination from the IRS, the Disbursing Agent shall
       treat the Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
       Regulation section 1.468B-9 and, to the extent permitted by applicable law, report
       consistently with the foregoing for state and local income tax purposes. All parties
       (including the Debtors, Reorganized BSA, the Disbursing Agent, and holders of General
       Unsecured Claims) shall be required to report for tax purposes in a manner consistent
       with the foregoing. The Disputed Claims Reserve shall be responsible for payment, out
       of the assets of the Disputed Claims Reserve, of any taxes imposed on the Disputed
       Claims Reserve or its assets.

              2.      The Debtors or Reorganized BSA, as applicable, with the consent of the
       Creditor Representative, shall determine the amount of the Disputed Claims Reserve, if
       applicable, as of the initial Distribution Date, based on the least of: (a) the asserted
       amount of the Disputed General Unsecured Claims in the applicable Proofs of Claim; (b)
       the amount, if any, estimated by the Bankruptcy Court pursuant to (i) section 502(c) of
       the Bankruptcy Code or (ii) Article VIII.D if, after the Effective Date, a motion is filed by
       Reorganized BSA to estimate such Claim; (c) the amount otherwise agreed to by the
       Debtors (or Reorganized BSA, if after the Effective Date) and the holders of such


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       Disputed General Unsecured Claims; or (d) any amount otherwise approved by the
       Bankruptcy Court. Upon each Distribution Date, Reorganized BSA shall deposit into the
       Disputed Claims Reserve an amount of Cash equal to the amount sufficient to make the
       Distributions to which holders of Disputed General Unsecured Claims would be entitled
       under the Plan as of the applicable Distribution Date if the Disputed General Unsecured
       Claims were Allowed Claims as of such date.

                3.      If a Disputed General Unsecured Claim becomes an Allowed Claim after
       the first Distribution Date, the Disbursing Agent shall, on the next Distribution Date after
       the Disputed General Unsecured Claim becomes an Allowed Claim (or, if the Disputed
       General Unsecured Claim becomes an Allowed Claim after the final Distribution Date, as
       soon as practicable after Allowance), Distribute to the holder of such Claim, exclusively
       from the Disputed Claims Reserve, the amount of Cash that such holder would have
       received in that Distribution and all prior Distributions (if any) if such holder’s General
       Unsecured Claim had been Allowed as of the Effective Date, net of any allocable taxes
       imposed thereon or otherwise payable by the Disputed Claims Reserve.

              4.      If a Disputed Claim is Disallowed, in whole or in part, then on the
       Distribution Date next following the date of Disallowance, Cash shall be released from
       the Disputed Claims Reserve and placed in the Core Value Cash Pool, which Cash shall
       then be unreserved and unrestricted, and which shall be available for Distribution to
       holders of Allowed General Unsecured Claims.

              5.       If any assets remain in the Disputed Claims Reserve after all Disputed
       General Unsecured Claims have been resolved, such assets shall be placed in the Core
       Value Cash Pool and distributed Pro Rata to all holders of Allowed General Unsecured
       Claims on the next Distribution Date (or, if all Disputed General Unsecured Claims are
       resolved after the final Distribution Date, as soon as practicable thereafter).

        H.     Adjustment to Claims Register without Objection. Any duplicate Proof of Claim
that has been paid or satisfied, or any Proof of Claim that is clearly marked as amended or
superseded by a subsequently filed Proof of Claim that remains on the Claims Register, may be
adjusted or expunged on the Claims Register by the Notice and Claims Agent at the direction of
Reorganized BSA upon stipulation between the parties in interest without an objection having to
be filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

        I.     Time to File Objections to Claims. Any objections to Claims must be filed on or
before the applicable Claims Objection Deadline, as such deadline may be extended from time to
time. The expiration of the Claims Objection Deadline shall not limit or affect the Debtors’ or
Reorganized BSA’s rights to dispute Claims asserted in the ordinary course of the Debtors or
Reorganized BSA’s non-profit operations other than through a Proof of Claim.

        J.      Treatment of Untimely Claims. Except as provided herein or otherwise agreed,
any and all creditors that have filed Proofs of Claim after the applicable Bar Date shall not be
treated as a creditor with respect to such Claim for the purposes of voting and distribution.




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                                                  ARTICLE IX.

      CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVE DATE

        A.       Conditions Precedent to Confirmation of the Plan.

       Confirmation of the Plan shall not occur unless each of the following conditions
precedent has been satisfied or waived in accordance with Article IX.C.

                1.     The Bankruptcy Court shall have entered the Disclosure Statement Order,
        in form and substance reasonably acceptable to the Debtors, the Ad Hoc Committee, the
        Coalition, the Future Claimants’ Representative, Hartford, the Creditors’ Committee and
        JPM.

               2.     The Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’
        Representative and Hartford shall have approved of or accepted the Confirmation Order,
        and the Creditors’ Committee and JPM shall have approved of or accepted the
        Confirmation Order in accordance with their respective consent rights under the JPM /
        Creditors’ Committee Term Sheet incorporated by reference in Article I.D;

               3.      The Bankruptcy Court shall have made such findings and determinations
        regarding the Plan as shall enable the entry of the Confirmation Order and any other order
        in conjunction therewith, in form and substance acceptable to the Debtors, in accordance
        with the requirements of the JPM / Creditors’ Committee Term Sheet.3 These findings
        and determinations are designed, among other things, to ensure that the Injunctions,
        Releases and Discharges set forth in Article X shall be effective, binding and enforceable
        and shall, among other things, provide that:

                        a.      the Plan complies with all applicable provisions of the Bankruptcy
                 Code, including that the Plan be proposed in good faith and that the Confirmation
                 Order not be procured by fraud;

                         b.     the Channeling Injunction and the Insurance Entity Injunction are
                 to be implemented in connection with the Settlement Trust and shall be in full
                 force and effect on the Effective Date;

                          c.      upon the Effective Date, the Settlement Trust shall assume the
                 liabilities of the Protected Parties with respect to Abuse Claims and the liabilities

3
    The findings and determinations set forth in Article IX.A.3.j, Article IX.A.3.q, Article IX.A.3.r, Article
    IX.A.3.s, and Article IX.A.3.t shall not be binding on Hartford to the extent that Hartford is a Settling Insurance
    Company and the transactions contemplated in the Hartford Insurance Settlement Agreement, including the
    release of the Hartford Settlement Contribution to the Settlement Trust, are fully consummated. Hartford’s
    agreement in the Hartford Insurance Settlement Agreement not to object to entry of such findings and
    determinations in the Confirmation Order does not indicate Hartford’s support for such findings and
    determinations, and no party shall argue that Hartford agreed to or acquiesced in such findings and
    determinations in any proceeding. Rather, Hartford is designated as a Settling Insurance Company and
    Protected Party under the Plan, and as a result, Hartford takes no position on such findings and determinations
    or on the Trust Distribution Procedures.


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   of the Limited Protected Parties with respect to Post-1975 Chartered Organization
   Abuse Claims and have exclusive authority as of the Effective Date to satisfy or
   defend such Abuse Claims;

             d.   the Settlement Trust will be funded with the Settlement Trust
   Assets;

         e.      the Settlement Trust will use the Settlement Trust Assets to resolve
   Abuse Claims;

          f.      the terms of the Discharge Injunction, the Channeling Injunction,
   the Release Injunctions, and the Insurance Entity Injunction, including any
   provisions barring actions against third parties, are set out in conspicuous
   language in the Plan and in the Disclosure Statement;

           g.     the Future Claimants’ Representative was appointed by the
   Bankruptcy Court as part of the proceedings leading to the issuance of the
   Channeling Injunction and the Insurance Entity Injunction for the purpose of,
   among other things, protecting the rights of persons who might subsequently
   assert Abuse Claims of the kind that are addressed in the Channeling Injunction
   and the Insurance Entity Injunction, which will be transferred to and assumed by
   the Settlement Trust;

           h.     the Plan complies with section 105(a) of the Bankruptcy Code to
   the extent applicable;

          i.      the Injunctions are essential to the Plan and the Debtors’
   reorganization efforts;

            j.      the Insurance Assignment is authorized as provided in the Plan,
   notwithstanding any terms of any policies or provisions of non-bankruptcy law
   that is argued to prohibit the delegation, assignment, or other transfer of such
   rights, and the Settlement Trust (i) is a proper defendant for Abuse Claims to
   assert the liability of the Protected Parties to trigger such insurance rights and
   (ii) is a proper defendant for Post-1975 Chartered Organization Abuse Claims to
   assert the liability of the Limited Protected Parties to trigger such insurance rights;

           k.    the Insurance Settlement Agreements are approved, and any
   Insurance Company that has contributed funds, proceeds or other consideration to
   or for the benefit of the Settlement Trust pursuant to an Insurance Settlement
   Agreement is designated as a Settling Insurance Company;

           l.     the Abuse Claims Settlement represents a sound exercise of the
   Debtors’ business judgment, is in the best interest of the Debtors’ Estates,
   complies with section 1123 of the Bankruptcy Code, and is approved pursuant to
   section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019;




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           m.     the JPM / Creditors’ Committee Settlement represents a sound
   exercise of the Debtors’ business judgment, is in the best interest of the Debtors’
   Estates, complies with section 1123 of the Bankruptcy Code, and is approved
   pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019;

          n.     the Settlement of Restricted and Core Asset Disputes represents a
   sound exercise of the Debtors’ business judgment, is in the best interest of the
   Debtors’ estates, complies with section 1123 of the Bankruptcy Code, and is
   approved pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule
   9019;

          o.      the Hartford Insurance Settlement, including the sale of the
   Hartford Policies free and clear of all Interests of any Person or Entity (as such
   terms are defined in the Hartford Insurance Settlement Agreement) and the
   Allowance of the Hartford Administrative Expense Claim is approved in
   accordance with sections 363, 503(b), 507(a)(2), 1123 and 1141 of the
   Bankruptcy Code, Bankruptcy Rule 9019, and the findings of fact and conclusions
   of law made by the Bankruptcy Court pursuant to Article V.S.4;

           p.     the TCJC Settlement is approved in accordance with the findings
   of fact and conclusions of law made by the Bankruptcy Court pursuant to Article
   V.S.5.

          q.      the Plan, the Plan Documents, and the Confirmation Order shall be
   binding on all parties in interest;

           r.     (i) the procedures included in the Trust Distribution Procedures
   pertaining to the allowance of Abuse Claims and (ii) the criteria included in the
   Trust Distribution Procedures pertaining to the calculation of the Allowed Claim
   Amounts, including the Trust Distribution Procedures’ Claims Matrix, Base
   Matrix Values, Maximum Matrix Values, and Scaling Factors (each as defined in
   the Trust Distribution Procedures), are fair and reasonable based on the
   evidentiary record offered to the Bankruptcy Court;

           s.     the right to payment that the holder of an Abuse Claim has against
   the Debtors or another Protected Party or a Limited Protected Party is the allowed
   value of such Abuse Claim as liquidated in accordance with the Trust Distribution
   Procedures and is not (i) the initial or supplemental payment percentages
   established under the Trust Distribution Procedures to make distributions to
   holders of allowed Abuse Claims or (ii) the contributions made by the Debtors or
   any Protected Party to the Settlement Trust; and

          t.     the Plan and the Trust Distribution Procedures were proposed in
   good faith and are sufficient to satisfy the requirements of section 1129(a)(3) of
   the Bankruptcy Code.




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       B.     Conditions Precedent to the Effective Date.

       Notwithstanding any other provision of the Plan or the Confirmation Order, the Effective
Date shall occur on the first Business Day on which each of the following conditions precedent
has been satisfied or waived pursuant to Article IX.C:

               1.      (a) the Confirmation Order shall have been submitted to the District Court
       for affirmation; (b) the District Court shall have entered the Affirmation Order in form
       and substance acceptable to (i) the Debtors, the Ad Hoc Committee, the Coalition, the
       Future Claimants’ Representative and Hartford and (ii) the Creditors’ Committee and
       JPM, consistent with the JPM / Creditors’ Committee Term Sheet; (c) at least fifteen (15)
       days shall have passed following entry of the Confirmation Order and the Affirmation
       Order; (d) no court shall have entered an order staying the occurrence of the Effective
       Date pending an appeal of the Confirmation Order or the Affirmation Order; and (e) no
       request for a stay of the occurrence of the Effective Date shall be pending;

              2.     the Settlement Trust Assets shall, simultaneously with the occurrence of
       the Effective Date or as otherwise provided herein, be transferred to, vested in, and
       assumed by the Settlement Trust in accordance with Article IV and Article V;

               3.      the Settlement Trust Documents and other applicable Plan Documents
       necessary or appropriate to implement the Plan shall have been executed, delivered and,
       if applicable, filed with the appropriate governmental authorities in compliance with the
       JPM / Creditors’ Committee Term Sheet;

               4.     the Restated Debt and Security Documents shall have been duly executed
       and delivered by all of the Entities that are parties thereto and all conditions precedent
       (other than any conditions related to the occurrence of the Effective Date) to the
       effectiveness thereof shall have been satisfied or duly waived in writing in accordance
       with the terms of the Restated Debt and Security Documents, the closing shall have
       occurred thereunder, and Reorganized BSA shall have paid the JPM Exit Fee to JPM;

               5.     the Foundation Loan Agreement and any applicable collateral and other
       loan documents governing the Foundation Loan shall have been duly executed and
       delivered by all of the Entities that are parties thereto and all conditions precedent (other
       than any conditions related to the occurrence of the Effective Date) to the effectiveness
       thereof shall have been satisfied or duly waived in writing in accordance with the terms
       of the Foundation Loan Agreement and related documentation, and the closing shall have
       occurred thereunder;

               6.     the Debtors shall have adequately funded the Professional Fee Reserve so
       as to permit the Debtors to make Distributions on account of Allowed Professional Fee
       Claims in accordance with Article II;

               7.      the Debtors shall have obtained all authorizations, consents, certifications,
       approvals, rulings, opinions or other documents that are necessary to implement and
       effectuate the Plan;



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              8.      all payments required to be made pursuant to the terms of the Cash
       Collateral Order shall have been paid;

               9.      all actions, documents, and agreements necessary to implement and
       effectuate the Plan shall have been effected or executed;

               10.    the transactions to be implemented on the Effective Date shall be
       materially consistent with the Plan Documents and the JPM / Creditors’ Committee Term
       Sheet; and

               11.     the Debtors shall have filed a notice of occurrence of the Effective Date.

         C.     Waiver of Conditions Precedent. To the fullest extent permitted by law, each of
the conditions precedent in this Article IX may be waived or modified, in whole or in part, in the
sole discretion of the Debtors; provided, however, that (1) the Creditors’ Committee’s consent
(not to be unreasonably withheld) is required to the extent any such waiver or modification by
the Debtors impacts the treatment of General Unsecured Claims, Non-Abuse Litigation Claims,
or Convenience Claims; (2) the conditions precedent set forth in Article IX.B.4 and Article
IX.B.8 may be waived or modified by the Debtors only with the prior written consent of JPM; (3)
the condition precedent set forth in Article IX.A.3.o may be waived or modified by the Debtors
only with the prior written consent of Hartford; (4) the condition precedent set forth in Article
IX.A.3.p may be waived or modified by the Debtors only with the prior written consent of TCJC;
(5) for Article IX.A.3.j, Article IX.A.3.p, Article IX.A.3.r, Article IX.A.3.s, Article IX.A.3.t, and
any waiver or modification that impacts the treatment of Abuse Claims, the prior written consent
of the Coalition and the Future Claimants’ Representative shall be required as a condition to
waiver or modification by the Debtors; and (6) the conditions precedent in Article IX.B.1 and
Article IX.B.6 may be waived or modified by the Debtors only with the prior written consent of
the Ad Hoc Committee, the Coalition and the Future Claimants’ Representative. Any waiver or
modification of a condition precedent under this Article IX may be effectuated at any time,
without notice, without leave or order of the Bankruptcy Court or the District Court, and without
any other formal action other than proceedings to Confirm or consummate the Plan. The failure
to satisfy or waive any condition precedent to the Effective Date may be asserted by the Ad Hoc
Committee, the Coalition, the Future Claimants’ Representative, Hartford, the Creditors’
Committee or JPM regardless of the circumstances giving rise to the failure of such condition to
be satisfied or waived.

      D.     Substantial Consummation of the Plan. On the Effective Date, the Plan shall be
deemed to be substantially consummated under sections 1101 and 1127(b) of the Bankruptcy
Code.

        E.      Vacatur of Confirmation Order; Non-Occurrence of Effective Date. If the
Confirmation Order is vacated or the Effective Date does not occur within 180 days after entry of
the Confirmation Order (subject to extension by the Debtors in their sole discretion), the Plan
shall be null and void in all respects, and nothing contained in the Plan or the Disclosure
Statement shall (1) constitute a waiver or release of any Causes of Action by or Claims against or
Interests in the Debtors or any Person; (2) prejudice in any manner the rights of the Debtors, any
holders of a Claim or Interest or any other Person; (3) constitute an admission, acknowledgment,


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offer, or undertaking by the Debtors, any holders of a Claim or Interest, or any other Person in
any respect; or (4) be used by the Debtors or any other Person as evidence (or in any other way)
in any litigation, including with respect to the strengths and weaknesses of positions, arguments
or claims of any of the parties to such litigation.

                                          ARTICLE X.

                            EFFECT OF PLAN CONFIRMATION

        A.      Vesting of Assets in Reorganized BSA. Except as otherwise expressly provided
in the Plan (including with respect to the Core Value Cash Pool and the Restated Debt and
Security Documents), on the Effective Date, pursuant to sections 1141(b) and 1141(c) of the
Bankruptcy Code, all property comprising the Estates shall vest in Reorganized BSA free and
clear of all Liens, Claims, interests, charges, other Encumbrances and liabilities of any kind. On
and after the Effective Date, Reorganized BSA may continue its operations and may use, acquire,
or dispose of property, and compromise or settle any Claims, Interests, or Causes of Action
without supervision or approval of the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or the Bankruptcy Rules.

        B.      Retention of Certain Causes of Action. In accordance with section 1123(b)(3) of
the Bankruptcy Code, subject to the transfer of the Debtors’ Settlement Trust Causes of Action
to the Settlement Trust under Article IV.D and the Debtors’ and their Estates’ release of certain
Estate Causes of Action under Article X.J, all Causes of Action that a Debtor may hold against
any Person shall vest in Reorganized BSA on the Effective Date. Thereafter, subject to Article
IV.D and Article X.J, Reorganized BSA shall have the exclusive right, authority, and discretion
to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action, whether arising before or after the
Petition Date, and to decline to do any of the foregoing without the consent or approval of any
third party or further notice to or action, order, or approval of the Bankruptcy Court. No Person
may rely on the absence of a specific reference in the Plan or the Disclosure Statement to any
specific Cause of Action as any indication that the Debtors or Reorganized BSA, as applicable,
will not pursue any and all available Causes of Action. The Debtors or Reorganized BSA, as
applicable, expressly reserve all rights to prosecute any and all Causes of Action against any
Person, except as otherwise expressly provided in the Plan, and, therefore, no preclusion
doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to any Cause of
Action upon, after, or as a consequence of Confirmation or the occurrence of the Effective Date.

        C.     Binding Effect. As of the Effective Date, all provisions of the Plan, including all
agreements, instruments and other documents entered into in connection with the Plan by the
Debtors or Reorganized BSA, the Settlement Trust, or the Protected Parties, shall be binding
upon the Debtors, the Estates, Reorganized BSA, all holders of Claims against and Interests in
the Debtors, each such holder’s respective successors and assigns, and all other Persons that are
affected in any manner by the Plan, regardless of whether the Claim or Interest of such holder is
Impaired under the Plan or whether such holder has accepted the Plan. Except as otherwise
expressly provided in the Plan, all agreements, instruments and other documents filed in
connection with the Plan shall be given full force and effect and shall bind all Persons referred to


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therein on and after the Effective Date, whether or not such agreements are actually issued,
delivered or recorded on or after the Effective Date and whether or not such Persons have
actually executed such agreement.

        D.      Pre-Confirmation Injunctions and Stays. All injunctions and stays arising under
or entered during the Chapter 11 Cases, whether under sections 105 or 362 of the Bankruptcy
Code or otherwise, and in existence on the Confirmation Date, shall remain in full force and
effect until the later of the Effective Date and the date indicated in the order providing for such
injunction or stay, if any. The injunctions and stays referenced in this Article X.D includes the
preliminary injunction imposed by the Consent Order Pursuant to 11 U.S.C. §§ 105(a) and 362
Granting the BSA’s Motion for a Preliminary Injunction entered by the Bankruptcy Court on
March 30, 2020 (Adv. Pro. No. 20-50527, Docket No. 54), as extended by the Bankruptcy Court
from time to time.

       E.      Discharge.

               1.       Discharge of the Debtors. Except as expressly provided in the Plan or the
       Confirmation Order, the treatment of Claims under the Plan shall be in exchange for, and
       in complete satisfaction, settlement, discharge, termination and release of, all Claims and
       Interests of any nature whatsoever against or in the Debtors or any of their assets or
       properties based upon any act, omission, transaction, occurrence, or other activity of any
       nature that occurred prior to the Effective Date, and, as of the Effective Date, each of the
       Debtors shall be deemed discharged and released, and each holder of a Claim or Interest
       and any successor, assign, and affiliate of such holder shall be deemed to have forever
       waived, discharged and released each of the Debtors, to the fullest extent permitted by
       section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights
       and liabilities, and all debts of the kind specified in section 502 of the Bankruptcy Code,
       based upon any act, omission, transaction, occurrence, or other activity of any nature that
       occurred prior to the Effective Date, in each case whether or not (a) a Proof of Claim
       based upon such debt is filed or deemed filed under section 501 of the Bankruptcy Code,
       (b) a Claim based upon such debt is Allowed under section 502 of the Bankruptcy Code,
       (c) a Claim based upon such debt is or has been Disallowed by order of the Bankruptcy
       Court, or (d) the holder of a Claim based upon such debt is deemed to have accepted the
       Plan. Notwithstanding the foregoing, nothing in this Article X.E shall be construed to
       modify, reduce, impair or otherwise affect the ability of any holder of an Allowed
       Non-Abuse Litigation Claim to recover on account of such Allowed Claim in accordance
       with Article III.B.9 and Article IV.D.3.

               2.     Discharge Injunction. From and after the Effective Date, except as
       expressly provided in the Plan or the Confirmation Order, all holders of Claims or
       Interests of any nature whatsoever against or in the Debtors or any of their assets or
       properties based upon any act, omission, transaction, occurrence, or other activity of any
       nature that occurred prior to the Effective Date that are discharged pursuant to the terms
       of the Plan shall be precluded and permanently enjoined from taking any of the following
       actions on account of, or on the basis of, such discharged Claims and Interests:
       (a) commencing or continuing any action or other proceeding of any kind against the
       Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property;


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(b) enforcing, attaching, collecting, or recovering by any manner or means of judgment,
award, decree or other against the Debtors, Reorganized BSA, the Settlement Trust, or its
or their respective property; (c) creating, perfecting or enforcing any Lien or
Encumbrance of any kind against the Debtors, Reorganized BSA, the Settlement Trust, or
its or their respective property; or (d) commencing or continuing any judicial or
administrative proceeding, in any forum and in any place in the world, that does not
comply with or is inconsistent with the provisions of the Plan or the Confirmation Order.
The foregoing injunction shall extend to the successors and assigns of the Debtors
(including Reorganized BSA) and its and their respective properties and interests in
property. In accordance with the foregoing, except as expressly provided in the Plan or
the Confirmation Order, the Confirmation Order shall be a judicial determination of
discharge or termination of all Claims, Interests and other debts and liabilities against or
in the Debtors pursuant to sections 105, 524 and 1141 of the Bankruptcy Code, and such
discharge shall void any judgment obtained against the Debtors at any time to the extent
such judgment relates to a discharged Claim or Interest.

F.      Channeling Injunction.

       1.      Terms. Notwithstanding anything to the contrary herein, to preserve
and promote the settlements contemplated by and provided for in the Plan,
including the Abuse Claims Settlement, the Hartford Insurance Settlement, and the
TCJC Settlement, and to supplement, where necessary, the injunctive effect of the
Discharge as provided in sections 1141 and 524 of the Bankruptcy Code and as
described in this Article X, pursuant to the exercise of the equitable jurisdiction and
power of the Bankruptcy Court and the District Court under section 105(a) of the
Bankruptcy Code, (a) the sole recourse of any holder of an Abuse Claim against a
Protected Party on account of such Abuse Claim shall be to and against the
Settlement Trust pursuant to the Settlement Trust Documents, and such holder
shall have no right whatsoever at any time to assert such Abuse Claim against any
Protected Party or any property or interest in property of any Protected Party, and
(b) the sole recourse of any holder of a Post-1975 Chartered Organization Abuse
Claim against a Limited Protected Party on account of such Post-1975 Chartered
Organization Abuse Claim shall be to and against the Settlement Trust pursuant to
the Settlement Trust Documents, and such holder shall have no right whatsoever at
any time to assert such Post-1975 Chartered Organization Abuse Claim against any
Limited Protected Party or any property or interest in property of any Limited
Protected Party; accordingly, on and after the Effective Date, all Persons that have
held or asserted, currently hold or assert, or that may in the future hold or assert,
any Abuse Claim against the Protected Parties, or any of them, or any Post-1975
Chartered Organization Abuse Claim against the Limited Protected Parties, or any
of them, shall be permanently and forever stayed, restrained and enjoined from
taking any action for the purpose of directly, indirectly, or derivatively collecting,
recovering, or receiving payment, satisfaction, or recovery from any Protected
Party with respect to any such Abuse Claim or from any Limited Protected Party
with respect to any such Post-1975 Chartered Organization Abuse Claim, other




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than from the Settlement Trust pursuant to the Settlement Trust Documents,
including:

             a.      commencing, conducting, or continuing, in any manner,
      whether directly, indirectly, or derivatively, any suit, action, or other
      proceeding of any kind (including a judicial, arbitration, administrative, or
      other proceeding) in any forum in any jurisdiction around the world against
      or affecting any Protected Party or Limited Protected Party or any property
      or interest in property of any Protected Party or Limited Protected Party;

             b.      enforcing, levying, attaching (including any prejudgment
      attachment), collecting or otherwise recovering, by any manner or means,
      either directly or indirectly, any judgment, award, decree, or order against
      or affecting any Protected Party or Limited Protected Party or any property
      or interest in property of any Protected Party or Limited Protected Party;

             c.     creating, perfecting, or otherwise enforcing in any manner,
      whether directly or indirectly, any Encumbrance of any kind against any
      Protected Party or Limited Protected Party or any property or interest in
      property of any Protected Party or Limited Protected Party;

             d.     asserting, implementing or effectuating any setoff, right of
      reimbursement, subrogation, indemnity, contribution, reimbursement, or
      recoupment of any kind, in any manner, directly or indirectly, against any
      obligation due to any Protected Party or Limited Protected Party or any
      property or interest in property of any Protected Party or Limited Protected
      Party; or

              e.     taking any act in any manner, and in any place whatsoever,
      that does not conform to, or comply with, the provisions of the Plan
      Documents or the Settlement Trust Documents or with regard to any matter
      that is within the scope of the matters designated by the Plan to be subject to
      resolution by the Settlement Trust, except in conformity and compliance
      with the Settlement Trust Documents with respect to any such Abuse Claim
      or Post-1975 Chartered Organization Abuse Claim.

       2.      Reservations. Notwithstanding anything to the contrary in this
Article X.F, the Channeling Injunction shall not enjoin:

             a.     the rights of holders of Abuse Claims or Post-1975 Chartered
      Organization Abuse Claims to assert such Abuse Claims solely against the
      Settlement Trust in accordance with the Trust Distribution Procedures,
      including the ability to pursue the Settlement Trust in the tort system as
      described in Article XII of the Trust Distribution Procedures;

            b.    the rights of holders of Abuse Claims to assert such Abuse
      Claims against anyone other than a Protected Party or, in the case of



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       Post-1975 Chartered Organization Abuse Claims, against anyone other than
       a Limited Protected Party;

             c.     prior to the date that an Entity (other than an Insurance
       Company) becomes a Protected Party under Article IV.I, the right of holders
       of Abuse Claims to assert such Abuse Claims against such Entity;

             d.     prior to the date that a Chartered Organization becomes a
       Limited Protected Party under Article IV.J, the right of holders of Post-1975
       Chartered Organization Abuse Claims to assert such Abuse Claims against
       such Entity;

              e.    the rights of holders of Abuse Claims that are not Post-1975
       Chartered Organization Abuse Claims to assert such Abuse Claims against
       any Limited Protected Party (unless such Limited Protected Party becomes a
       Protected Party under Article IV.I);

               f.    the right of any Person to assert any Claim, debt, obligation or
       liability for payment of Settlement Trust Expenses solely against the
       Settlement Trust in accordance with the Settlement Trust Documents;

              g.     the Settlement Trust from enforcing its rights under the Plan
       and the Settlement Trust Documents; or

              h.    the rights of the Settlement Trust to prosecute any action
       against any Non-Settling Insurance Company based on or arising from
       Abuse Insurance Policies that are not the subject of an Insurance Settlement
       Agreement, subject to any Insurance Coverage Defenses.

G.     Provisions Relating to Channeling Injunction.

       1.      Modifications. Subject to post-Effective Date settlements between the
Settlement Trustee and Chartered Organizations or Insurance Companies under the
applicable provisions of Article IV, there can be no modification, dissolution, or
termination of the Channeling Injunction, which shall be a permanent injunction.

        2.      Non-Limitation. Nothing in the Plan or the Settlement Trust Documents
shall or shall be construed in any way to limit the scope, enforceability, or effectiveness
of the Channeling Injunction or the Settlement Trust’s assumption of all liability with
respect to Abuse Claims.

       3.      Bankruptcy Rule 3016 Compliance. The Debtors’ compliance with the
requirements of Bankruptcy Rule 3016 shall not constitute or be deemed to constitute an
admission that the Plan provides for an injunction against conduct not otherwise enjoined
under the Bankruptcy Code.

       4.    Enforcement. Any Protected Party or Limited Protected Party may
enforce the Channeling Injunction as a defense to any Claim brought against such


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Protected Party or Limited Protected Party that is enjoined under the Plan as to such
Protected Party or Limited Protected Party and may seek to enforce such injunction in a
court of competent jurisdiction.

        5.      Contribution Claims. If a Non-Settling Insurance Company asserts that it
has rights, whether legal, equitable, contractual, or otherwise, of contribution, indemnity,
reimbursement, subrogation or other similar claims directly or indirectly arising out of or
in any way relating to such Non-Settling Insurance Company’s payment of loss on behalf
of one or more of the Debtors in connection with any Abuse Claim against a Settling
Insurance Company (collectively, “Contribution Claims”), (a) such Contribution Claims
may be asserted as a defense or counterclaim against the Settlement Trust in any
Insurance Action involving such Non-Settling Insurance Company, and the Settlement
Trust may assert the legal or equitable rights (if any) of the Settling Insurance Company,
and (b) to the extent such Contribution Claims are determined to be valid, the liability (if
any) of such Non-Settling Insurance Company to the Settlement Trust shall be reduced by
the amount of such Contribution Claims.

         6.    No Duplicative Recovery. In no event shall any holder of an Abuse Claim
or a Post-1975 Chartered Organization Abuse Claim be entitled to receive any
duplicative payment, reimbursement, or restitution from any Protected Party or Limited
Protected Party under any theory of liability for the same loss, damage, or other Claim
that is reimbursed by the Settlement Trust or is otherwise based on the same events, facts,
matters, or circumstances that gave rise to the applicable Abuse Claim or Post-1975
Chartered Organization Abuse Claim.

       7.       District Court Approval. The Debtors shall seek entry of the Affirmation
Order, which shall approve (a) the Channeling Injunction and the Settlement Trust’s
assumption of all liability with respect to Abuse Claims and (b) the releases by holders of
Abuse Claims for the benefit of the Protected Parties and the Limited Protected Parties,
each as set forth in this Article X.

H.     Insurance Entity Injunction.

        1.    Purpose. To facilitate the Insurance Assignment, protect the
Settlement Trust, and preserve the Settlement Trust Assets, pursuant to the
equitable jurisdiction and power of the Bankruptcy Court and the District Court
under section 105(a) of the Bankruptcy Code, the Bankruptcy Court shall issue the
injunction set forth in this Article X.H (the “Insurance Entity Injunction”);
provided, however, that the Insurance Entity Injunction is not issued for the benefit
of any Insurance Company, and no Insurance Company is a third-party beneficiary
of the Insurance Entity Injunction, except as otherwise specifically provided in any
Insurance Settlement Agreement.

      2.     Terms Regarding Claims against Insurance Companies. Subject to
the terms of Article X.E and Article X.F, and except for any Chartered
Organization that is not a Participating Chartered Organization or a Contributing
Chartered Organization, all Persons that have held or asserted, that hold or assert,


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       or that may in the future hold or assert any claim or cause of action (including any
       Abuse Claim or any claim for or respecting any Settlement Trust Expense) against
       any Insurance Company based upon, attributable to, arising out of, or in any way
       connected with any Abuse Insurance Policy, whenever and wherever arising or
       asserted, whether in the United States of America or anywhere else in the world,
       whether sounding in tort, contract, warranty, or any other theory of law, equity, or
       admiralty, shall be stayed, restrained, and enjoined from taking any action for the
       purpose of directly or indirectly collecting, recovering, or receiving payments,
       satisfaction, or recovery with respect to any such claim or cause of action,
       including:

                     a.      commencing, conducting, or continuing, in any manner,
              directly or indirectly, any suit, action, or other proceeding of any kind
              (including a judicial, arbitration, administrative, or other proceeding) in any
              forum with respect to any such claim, demand, or cause of action against any
              Insurance Company, or against the property of any Insurance Company,
              with respect to any such claim, demand, or cause of action (including, for the
              avoidance of doubt, directly pursuing any suit, action or other proceeding
              with respect to any such claim, demand, or cause of action against any
              Insurance Company);

                     b.     enforcing, levying, attaching, collecting, or otherwise
              recovering, by any means or in any manner, whether directly or indirectly,
              any judgment, award, decree, or other order against any Insurance
              Company, or against the property of any Insurance Company, with respect
              to any such claim or cause of action;

                      c.     creating, perfecting, or enforcing in any manner, directly or
              indirectly, any Lien or Encumbrance against any Insurance Company, or the
              property of any Insurance Company, with respect to any such claim or cause
              of action; and

                     d.     except as otherwise specifically provided in the Plan, asserting
              or accomplishing any setoff, right of subrogation, indemnity, contribution, or
              recoupment of any kind, directly or indirectly, against any obligation of any
              Insurance Company, or against the property of any Insurance Company,
              with respect to any such claim or cause of action;

provided, however, that: (i) the injunction set forth in this Article X.H shall not impair in
any way any (a) actions brought by the Settlement Trust against any Non-Settling
Insurance Company, (b) actions brought by Local Councils in connection with any Local
Council Reserved Rights, (c) actions brought by holders of Non-Abuse Litigation Claims
consistent with Article IV.D.3, (d) the rights, if any, of any Chartered Organization that is
not a Participating Chartered Organization under any Chartered Organization Reserved
Policy, or (e) the rights of any co-insured of the Debtors (x) under any Non-Abuse
Insurance Policy and (y) as specified under any Final Order of the Bankruptcy Court
approving an Insurance Settlement Agreement; and (ii) the Settlement Trust shall have the


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sole and exclusive authority at any time to terminate, or reduce or limit the scope of, the
injunction set forth in this Article X.H with respect to any Non-Settling Insurance
Company, in accordance with the Settlement Trust Documents, upon express written
notice to such Non-Settling Insurance Company, except that the Settlement Trust shall not
have any authority to terminate, reduce or limit the scope of the injunction herein with
respect to any Settling Insurance Company so long as, but only to the extent that, such
Settling Insurance Company complies fully with its obligations under any applicable
Insurance Settlement Agreement.

              3.     Reservations. Notwithstanding anything to the contrary in this
       Article X.H, the Insurance Entity Injunction shall not enjoin:

                       a.    the rights of any Person to the treatment accorded them under
               the Plan, as applicable, including the rights of holders of Abuse Claims to
               assert such Claims, as applicable, in accordance with the Trust Distribution
               Procedures, and the rights of holders of Non-Abuse Litigation Claims to
               assert such Claims, as applicable in accordance with Article IV.D.3;

                      b.     the rights of any Person to assert any claim, debt, obligation,
               cause of action or liability for payment of Settlement Trust Expenses against
               the Settlement Trust;

                      c.     the rights of the Settlement Trust to prosecute any action
               based on or arising from Abuse Insurance Policies;

                     d.     the rights of any Person to assert or prosecute (i) an Abuse
               Claim against any Entity other than a Protected Party, or (ii) a Post-1975
               Chartered Organization Abuse Claim against any Entity other than a
               Limited Protected Party;

                      e.     the rights of the Settlement Trust to assert any claim, debt,
               obligation, cause of action or liability for payment against an Insurance
               Company based on or arising from the Abuse Insurance Policies; or

                      f.     the rights of any Insurance Company to assert any claim, debt,
               obligation, cause of action or liability for payment against any Non-Settling
               Insurance Company.

       I.      Injunction against Interference with Plan. Upon entry of the Confirmation
Order, all holders of Claims and Interests shall be precluded and enjoined from taking any
actions to interfere with the implementation and consummation of the Plan.

       J.      Releases.

               1.     Releases by the Debtors and the Estates.

                      a.     Releases by the Debtors and the Estates of the Released
               Parties. As of the Effective Date, except for the rights that remain in effect


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   from and after the Effective Date to enforce the Plan and the Confirmation
   Order, pursuant to section 1123(b) of the Bankruptcy Code, for good and
   valuable consideration, the adequacy of which is hereby confirmed,
   including the service of the Released Parties to facilitate and implement the
   reorganization of the Debtors and the settlements embodied in the Plan,
   including the Abuse Claims Settlement, the JPM / Creditors’ Committee
   Settlement, the Hartford Insurance Settlement, and the TCJC Settlement, as
   an integral component of the Plan, the Debtors, Reorganized BSA, and the
   Estates shall, and shall be deemed to, expressly, conclusively, absolutely,
   unconditionally, irrevocably, and forever release and discharge each and all
   of the Released Parties of and from any and all Estate Causes of Action that
   do not constitute Settlement Trust Causes of Action, any and all other
   Claims, Interests, obligations, rights, demands, suits, judgments, damages,
   debts, remedies, losses and liabilities of any nature whatsoever (including
   any derivative claims or Causes of Action asserted or that may be asserted
   on behalf of the Debtors, Reorganized BSA, or the Estates), whether
   liquidated or unliquidated, fixed or contingent, matured or unmatured,
   known or unknown, foreseen or unforeseen, existing or hereinafter arising,
   in law, equity, contract, tort or otherwise, based on or relating to, or in any
   manner arising from, in whole or in part, any act, omission, transaction,
   event, or other circumstance taking place or existing on or before the
   Effective Date (including before the Petition Date) in connection with or
   related to the Debtors, the Estates, their respective assets and properties, the
   Chapter 11 Cases, the subject matter of, or the transactions or events giving
   rise to, any Claim or Interest that is treated by the Plan, the business or
   contractual arrangements between one or both of the Debtors and any
   Released Party, the restructuring of any Claim or Interest that is treated by
   the Plan before or during the Chapter 11 Cases, any of the Plan Documents,
   the JPM / Creditors’ Committee Settlement, the Hartford Insurance
   Settlement, the TCJC Settlement, or any related agreements, instruments,
   and other documents created or entered into before or during the Chapter 11
   Cases or the negotiation, formulation, preparation or implementation
   thereof, the pursuit of Confirmation, the administration and implementation
   of the Plan, the solicitation of votes with respect to the Plan, the Distribution
   of property under the Plan, or any other act or omission, transaction,
   agreement, event, or other occurrence taking place on or before the Effective
   Date related or relating to the foregoing. Notwithstanding anything to the
   contrary in the foregoing, the releases set forth in this Article X.J.1 shall not,
   and shall not be construed to: (a) release any Released Party from Causes of
   Action arising out of, or related to, any act or omission of a Released Party
   that is a criminal act or that constitutes fraud, gross negligence or willful
   misconduct; or (b) release any post-Effective Date obligations of any Person
   under the Plan Documents or any document, instrument, or agreement
   executed to implement the Plan.

         b.     Releases by the Debtors and the Estates of Certain Avoidance
   Actions. As of the Effective Date, for good and valuable consideration, the


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       adequacy of which is hereby confirmed, including the service of Creditors’
       Committee and its members in their respective capacities as such in
       facilitating and implementing the reorganization of the Debtors, as an
       integral component of the Plan, the Debtors, Reorganized BSA, and the
       Estates shall, and shall be deemed to, expressly, conclusively, absolutely,
       unconditionally, irrevocably, and forever release and discharge each and all
       holders of General Unsecured Claims, Non-Abuse Litigation Claims, and
       Convenience Claims of and from any and all Avoidance Actions.

        2.      Releases by the Debtors and the Estates of the Local Councils, the
Contributing Chartered Organizations, and the Participating Chartered
Organizations. In furtherance of the Abuse Claims Settlement, on the Effective
Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, the Debtors, on their own behalf and as representatives of their
respective Estates, and Reorganized BSA, are deemed to irrevocably and
unconditionally, fully, finally, and forever waive, release, acquit, and discharge each
and all of the Local Councils, the Contributing Chartered Organizations and the
Participating Chartered Organizations of and from any and all claims, causes of
action, suits, costs, debts, liabilities, obligations, dues, sums of money, accounts,
reckonings, bonds, bills, covenants, contracts, controversies, agreements, promises,
damages, judgments, executions and demands whatsoever, of whatever kind or
nature (including those arising under the Bankruptcy Code), whether known or
unknown, suspected or unsuspected, in law or in equity, which the Debtors, their
Estates, or Reorganized BSA have, had, may have, or may claim to have: (a) against
any of the Local Councils and Contributing Chartered Organizations with respect
to any Abuse Claims and (b) against any of the Participating Chartered
Organizations with respect to any Post-1975 Chartered Organization Abuse Claims
(collectively, the “Scouting Released Claims”).

        3.     Releases by Holders of Abuse Claims. As of the Effective Date, except
for the rights that remain in effect from and after the Effective Date to enforce the
Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy
Code, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Protected Parties and the Limited Protected
Parties to facilitate and implement the reorganization of the Debtors, including the
settlements embodied in the Plan, including the Abuse Claims Settlement, as an
integral component of the Plan, and except as otherwise expressly provided in the
Plan or the Confirmation Order, to the maximum extent permitted under applicable
law, as such law may be extended subsequent to the Effective Date, all holders of
Abuse Claims shall, and shall be deemed to, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever discharge and release: (a) each and all of
the Protected Parties and their respective property and successors and assigns of
and from all Abuse Claims and any and all Claims and Causes of Action
whatsoever, whether known or unknown, asserted or unasserted, derivative or
direct, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, whether for tort, fraud, contract, veil piercing or alter-ego theories of
liability, successor liability, contribution, indemnification, joint liability, or


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otherwise, arising from or related in any way to such Abuse Claims; and (b) each
and all of the Limited Protected Parties and their respective property and
successors and assigns of and from all Post-1975 Chartered Organization Abuse
Claims and any and all Claims and Causes of Action whatsoever, whether known or
unknown, asserted or unasserted, derivative or direct, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, or otherwise, whether for tort, fraud,
contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in
any way to such Post-1975 Chartered Organization Abuse Claims; provided,
however, that the releases set forth in this Article X.J.3 shall not, and shall not be
construed to: (i) release any Protected Party or Limited Protected Party from
Causes of Action arising out of, or related to, any act or omission of a Released
Party that is a criminal act or that constitutes fraud, gross negligence or willful
misconduct; (ii) release any post-Effective Date obligations of any Person under the
Plan Documents or any document, instrument, or agreement executed to implement
the Plan; or (iii) modify, reduce, impair or otherwise affect the ability of any holder
of an Abuse Claim to recover on account of such Claim in accordance with Article
III.B.10 or Article III.B.11, as applicable.

       4.      Releases by Holders of Claims. As of the Effective Date, except for
the rights that remain in effect from and after the Effective Date to enforce the Plan
and the Confirmation Order, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate
and implement the reorganization of the Debtors and the settlements embodied in
the Plan, including the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation
Order, to the maximum extent permitted under applicable law, as such law may be
extended subsequent to the Effective Date, all Releasing Claim Holders shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever release and discharge each and all of the Released Parties of and from
any and all Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including
any derivative claims or Causes of Action asserted or that may be asserted on behalf
of the Debtors, Reorganized BSA, or the Estates), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract, tort
or otherwise, based on or relating to, or in any manner arising from, in whole or in
part, any act, omission, transaction, event, or other circumstance taking place or
existing on or before the Effective Date (including before the Petition Date) in
connection with or related to the Debtors, the Estates, their respective assets and
properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or
contractual arrangements between one or both of the Debtors and any Released
Party, the restructuring of any Claim or Interest that is treated by the Plan before
or during the Chapter 11 Cases, any of the Plan Documents, the JPM / Creditors’
Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement, or


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any related agreements, instruments, and other documents created or entered into
before or during the Chapter 11 Cases or the negotiation, formulation, preparation
or implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the
Distribution of property under the Plan, or any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date
related or relating to the foregoing; provided, however, that the releases set forth in
this Article X.J.4 shall not, and shall not be construed to: (a) release any Released
Party from Causes of Action arising out of, or related to, any act or omission of a
Released Party that is a criminal act or that constitutes fraud, gross negligence or
willful misconduct; (b) release any post-Effective Date obligations of any Person
under the Plan Documents or any document, instrument, or agreement executed to
implement the Plan; or (c) modify, reduce, impair or otherwise affect the ability of
any holder of an Allowed Non-Abuse Litigation Claim to recover on account of such
Allowed Claim in accordance with Article III.B.9. Notwithstanding the foregoing or
anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or
the release set forth in Article X.J.4 shall, or shall be construed to, release any
claims or Causes of Action against any Local Council, Chartered Organization
(other than a Contributing Chartered Organization), or Non-Settling Insurance
Company (subject to Article IV.D.3) and (ii) nothing in the Plan or the release set
forth in Article X.J.4 shall, or shall be construed to, release any claims or Causes of
Action asserted by Century Indemnity Company against Sidley Austin LLP
(“Sidley”) related to Sidley’s representation of the Debtors prior to the Petition
Date.

       5.    Releases    Among     Contributing      Chartered   Organizations    and
Settlement Parties.

              a.      In furtherance of the Abuse Claims Settlement, as of the date
       that the Confirmation Order and Affirmation Order become Final Orders,
       except for the rights that remain in effect from and after the Effective Date
       to enforce the Plan, the Confirmation Order, and the terms of the TCJC
       Settlement Agreement, for good and valuable consideration, the adequacy of
       which is hereby confirmed, each of the Contributing Chartered
       Organizations, including TCJC, shall, and shall be deemed to, expressly,
       conclusively, absolutely, unconditionally, irrevocably, and forever release
       and discharge the Debtors, Reorganized BSA, the Related Non-Debtor
       Entities, the Local Councils, the other Protected Parties, the Limited
       Protected Parties, the Settling Insurance Companies, including Hartford, the
       Future Claimants’ Representative, the Coalition, the Settlement Trust, and
       each of its and their respective Representatives (collectively, the “Settlement
       Parties”), of and from any and all Claims, Interests, obligations, rights,
       demands, suits, judgments, damages, debts, remedies, losses and liabilities of
       any nature whatsoever (including any derivative claims or Causes of Action
       asserted or that may be asserted on behalf of the Debtors, Reorganized BSA,
       or the Estates), whether liquidated or unliquidated, fixed or contingent,


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             matured or unmatured, known or unknown, foreseen or unforeseen, existing
             or hereinafter arising, in law, equity, contract, tort or otherwise, based on or
             relating to, or in any manner arising from, in whole or in part, any act,
             omission, transaction, event, or other circumstance taking place or existing
             on or before the date that the Confirmation Order and Affirmation Order
             become Final Orders (including before the Petition Date) in connection with
             or related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or
             (iv) any Claims relating to the Debtors or the Related Non-Debtor Entities
             that were or could have been asserted by the Contributing Chartered
             Organizations against the Settlement Parties or any of them.

                     b.     In furtherance of the Abuse Claims Settlement, as of the date
             that the Confirmation Order and Affirmation Order become Final Orders,
             except for the rights that remain in effect from and after the Effective Date
             to enforce the Plan, the Confirmation Order, and the terms of the TCJC
             Settlement Agreement, for good and valuable consideration, the adequacy of
             which is hereby confirmed, each of the Settlement Parties shall, and shall be
             deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
             and forever release and discharge each of the Contributing Chartered
             Organizations, including TCJC, of and from any and all Claims, Interests,
             obligations, rights, demands, suits, judgments, damages, debts, remedies,
             losses and liabilities of any nature whatsoever, whether liquidated or
             unliquidated, fixed or contingent, matured or unmatured, known or
             unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
             equity, contract, tort or otherwise, based on or relating to, or in any manner
             arising from, in whole or in part, any act, omission, transaction, event, or
             other circumstance taking place or existing on or before the date that the
             Confirmation Order and Affirmation Order become Final Orders (including
             before the Petition Date) in connection with or related to (i) Abuse Claims,
             (ii) the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims relating to the
             Debtors or the Related Non-Debtor Entities that were or could have been
             asserted by the Settlement Parties against the Contributing Chartered
             Organizations or any of them.

             6.      Releases Relating to Settling Insurance Companies. The releases of
      Settling Insurance Companies and certain other parties, and the releases by Settling
      Insurance Companies, each as set forth in the Insurance Settlement Agreements,
      including the Hartford Insurance Settlement Agreement, are incorporated by
      reference as if fully set forth herein.

       K.     Exculpation. From and after the Effective Date, none of the Exculpated
Parties shall have or incur any liability to, or be subject to any right of action by, any
Person for any act, omission, transaction, event, or other circumstance occurring on or
before the Effective Date in connection with, relating to or arising out of the Chapter 11
Cases, the negotiation of the Plan Documents, the JPM / Creditors’ Committee Settlement,
the Hartford Insurance Settlement Agreement, the TCJC Settlement Agreement, the
Releases and Injunctions, the pursuit of Confirmation of the Plan, the administration,


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consummation and implementation of the Plan or the property to be Distributed under the
Plan, or the management or operation of the Debtors (except for any liability that results
primarily from such Exculpated Party’s gross negligence, bad faith or willful misconduct).
In all respects, each and all such Exculpated Parties shall be entitled to rely upon the
advice of counsel with respect to their duties and responsibilities under, or in connection
with, the matters referenced in the preceding sentence. Notwithstanding the foregoing or
any provision of the Plan to the contrary, Sidley shall not be an Exculpated Party with
respect to any claims that Century Indemnity Company asserts against Sidley related to
Sidley’s representation of the Debtors prior to the Petition Date.

       L.      Injunctions Related to Releases and Exculpation.

               1.     Injunction Related to Releases. As of the Effective Date, all holders of
       Claims that are the subject of Article X.J are, and shall be, expressly, conclusively,
       absolutely, unconditionally, irrevocably, and forever stayed, restrained, prohibited,
       barred and enjoined from taking any of the following actions against any Released
       Party or its property or successors or assigns on account of or based on the subject
       matter of such Claims, whether directly or indirectly, derivatively or otherwise:
       (a) commencing, conducting or continuing in any manner, directly or indirectly, any
       suit, action or other proceeding (including any judicial, arbitral, administrative or
       other proceeding) in any forum; (b) enforcing, attaching (including any
       prejudgment attachment), collecting, or in any way seeking to recover any
       judgment, award, decree, or other order; (c) creating, perfecting or in any way
       enforcing in any matter, directly or indirectly, any Lien or Encumbrance; and/or
       (d) setting off, seeking reimbursement or contributions from, or subrogation
       against, or otherwise recouping in any manner, directly or indirectly, any amount
       against any liability or obligation that is discharged under Article X.E or released
       under Article X.J; provided, however, that the injunctions set forth in this Article
       X.L.1 shall not, and shall not be construed to, enjoin any holder of a Claim that is
       the subject of Article X.J from taking any action arising out of, or related to, any act
       or omission of a Released Party that is a criminal act or that constitutes fraud, gross
       negligence or willful misconduct.

              2.     Injunction Related to Exculpation. As of the Effective Date, all
       holders of Claims that are the subject of Article X.K are, and shall be, expressly,
       conclusively, absolutely, unconditionally, irrevocably, and forever stayed,
       restrained, prohibited, barred and enjoined from taking any of the following actions
       against any Exculpated Party on account of or based on the subject matter of such
       Claims, whether directly or indirectly, derivatively or otherwise: (a) commencing,
       conducting or continuing in any manner, directly or indirectly, any suit, action or
       other proceeding (including any judicial, arbitral, administrative or other
       proceeding) in any forum; (b) enforcing, attaching (including any prejudgment
       attachment), collecting, or in any way seeking to recover any judgment, award,
       decree, or other order; (c) creating, perfecting or in any way enforcing in any
       matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off,
       seeking reimbursement or contributions from, or subrogation against, or otherwise
       recouping in any manner, directly or indirectly, any amount against any liability or


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obligation that is discharged under Article X.E or released under Article X.J;
provided, however, that the injunctions set forth in this Article X.L.2 shall not, and
shall not be construed to, enjoin any Person that is the subject of Article X.K from
taking any action arising out of, or related to, any act or omission of a Exculpated
Party that is a criminal act or that constitutes fraud, gross negligence or willful
misconduct.

M.     Insurance Provisions.

       1.      Except for the Insurance Assignment, or as otherwise provided in the
Bankruptcy Code, applicable law, the findings made by the Bankruptcy Court in the
Confirmation Order, or the findings made by the District Court in the Affirmation Order,
nothing in the Plan shall modify, amend, or supplement, or be interpreted as modifying,
amending, or supplementing, the terms of any Insurance Policy or rights or obligations
under an Insurance Policy to the extent such rights and obligations are otherwise
available under applicable law, and the rights and obligations, if any, of any Non-Settling
Insurance Company relating to or arising out of the Plan Documents, including the Plan,
the Confirmation Order, and the Affirmation Order, or any provision thereof, shall be
determined pursuant to the terms and provisions of the Insurance Policies and applicable
law.

        2.     No provision of the Plan, other than those provisions contained in the
applicable Injunctions contained in Article X of the Plan, shall be interpreted to affect or
limit the protections afforded to any Settling Insurance Company by the Channeling
Injunction.

        3.     Nothing in this Article X.M is intended or shall be construed to preclude
otherwise applicable principles of res judicata or collateral estoppel from being applied
against any Person.

N.     Judgment Reduction.

        1.     Without limiting the Discharges, Releases and Injunctions set forth above,
if any Person, including a holder of an Abuse Claim (“Plaintiff”), asserts a Cause of
Action against any other Person arising from or relating to Abuse that is the subject of a
proof of claim filed against the Debtors in the Chapter 11 Cases, regardless of whether
such Cause of Action may be asserted pursuant to the Bankruptcy Code or is in the nature
of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever
(each such Cause of Action, an “Abuse Cause of Action”), and such Abuse Cause of
Action results in a determination by the court or tribunal hearing the Abuse Cause of
Action (including by a jury empaneled by such court or tribunal) that any Person who is
not a Protected Party or a Limited Protected Party (each, a “Specified Person”) is liable in
damages to Plaintiff, then, prior to final entry of any judgment, order or arbitration award
(“Judgment”) in such Abuse Cause of Action, Plaintiff shall provide notice and a copy of
the Confirmation Order to the Trial Court. Such court or tribunal shall determine
whether the Abuse Cause of Action gives rise to any Cause of Action on which any
Protected Party or Limited Protected Party would have been liable to Plaintiff in the


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       absence of the Plan and Confirmation Order. The court or tribunal shall reduce any
       Judgment against a Specified Person by an amount equal to the “Judgment Reduction
       Amount,” which shall equal the greatest amount such Specified Person would be entitled,
       under applicable non-bankruptcy law, to set off or credit against the Judgment if such
       Protected Party or Limited Protected Party were not entitled to the benefits of the
       Discharges, Releases, or Injunctions set forth herein. For the avoidance of doubt, a
       Limited Protected Party may be a Specified Person entitled to the judgment reduction
       provided for in this Article X.N with respect to an Abuse Cause of Action arising from or
       relating to Abuse that is not the subject of a Post-1975 Chartered Organization Abuse
       Claim.

                2.     Nothing herein shall prejudice or operate to preclude the right of any
       Specified Person to (a) provide notice of the Confirmation Order to any court or tribunal
       hearing an Abuse Cause of Action, (b) raise any issues, claims or defenses regarding the
       Judgment Reduction Amount, including the contractual liability and/or relative or
       comparative fault of any Person, including any Protected Party or Limited Protected
       Party, in any court or tribunal hearing any Abuse Cause of Action in accordance with
       applicable law or procedure, or (c) take discovery of Protected Parties or Limited
       Protected Parties in accordance with applicable law or procedure; provided, however, that
       nothing herein shall in any way modify or affect the Discharges, Releases or Injunctions.
       For the avoidance of doubt, nothing herein shall (i) be deemed to entitle a Plaintiff to
       more than a single satisfaction with respect to any Abuse Cause of Action or
       (ii) prejudice or operate to preclude the rights of any Specified Person to assert any
       claims or causes of action that have not been discharged, released, or enjoined under the
       Plan or Confirmation Order.

               3.     Each Plaintiff is hereby enjoined and restrained from seeking relief or
       collecting judgments against any Specified Person in a manner that fails to conform to the
       terms of this Article X.N.

               4.     If any Plaintiff enters into a settlement with any Person with respect to one
       or more causes of action based upon, arising from, or related to an Abuse Cause of
       Action, then such Plaintiff shall cause to be included, and in all events, the settlement
       shall be deemed to include, a dismissal, release and waiver of any Abuse Cause of Action
       with respect to such settlement.

        O.     Reservation of Rights. Notwithstanding any other provision of the Plan to the
contrary, no provision of this Article X shall be deemed or construed to satisfy, discharge,
release or enjoin claims by the Settlement Trust, Reorganized BSA, or any other Person, as the
case may be, against (1) the Settlement Trust for payment of Abuse Claims in accordance with
the Trust Distribution Procedures, (2) the Settlement Trust for the payment of Settlement Trust
Expenses, or (3) any Insurance Company that has not performed under an Insurance Policy or an
Insurance Settlement Agreement.

       P.      Disallowed Claims. On and after the Effective Date, the Debtors and
Reorganized BSA shall be fully and finally discharged of any and all liability or obligation on
any and all Disallowed Claims, and any order Disallowing a Claim that is not a Final Order as of


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the Effective Date solely because of a Person’s right to move for reconsideration of such order
pursuant to section 502 of the Bankruptcy Code or Bankruptcy Rule 3008 shall nevertheless
become and be deemed to be a Final Order on the Effective Date.

        Q.      No Successor Liability. Except as otherwise expressly provided in the Plan,
Reorganized BSA does not, pursuant to the Plan or otherwise, assume, agree to perform, pay or
indemnify any Person, or otherwise have any responsibility for any liabilities or obligations of
the Debtors relating to or arising out of the operations of or assets of the Debtors, whether arising
prior to, on or after the Effective Date. Neither the Debtors, Reorganized BSA, nor the
Settlement Trust is, or shall be deemed to be, a successor to any of the Debtors by reason of any
theory of law or equity (except as otherwise provided in Article IV.C), and none shall have any
successor or transferee liability of any kind or character; provided, however, that Reorganized
BSA and the Settlement Trust shall assume and remain liable for their respective obligations
specified in the Plan and the Confirmation Order.

       R.      Indemnities.

               1.      Prepetition Indemnification and Reimbursement Obligations.             The
       respective obligations of the Debtors to indemnify and reimburse Persons who are or
       were directors, officers or employees of the Debtors on the Petition Date or at any time
       thereafter up to and including the Effective Date, against and for any obligations pursuant
       to the bylaws, applicable state or non-bankruptcy law, or specific agreement or any
       combination of the foregoing, shall, except with respect to any Perpetrator: (a) survive
       Confirmation of the Plan and remain unaffected thereby; (b) be assumed by Reorganized
       BSA as of the Effective Date; and (c) not be discharged under section 1141 of the
       Bankruptcy Code, irrespective of whether indemnification or reimbursement is owed in
       connection with any event occurring before, on or after the Petition Date. In furtherance
       of, and to implement the foregoing, as of the Effective Date, Reorganized BSA shall
       obtain and maintain in full force insurance for the benefit of each and all of the
       above-indemnified directors, officers and employees, at levels no less favorable than
       those existing as of the date of entry of the Confirmation Order, and for a period of no
       less than three (3) years following the Effective Date.

               2.     Plan Indemnity. In addition to the matters set forth above and not by way
       of limitation thereof, Reorganized BSA shall indemnify and hold harmless all Persons
       who are or were officers or directors of the Debtors on the Petition Date or at any time
       thereafter up to and including the Effective Date on account of and with respect to any
       claim, cause of action, liability, judgment, settlement, cost or expense (including
       attorneys’ fees) on account of claims or Causes of Action threatened or asserted by any
       third party against such officers or directors that seek contribution, indemnity, equitable
       indemnity, or any similar claim, based upon or as the result of the assertion of primary
       claims against such third party by any representative of the Debtors’ Estates.

               3.     Limitation on Indemnification. Notwithstanding anything to the contrary
       set forth in the Plan or elsewhere, neither the Debtors, Reorganized BSA, the Local
       Councils, nor the Contributing Chartered Organizations, as applicable, shall be obligated
       to indemnify or hold harmless any Person for any claim, cause of action, liability,


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       judgment, settlement, cost or expense that results primarily from (i) such Person’s bad
       faith, gross negligence or willful misconduct or (ii) an Abuse Claim.

        S.     The Official Committees and the Future Claimants’ Representative. Except as
otherwise described in the Settlement Trust Documents with respect to the Future Claimants’
Representative, the Official Committees and the Future Claimants’ Representative shall continue
in existence until the Effective Date, and after the Effective Date for the limited purposes of
prosecuting requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date. The Debtors shall pay the
reasonable fees and actual and necessary expenses incurred by the Official Committees and the
Future Claimants’ Representative up to the Effective Date, and after the Effective Date solely for
the purposes set forth in the preceding sentence, in accordance with the Compensation
Procedures Order, the Fee Examiner Order, and the terms of the Plan, including Article II. As of
the Effective Date, the members of the Creditors’ Committee shall be released and discharged
from all further authority, duties, responsibilities, liabilities, and obligations involving the
Chapter 11 Cases. Upon the closing of the Chapter 11 Cases, the Official Committees shall be
dissolved. Neither the Debtors nor Reorganized BSA have any obligation to pay fees or
expenses of any Professional retained by the Official Committees or the Future Claimants’
Representative that are earned or incurred before the Effective Date to the extent such fees or
expenses (or any portion thereof) qualify as Settlement Trust Expenses, in which case such fees
and expenses (or the applicable portion thereof) shall be paid by the Settlement Trust in
accordance with the Settlement Trust Documents.

                                         ARTICLE XI.

                              RETENTION OF JURISDICTION

        A.      Jurisdiction. Until the Chapter 11 Cases are closed, the Bankruptcy Court shall
retain the fullest and most extensive jurisdiction that is permissible, including the jurisdiction
necessary to ensure that the purposes and intent of the Plan are carried out. Except as otherwise
provided in the Plan or the Settlement Trust Agreement, the Bankruptcy Court shall retain
jurisdiction to hear and determine all Claims against and Interests in the Debtors, and to
adjudicate and enforce the Insurance Actions, the Settlement Trust Causes of Action, and all
other Causes of Action which may exist on behalf of the Debtors. Nothing contained herein
shall prevent Reorganized BSA or the Settlement Trust, as applicable, from taking such action as
may be necessary in the enforcement of any Estate Cause of Action, Insurance Action,
Settlement Trust Cause of Action, or other Cause of Action which the Debtors have or may have
and which may not have been enforced or prosecuted by the Debtors, which actions or other
Causes of Action shall survive Confirmation of the Plan and shall not be affected thereby except
as specifically provided herein. Nothing contained herein concerning the retention of
jurisdiction by the Bankruptcy Court shall be deemed to be a finding or conclusion that (1) the
Bankruptcy Court in fact has jurisdiction with respect to any Insurance Action, (2) any such
jurisdiction is exclusive with respect to any Insurance Action, or (3) abstention or dismissal of
any Insurance Action pending in the Bankruptcy Court or the District Court as an adversary
proceeding is or is not advisable or warranted, so that another court can hear and determine such




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Insurance Action(s). Any court other than the Bankruptcy Court that has jurisdiction over an
Insurance Action shall have the right to exercise such jurisdiction.

        B.      General Retention. Following Confirmation of the Plan, the administration of the
Chapter 11 Cases will continue until the Chapter 11 Cases are closed by a Final Order of the
Bankruptcy Court. The Bankruptcy Court shall also retain jurisdiction for the purpose of
classification of any Claims and the re-examination of Claims which have been Allowed for
purposes of voting, and the determination of such objections as may be filed with the Bankruptcy
Court with respect to any Claims. The failure by the Debtors or Reorganized BSA to object to,
or examine, any Claim for the purposes of voting, shall not be deemed a waiver of the rights of
the Debtors, Reorganized BSA, or the Settlement Trust, as the case may be, to object to or
reexamine such Claim in whole or part.

        C.     Specific Purposes. In addition to the foregoing, the Bankruptcy Court shall retain
jurisdiction over all matters arising out of, or relating to, the Chapter 11 Cases and the Plan,
including jurisdiction to:

             1.     modify the Plan after Confirmation pursuant to the provisions of the
Bankruptcy Code and the Bankruptcy Rules;
               2.     correct any defect, cure any omission, reconcile any inconsistency or make
any other necessary changes or modifications in or to the Plan, the Trust Documents or the
Confirmation Order as may be necessary to carry out the purposes and intent of the Plan,
including the adjustment of the date(s) of performance in the Plan in the event the Effective Date
does not occur as provided herein so that the intended effect of the Plan may be substantially
realized thereby;
                3.     assure performance by the Settlement Trust and the Disbursing Agent of
their respective obligations to make distributions under the Plan;
             4.      enforce and interpret the terms and conditions of the Plan, the Plan
Documents, the Settlement Trust Documents, the DST Agreement, and any Insurance Settlement
Agreements;
                5.      enter such orders or judgments, including injunctions (a) as are necessary
to enforce the title, rights and powers of Reorganized BSA and the Settlement Trust, (b) to
execute, implement, or consummate the provisions of the Plan, the Confirmation Order, and all
contracts, instruments, releases and other agreements or documents created in connection with
the Plan or the Confirmation Order, and (c) as are necessary to enable holders of Claims to
pursue their rights against any Person that may be liable therefor pursuant to applicable law or
otherwise;
               6.      hear and determine any and all motions, adversary proceedings, contested
or litigated matters, and any other matters and grant or deny any applications involving the
Debtors that may be pending on the Effective Date (which jurisdiction shall be non-exclusive as
to any such non-core matters);
               7.      hear and determine any motions or contested matters involving taxes, tax
refunds, tax attributes, tax benefits and similar or related matters, including contested matters


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arising on account of transactions contemplated by the Plan, or relating to the period of
administration of the Chapter 11 Cases;
             8.      hear and determine all applications for compensation of Professionals and
reimbursement of expenses under sections 328, 330, 331, or 503(b) of the Bankruptcy Code;
                9.     hear and determine any Causes of Action arising during the period from
the Petition Date to the Effective Date, or in any way related to the Plan or the transactions
contemplated hereby, against the Debtors, Reorganized BSA, the Settlement Trust, the DST, and
their respective Representatives;
                10.  hear and determine any and all motions for the rejection, assumption or
assignment of Executory Contracts or Unexpired Leases and the Allowance of any Claims
resulting therefrom;
               11.    hear and determine such other matters and for such other purposes as may
be provided in the Confirmation Order;
              12.     hear and determine the Allowance and/or Disallowance of any Claims,
including Administrative Expense Claims, against or Interests in the Debtors or their Estates,
including any objections to any such Claims or Interests, and the compromise and settlement of
any Claim, including Administrative Expense Claims, against or Interest in the Debtors or their
Estates;
               13.     hear and resolve disputes concerning any reserves under the Plan or the
administration thereof;
               14.     hear and determine all questions and disputes regarding title to the assets
of the Debtors, their Estates or the Settlement Trust;
               15.     enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked or
vacated, or if distributions pursuant to the Plan or under the Settlement Trust Documents are
enjoined or stayed;
              16.    hear and determine all questions and disputes regarding, and to enforce,
the Abuse Claims Settlement;
               17.     hear and determine the Insurance Actions, any Settlement Trust Cause of
Action and any similar claims, Causes of Action or rights of the Settlement Trust to construe and
take any action to enforce any Abuse Insurance Policy, and to issue such orders as may be
necessary for the execution, consummation and implementation of any Abuse Insurance Policy,
and to determine all questions and issues arising thereunder; provided, that such retention of
jurisdiction shall not constitute a waiver of any right of a Non-Settling Insurance Company to
seek to remove or withdraw the reference of any Insurance Action filed after the Effective Date;
             18.     hear and determine any other matters related hereto, including the
implementation and enforcement of all orders entered by the Bankruptcy Court in the Chapter 11
Cases;




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               19.      resolve any disputes concerning whether a Person had sufficient notice of
the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection with
the Chapter 11 Cases, the Bar Date established in the Chapter 11 Cases, or any deadline for
responding or objecting to a Cure Amount, in each case, for the purpose of determining whether
a Claim or Interest is discharged hereunder or for any other purpose;
               20.     enter in aid of implementation of the Plan such orders as are necessary,
including the implementation and enforcement of the Injunctions, Releases, and Discharges
described herein, including the Channeling Injunction;
                21.     hearing a petition for relief by a Specified Person or any other party in
interest in the event that a court or tribunal hearing an Abuse Cause of Action fails to apply the
judgment reduction provisions of Article X.N;
              22.   approve any Post-Effective Date Chartered Organization Settlement and
determine the adequacy of notice of a motion by the Settlement Trustee to approve such a
settlement;
               23.    approve any extension of the Insurance Settlement Period, approve any
Post-Effective Date Insurance Settlement and determine the adequacy of notice of a
Post-Effective Date Insurance Settlement provided by the Settlement Trustee;
               24.     hear and determine any questions and disputes pertaining to, and to
enforce, the Abuse Claims Settlement, including the Local Council Settlement Contribution, the
Contributing Chartered Organization Settlement Contribution, including the TCJC Settlement
Contribution, the Participating Chartered Organization Settlement Contribution, and the Hartford
Settlement Contribution;
               25.    hear and determine any questions and disputes pertaining to, and to
enforce, the JPM / Creditors’ Committee Settlement;
               26.     hear and determine any questions and disputes pertaining to, and to
enforce, the Hartford Insurance Settlement;
               27.    hear and determine any questions and disputes pertaining to, and to
enforce, the TCJC Settlement;
             28.    hear and determine all questions and disputes regarding matters pertaining
to the DST Agreement;
               29.     enter a Final Order or decree concluding or closing the Chapter 11 Cases;
and
               30.     to enter and implement such orders as may be necessary or appropriate if
any aspect of the Plan, the Settlement Trust, or the Confirmation Order is, for any reason or in
any respect, determined by a court to be inconsistent with, to violate, or insufficient to satisfy any
of the terms, conditions, or other duties associated with any Abuse Insurance Policies; provided,
however, that (a) such orders shall not impair the Insurance Coverage Defenses or the rights,
claims, or defenses, if any, of any Insurance Company that are set forth or provided for in the
Plan, the Plan Documents, the Confirmation Order, or any other Final Orders entered in the


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Debtors’ Chapter 11 Cases, (b) this provision does not, in and of itself, grant this Court
jurisdiction to hear and decide disputes arising out of or relating to the Abuse Insurance Policies,
and (c) all interested parties, including any Insurance Company, reserve the right to oppose or
object to any such motion or order seeking such relief.
        As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the
Restated Debt and Security Documents and any documents related thereto shall be governed by
the jurisdictional provisions thereof and the Bankruptcy Court shall not retain jurisdiction with
respect thereto.
        D.      Courts of Competent Jurisdiction. To the extent that the Bankruptcy Court is not
permitted under applicable law to preside over any of the foregoing matters, the reference to the
“Bankruptcy Court” in this Article XI shall be deemed to be replaced by the “District Court.” If
the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or
failure of jurisdiction shall have no effect upon and shall not control, prohibit, or limit the
exercise of jurisdiction by any other court having competent jurisdiction with respect to such
matter.

                                         ARTICLE XII.

                              MISCELLANEOUS PROVISIONS

       A.     Closing of Chapter 11 Cases. After each Chapter 11 Case has been fully
administered, Reorganized BSA shall file with the Bankruptcy Court all documents required by
Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close such Chapter
11 Case.

       B.      Amendment or Modification of the Plan.

               1.      Plan Modifications. Subject to the terms of the JPM / Creditors’
       Committee Term Sheet, the Debtors reserve the right, in accordance with the Bankruptcy
       Code and the Bankruptcy Rules, to amend or modify the Plan prior to the entry of the
       Confirmation Order, including amendments or modifications to satisfy section 1129(b) of
       the Bankruptcy Code, and after entry of the Confirmation Order, the Debtors may, upon
       order of the Bankruptcy Court, amend, modify or supplement the Plan in the manner
       provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by law, in
       each case without additional disclosure pursuant to section 1125 of the Bankruptcy Code
       unless section 1127 of the Bankruptcy Code requires additional disclosure. In addition,
       after the Confirmation Date, so long as such action does not materially and adversely
       affect the treatment of holders of Allowed Claims pursuant to the Plan, the Debtors may
       remedy any defect or omission or reconcile any inconsistencies in the Plan or the
       Confirmation Order with respect to such matters as may be necessary to carry out the
       purposes or effects of the Plan, and any holder of a Claim that has accepted the Plan shall
       be deemed to have accepted the Plan as amended, modified, or supplemented. All
       amendments to the Plan (a) must be reasonably acceptable to JPM and the Creditors’
       Committee to the extent they pertain to the treatment of the 2010 Credit Facility Claims,
       the 2019 RCF Claims, the 2010 Bond Claims, or the 2012 Bond Claims (in the case of


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       JPM) or Convenience Claims, General Unsecured Claims, or Non-Abuse Litigation
       Claims (in the case of the Creditors’ Committee), (b) shall not be inconsistent with the
       terms of the Hartford Insurance Settlement Agreement, and (c) shall not be inconsistent
       with the terms of the TCJC Settlement Agreement. The designation of Chartered
       Organizations as Contributing Chartered Organizations or Participating Chartered
       Organizations and the designation of Non-Settling Insurance Companies as Settling
       Insurance Companies after the Effective Date in accordance with Article IV.I, Article
       IV.J, or Article IV.K shall not be a modification or amendment to the Plan and instead is
       an act that may be done to effectuate the terms of the Plan.

              2.      Other Amendments. Before the Effective Date, the Debtors may make
       appropriate technical adjustments and modifications to the Plan and the documents
       contained in the Plan Supplement without further order or approval of the Bankruptcy
       Court.

         C.      Revocation or Withdrawal of Plan. The Debtors reserve the right to revoke or
withdraw the Plan prior to the Effective Date. If the Plan has been revoked or withdrawn prior to
the Effective Date, or if Confirmation of the Plan or the occurrence of the Effective Date does
not occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or
compromise embodied in the Plan (including the fixing or limiting to an amount any Claim or
Interest or Class of Claims or Interests), assumption of executory contracts or unexpired leases
affected by the Plan, and any document or agreement executed pursuant to the Plan, including
the Settlement Trust Documents, shall be deemed null and void (except that the Hartford
Insurance Settlement Agreement shall remain in full force and effect to the extent provided in
such agreement in accordance with its terms); and (3) nothing contained in the Plan shall
(i) constitute a waiver or release of any Claim against, or any Interest in, the Debtors or any other
Person; (ii) prejudice in any manner the rights of the Debtors or any other Person; or
(iii) constitute an admission of any sort by the Debtors or any other Person.

       D.      Request for Expedited Determination of Taxes. The Debtors and Reorganized
BSA, as applicable, shall have the right to request an expedited determination under section
505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all
taxable periods ending after the Petition Date to and including the Effective Date.

        E.      Non-Severability of Plan Provisions. If, before the entry of the Confirmation
Order, any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have the power to alter
and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired or invalidated by such holding, alteration, or interpretation. The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of the
Plan, as it may have been altered or interpreted in accordance with the foregoing, is (1) valid and
enforceable pursuant to its terms, (2) integral to the Plan and may not be deleted or modified



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without the consent of the Debtors or Reorganized BSA (as the case may be), and (3)
nonseverable and mutually dependent.

       F.     Notices. All notices, requests, and demands to or upon the Debtors or
Reorganized BSA to be effective shall be in writing (including by email transmission) and,
unless otherwise expressly provided herein, shall be deemed to have been duly given or made
when actually delivered, addressed as follows:

                      Boy Scouts of America
                      1325 W. Walnut Hill Lane
                      Irving, Texas 75015
                      Attn: Steven McGowan, General Counsel
                      Email: Steve.McGowan@scouting.org

                      with copies to:

                      White & Case LLP
                      1221 Avenue of the Americas
                      New York, New York 10020
                      Attn: Jessica C. Lauria
                      Email: jessica.lauria@whitecase.com

                      – and –

                      White & Case LLP
                      111 South Wacker Drive, Suite 5100
                      Chicago, Illinois 60606
                      Attn: Michael C. Andolina
                            Matthew E. Linder
                      Email: mandolina@whitecase.com
                             mlinder@whitecase.com

                      – and –

                      Morris, Nichols, Arsht & Tunnell LLP
                      1201 North Market Street, 16th Floor
                      P.O. Box 1347
                      Wilmington, Delaware 19899-1347
                      Attn: Derek C. Abbott
                      Email: dabbott@morrisnichols.com

        G.      Notices to Other Persons. After the occurrence of the Effective Date,
Reorganized BSA has authority to send a notice to any Person providing that to continue to
receive documents pursuant to Bankruptcy Rule 2002, such Person must file a renewed request
to receive documents pursuant to Bankruptcy Rule 2002; provided, however, that the U.S.
Trustee need not file such a renewed request and shall continue to receive documents without
any further action being necessary. After the occurrence of the Effective Date, Reorganized BSA



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is authorized to limit the list of Persons receiving documents pursuant to Bankruptcy Rule 2002
to the U.S. Trustee and those Persons that have filed such renewed requests:

        H.      Governing Law. Except to the extent that the Bankruptcy Code or other federal
law is applicable, or to the extent an exhibit hereto or a schedule in the Plan Supplement or any
other Plan Document provides otherwise, the rights, duties, and obligations arising under the
Plan shall be governed by, and construed and enforced in accordance with, the laws of the State
of Delaware, without giving effect to the principles of conflict of laws thereof; provided,
however, that governance matters relating to Reorganized BSA shall be governed by the laws of
the District of Columbia.

       I.      Immediate Binding Effect. Notwithstanding Bankruptcy Rules 3020(e), 6004(h),
7062, or otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including
the Plan Supplement) shall be immediately effective and enforceable and deemed binding upon
and inure to the benefit of any Person named or referred to in the Plan and the successors and
assigns of such Person.

        J.      Timing of Distributions or Actions. In the event that any payment, Distribution,
act or deadline under the Plan is required to be made or performed or occurs on a day that is not a
Business Day, then such payment, Distribution, act or deadline shall be deemed to occur on the
next succeeding Business Day, but if so made, performed or completed by such next succeeding
Business Day, shall be deemed to have been completed or to have occurred as of the required
date.

        K.      Deemed Acts. Whenever an act or event is expressed under the Plan to have been
deemed done or to have occurred, it shall be deemed to have been done or to have occurred by
virtue of the Plan or the Confirmation Order without any further act by any Person.

       L.      Entire Agreement. The Plan Documents set forth the entire agreement and
undertakings relating to the subject matter thereof and supersede all prior discussions,
negotiations, understandings and documents. No Person shall be bound by any terms,
conditions, definitions, warranties, understandings, or representations with respect to the subject
matter hereof, other than as expressly provided for in the Plan or the other Plan Documents or as
may hereafter be agreed to by the affected parties in writing.

         M.     Plan Supplement. Any and all exhibits, lists, or schedules referred to herein but
not filed with the Plan shall be contained in the Plan Supplement to be filed with the Clerk of the
Bankruptcy Court prior to the Confirmation Hearing on the Plan, and such Plan Supplement is
incorporated into and is part of the Plan as if set forth in full herein. The Plan Supplement will
be available for inspection in the office of the Clerk of the Bankruptcy Court during normal court
hours,     at    the   website     maintained      by the         Notice   and    Claims    Agent
(https://cases.omniagentsolutions.com/BSA), and at the Bankruptcy Court’s website
(ecf.deb.uscourts.gov).

        N.     Withholding of Taxes. The Disbursing Agent, the Settlement Trust or any other
applicable withholding agent, as applicable, shall withhold from any assets or property
distributed under the Plan any assets or property which must be withheld for foreign, federal,


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state and local taxes payable with respect thereto or payable by the Person entitled to such assets
to the extent required by applicable law.

        O.      Payment of Quarterly Fees. All Quarterly Fees due and payable prior to the
Effective Date shall be paid on or before the Effective Date. The Reorganized Debtors shall pay
all such fees that arise after the Effective Date, but before the closing of the Chapter 11 Cases,
and shall comply with all applicable statutory reporting requirements.

        P.      Effective Date Actions Simultaneous. Unless the Plan or the Confirmation Order
provides otherwise, actions required to be taken on the Effective Date shall take place and be
deemed to have occurred simultaneously, and no such action shall be deemed to have occurred
prior to the taking of any other such action.

        Q.     Consent to Jurisdiction. Upon default under the Plan, Reorganized BSA, the
Settlement Trust, the Settlement Trustee, the Official Committees, the Future Claimants’
Representative, and the Protected Parties, or any successor thereto, respectively, consent to the
jurisdiction of the Bankruptcy Court, and agree that it shall be the preferred forum for all
proceedings relating to any such default.




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Dated: September 2729, 2021            Boy Scouts of America
                                       Delaware BSA, LLC

                                       /s/ Roger C. Mosby
                                       Roger C. Mosby
                                       Chief Executive Officer and President
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                         EXHIBIT A

            TRUST DISTRIBUTION PROCEDURES
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                                     BOY SCOUTS OF AMERICA

              TRUST DISTRIBUTION PROCEDURES FOR ABUSE CLAIMS

                                        ARTICLE I
                             PURPOSE AND GENERAL GUIDELINES

          A.      Purpose . The purpose of the Settlement Trust is to, among other things, assume
liability for all Abuse Claims, to hold, preserve, maximize and administer the Settlement Trust
Assets, and to employ procedures to allow valid Abuse Claims against the Debtors and other
Protected Parties in accordance with section 502 of the Bankruptcy Code and/or applicable law
(each, an “Allowed Abuse Claim”), determine an allowed liability amount for each Allowed
Abuse claim (the “Allowed Claim Amount”), determine payment methodology and direct
payment of all Allowed Abuse Claims, and obtain insurance coverage for the Allowed Claim
Amount of such Allowed Abuse Claims that are Insured Abuse Claims (as defined below). These
Trust Distribution Procedures (the “TDP”) are adopted pursuant to the Settlement Trust
Agreement and have been approved as reasonable by the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”). These TDP are designed to provide fair,
equitable, and substantially similar treatment for Allowed Abuse Claims. These TDP provide the
means for resolving all Abuse Claims for which the Protected Parties have or are alleged to have
legal responsibility as provided in and required by the Plan, the Confirmation Order, and the
Settlement Trust Agreement. The Settlement Trustee shall implement and administer these TDP in
consultation with the Claims Administrator, Future Claimants’ Representative, and Trust
Professionals with the goals of securing the just, speedy, and cost-efficient determination of every
Abuse Claim, providing substantially similar treatment to holders of similar, legally valid and
supported Allowed Abuse Claims in accordance with the procedures set forth herein, and obtaining
and maximizing the benefits of the Settlement Trust Assets.

        B.      General Principles . To achieve maximum fairness and efficiency, and recoveries
for holders of Allowed Abuse Claims, these TDP are founded on the following principles:

                 1.       objective Claim eligibility criteria;

                 2.       clear and reliable proof requirements;

                 3.       administrative transparency;

                 4.       a rigorous review and evidentiary process that requires the Settlement
                          Trustee to determine Allowed Claim Amounts in accordance with applicable
                          law;

                 5.       prevention and detection of any fraud; and

                 6.       independence of the Settlement Trust and Settlement Trustee.


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         C.     Payment of Allowed Abuse Claims and Insurance Recoveries . Pursuant to
the terms of the Plan, the Settlement Trust has assumed the Debtors’ legal liability for, and
obligation to pay, Allowed Abuse Claims. The Settlement Trust Assets, including the proceeds of
the assigned insurance rights, shall be used to fund distributions to Abuse Claimants under these
TDP. The amounts that Abuse Claimants will ultimately be paid on account of their Allowed
Abuse Claims will depend on, among other things, the Settlement Trust’s ability to liquidate and
recover the proceeds of the assigned insurance rights. The amount of any installment payments,
initial payments, or payment percentages established under these TDP or the Settlement Trust
Agreement are not the equivalent of (i) any Abuse Claimant’s Allowed Claim Amount or (ii) the
right to payment that the holder of an Allowed Abuse Claim has against the Debtors and/or
Protected Parties, as assumed by the Settlement Trust.

         D.      Sole and Exclusive Method. These TDP and any procedures designated in these
TDP shall be the sole and exclusive methods by which an Abuse Claimant may seek allowance and
distribution on an Abuse Claim with respect to the Protected Parties.

       E.      Interpretation. The terms of the Plan and Confirmation Order shall prevail if there
is any discrepancy between the terms of the Plan or Confirmation Order and the terms of these
TDP.

         F.      Confidentiality. All submissions to the Settlement Trust by an Abuse Claimant
shall be treated as confidential and shall be protected by all applicable state and federal privileges,
including those directly applicable to settlement discussions. The Settlement Trust will preserve the
confidentiality of such submissions, and shall disclose the contents thereof only to such persons as
authorized by the Abuse Claimant, or in response to a valid subpoena of such materials issued by
the Bankruptcy Court, a Delaware state court, the United States District Court for the District of
Delaware or any other court of competent jurisdiction. Notwithstanding anything in the foregoing to
the contrary, the Settlement Trust may disclose information, documents, or other materials
reasonably necessary in the Settlement Trust’s judgment to preserve, obtain, litigate, resolve, or
settle insurance coverage, or to comply with an applicable obligation under an Insurance Policy,
indemnity, or settlement agreement. Nothing in these TDP shall be construed to authorize the
Settlement Trustee to waive privilege or disseminate documents to any Abuse Claimants or their
respective counsel, except as provided for in the Document Agreement.

                                    ARTICLE II
                     DEFINITIONS AND RULES OF INTERPRETATION

       A.       Incorporation of Plan Definitions . Capitalized terms used but not defined in
these TDP have the meanings ascribed to them in the Plan or the Settlement Trust Agreement and
such definitions are incorporated in these TDP by reference. To the extent that a term is defined in
these TDP and the Plan and/or the Settlement Trust Agreement, the definition contained in these
TDP controls.

        B.       Definitions . The following terms have the respective meanings set forth below:


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               1.     “Abuse Claims ” shall mean Direct Abuse Claims, Indirect Abuse Claims,
        and Future Abuse Claims.

                2.     “Abuse Claimants ” shall mean the holder of a Direct Abuse Claim, an
        Indirect Abuse Claim, or a Future Abuse Claim.

               3.      “Base Matrix Value ” shall mean the base case value for each tier of
        Abuse Type (labeled as such in the Claims Matrix and more specifically defined and
        described in Article VIII.C) to be used to value Abuse Claims and that may be identified in
        connection with the description of the Scaling Factors in Article VIII.C.

                4.     “Claims Matrix ” shall mean (as specifically defined and described in
        Article VIII.B) a table scheduling the six tiers of Abuse Types, and identifying the Base
        Matrix Value, and Maximum Matrix Value for each tier.

               5.     “CPI-U” shall mean the Consumer Price Index For All Urban Consumers:
        All Items Less Food & Energy, published by the United States Department of Labor,
        Bureau of Labor Statistics.

              6.      “Direct Abuse Claimant” or “Survivor” shall mean the holder of a Direct
        Abuse Claim or a Future Abuse Claim.

                 7.       “Indirect Abuse Claimant” shall mean the holder of an Indirect Abuse
        Claim.

               8.       “Exigent Health Claim” shall mean a Direct Abuse Claim for which the
        Direct Abuse Claimant has provided a declaration under penalty of perjury from a physician
        who has examined the Direct Abuse Claimant within one hundred and twenty (120) days of
        the declaration in which the physician states that there is substantial medical doubt that the
        Direct Abuse Claimant will survive beyond six (6) months from the date of the declaration.

                9.      “FIFO” shall mean “first-in-first-out” and refers to the impartial basis for
        establishing a sequence pursuant to which Abuse Claims shall be determined and paid by
        the Settlement Trust.

               10.     “FIFO Processing Queue ” shall mean the FIFO line-up on which the
        Settlement Trust reviews Trust Claims Submissions.

                11.     “Maximum Matrix Value ” shall mean the value for each tier of Abuse
        Type (labeled as such in the Claims Matrix and more specifically defined and described in
        Article VIII.B) that represents the maximum Allowed Claim Amount achievable through
        the matrix calculation for an Allowed Abuse Claim assigned to a given tier after application
        of the Scaling Factors described in Article VIII.C.

               12.     “Non-BSA Sourced Assets ” shall mean Settlement Trust Assets that
        represent assets received as a result of or in connection with a global settlement between
        the Debtors or the Settlement Trust, on the one hand, and a Chartered Organization that is
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        or becomes a Protected Party, on the other hand. For the avoidance of doubt, Non-BSA
        Sourced Assets shall not include any assets received from the Debtors, the Local Councils,
        or any Settling Insurance Companies.

                13.       “Scaling Factors ” shall mean (as specifically defined and described in
        Article VIII.C) the factors identified to consider with respect to each Abuse Claim and to
        apply to the Base Matrix Value for the applicable tier of Abuse Type for such Abuse Claim
        to arrive at its Proposed Allowed Claim Amount.

        C.      Interpretation; Application of Definitions and Rules of Construction. For
purposes of these TDP, unless otherwise provided herein: (1) whenever from the context it is
appropriate, each term, whether stated in the singular or the plural, will include both the singular and
the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (2) any reference to a person as a holder of a Claim
includes that person’s successors and assigns; (3) the words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to these TDP as a whole and not to any
particular article, section, subsection, or clause; (4) the words “include” and “including,” and
variations thereof, shall not be deemed to be terms of limitation and shall be deemed to be followed
by the words “without limitation;” (5) any effectuating provisions of these TDP may be reasonably
interpreted by the Settlement Trustee in such a manner that is consistent with the overall purpose
and intent of these TDP without further notice to or action, order, or approval of the Bankruptcy
Court; (6) the headings in these TDP are for convenience of reference only and shall not limit or
otherwise affect the provisions hereof; (7) in computing any period of time prescribed or allowed by
these TDP, unless otherwise expressly provided herein, the provisions of Bankruptcy Rule 9006(a)
shall apply; and (8) all provisions requiring the consent of a person shall be deemed to mean that
such consent shall not be unreasonably withheld.

                                            ARTICLE III
                                       TDP ADMINISTRATION

        A.     Administration. Pursuant to the Plan and the Settlement Trust Agreement, the
Settlement Trust and these TDP shall be administered by the Settlement Trustee in consultation
with the STAC and the Future Claimants’ Representative, which represents the interests of holders
of present Abuse Claims in the administration of the Settlement Trust, and the Future Claimants’
Representative, who represents the interests of holders of Future Abuse Claims. The Claims
Administrator shall assist the Settlement Trustee in the resolution of Abuse Claims in accordance
with these TDP and provide information necessary for the Settlement Trustee to implement these
TDP.

        B.     Powers and Obligations . The powers and obligations of the Settlement Trustee,
the STAC, the Future Claimants’ Representative, and the Claims Administrator are set forth in the
Settlement Trust Agreement. The STAC and the Future Claimants’ Representative shall have no
authority or ability to modify, reject, or influence any claim allowance or Allowed Claim Amount
determination under these TDP.


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        C.     Consent Procedures . The Settlement Trustee shall obtain the consent of the
STAC and the Future Claimants’ Representative on any amendments to these TDP pursuant to
Article XIII.B below, and on such matters as are otherwise required below and in Article 1.6 of the
Settlement Trust Agreement. Such consent shall not be unreasonably withheld.

                                           ARTICLE IV
                                      CLAIMANT ELIGIBILITY

       A.      Direct Abuse Claims . To be eligible to potentially receive compensation from the
Settlement Trust on account of a Direct Abuse Claim, a Direct Abuse Claimant must:

                 (1)      have a Direct Abuse Claim;

                 (2)      have timely submitted an Abuse Claim Proof of Claim or Trust Claim
                          Submission to the Settlement Trust as provided below; and

                 (3)      submit supporting documentation and evidence to the Settlement Trust as
                          provided below.

        Direct Abuse Claims can only be timely submitted as follows:

        (i)     a Direct Abuse Claim for which a Proof of Claim was filed in the Chapter 11 Cases
before the Bar Date or if determined timely by the Bankruptcy Court (each a “Chapter 11 POC”)
shall, without any further action by the Abuse Claimant, be deemed a timely submitted Abuse Proof
of Claim to the Settlement Trust;

       (ii)    a Direct Abuse Claim alleging abuse against a Local Council (alleged to be
connected to Scouting related to or sponsored by the BSA) (a) for which, as of the time the Claim
is submitted to the Settlement Trust in accordance with the Settlement Trustee’s designated
procedures, a pending state court action had been timely filed under state law naming the Local
Council as a defendant or (b) which is submitted to the Settlement Trust at a time when the Claim
would be timely under applicable state law if a state court action were filed against the Local
Council on the date on which the Direct Abuse Claim is submitted to the Settlement Trust, shall be
deemed a timely submitted Abuse Proof of Claim to the Settlement Trust; or

        (iii)   a Direct Abuse Claim alleging abuse against any Protected Party other than a Local
Council (alleged to be connected to Scouting related to or sponsored by the BSA) (a) for which, as
of the time the Claim is submitted to the Settlement Trust in accordance with the Settlement
Trustee’s designated procedures, a pending state court action had been timely filed under state law
naming the Protected Party as a defendant or (b) which is submitted to the Settlement Trust at a
time when the Claim and would be (x) timely under applicable state law if a state court action were
filed against the Protected Party on the date on which the Direct Abuse Claim is submitted to the
Settlement Trust and (y) meets any applicable deadline that may be set by the Bankruptcy Court in
connection with such Protected Party becoming a Protected Party in accordance with the Plan and
Confirmation Order, shall be deemed a timely submitted Abuse Proof of Claim to the Settlement
Trust.

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      Any Direct Abuse Claim that is not timely submitted based on the foregoing shall be
deemed untimely and Disallowed.

       B.      Indirect Abuse Claims .1 To be eligible to receive compensation from the
Settlement Trust, an Indirect Abuse Claimant:

                 (1)      must have an Indirect Abuse Claim that satisfies the requirements of the Bar
                          Date Order;

                 (2)      must establish to the satisfaction of the Settlement Trustee that the claim is
                          not of a nature that it would be otherwise subject to disallowance under
                          section 502 of the Bankruptcy Code, including subsection (e) thereof
                          (subject to the right of the holder of the Indirect Abuse Claim to seek
                          reconsideration by the Settlement Trustee under section 502(j) of the
                          Bankruptcy Code), or subordination under sections 509(c) or 510 of the
                          Bankruptcy Code; and

                 (3)      must establish to the satisfaction of the Settlement Trustee that:

                          (a)     such Indirect Abuse Claimant has paid in full the liability and/or
                                  obligation of the Settlement Trust to a Direct Abuse Claimant to
                                  whom the Settlement Trust would otherwise have had a liability or
                                  obligation under these TDP (and which has not been paid by the
                                  Settlement Trust);

                          (b)     the Indirect Abuse Claimant and the person(s) to whose claim(s) the
                                  Indirect Abuse Claim relates, have forever and fully released the
                                  Settlement Trust and the Protected Parties from all liability for or
                                  related to the subject Direct Abuse Claim (other than the Indirect
                                  Abuse Claimant’s assertion of its Indirect Abuse Claim);




1 For the avoidance of doubt, Indirect Abuse Claims may include claims for the payment of defense costs,

deductibles, or indemnification obligations.
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                          (c)     the Indirect Abuse Claim is not otherwise barred by a statute of
                                  limitations or repose or by other applicable law; and

                          (d)     the Indirect Abuse Claimant does not owe the Debtors, Reorganized
                                  Debtors, or the Settlement Trust an obligation to indemnify the
                                  liability so satisfied.

In no event shall any Indirect Abuse Claimant have any rights against the Settlement Trust superior
to the rights that the Direct Abuse Claimant to whose claim the Indirect Abuse Claim relates, would
have against the Settlement Trust, including any rights with respect to timing, amount, percentage,
priority, or manner of payment. In addition, no Indirect Abuse Claim may be liquidated and paid in
an amount that exceeds what the Indirect Abuse Claimant has paid to the related Direct Claimant in
respect of such claim for which the Settlement Trust would have liability. Further, in no event shall
any Indirect Abuse Claim exceed the Allowed Claim Amount of the related Direct Abuse Claim.

       C.      Future Abuse Claims . To be eligible to potentially receive compensation from the
Settlement Trust on account of a Future Abuse Claim, a Future Abuse Claimant must:

                 (1)      have a Direct Abuse Claim that arises from Abuse that occurred prior to the
                          Petition Date;

                 (2)      as of the date immediately preceding the Petition Date, had not attained
                          eighteen (18) years of age or was not aware of such Direct Abuse Claim as
                          a result of “repressed memory,” to the extent the concept of repressed
                          memory is recognized by the highest appellate court of the state or territory
                          where the claim arose;

                 (3)      submit the Future Abuse Claim to the Settlement Trust in accordance with
                          these TDP, (i) at a time when the Claim would be timely under applicable
                          state law if a state court action were filed on the date on which the Future
                          Abuse Claim is submitted to the Settlement Trust, or (ii), if the Future Abuse
                          Claim is not timely under (i) above, it will be eliminated or decreased in
                          accordance with Article VIII.E(iii) below; and

                 (4)      have not filed a Chapter 11 POC.

Future Abuse Claims that meet the foregoing eligibility criteria shall be treated as Direct Abuse
Claims hereunder.

                                         ARTICLE V
                                 GENERAL TRUST PROCEDURES

       A.       Document Agreement. As more fully described in the Document Agreement, the
Settlement Trustee may require other parties to the Document Agreement to provide the Settlement
Trust with documents, witnesses, or other information as provided therein (the “Document
Obligations ”).

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        B.     Document Access . The Settlement Trust shall afford access for Direct Abuse
Claimants to relevant, otherwise discoverable non-privileged documents obtained by the Settlement
Trust pursuant to the Document Agreement to facilitate their submissions with respect to their
Direct Abuse Claims, including access to IV files (the Volunteer Screening Database) and to all
Troop Rosters in the possession, custody or control of the Debtors, each Protected Party or the
Settlement Trust. A court of competent jurisdiction shall be able to determine whether allegedly
privileged documents should be required to be produced by the Settlement Trust. The Settlement
Trust also may perform any and all obligations necessary to recover assigned proceeds under the
assigned insurance rights in connection with the administration of these TDP.

        C.      Assignment of Insurance Rights . The Bankruptcy Court has authorized the
Insurance Assignment pursuant to the Plan and the Confirmation Order, and the Settlement Trust
has received the assignment and transfer of the Insurance Actions, the Insurance Action
Recoveries, the Insurance Settlement Agreements (if applicable), the Insurance Coverage, and all
other rights or obligations under or with respect to the Insurance Policies (but not the policies
themselves) in accordance with the Bankruptcy Code. Nothing in these TDP shall modify, amend,
or supplement, or be interpreted as modifying, amending, or supplementing, the terms of any
Insurance Policy or rights and obligations under an Insurance Policy assigned to the Settlement
Trust to the extent such rights and obligations are otherwise available under applicable law and
subject to the Plan and Confirmation Order. The rights and obligations, if any, of any Non-Settling
Insurance Company relating to or arising out of these TDP, or any provision hereof, shall be
determined pursuant to the terms and provisions of the Insurance Policies and applicable law.
Notwithstanding the foregoing, the Settlement Trust shall satisfy, to the extent required under the
relevant policies and applicable law, any retrospective premiums and self-insured retentions arising
out of any Abuse Claims under the Abuse Insurance Policies. In the event that a Non-Settling
Insurance Company pays such self-insured retention and is entitled to reimbursement from the
Settlement Trust under applicable law, such Non-Settling Insurance Company shall receive that
reimbursement in the form of a set-off against any claim for coverage by the Settlement Trust
against that Non-Settling Insurance Company with respect to the relevant Abuse Claim.

       D.      Deceased Abuse Survivor. The Settlement Trustee shall consider, and if an
Allowed Claim Amount is determined, pay under these TDP, the claim of a deceased Direct Abuse
Claimant without regard to the Direct Abuse Claimant’s death, except that the Settlement Trustee
may require evidence that the person submitting the claim on behalf of the decedent is authorized to
do so.

        E.     Statute of Limitations or Repose . The statute of limitations, statute of repose,
and the choice of law determination applicable to an Abuse Claim against the Settlement Trust shall
be determined by reference to the tort system where such Abuse Claim was pending on the Petition
Date (so long as the Protected Party was subject to personal jurisdiction in that location), or where
such Abuse Claim could have been timely and properly filed as asserted by the Abuse Claimant
under applicable law.




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                                          ARTICLE VI
                                   EXPEDITED DISTRIBUTIONS

         A.      Minimum Payment Criteria. A Direct Abuse Claimant who meets the following
criteria may elect to resolve his or her Direct Abuse Claim for an expedited distribution of $3,500
(the “Expedited Distribution”): (i) the Direct Abuse Claimant elects to resolve his or her Direct
Abuse Claim for the Expedited Distribution in accordance with the Plan and Confirmation Order
(the “Expedited Distribution Election”); (ii) in connection with the Expedited Distribution
Election, the Direct Abuse Claimant has timely submitted to the Settlement Trust a properly and
substantially completed, non-duplicative Chapter 11 POC or Future Abuse Claim; and (iii) the
Direct Abuse Claimant has personally signed his or her Proof of Claim or Future Abuse Claim
attesting to the truth of its contents under penalty of perjury, or supplements his or her Abuse Claim
Proof of Claim to so provide such verification. Direct Abuse Claimants that make the Expedited
Distribution Election will not have to submit any additional information to the Settlement Trust to
receive payment of the Expedited Distribution from the Settlement Trust.

        B.       Process and Payment of Expedited Distributions . Pursuant to a form of notice
with an election option to be developed by the Settlement Trustee with the approval of the STAC
and Future Claimants’ Representative, Direct Abuse Claimants that filed a Chapter 11 POC will
have the opportunity to elect to receive an Expedited Distribution, provided, that any such election
will be subject to the requirements set forth in Section VI.A above and provided further that any
Expedited Distribution Election must be made prior to, and in lieu of, the submission of a Trust
Claim Submission (as defined below). Direct Abuse Claimants who have properly made the
Expedited Distribution Election and who met the criteria set forth in Article VI.A(ii) and (iii) above,
shall be entitled to receive their Expedited Payment upon executing an appropriate release, which
shall include a release of the Settlement Trust, the Protected Parties, and all Chartered
Organizations. The form of release agreement that a Direct Abuse Claimant who makes the
Expedited Distribution Election must execute is attached as Exhibit A. A Direct Abuse Claimant
who does not make the Expedited Distribution Election and a Future Abuse Claimant who does not
elect to receive the Expedited Distribution in accordance with the deadlines and procedures
established by the Settlement Trust may not later elect to receive the Expedited Distribution. A
Direct Abuse Claimant who makes the Expedited Distribution Election (or Future Abuse Claimant
who elects to receive the Expedited Distribution) shall have no other remedies with respect to any
Direct Abuse Claim he or she has against the Settlement Trust, Protected Parties, Chartered
Organizations, or any Non-Settling Insurance Company. Direct Abuse Claimants that make the
Expedited Distribution Election (or Future Abuse Claimant who elects to receive the Expedited
Distribution) will not be eligible to receive any further distribution on account of their Direct Abuse
Claim pursuant to these TDP.

                                         ARTICLE VII
                                 CLAIMS ALLOWANCE PROCESS

       A.      Trust Claim Submissions . Each Abuse Claimant that does not make the
Expedited Distribution Election and instead elects to pursue recovery from the Settlement Trust
pursuant to these TDP must submit his or her Abuse Claim for allowance and potential valuation
and determination of insurance status by the Settlement Trustee pursuant to the requirements set
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forth herein (each, a “Trust Claim Submission”). In order to properly make a Trust Claim
Submission, each submitting Abuse Claimant must (i) complete under oath a questionnaire to be
developed by the Settlement Trustee and submitted to the STAC and the Future Claimants’
Representative for approval; (ii) produce all records and documents in his or her possession,
custody or control related to the Abuse Claim, including all documents pertaining to all settlements,
awards, or contributions already received or that are expected to be received from a Protected
Party or other sources; and (iii) execute an agreement to be provided or made available by the
Settlement Trust with the questionnaire (1) to produce any further records and documents in his or
her possession, custody or control related to the Abuse Claim reasonably requested by the
Settlement Trustee, (2) consent to and agree to cooperate in any examinations requested by the
Settlement Trustee (including by healthcare professionals selected by the Settlement Trustee) (a
“Trustee Interview”); and (3) consent to and agree to cooperate in a written and/or oral
examination under oath if requested to do so by the Settlement Trustee. The date on which an
Abuse Claimant submits (i), (ii) and (iii) above to the Settlement Trust shall be the “Trust Claim
Submission Date ”. The Abuse Claimant’s breach or failure to comply with the terms of his or her
agreement made in connection with his or her Trust Claim Submission shall be grounds for
disallowance or significant reduction of his or her Abuse Claim. To complete the evaluation of each
Abuse Claim submitted through a Trust Claim Submission (each a “Submitted Abuse Claim”),
the Settlement Trustee also may, but is not required to, obtain additional evidence from the Abuse
Claimant or from other parties pursuant to the Document Obligations and shall consider
supplemental information timely provided by the Abuse Claimant, including information obtained
pursuant to the Document Obligations. Non-material changes to the claims questionnaire may be
made by the Settlement Trustee with the consent of the STAC and the Future Claimants’
Representative.

       B.      Claims Evaluation. The Settlement Trustee shall evaluate each Trust Claim
Submission individually and will follow the uniform procedures and guidelines set forth below to
determine, based on the evidence obtained by the Settlement Trust, whether or not a Submitted
Abuse Claim should be allowed. After a review of the documentation provided by the Abuse
Claimant in his or her Proof of Claim, Trust Claim Submission, materials received pursuant to the
Document Obligations, and any follow-up materials or examinations (including, without limitation,
any Trustee Interview), the Settlement Trustee will either find the Abuse Claim to be legally valid
and an Allowed Abuse Claim, or legally invalid and a Disallowed Claim.

         C.     Settlement Trustee Review Procedures . The Settlement Trustee must evaluate
each Submitted Abuse Claim, including the underlying Proof of Claim, the Trust Claim Submission
and/or the Trustee Interview or any other follow-up, and documents obtained through the Document
Obligations, and determine whether such Claim is a legally valid Allowed Abuse Claim, based on
the following criteria:

                 1.       Initial Evaluation Criteria. The Settlement Trustee shall perform an initial
                          evaluation (the “Initial Evaluation”) of a Submitted Abuse Claim to
                          determine whether:



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                          (a)     the Abuse Claimant’s Proof of Claim or Trust Claim Submission is
                                  substantially and substantively completed and signed under penalty of
                                  perjury;

                          (b)     the Direct Abuse Claim was timely submitted to the Settlement Trust
                                  under Article IV.A; and

                          (c)     the Submitted Abuse Claim had not previously been resolved by
                                  litigation and/or settlement involving a Protected Party.

                          If any of these criteria are not met, then the Submitted Abuse Claim shall be
                          a Disallowed Claim.

                 2.       General Criteria for Evaluating Submitted Abuse Claims . To the
                          extent a Submitted Abuse Claim is not disallowed based on the Initial
                          Evaluation, then the Settlement Trustee will evaluate the following factors to
                          determine if the evidence related to the Submitted Abuse Claim is credible
                          and demonstrates, by a preponderance of the evidence, that the Submitted
                          Abuse Claim is entitled to a recovery and should be allowed (the “General
                          Criteria”):

                          (a)     Alleged Abuse. The Abuse Claimant has identified alleged acts of
                                  Abuse that he or she suffered;

                          (b)     Alleged Abuser Identification. The Abuse Claimant has either
                                  (i) identified an alleged abuser (e.g., by the full name or last name)
                                  or (ii) provided specific information (e.g., a physical description of an
                                  alleged abuser combined with the name or location of the Abuse
                                  Claimant’s troop) about the alleged abuser such that the Settlement
                                  Trustee can make a reasonable determination that the alleged abuser
                                  was an employee, agent or volunteer of a Protected Party, the
                                  alleged abuser was a registered Scout, or the alleged abuser
                                  participated in Scouting or a Scouting activity and the Abuse was
                                  directly related to Scouting activities;

                          (c)     Connection to Scouting. The Abuse Claimant has provided
                                  information showing (or the Settlement Trustee otherwise
                                  determines) that the Abuse Claimant was abused during a Scouting
                                  activity or that the Abuse resulted from involvement in Scouting
                                  activities;

                          (d)     Date and Age. The Abuse Claimant has either: (i) identified the
                                  date of the alleged abuse and/or his or her age at the time of the
                                  alleged Abuse, or (ii) provided additional facts (e.g., the approximate
                                  date and/or age at the time of alleged Abuse coupled with the names
                                  of additional scouts or leaders in the troop) sufficient for the
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                                  Settlement Trustee to determine the date of the alleged Abuse and
                                  age of the Abuse Claimant at the time of such alleged Abuse; and

                          (e)     Location of Abuse. The Abuse Claimant has identified the venue or
                                  location of the alleged Abuse.

                 3.       Submitted Abuse Claims That Satisfy the General Criteria. To the
                          extent that a Submitted Abuse Claim meets the evidentiary standard set
                          forth in the General Criteria and the Settlement Trustee has verified such
                          information and determined that no materials submitted or information
                          received in connection with the Submitted Abuse Claim are deceptive or
                          fraudulent, the Submitted Abuse Claim will be, and will be deemed to be, an
                          Allowed Abuse Claim.

                 4.       Submitted Abuse Claims That Do Not Satisfy the General Criteria. If
                          the Settlement Trustee determines that any Submitted Abuse Claim
                          materials provided by an Abuse Claimant include fraudulent and/or deceptive
                          information, the Submitted Abuse Claim will be, and will be deemed to be, a
                          Disallowed Claim. To the extent that a Submitted Abuse Claim – after an
                          opportunity for the Abuse Claimant to discover information from the
                          Settlement Trust as provided in these TDP – does not meet the evidentiary
                          standard set forth in the General Criteria, the Settlement Trustee can
                          disallow such Claim, or request further information from the Abuse Claimant
                          in question necessary to satisfy the General Criteria requirements. If the
                          Settlement Trustee finds that any of the factors set forth in
                          Article VII.C.2(a)-(c) with respect to any Submitted Abuse Claim are not
                          satisfied, the Claim will be per se disallowed and will be, and will be deemed
                          to be, a Disallowed Claim.

         D.      Disallowed Claims . If the Settlement Trustee finds that a Submitted Abuse Claim
is a Disallowed Claim, the Settlement Trustee shall provide written notice of its determination to the
relevant Abuse Claimant (a “Disallowed Claim Notice ”). If the Settlement Trustee finds that a
Submitted Abuse Claim is a Disallowed Claim, the Settlement Trustee will not perform the Allowed
Abuse Claim valuation analysis described below in Article VIII. Abuse Claimants shall have the
ability to seek reconsideration of the Settlement Trustee’s determination set forth in the Disallowed
Claim Notice as described in Article VII.G below.

       E.      Allowed Abuse Claims . If the Settlement Trustee finds that a Submitted Abuse
Claim is an Allowed Abuse Claim, the Settlement Trustee shall utilize the procedures described
below in Article VIII to determine the proposed Claims Matrix tier and Scaling Factors for such
Abuse Claim (the “Proposed Allowed Claim Amount”), and provide written notice of allowance
and the Proposed Allowed Claim Amount to the Abuse Claimant (an “Allowed Claim Notice ”
and together with the Disallowed Claim Notice, a “Claim Notice ”) as set forth in Article VII.F
below.


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       F.     Claims Determination. If the Abuse Claimant accepts the Proposed Allowed
Claim Amount in the Allowed Claim Notice or the reconsideration process set forth below in Article
VII.G has been exhausted (and no further action has been taken by the Abuse Claimant in the tort
system pursuant to Article XII below), the Proposed Allowed Claim Amount shall become the
Allowed Claim Amount for such Claim (a “Final Determination”), and the holder of such
Allowed Abuse Claim shall receive payment in accordance with Article IX, subject to the Abuse
Claimant executing the form of release set forth in Article IX.D.

        G.       Reconsideration of Settlement Trustee’s Determination. An Abuse Claimant
may make a request for reconsideration of (i) the disallowance of his or her Submitted Abuse
Claim, or (ii) the Proposed Allowed Claim Amount (a “Reconsideration Request”) within thirty
(30) days of receiving a Disallowed Claim Notice or an Allowed Claim Notice
(the “Reconsideration Deadline ”). Any Abuse Claimant who fails to submit a Reconsideration
Request to the Settlement Trust by the Reconsideration Deadline shall be deemed to accept the
disallowance of the Abuse Claim or the Proposed Allowed Claim Amount. Each Reconsideration
Request must be accompanied by a check or money order for $1,000 as an administrative fee for
reconsideration. The Abuse Claimant may submit further evidence in support of the Submitted
Abuse Claim with the Reconsideration Request. The Settlement Trustee will have sole discretion
whether to grant the Reconsideration Request. The decision to grant the Reconsideration Request
does not guarantee that the Settlement Trustee will reach a different result after reconsideration.

         If the Reconsideration Request is denied, the administrative fee will not be returned, and the
Settlement Trustee will notify the Abuse Claimant within thirty (30) days of receiving the request
that it will not reconsider the Abuse Claimant’s Submitted Abuse Claim. The Abuse Claimant shall
retain the ability to pursue the Settlement Trust in the tort system as described in Article XII below.

        If the Reconsideration Request is granted, the Settlement Trustee will provide the Abuse
Claimant written notice within thirty (30) days of receiving the Reconsideration Request that it is
reconsidering the Abuse Claimant’s Submitted Abuse Claim. The Settlement Trustee will then
reconsider the Submitted Abuse Claim—including all new information provided by the Abuse
Claimant in the Reconsideration Request and any additional Trustee Interview—and will have the
discretion to maintain the prior determination or find that the Submitted Abuse Claim in question is
an Allowed Abuse Claim or should receive a new Proposed Allowed Claim Amount.

         If the Settlement Trustee determines upon reconsideration that a Submitted Abuse Claim is
an Allowed Abuse Claim and/or should receive a new Proposed Allowed Claim Amount, the
Settlement Trustee will deliver an Allowed Claim Notice and return the administrative fee to the
relevant Abuse Claimant. If the Settlement Trustee determines upon reconsideration that the
totality of the evidence submitted by the Abuse Claimant does not support changing the earlier
finding that the Submitted Abuse Claim is a Disallowed Claim, or that the Claim in question is not
deserving of a new Proposed Allowed Claim Amount, the Settlement Trustee’s earlier allowance
determination and/or Proposed Allowed Claim Amount shall stand and the Settlement Trustee will
provide a Claim Notice to the Abuse Claimant of either result within ninety (90) days of the
Settlement Trust having sent notice that it was reconsidering the Abuse Claimant’s Submitted


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Abuse Claim. Thereafter, the Abuse Claimant shall retain the ability to pursue the Settlement Trust
in the tort system as described below in Article XII.

         H.     Claim Determination Deferral. For a period of up to twelve (12) months from
the Effective Date, and by an election exercised at the time of the Trust Claim Submission, Direct
Abuse Claimants whose Direct Abuse Claims may be substantially reduced by the Scaling Factor
described below in Article VIII.E.(iii) (statute of limitations defense) may elect to defer the
determination of their Proposed Allowed Claim Amounts to see if statute of limitations revival
legislation occurs, provided, however, that this claim determination deferral window shall close for
all Direct Abuse Claims twelve (12) months from the Effective Date at which time such Submitted
Abuse Claims shall be determined based on then applicable Scaling Factors.

        I.      Prevention and Detection of Fraud. The Settlement Trustee shall work with the
Claims Administrator to institute auditing and other procedures to detect and prevent the allowance
of Abuse Claims based on fraudulent Trust Claim Submissions. Among other things, such
procedures will permit the Settlement Trustee or Claims Auditor to conduct random audits to verify
supporting documentation submitted in randomly selected Trust Claim Submissions, as well as
targeted audits of individual Trust Claim Submissions or groups of Trust Claim Submissions, any of
which may include Trustee Interviews. Trust Claim Submissions must be signed under the pains
and penalties of perjury and to the extent of applicable law, the submission of a fraudulent Trust
Claim Submission may violate the criminal laws of the United States, including the criminal
provisions applicable to Bankruptcy Crimes, 18 U.S.C. § 152, and may subject those responsible to
criminal prosecution in the Federal Courts.

                                    ARTICLE VIII
                          CLAIMS MATRIX AND SCALING FACTORS

         A.     Claims Matrix and Scaling Factors . These TDP establish certain criteria for
unliquidated claims seeking compensation from the Settlement Trust, a claims matrix below
(the “Claims Matrix ”) that schedules six types of Abuse (the “Abuse Types ”) and designates for
each Abuse Type a Base Matrix Value, and Maximum Matrix Value, and certain scaling factors
(the “Scaling Factors ”) identified below to apply to the Base Matrix Values to determine the
liquidated values for certain unliquidated Abuse Claims. The Abuse Types, Scaling Factors, Base
Matrix Values, and Maximum Matrix Values that are set forth in the Claims Matrix have all been
selected and derived with the intention of achieving a fair and reasonable Abuse Claim valuation
range in light of the best available information, considering the settlement, verdict and/or judgments
that Abuse Claimants would receive in the tort system against the Protected Parties absent the
bankruptcy. The Settlement Trustee shall utilize the Claims Matrix and Scaling Factors as the basis
to determine a Proposed Allowed Claim Amount for each Allowed Abuse Claim that does not
receive an Expedited Distribution or become a STAC Tort Election Claim. The Proposed Allowed
Claim Amount agreed to by the Direct Abuse Claimant as the Allowed Claim Amount for an
Allowed Abuse Claim shall be deemed to be the Protected Parties’ liability for such Direct Abuse
Claim (i.e., the claimant’s right to payment for his or her Direct Abuse Claim), irrespective of how
much the holder of such Abuse Claim actually receives from the Settlement Trust pursuant to the
payment provisions set forth in Article IX. In no circumstance shall the amount of a Protected
Party’s legal obligation to pay any Direct Abuse Claim be determined to be any payment
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percentages hereunder or under the Settlement Trust Agreement (rather than the liquidated value of
such Direct Abuse Claim as determined under the TDP).

         B.     Claims Matrix . The Claims Matrix establishes six tiers of Abuse Types, and
provides the range of potential Allowed Claim Amounts assignable to an Allowed Abuse Claim in
each tier. The first two columns of the Claims Matrix delineate the six possible tiers to which an
Allowed Abuse Claim can be assigned based on the nature of the abuse. The Base Matrix value
column for each tier represents the default Allowed Claim Amount for an Allowed Abuse Claim
assigned to a given tier, in each case based on historical abuse settlements and litigation outcomes
which included release for all BSA-related parties, including the BSA and all other putative
Protected Parties to such actions, prior to application of the Scaling Factors described in Article
VIII.D (the “Base Matrix Value ”). The maximum Claims Matrix value column for each tier
represents the maximum Allowed Claim Amount for an Allowed Abuse Claim assigned to a given
tier after Claims Matrix review and application of the Scaling Factors described in Article VIII.C
(the “Maximum Matrix Value ”). The ultimate distribution(s) to the holder of an Allowed Abuse
Claim that has received a Final Determination may vary upward (in the case of a
larger-than-expected Settlement Trust corpus) or downward (in the case of a
smaller-than-expected Settlement Trust corpus) from the holder’s Allowed Claim Amount based on
the payment percentages determined by the Settlement Trustee. If an Allowed Abuse Claim would
fall into more than one tier, it will be placed in the highest applicable tier. An Abuse Claimant
cannot have multiple Allowed Abuse Claims assigned to different tiers. Commencing on the second
anniversary of the Effective Date, the Settlement Trust shall adjust the valuation amounts for yearly
inflation based on the CPI-U. The CPI-U adjustment may not exceed 3% annually, and the first
adjustment shall not be cumulative.

 Tier       Type of Abuse                                              Base          Maximum        Matrix
                                                                       Matrix        Value
                                                                       Value
 1          Anal or Vaginal Penetration by Adult                       $600,000      $2,700,000
            Perpetrator—includes anal or vaginal sexual
            intercourse, anal or vaginal digital penetration, or
            anal or vaginal penetration with a foreign,
            inanimate object.
 2          Oral Contact by Adult Perpetrator—includes oral $450,000                 $2,025,000
            sexual intercourse, which means contact
            between the mouth and penis, the mouth and
            anus, or the mouth and vulva or vagina.
            Anal or Vaginal Penetration by a Youth
            Perpetrator—includes anal or vaginal sexual
            intercourse, anal or vaginal digital penetration, or
            anal or vaginal penetration with a foreign,
            inanimate object.


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 3          Masturbation by Adult Perpetrator—includes                 $300,000      $1,350,000
            touching of the male or female genitals that
            involves masturbation of the abuser or claimant.
            Oral Contact by a Youth Perpetrator—includes
            oral sexual intercourse, which means contact
            between the mouth and penis, the mouth and
            anus, or the mouth and vulva or vagina.
 4          Masturbation by Youth Perpetrator—includes                 $150,000      $675,000
            touching of the male or female genitals that
            involves masturbation of the abuser or claimant.
            Touching of the Sexual or Other Intimate Parts
            (unclothed) by Adult Perpetrator.
 5          Touching of the Sexual or Other Intimate Parts             $75,000       $337,500
            (unclothed) by a Youth Perpetrator.
            Touching of the Sexual or Other Intimate Parts
            (clothed), regardless of who is touching whom
            and not including masturbation.
            Exploitation for child pornography.
 6          Sexual Abuse-No Touching.                                  $3,500        $8,500
            Adult Abuse Claims.


        C.      Scaling Factors . After the Settlement Trustee has assigned an Allowed Abuse
Claim to one of the six tiers in the Claims Matrix, the Settlement Trustee will utilize the Scaling
Factors described below to determine the Proposed Allowed Claim Amount for each Allowed
Abuse Claim. The Scaling Factors are based on evidence regarding the BSA’s and other putative
Protected Parties’ historical abuse settlements, litigation outcomes, and other evidence supporting
the Scaling Factors. Each Allowed Abuse Claim will be evaluated for each factor by the
Settlement Trustee through his or her review of the evidence obtained through the relevant Proof of
Claim, Trust Claim Submission and any related or follow-up materials, interviews or examinations,
as well as materials obtained by the Settlement Trust through the Document Obligations. These
scaling factors can increase or decrease the Proposed Allowed Claim Amount for an Allowed
Abuse Claim depending on the severity of the facts underlying the Claim. By default, the value of
each scaling factor is one (1), meaning that in the absence of the application of the scaling factor,
the Base Matrix Value assigned to a Claim is not affected by that factor. In contrast, if the
Settlement Trustee determines that a particular scaling factor as applied to a given Allowed Abuse
Claim is 1.5, the Proposed Allowed Claim Amount for the Allowed Abuse Claim will be increased
by 50%, the result of multiplying the Base Matrix Value of the Allowed Abuse Claim by 1.5. The
combined effect of all scaling factors is determined by multiplying the scaling factors together then


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multiplying the result by the Base Matrix Value of the Allowed Abuse Claim. See Article VIII.F
for illustrative example.

        D.     Aggravating Scaling Factors . The Settlement Trustee may assign upward
Scaling Factors to each Allowed Abuse Claim based on the following categories:

        (i)      Nature of Abuse and Circumstances . To account for particularly severe Abuse
                 or aggravating circumstances, the Settlement Trustee may assign an upward Scaling
                 Factor of up to 1.5 to each Allowed Abuse Claim. The hypothetical base case
                 scenario for this scaling factor would involve a single incident of Abuse with a single
                 perpetrator with such perpetrator having accessed the victim as an employee or
                 volunteer within BSA-sponsored scouting. The hypothetical base case is
                 incorporated into the Base Matrix Value in the Claims Matrix’ tiers and would not
                 receive an increase on account of this factor. By way of example, aggravating
                 factors that can give rise to a higher scaling factor include the following factors:

                 a.       Extended duration and/or frequency of the Abuse;

                 b.       Exploitation of the Abuse Claimant for child pornography;

                 c.       Coercion or threat or use of force or violence, stalking; and

                 d.       Multiple perpetrators involved in sexual misconduct.

        (ii)     Abuser Profile . To account for the alleged abuser’s profile, the Settlement
                 Trustee may assign an upward Scaling Factor of up to 2.0 to an Allowed Abuse
                 Claim. This factor is to be evaluated relative to a hypothetical base case scenario
                 involving a perpetrator as to whom there is no other known allegations of Abuse.
                 The hypothetical base case is incorporated into the Base Matrix Value in the Claims
                 Matrix’ tiers and would not receive an increase on account of this factor. An
                 upward Scaling Factor may be applied for this category as follows (the Settlement
                 Trustee may only apply the scaling factor of the single highest applicable category
                 listed below):

                 a.       1.25 if the abuser was accused by at least one (1) other alleged victim of
                          Abuse;

                 b.       1.5 if the abuser was accused by five (5) or more other alleged victims of
                          Abuse;

                 c.       2.0 if the abuser was accused by ten (10) or more other alleged victims of
                          Abuse; and

                 d.       1.25 to 2.0 if there is evidence of negligence of a Protected Party (e.g., the
                          inclusion of the perpetrator in the IV files (Volunteer Screening Database)
                          for abuse reasons).

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        (iii)    Impact of the Abuse . To account for the impact of the alleged Abuse on the
                 Abuse Claimant’s mental health, physical health, inter-personal relationships,
                 vocational capacity or success, academic capacity or success, and whether the
                 alleged Abuse at issue resulted in legal difficulties for the Abuse Claimant, the
                 Settlement Trustee may assign an upward Scaling Factor of up to 1.5. This factor is
                 to be evaluated relative to a hypothetical base case scenario of a victim of Abuse
                 who suffered the typical level of Abuse-related distress within the tier to which the
                 Allowed Abuse Claim was assigned. The hypothetical base case is incorporated
                 into the Base Matrix Values in the Claims Matrix’ tiers and would not receive an
                 increase on account of this factor. The Settlement Trustee will consider, along with
                 any and all other relevant factors, whether the Abuse at issue manifested or
                 otherwise led the Abuse Claimant to experience or engage in behaviors resulting
                 from:

                 a.       Mental Health Issues: This includes anxiety, depression, post-traumatic
                          stress disorder, substance abuse, addiction, embarrassment, fear, flashbacks,
                          nightmares, sleep issues, sleep disturbances, exaggerated startle response,
                          boundary issues, self-destructive behaviors, guilt, grief, homophobia, hostility,
                          humiliation, anger, isolation, hollowness, regret, shame, isolation, sexual
                          addiction, sexual problems, sexual identity confusion, low self-esteem or
                          self-image, bitterness, suicidal ideation, suicide attempts, and hospitalization
                          or receipt of treatment for any of the foregoing.

                 b.       Physical Health Issues: This includes physical manifestations of emotional
                          distress, gastrointestinal issues, headaches, high blood pressure, physical
                          manifestations of anxiety, erectile dysfunction, heart palpitations,
                          sexually-transmitted diseases, physical damage caused by acts of Abuse,
                          reproductive damage, self-cutting, other self-injurious behavior, and
                          hospitalization or receipt of treatment for any of the foregoing.

                 c.       Interpersonal Relationships: This includes problems with authority figures,
                          hypervigilance, sexual problems, marital difficulties, problems with intimacy,
                          lack of trust, isolation, betrayal, impaired relations, secrecy, social
                          discreditation and isolation, damage to family relationships, and fear of
                          children or parenting.

                 d.       Vocational Capacity: This includes under- and un-employment, difficulty
                          with authority figures, difficulty changing and maintaining employment,
                          feelings of unworthiness, or guilt related to financial success.

                 e.       Academic Capacity: This includes school behavior problems.

                 f.       Legal Difficulties: This includes criminal difficulties, bankruptcy, and fraud.

        E.      Mitigating Scaling Factors . The Settlement Trustee may assign a mitigating
Scaling Factor in the range of 0 to 1.0 except as specifically provided below to each Allowed Abuse
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Claim to eliminate or decrease the Proposed Allowed Claim Amount for such Claim. Each
mitigating factor is to be evaluated relative to a hypothetical base case scenario of a timely asserted
Abuse Claim with supporting evidence that demonstrates, by a preponderance of the evidence,
Abuse by a perpetrator that accessed the victim as an employee, agent or volunteer of a Protected
Party, as a registered Scout or as a participant in Scouting within BSA-sponsored Scouting. If
statute of limitations revival legislation occurs in a particular jurisdiction, the Settlement Trustee may
modify the applicable Scaling Factor (as described below) relevant thereto on a go-forward basis
and determine Proposed Allowed Claim Amounts for Abuse Claims in such jurisdiction thereafter
based on such modified Scaling Factor. Included in the hypothetical base case scenario is that the
applicable period under a statute of limitations or repose for timely asserting such Abuse Claim
against any potentially responsible party will not have passed. The hypothetical base case is
incorporated into the Base Matrix Values in the Claims Matrix tiers and would not receive a
decrease on account of these factors. Such factors may include the following:

        (i)      Absence of Protected Party Relationship or Presence of a Responsible
                 Party that Is Not a Protected Party.

                 a.       Familial Relationship. A Protected Party’s responsibility for a perpetrator
                          may be factually or legally attenuated or mitigated where the perpetrator
                          also had a familial relationship with the Abuse Claimant. Familial
                          Abuse—even if the perpetrator was an employee, agent or volunteer of a
                          Protected Party, and the Abuse occurred in connection with BSA-related
                          Scouting—should result in a significant reduction of the Proposed Allowed
                          Claim Amount.

                 b.       Other Non-Scouting Relationship. A Protected Party’s responsibility for a
                          perpetrator may be factually or legally attenuated or mitigated where the
                          perpetrator also maintained a non-familial relationship with the Abuse
                          Claimant through a separate affiliation, such as a school, or a religious
                          organization, even if the perpetrator was an employee, agent or volunteer of
                          a Protected Party, or the Abuse occurred in settings where a Protected
                          Party did not have the ability or responsibility to exercise control. Factors to
                          consider include how close the relationship was between the perpetrator and
                          the victim outside of their Scouting-related relationship, whether Abuse
                          occurred and the extent of such Abuse outside of their Scouting relationship,
                          and applicable law related to apportionment of liability. In such event, the
                          Settlement Trustee shall determine and apply a mitigating Scaling Factor that
                          accounts for such other relationship and the related Abuse. By way of
                          example, if the Settlement Trustee determines after evaluation of an
                          Allowed Abuse Claim and application of all of the other Scaling Factors that
                          the perpetrator, who was an employee, agent or volunteer of a Protected
                          Party for BSA-related Scouting, also was the primary teacher (at a
                          non-Protected Party entity or institution) of the Abuse Claimant outside of
                          BSA-related Scouting, and if numerous incidents of Abuse occurred outside
                          of Scouting before one incident of BSA-related Scouting Abuse occurred,

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                          the Settlement Trustee shall apply a mitigating Scaling Factor as a material
                          reduction of the Proposed Allowed Claim Amount.

                 c.       Other Responsible Non-Protected Party. The Abuse Claimant may have a
                          cause of action under applicable law for a portion of his or her Direct Abuse
                          Claim against a responsible entity, such as a Chartered Organization, that is
                          not a Protected Party. By way of example, if the Settlement Trustee
                          determines after evaluation of a Submitted Abuse Claim that (i) a Chartered
                          Organization that is not a Protected Party is responsible under applicable law
                          for a portion of the liability and (ii) a Protected Party(ies) are not also liable
                          for the same portion of the liability) (taking into account the relevant
                          jurisdiction’s prevailing law on apportionment of damages), the Settlement
                          Trustee shall apply a final Scaling Factor to account for such non-Protected
                          Party’s portion of the liability.

        (ii)     Other Settlements, Awards, Contributions, or Limitations . The Settlement
                 Trustee may consider any further limitations on the Abuse Claimant’s recovery in
                 the tort system. The Settlement Trustee also should consider the amounts of any
                 settlements or awards already received by the Abuse Claimant from other,
                 non-Protected Party sources as well as agreed and reasonably likely to be received
                 contributions from other, non-Protected Party sources that are related to the Abuse.
                 By way of example, the Settlement Trustee should assign an appropriate Scaling
                 Factor to Allowed Abuse Claims capped by charitable immunity under the laws of
                 the jurisdiction where the Abuse occurred. Notwithstanding the foregoing, where an
                 Abuse Claimant has obtained a recovery based on the independent liability of a third
                 party for separate instances of Abuse that occurred without connection to Scouting
                 activities, no mitigating factor or reduction in value will be applied based on that
                 recovery.

        (iii)    Statute of Limitations or Repose . If the evidence provided by the Abuse
                 Claimant or otherwise obtained by the Settlement Trustee results in the Settlement
                 Trustee concluding that the subject Direct Abuse Claim could be dismissed or
                 denied in the tort system as to all Protected Parties against whom the Direct Abuse
                 Claim was timely submitted (as set forth in Articles IV.A) due to the passage of a
                 statute of limitations or a statute of repose, the Settlement Trustee shall apply an
                 appropriate Scaling Factor based on the ranges set forth in Schedule 1 hereof;
                 provided, however, the Settlement Trustee will weigh the strength of any relevant
                 evidence submitted by the Abuse Claimant to determine whether the statute of
                 limitations could be tolled under applicable law, and may apply a higher Scaling
                 Factor if such evidence demonstrates to the Settlement Trustee that tolling would be
                 appropriate under applicable state law.

        (iv)     Absence of a Putative Defendant. If the Direct Abuse Claim could be
                 diminished because such claim was not timely submitted against BSA or another
                 Protected Party (as set forth in Articles IV.A) (a “Missing Party”), such that in a
                 suit in the tort system, such Direct Abuse Claim would be burdened by an “empty
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                 chair” defense due to the absence of a Missing Party(ies), the Settlement Trustee
                 shall apply a mitigating Scaling Factor to account for a Missing Party’s absence. By
                 way of example, where a timely submitted Direct Abuse Claim was not timely
                 submitted against BSA (i.e., the Abuse Claimant failed to timely file a Chapter 11
                 POC) but was only timely submitted against the Local Council and/or another
                 Protected Party (as set forth in Articles IV.A(ii) and (iii)), such absence of the BSA
                 due to BSA’s discharge would be the basis for such a substantial reduction. Any
                 Direct Abuse Claim that is reduced due to the absence of the BSA under this
                 mitigating Scaling Factor shall only be payable, as reduced, from Settlement Trust
                 Assets contributed by the applicable Local Council or Chartered Organization, pro
                 rata with all other Direct Abuse entitled to share in the Settlement Trust Assets
                 contributed by such Local Council or Chartered Organization.

        F.      Allowed Abuse Claim Calculus . After the Settlement Trustee assigns an
Allowed Abuse Claim to a Claims Matrix tier and determines the appropriate Scaling Factors that
apply to the Claim, the Proposed Allowed Claim Amount for the Allowed Abuse Claim is the
product of the Base Matrix Value of the Claim and the Scaling Factors applied to the Claim. In no
event can an Allowed Abuse Claim’s Proposed Allowed Claim Amount (or Allowed Claim
Amount) exceed the Maximum Matrix Value for the Claim’s assigned Claims Matrix tier. By way
of example, if an Allowed Abuse Claim is determined by the Settlement Trustee to be a tier 1 claim
(Base Matrix Value of $600,000) with a Scaling Factor of 1.5 for the nature and circumstances of
the abuse, and a mitigating Scaling Factor of 0.75, and no other Scaling Factors, the Proposed
Allowed Claim Amount for the Allowed Abuse Claim would be $675,000, calculated as $600,000 x
1.5 x 0.75 = $675,000. As a further example, if, in addition to the above Scaling Factors, the same
Allowed Abuse Claim had an additional aggravating Scaling Factor of 2.0 on account of the
abuser’s profile, the Proposed Allowed Claim Amount for the Allowed Abuse Claim would be
$1,350,000 (calculated as $600,000 x 1.5 x .75 x 2.0).

         G.      Optional Chartered Organization Release . To have the opportunity to
exclusively share in any settlement proceeds received from a Chartered Organization that becomes
a Protected Party as provided below in Article IX.F, a Direct Abuse Claimant must execute either
(i) the conditional release of the Charitable Organization(s) against whom the Abuse Claimant has
an Abuse Claim, that will become effective as to that Abuse Claimant if the Charitable
Organization(s) against whom the Abuse Claimant conditionally released becomes a Protected
Party(ies), in the form attached as Exhibit B (the “Settling Chartered Organizations
Release ”), or (ii) the non-conditional release of all Chartered Organizations in the form attached as
Exhibit C (the “Voluntary Chartered Organization Release ”).

                              ARTICLE IX
         PAYMENT OF FINAL DETERMINATION ALLOWED ABUSE CLAIM

        A.      Payment Upon Final Determination. Only after the Settlement Trustee has
established an Initial Payment Percentage in accordance with Section 4.1 of the Settlement Trust
Agreement, then once there is a Final Determination of an Abuse Claim pursuant to Article VII.F,
the Claimant will receive a payment of such Final Determination based on the Payment Percentage
then in effect as described in Article IX.B and IX.C. For the purpose of payment by the Settlement
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Trust, a Final Judicial Determination (as defined in Article XII.H hereof) shall constitute a Final
Determination.

        B.      Initial Payment Percentage . After the Claimant accepts the Proposed Allowed
Claim Amount and there is a Final Determination of the Abuse Claim, the Settlement Trust shall
pay an initial distribution (“Initial Distribution”) based on the Initial Payment Percentage
established by the Settlement Trustee in accordance with the Settlement Trust Agreement.

          C.     Supplemental Payment Percentage . When the Settlement Trustee determines
that the then-current estimates of the Settlement Trust’s assets and its liabilities, as well as
then-estimated value of then-pending Abuse Claims, warrant additional distributions on account of
the Final Determinations, the Settlement Trustee shall set a Supplemental Payment Percentage in
accordance with the Settlement Trust Agreement. Such Supplemental Payment Percentages shall
be applied to all Final Determinations that became final prior to the establishment of such
Supplemental Payment Percentage. Claimants whose Abuse Claim becomes a Final Determination
after a Supplemental Payment Percentage is set shall receive an Initial Distribution equal to the then
existing payment percentage. For the avoidance of doubt, the Allowed Claim Amount of each
Allowed Abuse Claim after Final Determination shall be deemed to be the Protected Parties’
liability for such Allowed Abuse Claim irrespective of how much the holder of such Abuse Claim
actually receives from the Settlement Trust pursuant to the payment provisions set forth in this
Article IX. For example if the Allowed Claim Amount for an Allowed Abuse Claim that has
received a Final Determination is $1,350,000, even if the Settlement Trust distributes less than
$1,350,000 to the Abuse Claimant on account of such Allowed Abuse Claim based on application of
the Initial Payment Percentage and any Subsequent Payment Percentage(s), the Allowed Claim
Amount for the Abuse Claim is still $1,350,000.

        D.      Release . In order for an Allowed Abuse Claim to receive a Final Determination
and for the relevant Abuse Claimant to receive any payment from the Settlement Trust, the Abuse
Claimant must submit, as a precondition to receiving any payment from the Settlement Trust, an
executed form of release to be developed, in each case, by the Coalition and the Future Claimants’
Representative, in consultation with BSA (which form(s) of release shall provide a full and final
release, in form and substance acceptable to Hartford, of the Hartford Protected Parties in
accordance with the Hartford Insurance Settlement Agreement). As a condition to payment from
the Settlement Trust, the holder of an Abuse Claim shall be required to execute a full and complete
written release in favor of all Contributing Chartered Organizations with respect to his or her Abuse
Claim, including, as a condition to receiving any proceeds from the TCJC Settlement Contribution, a
full and complete written release in favor of TCJC. The form of release agreement that a Direct
Abuse Claimant who makes the Expedited Distribution Election must execute is attached as
Exhibit A hereto. The form of the Settling Chartered Organization Release applicable to an Abuse
Claimant who has elected to provide a conditional release to certain Chartered Organizations shall
be substantially in the form of Exhibit B hereto. The form of the Voluntary Chartered
Organization Release applicable to an Abuse Claimant who has selected a Final Determination
based on the Proposed Allowed Claim Amount shall be substantially in the form of Exhibit C
hereto. The form of the release applicable to an Abuse Claimant who has selected a Final


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Determination based on the Proposed Allowed Claim Amount but who does not elect to execute the
Voluntary Chartered Organization Release shall be substantially in the form of Exhibit D hereto.

        E.      FIFO Claims Process Queuing and Exigent Health Claims . The Settlement
Trust shall review all Trust Claim Submissions for processing purposes on a FIFO basis as set forth
below, except as otherwise provided herein with respect to Expedited Distributions, Exigent Health
Claims, or Submitted Abuse Claims electing to defer determination of their Allowed Claim Amounts
for up to twelve (12) months from the Effective Date pursuant to Article VII.H above. An Abuse
Claimant’s position in the FIFO Processing Queue shall be determined as of the Abuse Claimant’s
Trust Claim Submission Date. If any Trust Claim Submissions are filed on the same date, an Abuse
Claimant’s position in the applicable FIFO Processing Queue vis-à-vis such other same-day claims
shall be determined by the claimant’s date of birth, with older Abuse Claimants given priority over
younger Abuse Claimants. An Abuse Claimant that seeks recovery on account of an Exigent
Health Claim based on an Allowed Claim Amount determined through the matrix shall be moved in
front of the FIFO Processing Queue no matter what the order of processing otherwise would have
been under these TDP. Following receipt of a Final Determination on account of an Exigent Health
Claim, the holder of an Exigent Health Claim shall receive an Initial Distribution from the Settlement
Trust (subject to the payment percentages then in effect), within thirty (30) days of executing the
release as set forth in Article IX.D above.

         F.      Source Affected Weighting . Notwithstanding the Initial Payment Percentage and
the Supplemental Payment Percentages applied hereunder, Non-BSA Sourced Assets shall be
allocated (after deducting an estimated pro rata share of Settlement Trust expenses and direct
expenses related to the collection of such Non-BSA Sourced Assets) all or in part (the “Source
Allocated Portion”) only among the holders of Allowed Abuse Claims that (1) could have been
satisfied from the source of such Non-BSA Assets absent the Plan’s Discharge and Channeling
Injunction and (2) are held by Direct Abuse Claimants that execute a conditional release, the form
of which is attached as Exhibit B , releasing all claims against all Chartered Organizations if the
Settlement Trust enters into a global settlement making such Chartered Organization a Protected
Party. The Settlement Trustee shall establish separate payment percentages (each, a “Source
Allocated Payment Percentage”) in accordance with the Settlement Trust Agreement to effectuate
the distribution of the Source Allocated Portions of any Non-BSA Sourced Assets. For the
avoidance of doubt, irrespective of the establishment of any Source Allocated Payment Percentage
under this Article IX.F and the Settlement Trust Agreement that allocates Source Allocated
Portions of Non-BSA Assets to holders of certain eligible Allowed Abuse Claims, the maximum
payment that an Abuse Claimant can recover from the Settlement Trust before all other Allowed
Abuse Claims are paid in full is the Final Determination Allowed Abuse Claim Amount for his or
her Claim. If there is a remainder of a Source Allocated Portion after satisfaction of all holders of
applicable eligible Allowed Abuse Claims, then that remainder shall be distributed to all holders of
Allowed Abuse Claims pursuant to the applicable payment percentage.




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                                   ARTICLE X
                          RIGHTS OF SETTLEMENT TRUST
                   AGAINST NON-SETTLING INSURANCE COMPANIES

        Pursuant to the Plan, the Settlement Trust has taken an assignment of BSA’s and any other
Protected Party’s (to the extent provided for in the Plan) rights and obligations under the Insurance
Policies. For any Abuse Claim that the Settlement Trustee determines is an Allowed Abuse Claim
pursuant to Article VII above, the Settlement Trustee will determine, based on the relevant Trust
Claim Submission and any other information submitted in connection with that submission and in the
materials obtained through the Document Obligations, whether any Non-Settling Insurance
Company issued coverage that is available to respond to such Claim (an “Insured Abuse Claim”).
The Settlement Trustee may determine that multiple Non-Settling Insurance Companies have
responsibility for an Insured Abuse Claim. The Settlement Trustee shall seek reimbursement for
each Insured Abuse Claim that is an Insured Abuse Claim, including the Proposed Allowed Claim
Amount, from the applicable Non-Settling Insurance Company(ies) pursuant to the Insurance
Policies and applicable law. The Settlement Trustee shall have the ability to exercise all of the
rights and interests in the Insurance Policies assigned to the Settlement Trust as set forth in the
Plan, including the right to resolve any disputes with a Non-Settling Insurance Company regarding
their obligation to pay some or all of an Insured Abuse Claim. The Settlement Trustee will exercise
those rights consistent with their duty to preserve and maximize the assets of the Settlement Trust.
The Settlement Trustee will have the ability to request further information from Abuse Claimants in
connection with seeking reimbursement for Insured Abuse Claims.

                                           ARTICLE XI
                                     INDIRECT ABUSE CLAIMS

       A.      Indirect Abuse Claims . To be eligible to receive compensation from the
Settlement Trust, the holder of an Indirect Abuse Claim must satisfy Article IV.B hereof. Indirect
Abuse Claims that become Allowed Indirect Abuse Claims shall receive distributions in accordance
with Article IX hereof and shall be subject to the same liquidation and payment procedures as the
Settlement Trust would have afforded the holders of the underlying valid Direct Abuse Claims
pursuant to Articles VIII and IX hereof.

       B.       Offset. The liquidated value of any Indirect Abuse Claim paid by the Settlement
Trust shall be treated as an offset to or reduction of the full liquidated value of any related Direct
Abuse Claim that might be subsequently asserted against the Settlement Trust as being against any
Protected Party(ies) whose liability was paid by the Indirect Abuse Claimant.

                                          ARTICLE XII
                                   TORT SYSTEM ALTERNATIVE

        A.     Remedies after Disallowance or Exhaustion of Claims Allowance
Procedures . Within thirty (30) days after a Direct Abuse Claimant receives an Allowed Claim
Notice or Claim Notice following a Reconsideration Request in accordance with Article VII.G (the
“Tort Election Deadline ”), a Direct Abuse Claimant may notify the Settlement Trust of his or her
intention to seek a de novo determination of its Direct Abuse Claim by a court of competent
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jurisdiction (a “TDP Tort Election Claim”), subject to the limitations set forth in this Article XII.
Such notification shall be made by submitting a written notice to the Settlement Trustee (a “Judicial
Election Notice ”) by the Tort Election Deadline. Unless the Settlement Trustee agrees to extend
the Tort Election Deadline, Abuse Claimants who fail to so submit and/or file a Judicial Election
Notice by the Tort Election Deadline shall be deemed to accept the disallowance of their Abuse
Claims or the Proposed Abuse Claim Amounts (as applicable) and shall have no right to seek any
further review of their Abuse Claims. An Abuse Claimant that asserts a TDP Tort Election Claim
may not seek costs or expenses against the Settlement Trust in the lawsuit filed and the Settlement
Trust may not seek costs or expenses against the Abuse Claimant. Any recoveries for a TDP Tort
Election Claim from outside the Settlement Trust in respect of a Protected Party’s liability are
payable to the Settlement Trust and the Abuse Claimant shall be paid in accordance with Articles
XII.G and IX hereof.

         B.     Supporting Evidence for TDP Tort Election Claims . TDP Tort Election
Claims in the federal courts shall be governed by the rights and obligations imposed upon parties to
a contested matter under the Federal Rules of Bankruptcy Procedure, provided, however, that an
Abuse Claimant that prosecutes in any court a TDP Tort Election Claim after seeking
reconsideration from the Settlement Trust shall not have the right to introduce into evidence to the
applicable court any information or documents that (i) were requested by the Settlement Trustee
and (ii) were in the possession, custody or control of the Abuse Claimant at the time of a request by
the Settlement Trust, but which the Abuse Claimant failed to or refused to provide to the Settlement
Trust in connection with the claims evaluation process in these TDP. The Abuse Claimant’s
responses to requests by the Settlement Trustee for documents or information shall be subject to
Rule 37 of the Federal Rules of Civil Procedure, as applicable under the Federal Rules of
Bankruptcy Procedure, and/or any comparable State Rule of Civil Procedure. An Abuse Claimant
shall not have the right to disclose any Proposed Abuse Claim Amount received from the
Settlement Trust to any court in connection with a Tort Election Claim. Subject to the terms of any
protective order entered by a court, the Settlement Trustee shall be permitted to introduce as
evidence before a court all information and documents submitted to the Settlement Trust under
these TDP, and the Abuse Claimant may introduce any and all information and documents that he
or she submitted to the Settlement Trust under these TDP.

        C.      Authorization of Settlement Trustee and Settlement Trust Advisory
Committee . The Settlement Trustee may authorize the commencement or continuation of a
lawsuit by a Direct Abuse Claimant in any court of competent jurisdiction against the Settlement
Trust to obtain the Allowed Claim Amount of a Direct Abuse Claim (a “STAC Tort Election
Claim” and together with a TDP Tort Election Claim, “Tort Election Claims ”). STAC Tort
Election Claims shall not be required to exhaust any remedies under these TDP before commencing
or continuing such lawsuit. No Abuse Claimant may pursue a STAC Tort Election Claim without
the prior written approval of the Settlement Trustee in accordance with the Settlement Trust
Agreement. Fifty percent (50%) (or less if determined by the Settlement Trustee) of any amounts
paid with respect to a judgment for, or a settlement of, a STAC Tort Election Claim by a
Non-Settling Insurance Company, as to a policy as to which a Protected Party has assigned
relevant insurance rights to the Settlement Trust, shall be paid over to the Settlement Trust.


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        D.       Tender to Non-Settling Insurance Company. If an Abuse Claimant is
authorized to file suit against the Settlement Trust as provided in Article XII.A and XII.C herein, the
Settlement Trustee shall determine, based on the Trust Claim Submission and any other information
obtained in connection with that submission and materials received in connection with the Document
Obligations, whether any Non-Settling Insurance Company issued coverage that is available to
respond to the lawsuit (an “Insured Lawsuit”). The Settlement Trustee may determine that there
are multiple Non-Settling Insurance Companies that have responsibility to defend an Insured
Lawsuit. The Settlement Trustee shall provide notice, and if applicable, seek defense, of any
Insured Lawsuit to each Non-Settling Insurance Company from whom the Settlement Trustee
determines insurance coverage may be available in accordance with the terms of each applicable
Insurance Policy.

        E.      Parties to Lawsuit. Any lawsuit commenced under Article XII of these TDP
must be filed by the Abuse Claimant in his or her own right and name and not as a member or
representative of a class, and no such lawsuit may be consolidated with any other lawsuit. The
Abuse Claimant may assert its Abuse Claim against the Settlement Trust as if the Abuse Claimant
were asserting such claim against either the Debtors or another Protected Party and the discharge
and injunctions in the Plan had not been issued. The Abuse Claimant may name any person or
entity that is not a Protected Party, including Non-Settling Insurance Companies to the extent
permitted by applicable law. Abuse Claimants may pursue in any manner or take any action
otherwise permitted by law against persons or entities that are not Protected Parties so long as they
are not an additional insured or an Insurance Company as to an Insurance Policy issues to the BSA.

       F.       Defenses . All defenses (including, with respect to the Settlement Trust, all
defenses that could have been asserted by the Debtors or Protected Parties, except as otherwise
provided in the Plan) shall be available to both sides (which may include any Non-Settling Insurance
Company) at trial.

         G.     Settlement Trust Liability for Tort Election Claims . An Abuse Claimant who
pursues a Tort Election Claim shall have an Allowed Claim Amount equal to zero if the litigation is
dismissed or claim denied. If the matter is litigated, the Allowed Claim Amount shall be equal to the
settlement or final judgment amount obtained in the tort system less any payments actually received
and retained by the Abuse Claimant, provided that, exclusive of amounts payable pursuant to
Article XII.C (in the event such amounts exceed the Maximum Matrix Value in the applicable tier
set forth in the Claims Matrix), any amount of such Allowed Claim Amount for a Tort Election
Claim in excess of the Maximum Matrix Value in the applicable tier set forth in the Claims Matrix
shall be subordinate and junior in right for distribution from the Settlement Trust to the prior payment
by the Settlement Trust in full of all Direct Abuse Claims that are Allowed Abuse Claims as
liquidated under these TDP (excluding this Article XII). By way of example, presume (1) there is
an Abuse Claimant asserting tier one abuse that achieves a $5 million verdict for his or her STAC
Tort Election Claim against the Settlement Trust, and (2) a Non-Settling Insurance Company pays
$750,000 in coverage under a policy providing primary coverage, $375,000 of which is paid directly
to the Abuse Claimant and $375,000 of which is paid over to the Settlement Trust pursuant to
Article XII.C. Although the unpaid amount of such Allowed Abuse Claim would be $4,625,000, the
maximum total payment that the Abuse Claimant can recover from the Settlement Trust (before the
non-subordinated portion of all other Direct Abuse Claims that are Allowed Abuse Claims are paid
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in full) is $2,700,000 (the Maximum Matrix Value in tier one), or an additional $2,325,000, paid
pursuant to the terms of Article IX hereof. For the avoidance of doubt, the limit on the Settlement
Trust liability under this Article XII.G shall not apply or inure to the benefit of any Non-Settling
Insurance Company, and the Settlement Trust shall be able to obtain coverage, subject to Article X
hereof, for the full Allowed Claim Amount obtained by the Abuse Claimant through a Tort Election
Claim.

         H.      Settlement or Final Judgment. If the Settlement Trust reaches a global
settlement making a Protected Party of a Non-Settling Insurance Company or other person or entity
involved in a Tort Election Claim or obtains a final judgment in a suit against such person or entity
terminating liability for such person or entity to the Abuse Claimant, the Abuse Claimant shall be
entitled to proceed with the Tort Election Claim for any reason (e.g., if there are persons or entities
that are not Protected Parties to collect from). Alternatively, the Abuse Claimant can elect to
terminate the Tort Election Claim without prejudice and have its Abuse Claim determined through
these TDP (i.e., as if no STAC Tort Election Claim had been made), in which event the Abuse
Claimant may submit relevant evidence from the Tort Election Claim that the Settlement Trustee
shall take into account in evaluating the Abuse Claim under these TDP. Such Abuse Claimant may
be provided other alternatives by the Settlement Trust if it had been pursuing a STAC Tort Election
Claim.

        I.        Payment of Judgments by the Settlement Trust. Subject to Article XII.G
hereof, if and when an Abuse Claimant obtains a final judgment or settlement against the Settlement
Trust in the tort system (a “Final Judicial Determination”), such judgment or settlement amount
shall be treated for purposes of distribution under these TDP as the Abuse Claimant’s Final
Determination, and such Allowed Claim Amount shall also constitute the applicable Protected
Parties’ liability for such Abuse Claim. Within thirty (30) days of executing the release as set forth
in Article IX.D above, the Abuse Claimant shall receive an Initial Distribution from the Settlement
Trust (assuming an Initial Payment Percentage has been established by the Settlement Trust at that
time). Thereafter, the Abuse Claimant shall receive any subsequent distributions based on any
applicable Payment Percentage as determined by the Settlement Trust.

        J.     Litigation Results and Other Abuse Claims . To the extent that a Final Judicial
Determination of an Abuse Claim or changes in applicable law implicate the appropriateness of the
Scaling Factors or General Criteria, the Settlement Trustee, subject to the terms of these TDP and
the Settlement Trust Agreement and the approval of the Bankruptcy Court or District Court, after
appropriate notice and opportunity to object, may appropriately modify the Scaling Factors or
General Criteria on a go-forward basis for use in evaluation of Future Abuse Claims and other
Abuse Claims as to which no Allowed Claim Amount Final Determination had previously been
made.

         K.     Tolling of Limitations Period. The running of the relevant statute of limitation
shall be tolled as to each Abuse Claimant’s Abuse Claim against each Protected Party from the
earliest of (A) the actual filing of the claim against the Protected Party prior to the Petition Date,
whether in the tort system or by submission of the claim to the Protected Party pursuant to an
administrative settlement agreement; (B) the tolling of the claim against a Debtor prior to the
Petition Date by an agreement or otherwise, provided such tolling is still in effect on the Petition
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Date; or (C) the Petition Date, and shall continue until one (1) year following release of the Abuse
Claim into the tort system hereunder.

                                            ARTICLE XIII
                                     MISCELLANEOUS PROVISIONS

        A.      Non-Binding Effect of Settlement Trust and/or Litigation Outcome .
Notwithstanding any other provision of these TDP, the outcome of litigation against the Debtors by
the holder of an Indirect Abuse Claim shall not be used in, be admissible as evidence in, binding in
or have any other preclusive effect in connection with the Settlement Trust’s resolution or valuation
of an Indirect Abuse Claim.

        B.      Amendments . Except as otherwise provided herein, the Settlement Trustee may
not amend, modify, delete, or add to any provisions of these TDP without the written consent of the
STAC and the Future Claimants’ Representative, as provided in the Settlement Trust Agreement,
including amendments to modify the system for Tort Election Claims. Nothing herein is intended to
preclude the STAC and/or the Future Claimants’ Representative from proposing to the Settlement
Trustee, in writing, amendments to these TDP. Notwithstanding the foregoing, absent Bankruptcy
Court or District Court approval after appropriate notice and opportunity to object, neither the
Settlement Trustee nor the STAC or Future Claimants’ Representative may amend these TDP in a
material manner, including (i) to provide for materially different treatment for Abuse Claims, (ii) to
materially change the system for Tort Election Claimants, or (iii) in a manner that is otherwise
inconsistent with the Confirmation Order or Plan. Notwithstanding the foregoing, neither the
Settlement Trustee nor the STAC or the Future Claimants’ Representative may amend any of the
forms of release set forth in Article IX.D without the consent of Reorganized BSA, or remove the
requirement of a release in connection with an Expedited Distribution.

        C.     Severability. Should any provision contained in these TDP be determined to be
unenforceable, such determination shall in no way limit or affect the enforceability and operative
effect of any and all other provisions of these TDP.

         D.      Offsets . The Settlement Trust shall have the right to offset or reduce the Allowed
Claim Amount of any Allowed Abuse Claim, without duplication as to the mitigating factors
(e.g., as to other responsible parties) on a dollar for dollar basis based on any amounts paid, agreed,
or reasonably likely to be paid to the holder of such Claim on account of such Claim as against a
Protected Party (or that reduces the liability thereof under applicable law) from any source other
than the Settlement Trust.

        E.     Governing Law. These TDP shall be interpreted in accordance with the laws of
the State of Delaware. Notwithstanding the foregoing, the evaluation of Abuse Claims under these
TDP and the law governing litigation in the tort system shall be the law of the jurisdiction in which
the Abuse Claimant files the lawsuit as described in Article XII or the jurisdiction where such
Abuse Claim could have been filed under applicable law.

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                       Schedule 1
        Mitigating Scaling Factor Ranges for Statutes of Limitation or
        Repose By State
        Legend
             Tier            Scaling Factor
           Open                   1.0
           Gray 1               .50-.70
           Gray 2               .30-.45
           Gray 3               .10-.25
           Closed               .01-.10

        State                    Tier
        Alabama                 Closed
        Kansas                  Closed
        Oklahoma                Closed
        Puerto Rico             Closed
        South Dakota            Closed
        Utah                    Closed
        Wyoming                 Closed
        ZZ / Federal            Closed
        Connecticut             Gray 1
        DC                      Gray 1
        Delaware                Gray 1
        Georgia                 Gray 1
        Illinois                Gray 1
        Massachusetts           Gray 1
        New Mexico              Gray 1
        Oregon                  Gray 1
        Washington              Gray 1
        Iowa                    Gray 2
        Minnesota               Gray 2
        New
        Hampshire               Gray 2
        North Dakota            Gray 2
        Ohio                    Gray 2
        Pennsylvania            Gray 2
        South Carolina          Gray 2
        Tennessee               Gray 2
        West Virginia           Gray 2
        Alaska                  Gray 3
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        Florida                 Gray 3
        Idaho                   Gray 3
        Indiana                 Gray 3
        Kentucky                Gray 3
        Maryland                Gray 3
        Michigan                Gray 3
        Mississippi             Gray 3
        Missouri                Gray 3
        Nebraska                Gray 3
        Nevada                  Gray 3
        Rhode Island            Gray 3
        Texas                   Gray 3
        Virgin Islands          Gray 3
        Virginia                Gray 3
        Wisconsin               Gray 3
        Arizona                 Open
        Arkansas                Open
        California              Open
        Colorado                Open
        Guam                    Open
        Hawaii                  Open
        Louisiana               Open
        Maine                   Open
        Montana                 Open
        New Jersey              Open
        New York                Open
        North Carolina          Open
        Vermont                 Open




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                         EXHIBIT B

             SETTLEMENT TRUST AGREEMENT
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           BSA SETTLEMENT TRUST AGREEMENT


                     DATED AS OF [●], 2021


   PURSUANT TO THE [●] AMENDED CHAPTER 11 PLAN OF

     REORGANIZATION FOR BOY SCOUTS OF AMERICA

                    AND DELAWARE BSA, LLC
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                               BSA SETTLEMENT TRUST AGREEMENT

        This BSA Settlement Trust Agreement (this “Trust Agreement”), dated as of [●], 2021,
and effective as of the Effective Date, is entered in accordance with the [●] Amended Chapter 11
Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC, dated as of [●], 2021
                                                                  1
(as it may be amended, modified, or supplemented, the “Plan”), by Boy Scouts of America (the
“Settlor,” the “BSA” or, after the Effective Date (as defined in the Plan) “Reorganized BSA”);
the Future Claimants’ Representative for the Trust identified in Section 7.1 hereof (together with
any successor serving in such capacity, the “FCR”); Eric D. Green, as trustee (together with any
successor serving in such capacity, the “Trustee”); [●] as the Delaware Trustee (together with any
successor serving in such capacity, the “Delaware Trustee”); and the members of the Settlement
Trust Advisory Committee who are the individuals further identified on the signature pages here
(together with any successors serving in such capacity, the “STAC”).2

                                                       RECITALS


       (A)    The BSA and its affilate, Delaware BSA, LLC (together, the “Debtors”) have, or
contemporaneously with the execution of this Trust Agreement will have, reorganized under the
provisions of chapter 11 of the Bankruptcy Code in a case filed in the Bankruptcy Court,
administered and known as In re Boy Scouts of America and Delaware BSA, LLC, Case No. 20-
10343 (Bankr. D. Del. 2020) (LSS) (collectively, the “Chapter 11 Cases”).

       (B)     BSA is executing this Trust Agreement in its capacity as Settlor to implement the
Plan and to create the BSA Settlement Trust (the “Trust”) for the benefit of the holders of Class
8 Direct Abuse Claims and Class 9 Indirect Abuse Claims (together, the “Abuse Claims”).

        (C)    The Confirmation Order has been entered by the Bankruptcy Court and is in full
force and effect.

       (D)     The Plan and Confirmation Order provide, among other things, for the creation of
the Trust to satisfy all Abuse Claims in accordance with this Trust Agreement, the Plan and the
Confirmation Order.

       (E)    The Bankruptcy Court held in the Confirmation Order that all the prerequisites for
the Channeling Injunction have been satisfied, and such Channeling Injunction is fully effective
and enforceable as provided in the Plan and Confirmation Order with respect to the channeled
Abuse Claims, as provided therein (the “Channeled Claims”).

1
    All capitalized terms used but not otherwise defined herein shall have their respective meanings as set forth in the Plan or in
    the Confirmation Order, as applicable.
2
    The STAC shall initially consist of (a) five (5) individuals selected by the Coalition of Abused Scouts for Justice (the
    “Coalition” and such individuals, the “Coalition Appointees”) and (b) two (2) individuals selected by the Official
    Committee of Tort Claimants (the “TCC” and such individuals, the “Committee Appointees”), subject to the reasonable
    consent of the Coalition. The initial STAC members shall be [●].
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        (F)      The Plan and Confirmation Order provide that, on the Effective Date and
continuing thereafter until fully funded by the Debtors in accordance with the Plan, the Aggregate
Settlement Consideration (as defined in Section 1.3), as described in Exhibit 1 shall be transferred
to and vested in the Trust free and clear of all liens, encumbrances, charges, claims, interests or
other liabilities of any kind of the Debtors or their affiliates, any creditor or any other entity, other
than as provided in the Channeling Injunction with respect to the Channeled Claims.

        NOW, THEREFORE, it is hereby agreed as follows:

                                        ARTICLE 1.
                                    AGREEMENT OF TRUST

Section 1.1 Creation and Name. BSA as Settlor hereby creates a trust known as the “BSA
Settlement Trust” which is the Trust provided for and referred to in the Plan. The Trustee may
transact the business and affairs of the Trust in the name of the BSA Settlement Trust Fund and
references herein to the Trust shall include the Trustee acting on behalf of the Trust. It is the
intention of the parties hereto that the Trust created hereby constitutes a statutory trust under
Chapter 38 of title 12 of the Delaware Code, 12 Del. C. §§ 3801 et seq. (the “Act”) and that the
Confirmation Order, the Plan and this Trust Agreement, including the Exhibits hereto (the
Confirmation Order, the Plan and this Trust Agreement, including all Exhibits hereto, which
includes the TDP as defined in Section 1.2 below, collectively, the “Trust Documents”),
constitute the governing instruments of the Trust. The Trustee and the Delaware Trustee are hereby
authorized and directed to execute and file a Certificate of Trust with the Delaware Secretary of
State in the form attached hereto as Exhibit 2.

Section 1.2 Purposes. The purposes of the Trust are to (i) assume all liability for the Channeled
Claims, (ii) administer the Channeled Claims and (iii) make distributions to holders of
compensable Abuse Claims, in each case in accordance with the Trust Distributions Procedures
for Abuse Claims attached hereto as Exhibit 3 (the “TDP”). In connection therewith, the Trust
shall hold, manage, protect and monetize the Trust Assets (as defined in Section 1.3 below) in
accordance with the terms of the Trust Documents for the benefit of the Beneficiaries (as defined
in Section 1.6(a) below). For the avoidance of doubt, all Abuse Claims asserted against the Debtors
in the Chapter 11 Cases shall be resolved exclusively in accordance with the TDP.

Section 1.3 Transfer of Assets. Pursuant to the Plan, on the Effective Date, the Trust will receive
and hold all right, title and interest in and to the consideration described in Article IV.D of the Plan
and set forth on Exhibit 1 hereto (the “Aggregate Settlement Consideration” and together with
any income or gain earned thereon and proceeds derived therefrom, collectively, the “Trust
Assets”). The Aggregate Settlement Consideration shall be transferred to the Trust free and clear
of any liens, encumbrances, charges, claims, interests or other liabilities of any kind of the Debtors
or their affiliates, any creditor or any other person or entity, other than as provided in the
Channeling Injunction with respect to Channeled Claims. The Debtors or Reorganized BSA shall
execute and deliver such documents to the Trust as the Trustee reasonably requests to transfer and




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assign any assets comprising all or a portion of the Aggregate Settlement Consideration to the
Trust.

Section 1.4 Acceptance of Assets. In furtherance of the purposes of the Trust, the Trustee, on
behalf of the Trust, hereby expressly accepts the transfer to the Trust of the Aggregate Settlement
Consideration, subject to the terms of the Trust Documents. The Trust shall succeed to all of the
Debtors’ respective right, title, and interest, including all legal privileges, in the Aggregate
Settlement Consideration and neither the Debtors nor any other person or entity transferring such
Aggregate Settlement Consideration will have any further equitable or legal interest in, or with
respect to, the Trust Assets, including the Aggregate Settlement Consideration, or the Trust.

               (b)     Except as otherwise provided in the Plan, Confirmation Order or Trust
Documents, the Trust shall have all defenses, cross-claims, offsets, and recoupments, as well as
rights of indemnification, contribution, subrogation, and similar rights, regarding such claims that
the Debtors or the Reorganized BSA have or would have had under applicable law.

              (c)     No provision herein or in the TDP shall be construed or implemented in a
manner that would cause the Trust to fail to qualify as a “qualified settlement fund” under the QSF
Regulations (as defined in Section 8.4(a) below).

              (d)      Nothing in this Trust Agreement shall be construed in any way to limit the
scope, enforceability, or effectiveness of the Channeling Injunction or other terms of the Plan or
Confirmation Order.

               (e)     In this Trust Agreement and the TDP, the words “must,” “will,” and “shall”
are intended to have the same mandatory force and effect, while the word “may” is intended to be
permissive rather than mandatory.

Section 1.5    Receipt of Proceeds.

       The proceeds of any recoveries from any litigation or claims of the Trust (including the
Actions) will be deposited in the Trust’s accounts and become the property of the Trust.

Section 1.6    Beneficiaries.

               (a)    The beneficial owners (within the meaning of the Act) of the Trust shall be
the holders of Abuse Claims (the “Beneficiaries”).

            (b)      The Beneficiaries shall be subject to the terms of this Trust Agreement and
Trust Documents, including without limitation, the TDP.




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Section 1.7 Jurisdiction. The Bankruptcy Court shall have continuing jurisdiction with respect
to the Trust; provided however, the courts of the State of Delaware, including any federal court
located therein, shall also have jurisdiction over the Trust.

Section 1.8      Privileged and confidential information.

        The transfer or assignment of any Privileged Information to the Trustee pursuant to the
Document Agreement (as defined in the Plan) shall not result in the destruction or waiver of any
applicable privileges pertaining thereto. Further, with respect to any such privileges: (a) they are
transferred to or contributed for the purpose of enabling the Trustee to perform his or her duties to
administer the Trust; (b) they are vested solely in the Trustee and not in the Trust, the STAC, the
FCR, the Special Reviewer (as defined in Section 2.1(d)(xi) below), the SASAC (as defined in
Section 2.8(a) below), or any other person, committee or subcomponent of the Trust, or any other
person (including counsel and other professionals) who has been engaged by, represents, or has
represented any holder of an Abuse Claim; and (c) the Trustee shall keep, handle and maintain
such Privileged Information in accordance with the terms of the Document Agreement.3
Notwithstanding the foregoing, nothing shall preclude the Trustee from providing Privileged
Information to any Insurance Company as necessary to preserve, secure, or obtain the benefit of
any rights under any Insurance Policy.

Section 1.9      Relation-back election.

        Pursuant to the Document Agreement, if applicable, the Trustee and the Debtor shall fully
cooperate in filing a relation-back election under Treasury Regulation Section 1.468B-1(j)(2), to
treat the Settlement Trust as coming into existence as a settlement fund as of the earliest possible
date.

Section 1.10 Employer identification number.

      Upon establishment of the Trust, the Trustee shall apply for an employer identification
number for the Trust in accordance with Treasury Regulation Section 1.468B-2(k)(4).

Section 1.11 Relationship to Plan.

        The principal purpose of this Trust Agreement is to aid in the implementation of the Plan
and the Confirmation Order and therefore, this Trust Agreement incorporates the provisions of the
Plan and the Confirmation Order (which may amend or supplement the Plan). To the extent that
there is conflict between the provisions of this Trust Agreement, the TDP, the provisions of the
Plan or the Confirmation Order, each document shall have controlling effect in the following order:
(1) the Confirmation Order; (2) the Plan; (3) this Trust Agreement; and (4) the TDP.




3
    The Document Agreement will be filed with the Plan Supplement.



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                                    ARTICLE 2.
                         POWERS AND TRUST ADMINISTRATION

Section 2.1    Powers.

               (a)     The Trustee is empowered to take all actions, including such actions as may
be consistent with those expressly set forth above, as the Trustee deems necessary to reasonably
ensure that the Trust is treated as a “qualified settlement fund” under Section 468B of the Tax
Code and the regulations promulgated pursuant thereto. Further, the Trustee may, unilaterally and
without court order, amend, either in whole or in part, any administrative provision of this Trust
Agreement which causes unanticipated tax consequences or liabilities inconsistent with the
foregoing.

                (b)     The Trustee is and shall act as the fiduciary to the Trust in accordance with
the provisions of this Trust Agreement. The Trustee shall administer the Trust, the Trust Assets,
and any other amounts to be received under the terms of the Trust Documents in accordance with
the purposes set forth in Section 1.2 above and in the manner prescribed by the Trust Documents.
Subject to the limitations set forth in the Trust Documents, the Trustee shall have the power to take
any and all actions that in the judgment of the Trustee are necessary or advisable to fulfill the
purposes of the Trust, including, without limitation, each power expressly granted in this Section
2.1, any power reasonably incidental thereto and any trust power now or hereafter permitted under
the laws of the State of Delaware. Nothing in the Trust Documents or any related document shall
require the Trustee to take any action if the Trustee reasonably believes that such action is contrary
to law. In addition to all powers enumerated in the Trust Documents, including, but not limited to,
the Trustee’s powers and authority in respect of the interpretation, application of definitions and
rules of construction set forth in Article I of the Plan to the fullest extent set forth therein, from
and after the Effective Date, the Trust shall succeed to all of the rights and standing of the Debtors
with respect to the Aggregate Settlement Consideration in its capacity as a trust administering
assets for the benefit of the Beneficiaries.

              (c)    Except as required by applicable law or the Trust Documents, the Trustee
need not obtain the order or approval of any court in the exercise of any power or discretion
conferred hereunder.

                (d)     Without limiting the generality of Sections 2.1(a) and (b) above, and except
as limited in the Trust Documents and by applicable law, the Trustee shall have the power to:

                     (i)   supervise and administer the Trust in accordance with the Trust
Documents, including the TDP;

                    (ii)  adopt procedures to allow valid Abuse Claims (“Allowed Abuse
Claims”), and determine an allowed liability amount for each Allowed Abuse Claim (the
“Allowed Claim Amount”) in accordance with the TDP;

                     (iii) establish an initial payment percentage (the “Initial Payment
Percentage”) with respect to Allowed Abuse Claims and adjust the Initial Payment Percentage
and any subsequent Payment Percentage as set forth in Section 4.2 below;



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                       (iv)     receive and hold the Trust Assets, and exercise all rights with respect
thereto including the right to vote and sell any securities that are included in such funds;

                          (v)       invest the monies held from time to time by the Trust in accordance
with Section 3.2;

                     (vi)   sell, transfer or exchange any or all of the Trust Assets at such prices
and upon such terms as the Trustee may determine proper and consistent with the other terms of
the Trust Documents;

                      (vii) enter into leasing, financing or other agreements with third parties,
as determined by the Trustee, in his or her discretion, to be useful in carrying out the purposes of
the Trust;

                       (viii) determine and pay liabilities and pay all fees and expenses incurred
in administering the Trust, managing the Trust Assets and making distributions in accordance with
the Trust Documents (the “Trust Operating Expenses”);

                      (ix) establish accounts and reasonable reserves within the Trust, as
determined by the Trustee, in his or her discretion, to be necessary, prudent or useful in
administering the Trust;

                        (x)     sue, be sued and participate, as a party or otherwise, in any judicial,
administrative, arbitrative or other proceeding;

                       (xi)    appoint such officers and retain such employees, consultants,
advisors, independent contractors, experts and agents and engage in such legal, financial,
administrative, accounting, investment, auditing and alternative dispute resolution services and
activities as the Trust requires, including without limitation the special reviewer and successor
thereto (the “Special Reviewer”),4 and delegate to such persons such powers and authorities as
this Trust Agreement provides or the fiduciary duties of the Trustee permits and as the Trustee, in
his or her discretion, deems advisable or necessary in order to carry out the terms of this Trust
Agreement;

                        (xii) pay reasonable compensation and reimbursement of expenses to any
of the Trust’s employees, consultants, advisors, independent contractors, experts and agents for
legal, financial, administrative, accounting, investment, auditing and alternative dispute resolution
services and activities as the Trust requires;

                      (xiii) compensate the Trustee, Delaware Trustee, the FCR and their
employees, consultants, advisors, independent contractors, experts and agents, and reimburse the
Trustee, the Delaware Trustee, the STAC members, and the FCR for all reasonable out-of-pocket
costs and expenses incurred by such persons in connection with the performance of their duties
hereunder;


4
    The initial Special Reviewer shall be subject to the approval of the Coalition and the TCC and identified in the Plan
    Supplement.



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                        (xiv) compensate professionals for services, costs and expenses incurred
prior to the Effective Date in accordance with the terms of the Plan and Confirmation Order;

                      (xv) execute and deliver such instruments as the Trustee considers
advisable or necessary in administering the Trust;

                       (xvi) timely file such income tax and other tax returns and statements
required to be filed and timely pay all taxes, if any, required to be paid from the Settlement Trust
Assets and comply with all applicable tax reporting and withholding obligations;

                       (xvii) require, in respect of any distribution of Settlement Trust Assets, the
timely receipt of properly executed documentation (including, without limitation, IRS Form W-9)
as the Trustee determines in his or her discretion necessary or appropriate to comply with
applicable tax laws;

                       (xviii) [resolve all applicable lien resolution matters;]

                       (xix) register as a responsible reporting entity (“RRE”) and timely submit
all reports under the reporting provisions of section 111 of the Medicare, Medicaid, and SCHIP
Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”) as required under Section 4.4 below;

                     (xx) determine the form(s) of release required to be executed by a
Beneficiary in connection with a distribution on account of an Abuse Claim in accordance with
the TDP;

                       (xxi) enter into such other arrangements with third parties as are deemed
by the Trustee to be useful in carrying out the purposes of the Trust, provided such arrangements
do not conflict with any other provision of the Trust Documents;

                      (xxii) in accordance with Section 5.9 below, defend, indemnify, and hold
harmless (and purchase insurance indemnifying) the Trust Indemnified Parties (as defined in
Section 5.7(a) below) solely from the Trust Assets and to the fullest extent permitted by law;

                       (xxiii) delegate any or all of the authority herein conferred with respect to
the investment of all or any portion of the Trust Assets to any one or more reputable investment
advisors or investment managers without liability for any action taken or omission made because
of any such delegation;

                       (xxiv) delegate any or all of the authority conferred with respect to the
protection, preservation, and monetization of the non-cash Trust Assets;

                       (xxv) initiate, prosecute, defend, settle, maintain, administer, preserve,
pursue, and resolve, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, all legal actions
and other proceedings related to any asset, liability, or responsibility of the Trust, including the
Actions (as defined in the Plan);

                      (xxvi) enter into structured settlements and other similar arrangements with
any Beneficiary (including a minor or other person in need of special consideration) upon such


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terms as the Trustee and such Beneficiary (or such Beneficiary’s counsel or other authorized
person) agree, in all cases in accordance with the TDP;

                      (xxvii) contract for the establishment and continuing maintenance of a
website (the “Trust Website”) to aid in communicating information to the Beneficiaries and their
counsel or other authorized persons;

                       (xxviii) take any and all actions appropriate or necessary in order to carry
out the terms of the Trust Documents; and

                       (xxix) except as otherwise expressly provided in the Trust Documents,
exercise any other powers now or hereafter conferred upon or permitted to be exercised by a trustee
under the laws of the State of Delaware.

                (e)    The Trustee shall have the power to (i) authorize the commencement or
continuation of a lawsuit by a Direct Abuse Claimants against the Trust to obtain the Allowed
Claim Amount of a Direct Abuse Claim in accordance with the provisions of Article XII.B of the
TDP (a “STAC Tort Election Claim”), and (ii) enter into any global settlement that causes an
Insurance Company or a Chartered Organization to become a Protected Party within the meaning
of the Plan (a “Global Settlement”), provided however, the powers set forth in this Section 2.1(e)
shall in each case be subject to the provisions of Sections 5.13 and 5.14 below.

                (f)    The Trustee shall take all actions necessary or advisable for the enforcement
of the non-monetary commitments of Reorganized BSA with respect to Child Protection as set
forth in the Plan and Confirmation Order.

                (g)    The Trustee shall consult with the STAC and the FCR on the matters set
forth in Section 5.13 below. The Trustee shall obtain the consent of the STAC and the FCR prior
to taking action with respect to the matters set forth in Section 5.14 below, as and to the extent set
forth therein, and subject to the provisions of Section 6.4 below.

Section 2.2    Limitations on the Trustee.

       Notwithstanding anything in the Trust Documents to the contrary, the Trustee shall not do
or undertake any of the following:

               (a)     guaranty any debt;

               (b)     make or enter into any loan of Trust Assets;

              (c)   make any transfer or distribution of Trust Assets other than those authorized
by the Trust Documents;

               (d)    engage in any trade or business with respect to the Trust Assets or proceeds
therefrom, other than managing such assets;

               (e)    engage in any investment of the Trust Assets, other than as explicitly
authorized by this Trust Agreement; and


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                (f)    engage in any activities inconsistent with the treatment of the Trust as a
“qualified settlement fund” within the meaning of Treasury Regulations issued under Section 468B
of the Tax Code.

Section 2.3 General Administration. The Trustee shall act in accordance with the Trust
Documents. The Trustee shall establish the location of the principal office of the Trust and may
change the location of the principal office or establish other offices at other locations in his or her
discretion.

Section 2.4 Accounting. The fiscal year of the Trust shall begin on January 1 and shall end on
December 31 of each calendar year. The Trustee shall maintain the books and records relating to
the Trust Assets and income and the payment of Trust Operating Expenses and other liabilities of
the Trust. The detail of these books and records and the duration of time during which the Trustee
shall keep such books and records shall be such as to allow the Trustee to make a full and accurate
accounting of all Trust Assets, as well as to comply with applicable provisions of law and standard
accounting practices necessary or appropriate to produce an annual report containing special-
purpose financial statements of the Trust, including, without limitation, the assets and liabilities of
the Trust as of the end of such fiscal year and the additions, deductions and cash flows for such
fiscal year (the “Annual Report”); provided however, that the Trustee shall maintain such books
and records until the wind-up of the Trust’s affairs and satisfaction of all of Trust liabilities.

Section 2.5    Financial Reporting.

                (a)     The Trustee shall engage a firm of independent certified public accountants
(the “Independent Auditors”) selected by the Trustee, to audit the Annual Report. Within one
hundred twenty (120) days following the end of each calendar year, the Trustee shall file with the
Bankruptcy Court the Annual Report audited by the Independent Auditors and accompanied by an
opinion of such firm as to the fairness in all material respects of the special-purpose financial
statements. The Trustee shall publish a copy of such Annual Report on the Trust Website when
such report is filed with the Bankruptcy Court.

                (b)   All materials filed with the Bankruptcy Court pursuant to this Section 2.4
need not be served on any parties in the Chapter 11 Cases but shall be available for inspection by
the public in accordance with procedures established by the Bankruptcy Court.

Section 2.6 Claims Reporting. Within one hundred twenty (120) days following the end of each
calendar year, the Trustee shall cause to be prepared and filed with the Bankruptcy Court an annual
report containing a summary regarding the number and type of Abuse Claims disposed of during
the period covered by the financial statements (the “Annual Claims Report”). The Trustee shall
post a copy of the Annual Claims Report on the Trust Website when such report is filed with the
Bankruptcy Court.

               (b)     Within forty-five (45) days following the end of each calendar quarter, the
Trustee shall cause to be prepared a quarterly claims report containing a summary regarding the
number and type of Abuse Claims disposed of during the quarter (the “Quarterly Claims
Report”). The financial information set forth in the Quarterly Claims Report shall be unaudited.




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The Trustee shall post a copy of the Quarterly Claims Report on the Trust Website; the Quarterly
Claims Report need not be filed with the Bankruptcy Court.

Section 2.7      Names and addresses.

        The Trustee shall keep a register (the “Register”) in which the Trustee shall at all times
maintain the names and addresses of the Beneficiaries and the awards made to the Beneficiaries
pursuant to the Trust Documents. The Trustee may rely upon this Register for the purposes of
delivering distributions or notices. In preparing and maintaining this Register, the Trustee may rely
on the name and address of each Abuse Claim holder as set forth in a proof of claim filed by such
holder, or proper notice of a name or address change, which has been delivered by such Beneficiary
to the Trustee. The Trustee may deliver distributions and notices to counsel for any Beneficiary
identified in such Beneficiary’s proof of claim or proper notice of a name or address change.

Section 2.8      Sexual Abuse Survivors Advisory Committee.

                (a)     There shall be a Sexual Abuse Survivors Advisory Committee which shall
consist of five (5) individual abuse survivors (such individuals, together with their successors, the
“SASAC”).5

               (b)     The SASAC may attend and participate in such meetings as shall be called
by the Trustee and/or the STAC (“SASAC Meetings”) from time to time as determined by the
Trustee and/or STAC respectively in their discretion, and the Trustee and STAC shall provide
periodic reporting to the SASAC. There shall be not less than one (1) SASAC Meetings in each
calendar year. The Trustee and/or the STAC shall propose to consult with the SASAC at least
quarterly, and shall use their reasonable best efforts to keep the SASAC advised of any material
matters of the Trust, as determined by the Trustee and/or STAC in their reasonable judgment.

               (c)     The SASAC may have reasonable access to the Trust’s consultants and
other advisors retained by the Trust and its staff (if any), which access may be made available as
determined by the Trustee.

               (d)     The members of the SASAC shall not be entitled to compensation for their
services; the members of the SASAC shall be reimbursed promptly for all reasonable and
documented out-of-pocket costs and expenses incurred in connection with their attendance at all
SASAC Meetings set forth in Section 2.8(b). [The Trust shall include a description of the amounts
paid under this Section 2.8 in the Annual Report to be posted on the Trust’s Website.]

Section 2.9      Transfers of the Trust Corpus.

        To the fullest extent permitted by law, neither the principal nor income of the Trust, in
whole or part, shall be subject to any legal or equitable claims of creditors of any Beneficiary or
others, nor to legal process, nor be voluntarily or involuntarily transferred, assigned, anticipated,



5
    The initial members of the SASAC shall consist of two (2) individuals selected by the Coalition and three (3) individuals
    selected by the TCC, subject to the approval of the Coalition.



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pledged or otherwise alienated or encumbered except as may be ordered by the Bankruptcy Court
or other competent court of jurisdiction.

                                        ARTICLE 3.
                             ACCOUNTS, INVESTMENTS, EXPENSES

Section 3.1    Accounts.

                (a)     The Trustee shall maintain one or more accounts (“Trust Accounts”) on
behalf of the Trust with one or more financial depository institutions (each a “Financial
Institution”). Candidates for the positions of Financial Institution shall fully disclose to the
Trustee any interest in or relationship with Reorganized BSA or their affiliated persons or [others].
Any such interest or relationship shall not be an automatic disqualification for the position, but the
Trustee shall take any such interest or relationship into account in selecting a Financial Institution.

                (b)     The Trustee may replace any retained Financial Institution with a successor
Financial Institution at any time, and such successor shall be subject to the considerations set forth
in Section 3.1(a).

                (c)     The Trustee may maintain a segregated account to hold any assets thereof
for the benefit of the holders of Future Abuse Claims (the “Future Abuse Claims Reserve”) to
the extent required to implement the TDP. Trust Operating Expenses directly allocable to the
administration of Future Abuse Claims and the Future Abuse Claims Reserve shall be charged
against the Future Abuse Claims Reserve, as reasonably determined by the Trustee.

                       (i)      [Reserved for the administration of the Future Abuse Claims
Reserve.]

                (d)     The Trustee may maintain segregated accounts to hold any assets received
as a result of or in connection with a Global Settlement between the Debtors or the Trust, on the
one hand, and a Chartered Organization that is or becomes a Protected Party, on the other hand
(the “Chartered Organization Abuse Claims Reserve”) to the extent required to implement the
TDP. The Trust shall hold the assets thereof for the benefit of holders of Allowed Abuse Claims
that (i) could have been satisfied from that source absent the Plan’s Discharge and Channeling
Injunction and (ii) are held by Direct Abuse Claimants that execute a conditional release releasing
all claims against all Chartered Organizations pursuant to the terms of the TDP (“Chartered
Organization Abuse Claims”). Trust Operating Expenses directly allocable to the administration
of Chartered Organization Abuse Claims and the Chartered Organization Abuse Claims Reserve
shall be charged against the Chartered Organization Abuse Claims Reserve, as reasonably
determined by the Trustee.

                    (i)         [Reserved for the administration of the Chartered Organization
Abuse Claims Reserve.]

               (e)    The Trustee may, from time to time, create such accounts and reasonable
reserves within the Trust Accounts as authorized in this Section 3.1 and as he or she may deem
necessary, prudent or useful in order to provide for distributions to the Beneficiaries and the
payment of Trust Operating Expenses and may, with respect to any such account or reserve, restrict


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the use of money therein for a specified purpose (the “Trust Subaccounts”). [Any such Trust
Subaccounts established by the Trustee shall be held as Trust Assets and are not intended to be
subject to separate entity tax treatment as a “disputed claims reserve” or a “disputed ownership
fund” within the meaning of the Internal Revenue Code (“IRC”) or Treasury Regulations.]

Section 3.2    Investment Guidelines.

               (a)    The Trustee may invest the Trust Assets in accordance with the Investment
Guidelines, attached hereto as Exhibit 4 (the “Investment Guidelines”).

               (b)     Pursuant to the Plan, the Trust shall hold certain non-liquid assets. The
Trustee shall own, protect, oversee, insure and monetize such non-liquid assets in accordance with
the Trust Documents. This Section 3.2(b) is intended to modify the application to the Trust of the
“prudent person” rule, “prudent investor” rule and any other rule of law that would require the
Trustee to diversify the Trust Assets.

               (c)    Cash proceeds received by the Trust in connection with its monetization of
the non-liquid Trust Assets shall be invested in accordance with the Investment Guidelines until
needed for the purposes of the Trust as set forth in Section 1.2 above.

Section 3.3 Payment of Trust Operating Expenses. All Trust Operating Expenses shall be
payable out of the Trust Assets. None of the Trustee, Delaware Trustee, the STAC, the FCR, the
Beneficiaries nor any of their officers, agents, advisors, professionals or employees shall be
personally liable for the payment of any Trust Operating Expense or any other liability of the Trust.

                                  ARTICLE 4.
                   CLAIMS ADMINISTRATION AND DISTRIBUTIONS

Section 4.1 Claims Administration and Distributions. The Trust shall fairly and reasonably
compensate Allowed Abuse Claims and shall pay up to the full value of such claims, solely in
accordance with the Trust Documents, including the TDP (and, for the avoidance of doubt,
including without limitation the provisions of Article XI and Article XII.C. and G of the TDP).
The TDP shall be subject to amendment or modification only to the extent expressly set forth in
the TDP.

Section 4.2    Applicability and Review of Payment Percentage.

                 (a)    Because there is uncertainty in the prediction of both the total amount of the
Trust’s liabilities and the amount of the Trust Assets, no guarantee can be made as to the total
payment the Trust will be able to pay for any Allowed Abuse Claim. The Trustee shall determine
from time to time the percentage of value that holders of present and future Abuse Claims are
likely to receive from the Trust Assets available for distribution on account of compensable Abuse
Claims. As soon as practicable after the Effective Date, the Trustee shall establish an Initial
Payment Percentage.

               (b)     The Initial Payment Percentage shall apply to all Allowed Abuse Claims to
be paid by the Trust until the Trustee, with the consent of the STAC and the FCR, determines that
the Initial Payment Percentage should be changed to assure that the Trust shall be in a financial


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position to pay present and future holders of similar Allowed Abuse Claims in substantially the
same manner (the Initial Payment Percentage, as it may be changed from time to time pursuant to
this Section 4.2, the “Payment Percentage”).

                (c)    No less frequently than once every twelve (12) months, commencing on the
first anniversary of the Effective Date, the Trustee shall compare the Abuse Claims distribution
forecasts for the Trust on which the then-existing Payment Percentage was based with the actual
Abuse Claims filings and distributions of the Trust to date. If the results of the comparison suggest
the potential for shortfalls in Trust Assets for continued Abuse Claims distributions at the then
applicable Payment Percentage, the Trustee shall undertake a reconsideration of the Payment
Percentage. The Trustee may reconsider the Payment Percentage at shorter intervals if the Trustee
deems such reconsideration is appropriate or if requested to do so by the STAC or the FCR. The
provisions of this Section 4.2(d) may be modified by the Trustee with the consent of the STAC
and the FCR.

               (d)     The Trustee shall base the determination of any Payment Percentage on
current estimates of the number, types, and values of present and future Abuse Claims, the current
Trust Assets, all anticipated Trust Operating Expenses, and any other material matters that are
reasonably likely to affect the sufficiency of Trust Assets available to pay the present and future
holders of Abuse Claims.

Section 4.3    Supplemental Payments.

               (a)    If the Trustee, with the consent of the STAC and the FCR, increases the
Payment Percentage, the Trust shall make supplemental payments to all Beneficiaries who
previously liquidated their Abuse Claims and received payments based on a lower Payment
Percentage (with adjustments, if any, as set forth in the TDP). The amount of any such
supplemental payment to a Beneficiary shall be the liquidated value of the Abuse Claim in question
times the applicable newly adjusted Payment Percentage, less all amounts previously paid by the
Trust to the Beneficiary (with adjustments, if any, as set forth in the TDP) with respect to the
Abuse Claim.

               (b)     The Trustee’s obligation to make a supplemental payment to a Beneficiary
shall be suspended in the event the payment in question would be less than $250 after application
of the Payment Percentage at that time. The amount of a suspended payment to the holder of any
Abuse Claim shall be added to the amount of any prior supplemental payment(s) that was/were
also suspended because it/they collectively would have been less than $250, and the Trustee’s
obligation shall resume to pay any such aggregate supplemental payments due the Beneficiary at
such time that the cumulative aggregate amount exceeds $250.

               (c)   Notwithstanding anything herein or in the TDP, the Trustee reserves all
powers expressly granted to him or her by the Plan and the Confirmation Order with respect to the
administration of Abuse Claims.




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Section 4.4 Manner of Payment. Distributions from the Trust to the Beneficiaries may be made
by the Trustee on behalf of the Trust or by a disbursing agent retained by the Trust to make
distributions on behalf of the Trust.

Section 4.5    Delivery of Distributions.

                 (a)   Distributions shall be payable to the Beneficiary (or to counsel for the
Beneficiary) on the date approved for distribution by the Trustee (the “Distribution Date”) in
accordance with the terms of the Trust Documents, including the TDP. With respect to each
compensable Abuse Claim approved for payment, distributions shall be made only after the
Trustee has determined that all obligations of the Trust with respect to each such Abuse Claim
have been satisfied. In the event that any distribution to a Beneficiary is returned as undeliverable,
no further distribution to such Beneficiary shall be made unless and until the Trustee has been
notified of the then current address of such Beneficiary, at which time such distribution shall be
made to such Beneficiary without interest; provided however, that all distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six (6)
months from the applicable Distribution Date. After such date, (i) all unclaimed property or
interests in property shall revert to the Trust (notwithstanding any applicable federal or state
escheat, abandoned or unclaimed property laws to the contrary), (ii) the Abuse Claim of such
Beneficiary shall be released, settled, compromised and forever barred as against the Trust, and
(iii) all unclaimed property interests shall be distributed to other Beneficiaries in accordance with
the Trust Documents, as if the Abuse Claim of such Beneficiary had been disallowed as of the date
the undeliverable distribution was first made. The Trustee shall take reasonable efforts to obtain a
current address for any Beneficiary with respect to which any distribution is returned as
undeliverable.

                (b)     In the event the Trust holds cash after paying all Trust Operating Expenses
and making all distributions contemplated under the Trust Documents, such remaining cash shall
be distributed to a national recognized charitable organization of the Trustee’s choice to the extent
economically feasible, which charitable organization shall be independent of the Trustee, the
STAC and the FCR and, to the extent possible, shall have a charitable purpose consistent with the
protection of children from sexual abuse or its ramifications. No Trust Asset or any unclaimed
property shall escheat to any federal, state, or local government or any other entity.

                (c)    Notwithstanding any provision in the Trust Documents to the contrary, no
payment shall be made to any Beneficiary on account of any Abuse Claim if the Trustee determines
that the costs of making such distribution is greater than the amount of the distribution to be made.

Section 4.6    Medicare Reimbursement and Reporting Obligations.

           (a)         The Trust shall register as an RRE under the reporting provisions of section
111 of MMSEA.

                (b)    The Trust shall, at its sole expense, timely submit all reports that are
required under MMSEA on account of any claims settled, resolved, paid, or otherwise liquidated
by the Trust or with respect to contributions to the Trust. The Trust, in its capacity as an RRE,
shall follow all applicable guidance published by the Centers for Medicare & Medicaid Services



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of the United States Department of Health and Human Services and/or any other agency or
successor entity charged with responsibility for monitoring, assessing, or receiving reports made
under MMSEA (collectively, “CMS”) to determine whether or not, and, if so, how, to report to
CMS pursuant to MMSEA.

               (c)     Before remitting funds to claimants’ counsel, or to the claimant if such
claimant is acting pro se, in respect of any Abuse Claim, the Trustee shall obtain a certification
that said claimant (or such claimant’s authorized representative) has provided or will provide for
the payment and/or resolution of any obligations owing or potentially owing under 42 U.S.C. §
1395y(b), or any related rules, regulations, or guidance, in connection with, or relating to, such
Abuse Claim.

                                       ARTICLE 5.
                              TRUSTEE; DELAWARE TRUSTEE

Section 5.1 Number of Trustees. In addition to the Delaware Trustee appointed pursuant to
Section 5.11 hereof, there shall be one (1) Trustee. The initial Trustee shall be Eric D. Green. For
the avoidance of doubt, there shall be at least one (1) Trustee serving at all times (in addition to
the Delaware Trustee).

Section 5.2    Term of Service, Successor Trustee.

                (a)     The Trustee shall serve from the Effective Date until the earliest of (i) his
or her death, (ii) his or her resignation pursuant to Section 5.2(b) below, (iii) his or her removal
pursuant to Section 5.2(c) below, and (iv) the termination of the Trust pursuant to Section 8.2
below.

               (b)      The Trustee may resign at any time upon written notice to the STAC and
FCR with such notice filed with the Bankruptcy Court. Such notice shall specify a date when such
resignation shall take effect, which shall not be less than ninety (90) days after the date such notice
is given, where practicable.

               (c)      The Trustee may be removed by consent of (i) at least two/thirds (2/3)
majority of the STAC and (ii) the FCR, in the event that the Trustee becomes unable to discharge
his or her duties hereunder due to accident, physical deterioration, mental incompetence or for
other good cause, provided the Trustee has received reasonable notice and an opportunity to be
heard. Other good cause shall mean fraud, self-dealing, intentional misrepresentation, willful
misconduct, indictment for or conviction of a felony in each case whether or not connected to the
Trust, any substantial failure to comply with the administration of the Trust or a consistent pattern
of neglect and failure to perform or participate in performing the duties of Trustee hereunder. For
the avoidance of doubt, any removal of a Trustee pursuant to this Section 5.2(c) shall require the
approval of the Bankruptcy Court and shall take effect at such time as the Bankruptcy Court shall
determine.

Section 5.3    Appointment of Successor Trustee.

                (a)    In the event of the death, resignation or removal of Eric D. Green as Trustee
(the “Initial Trustee”), such vacancy shall immediately be filled by [●], who shall thereafter serve


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as Trustee pursuant to the terms of the Trust Documents, provided that if [●] is unable to serve as
the successor Trustee, the successor Trustee shall be appointed in accordance with the terms of the
following sentence. In the event of any vacancy in the office of the Trustee, including the death,
resignation or removal of any successor Trustee, such vacancy shall be filled by the STAC and the
FCR as set forth herein. The STAC will nominate an individual to serve as successor Trustee. If
the majority of the STAC then in office and the FCR agree upon a successor Trustee, then, subject
to the approval of the Bankruptcy Court, such individual shall become the Trustee. In the event
that a majority of the STAC and the FCR cannot agree on a successor Trustee, the matter will be
resolved pursuant to Section 8.16 below.

                (b)    Immediately upon the appointment of any successor Trustee pursuant to
Section 5.3(a) above, all rights, titles, duties, powers and authority of the predecessor Trustee
hereunder shall be vested in and undertaken by the successor Trustee without any further act. No
successor Trustee shall be liable personally for any act or omission of his or her predecessor
Trustee. No predecessor Trustee shall be liable personally for any act or omission of his or her
successor Trustee. No successor Trustee shall have any duty to investigate the acts or omissions
of his or her predecessor Trustee.

                (c)     Each successor Trustee shall serve until the earliest of (i) his or her death,
(ii) his or her resignation pursuant to Section 5.2(b) above, (iii) his or her removal pursuant to
Section 5.2(c) above, and (iv) the termination of the Trust pursuant to Section 8.2 below.

Section 5.4    Trustee Meetings.

               (a)    Regular Meeting. The Trustee shall hold regular meetings with the STAC
and the FCR not less than quarterly, which may be held at such times and at such places as may
be determined from time to time by the Trustee. For the avoidance of doubt, the Delaware Trustee
shall not be required or permitted to attend any meetings of the Trustee contemplated by this
Section 5.4.

                 (b)    Special Meetings. Special meetings of the Trustee with the STAC, the
SASAC and/or the FCR, either jointly or separately, may be called by the Trustee by giving written
notice to the STAC, the SASAC and/or the FCR not less than one (1) business day prior to the date
of the meeting. Any such notice shall include the time, place and purpose of the meeting, given by
overnight courier, personal delivery, facsimile, electronic mail or other similar means of
communication. Notice shall be addressed or delivered to the address as shown upon the records
of the Trust or as may have been given to the Trustee for purposes of notice. Notice by overnight
courier shall be deemed to have been given one (1) business day after the time that written notice
is provided to such overnight courier. Any other written notice shall be deemed to have been given
at the time it is personally delivered to the recipient or actually transmitted by the person giving
the notice by electronic means to the recipient.

                (c)    Participation in Meetings by Telephone Conference. The Trustee may
convene, and persons may participate in, a meeting by conference telephone or similar
communications equipment (which shall include virtual meetings via video conferencing
software), as long as all persons participating in such meeting can hear one another. Participation
in a meeting pursuant to this Section 5.4(c) shall constitute presence in person at such meeting.


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               (d)     Waiver of Notice. Notice of a meeting need not be given to any person who
signs a waiver of notice, whether before or after the meeting. All such waivers shall be filed with
the Trust records or made a part of the minutes of the meeting. Attendance at a meeting shall
constitute a waiver of notice of such meeting. Neither the business to be transacted at, nor the
purpose of, any Trustee meeting need be specified in any waiver of notice.

                (e)     Adjournment. A meeting may be adjourned by the Trustee to another time
and place.

Section 5.5 Compensation and Expenses of Trustee. The Trustee shall receive compensation
from the Trust for his or her services as Trustee. The initial amount of the Trustee’s compensation
shall be [●] and shall be adjusted annually thereafter as reasonably determined by the majority of
the STAC and FCR. The Trust shall also, upon receipt of appropriate documentation, reimburse
all reasonable out-of-pocket costs and expenses incurred by the Trustee in the course of carrying
out his or her duties as Trustee in accordance with reasonable policies and procedures as may be
adopted from time to time, including in connection with attending meetings of the Trustee. The
amounts paid to the Trustee for compensation and expenses shall be disclosed in the Annual
Report.

Section 5.6     Trustee’s Independence.

                (a)    The Trustee shall not, during his or her service, hold a financial interest in,
act as attorney or agent for or serve as any other professional for Reorganized BSA, their affiliated
persons, or [others]. No Trustee shall act as an attorney for, or otherwise represent, any Person
who holds a claim in the Chapter 11 Cases. For the avoidance of doubt, this provision shall not
apply to the Delaware Trustee.

               (b)     The Trustee, and the Delaware Trustee, shall be indemnified by the Trust in
acting upon any resolution, certificate, statement, instrument, opinion, report, notice, request,
consent, order or other paper or document believed by them to be genuine and to have been signed
or presented by the proper party or parties.

                (c)      Persons dealing with the Trust, the Trustee, and the Delaware Trustee with
respect to the affairs of the Trust, shall have recourse only to the Trust Assets to satisfy any liability
incurred by the Trust, the Trustee or the Delaware Trustee to such Person in carrying out the terms
of this Trust Agreement, and neither the Trustee, the Delaware Trustee, the Beneficiaries, nor any
of their professionals, advisors, officers, agents, consultants or lawyers shall have any personal
obligation to satisfy any such liability.

Section 5.7     Standard of Care; Exculpation.

                (a)    As used herein, the term “Trust Indemnified Party” shall mean the
Trustee, the Delaware Trustee, the members of the STAC, the FCR, the SASAC and each of their
respective members, officers, employees, agents, consultants, lawyers, advisors or professionals
(collectively, the “Trust Indemnified Parties”).

              (b)     No Trust Indemnified Party shall be liable to the Trust, any other Trust
Indemnified Party, any Beneficiary or any other Person for any damages arising out of the creation,


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operation, administration, enforcement or termination of the Trust, except in the case of such Trust
Indemnified Party’s willful misconduct, bad faith, or fraud as finally judicially determined by a
court of competent jurisdiction. To the fullest extent permitted by applicable law, the Trust
Indemnified Parties shall have no liability for any action in performance of their duties under this
Trust Agreement taken in good faith with or without the advice of counsel, accountants, appraisers
and other professionals retained by the Trust Indemnified Parties. None of the provisions of this
Trust Agreement shall require the Trust Indemnified Parties to expend or risk their own funds or
otherwise incur personal financial liability in the performance of any of their duties hereunder or
in the exercise of any of their respective rights and powers. Any Trust Indemnified Party may rely,
without inquiry, upon writings delivered to it under any of the Trust Documents, which the Trust
Indemnified Party reasonably believes to be genuine and to have been given by a proper person.
Notwithstanding the foregoing, nothing in this Section 5.7 shall relieve the Trust Indemnified
Parties from any liability for any actions or omissions arising out of the willful misconduct, bad
faith, or fraud as finally judicially determined by a court of competent jurisdiction; provided that
in no event will any such person be liable for punitive, exemplary, consequential or special
damages under any circumstances. Any action taken or omitted by the Trust Indemnified Parties
with the approval of the Bankruptcy Court, or any other court of competent jurisdiction, will
conclusively be deemed not to constitute willful misconduct, bad faith, or fraud.

                (c)    The Trust Indemnified Parties shall not be subject to any personal liability
whatsoever, whether in tort, contract or otherwise, to any Person in connection with the affairs of
the Trust or for any liabilities or obligations of the Trust except for those acts that are finally
judicially determined by a court of competent jurisdiction to have arisen out of their own willful
misconduct, bad faith, or fraud, and all Persons claiming against the Trust Indemnified Parties, or
otherwise asserting claims of any nature in connection with affairs of the Trust, shall look solely
to the Trust Assets for satisfaction of any such claims.

                 (d)     To the extent that, at law or in equity, the Trust Indemnified Parties have
duties (including fiduciary duties) or liability related thereto, to the Trust or the Beneficiaries, it is
hereby understood and agreed by the parties hereto and the Beneficiaries that such duties and
liabilities are eliminated to the fullest extent permitted by applicable law, [including Section 3806
of the Act,] and replaced by the duties and liabilities expressly set forth in this Trust Agreement
with respect to the Trust Indemnified Parties, provided however, that the duties of care and loyalty
are not eliminated but are limited and subject to the terms of this Trust Agreement, including but
not limited to this Section 5.7 and its subparts.

                 (e)    The Trust Indemnified Parties shall be indemnified to the fullest extent
permitted by law by the Trust against all liabilities arising out of the creation, operation,
administration, enforcement or termination of the Trust, including actions taken or omitted in
fulfillment of their duties with respect to the Trust, except for those acts that are finally judicially
determined by a court of competent jurisdiction to have arisen out of their own willful misconduct,
bad faith, or fraud.

                (f)   The Trust will maintain appropriate insurance coverage for the protection
of the Trust Indemnified Parties, as determined by the Trustee in his or her discretion.




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Section 5.8    Protective Provisions.

                  (a)     Every provision of this Trust Agreement relating to the conduct or affecting
the liability of or affording protection to Trust Indemnified Parties shall be subject to the provisions
of this Section 5.8.

               (b)     In the event the Trustee retains counsel (including at the expense of the
Trust), the Trustee shall be afforded the benefit of the attorney-client privilege with respect to all
communications with such counsel, and in no event shall the Trustee be deemed to have waived
any right or privilege including, without limitation, the attorney-client privilege even if the
communications with counsel had the effect of guiding the Trustee in the performance of duties
hereunder. A successor to any Trustee shall succeed to and hold the same respective rights and
benefits of the predecessor for purposes of privilege, including the attorney-client privilege. No
Beneficiary or other party may raise any exception to the attorney-client privilege discussed herein
as any such exceptions are hereby waived by all parties.

                (c)     To the extent that, at law or in equity, the Trustee has duties (including
fiduciary duties) and liabilities relating hereto, to the Trust or to the Beneficiaries, it is hereby
understood and agreed by the Parties and the Beneficiaries that such duties and liabilities are
eliminated to the fullest extent permitted by applicable law, including Section 3806 of the Act, and
replaced by the duties and liabilities expressly set forth in this Trust Agreement with respect to the
Trustee, provided however, that the duties of care and loyalty are not eliminated but are limited
and subject to the terms of this Trust Agreement, including but not limited to Section 5.7 herein.

              (d)     No Trust Indemnified Party shall be personally liable under any
circumstances, except for their own willful misconduct, bad faith, or fraud as finally judicially
determined by a court of competent jurisdiction.

               (e)     No provision of this Trust Agreement shall require the Trust Indemnified
Parties to expend or risk their own personal funds or otherwise incur financial liability in the
performance of their rights, duties, and powers hereunder.

                (f)    In the exercise or administration of the Trust hereunder, the Trust
Indemnified Parties (i) may act directly or through their respective agents or attorneys pursuant to
agreements entered into with any of them, and the Trust Indemnified Parties shall not be liable for
the default or misconduct of such agents or attorneys if such agents or attorneys have been selected
by the Trust Indemnified Parties in good faith and with due care, and (ii) may consult with counsel,
accountants and other professionals to be selected by them in good faith and with due care and
employed by them, and shall not be liable for anything done, suffered or omitted in good faith by
them in accordance with the advice or opinion of any such counsel, accountants or other
professionals.

Section 5.9    Indemnification.

               (a)     Without the need for further court approval, the Trust hereby indemnifies,
holds harmless, and defends the Trust Indemnified Parties in the performance of their duties
hereunder to the fullest extent that a trust, including a statutory trust organized under the laws of
the State of Delaware, is entitled to indemnify, hold harmless and defend such persons against any


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and all liabilities, expenses, claims, damages or losses (including attorneys’ fees and costs)
incurred by them in the performance of their duties hereunder or in connection with activities
undertaken by them prior to or after the Effective Date in connection with the formation,
establishment, funding or operations of the Trust except for those acts that are finally judicially
determined by a court of competent jurisdiction to have arisen out of their own willful misconduct,
bad faith, or fraud.

               (b)    Reasonable expenses, costs and fees (including attorneys’ fees and costs)
incurred by or on behalf of the Trust Indemnified Parties in connection with any action, suit or
proceeding, whether civil, administrative or arbitrative, from which they are indemnified by the
Trust shall be paid by the Trust in advance of the final disposition thereof upon receipt of an
undertaking, by or on behalf of the Trust Indemnified Parties, to repay such amount in the event
that it shall be determined ultimately by final order of the Bankruptcy Court that the Trust
Indemnified Parties or any other potential indemnitee are not entitled to be indemnified by the
Trust.

                (c)     The Trustee shall purchase and maintain appropriate amounts and types of
insurance on behalf of the Trust Indemnified Parties, as determined by the Trustee, which may
include liability asserted against or incurred by such individual in that capacity or arising from his
or her status as a Trust Indemnified Party, and/or as an employee, agent, lawyer, advisor or
consultant of any such person.

               (d)    The indemnification provisions of this Trust Agreement with respect to any
Trust Indemnified Party shall survive the termination of such Trust Indemnified Party from the
capacity for which such Trust Indemnified Party is indemnified. Termination or modification of
this Trust Agreement shall not affect any indemnification rights or obligations in existence at such
time. In making a determination with respect to entitlement to indemnification of any Trust
Indemnified Party hereunder, the person, persons or entity making such determination shall
presume that such Trust Indemnified Party is entitled to indemnification under this Trust
Agreement, and any person seeking to overcome such presumption shall have the burden of proof
to overcome the presumption.

               (e)     The rights to indemnification hereunder are not exclusive of other rights
which any Trust Indemnified Party may otherwise have at law or in equity, including common law
rights to indemnification or contribution.

Section 5.10 Bond. The Trustee and the Delaware Trustee shall not be required to post any bond
or other form of surety or security unless otherwise ordered by the Bankruptcy Court.

Section 5.11 Delaware Trustee.

                 (a)     There shall at all times be a Delaware Trustee. The Delaware Trustee shall
either be (i) a natural person who is at least twenty-one (21) years of age and a resident of the State
of Delaware, or (ii) a legal entity that has its principal place of business in the State of Delaware,
otherwise meets the requirements of applicable Delaware law to be eligible to serve as the
Delaware Trustee and shall act through one or more persons authorized to bind such entity. If at
any time the Delaware Trustee shall cease to be eligible in accordance with the provisions of this



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Section 5.11, it shall resign immediately in the manner and with the effect hereinafter specified in
Section 5.11(c) below. For the avoidance of doubt, the Delaware Trustee will only have such
rights, duties and obligations as expressly provided by reference to the Delaware Trustee
hereunder. The Trustee shall have no liability for the acts or omissions of any Delaware Trustee.

                 (b)    The Delaware Trustee shall not be entitled to exercise any powers, nor shall
the Delaware Trustee have any of the duties and responsibilities of the Trustee set forth herein.
The Delaware Trustee shall be a trustee of the Trust for the sole and limited purpose of fulfilling
the requirements of Section 3807(a) of the Act and for taking such actions as are required to be
taken by a Delaware Trustee under the Act. The duties (including fiduciary duties), liabilities and
obligations of the Delaware Trustee shall be limited to accepting legal process served on the Trust
in the State of Delaware and the execution of any certificates required to be filed with the Secretary
of State of the State of Delaware that the Delaware Trustee is required to execute under Section
3811 of the Act. There shall be no other duties (including fiduciary duties) or obligations, express
or implied, at law or in equity, of the Delaware Trustee. To the extent that, at law or in equity, the
Delaware Trustee has duties (including fiduciary duties) and liabilities relating to the Trust or the
Beneficiaries, such duties and liabilities are replaced by the duties and liabilities of the Delaware
Trustee expressly set forth in this Trust Agreement. The Delaware Trustee shall have no liability
for the acts or omissions of the Trustee. Any permissive rights of the Delaware Trustee to do things
enumerated in this Trust Agreement shall not be construed as a duty and, with respect to any such
permissive rights, the Delaware Trustee shall not be answerable for other than its willful
misconduct, bad faith or fraud. The Delaware Trustee shall be under no obligation to exercise any
of the rights or powers vested in it by this Trust Agreement at the request or direction of the Trustee
or any other person pursuant to the provisions of this Trust Agreement unless the Trustee or such
other person shall have offered to the Delaware Trustee security or indemnity (satisfactory to the
Delaware Trustee in its discretion) against the costs, expenses and liabilities that may be incurred
by it in compliance with such request or direction. The Delaware Trustee shall be entitled to request
and receive written instructions from the Trustee and shall have no responsibility or liability for
any losses or damages of any nature that may arise from any action taken or not taken by the
Delaware Trustee in accordance with the written direction of the Trustee. The Delaware Trustee
may, at the expense of the Trust, request, rely on and act in accordance with officer’s certificates
and/or opinions of counsel, and shall incur no liability and shall be fully protected in acting or
refraining from acting in accordance with such officer’s certificates and opinions of counsel.

                (c)    The Delaware Trustee shall serve until such time as the Trustee removes the
Delaware Trustee or the Delaware Trustee resigns and a successor Delaware Trustee is appointed
by the Trustee in accordance with the terms of Section 5.11(d) below. The Delaware Trustee may
resign at any time upon the giving of at least sixty (60) days’ advance written notice to the Trustee,
provided that such resignation shall not become effective unless and until a successor Delaware
Trustee shall have been appointed by the Trustee in accordance with Section 5.11(d) below,
provided further, that if any amounts due and owing to the Delaware Trustee hereunder remain
unpaid for more than ninety (90) days, the Delaware Trustee shall be entitled to resign immediately
by giving written notice to the Trustee. If the Trustee does not act within such sixty (60) day period,
the Delaware Trustee, at the expense of the Trust, may apply to the Court of Chancery of the State
of Delaware or any other court of competent jurisdiction for the appointment of a successor
Delaware Trustee.



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                (d)     Upon the resignation or removal of the Delaware Trustee, the Trustee shall
appoint a successor Delaware Trustee by delivering a written instrument to the outgoing Delaware
Trustee. Any successor Delaware Trustee must satisfy the requirements of Section 3807 of the
Act. Any resignation or removal of the Delaware Trustee and appointment of a successor Delaware
Trustee shall not become effective until a written acceptance of appointment is delivered by the
successor Delaware Trustee to the outgoing Delaware Trustee and the Trustee, and any fees and
expenses due to the outgoing Delaware Trustee are paid. Following compliance with the preceding
sentence, the successor Delaware Trustee shall become fully vested with all of the rights, powers,
duties and obligations of the outgoing Delaware Trustee under this Trust Agreement, with like
effect as if originally named as Delaware Trustee, and the outgoing Delaware Trustee shall be
discharged of his or her duties and obligations under this Trust Agreement. The successor
Delaware Trustee shall make any related filings required under the Act, including filing a
Certificate of Amendment to the Certificate of Trust in accordance with Section 3810 of the Act.

                (e)     Notwithstanding anything herein to the contrary, any business entity into
which the Delaware Trustee may be merged or converted or with which it may be consolidated or
any entity resulting from any merger, conversion or consolidation to which the Delaware Trustee
shall be a party, or any entity succeeding to all or substantially all of the corporate trust business
of the Delaware Trustee, shall be the successor of the Delaware Trustee hereunder, without the
execution or filing of any paper or any further act on the part of any of the parties hereto.

               (f)    The Delaware Trustee shall be entitled to compensation for its services as
agreed pursuant to a separate fee agreement between the Trust and the Delaware Trustee, which
compensation shall be paid by the Trust. Such compensation is intended for the Delaware Trustee’s
services as contemplated by this Trust Agreement. The terms of this paragraph shall survive
termination of this Trust Agreement and/or the earlier resignation or removal of the Delaware
Trustee.

                (g)     The Delaware Trustee shall neither be responsible for, nor chargeable with,
knowledge of the terms and conditions of any other agreement, instrument or document, other than
this Trust Agreement, whether or not, an original or a copy of such agreement has been provided
to the Delaware Trustee. The Delaware Trustee shall have no duty to know or inquire as to the
performance or nonperformance of any provision of any other agreement, instrument or document,
other than this Trust Agreement. Neither the Delaware Trustee nor any of its directors, officers,
employees, agents or affiliates shall be responsible for nor have any duty to monitor the
performance or any action of the Trust, the Trustee or any other person, or any of their directors,
members, officers, agents, affiliates or employee, nor shall it have any liability in connection with
the malfeasance or nonfeasance by such party. The Delaware Trustee may assume performance by
all such persons of their respective obligations. The Delaware Trustee shall have no enforcement
or notification obligations relating to breaches of representations or warranties of any other person.
The Delaware Trustee shall have no responsibilities (except as expressly set forth herein) as to the
validity, sufficiency, value, genuineness, ownership or transferability of any Trust Asset, written
instructions, or any other documents in connection therewith, and will not, be regarded as making
nor be required to make, any representations thereto.

               (h)    The Delaware Trustee shall not be responsible or liable for any failure or
delay in the performance of its obligations under this Trust Agreement arising out of, or caused,


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directly or indirectly, by circumstances beyond its control, including without limitation, any act or
provision of any present or future law or regulation or governmental authority; acts of God;
earthquakes; fires; floods; wars; terrorism; civil or military disturbances; sabotage; epidemics;
riots; interruptions, loss or malfunctions of utilities, computer (hardware or software) or
communications service; accidents; labor disputes; acts of civil or military authority or
governmental actions; or the unavailability of the Federal Reserve Bank wire or telex or other wire
or communication facility.

Section 5.12 Meeting Minutes.

        The minutes of proceedings of the Trustee shall be kept in written form (which may be
electronic) at such place or places designated by the Trustee, or, in the absence of such designation,
at the principal office of the Trust.

Section 5.13 Matters Requiring Consultation with STAC and FCR.

                       The Trustee shall consult with the STAC and the FCR on each of the
following:

                 (a)   The selection and/or replacement of the claims processor;

                 (b)   The form(s) of release to be executed by a Beneficiary;

                 (c)   An annual estimate of the budget for the Trust Operating Expenses; and

               (d)    The administration, investment of assets of, and expenses to be charged
against the Future Abuse Claims Reserve;

Section 5.14 Matters Requiring Consent of STAC and FCR.

                       The Trustee shall obtain the consent of the STAC and the FCR for each of
the following:

               (a)   The determination of the Initial Payment Percentage and any subsequent
adjustment to the Payment Percentage;

                 (b)   Any proposed modification to the indemnification provisions of the Trust
Agreement;

               (c)    Any proposed sale, transfer or exchange of Trust Assets above $[●] (any
proposed sale of Trust Assets below such amount shall not require STAC and FCR consent);

              (d)     Any appointment or retention of the Special Reviewer or any successor
Special Reviewer in the event of a vacancy in such position for any reason;

               (e)    Any proposed material modifications to the Trust Agreement and/or the
TDP, if and as required by the consent provisions set forth therein;




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               (f)     Any proposed increase or decrease in the size of the Future Abuse Claims
Reserve; and

              (g)     The (i) commencement or continuation of a lawsuit by Direct Abuse
Claimants against the Trust pursuant to a STAC Tort Election Claim, as set forth in Article XII.C
of the TDP subject to the terms of Section 6.4(a) below, and (ii) approval and execution of any
Global Settlement, subject to the terms of Section 6.4(b) below.

                                  ARTICLE 6.
                     SETTLEMENT TRUST ADVISORY COMMITTEE

Section 6.1 Members; Action by Members. The STAC shall consist of seven (7) members
selected to represent the interests of holders of current Abuse Claims. Five (5) members of the
STAC shall be “Coalition Appointees” and two (2) members of the STAC shall be “Committee
Appointees.” Except as otherwise set forth in this ARTICLE 6, the STAC shall act by majority
vote of STAC members then serving, provided however, the STAC may continue to act in the
event of one or more vacancies on the STAC, in which case majority vote of the STAC members
then serving shall be required for action by the STAC.

Section 6.2 Duties. The members of the STAC (and their designees) shall serve in a fiduciary
capacity representing current holders of Abuse Claims. The STAC shall not have any fiduciary
duties or responsibilities to any party other than holders of current Abuse Claims. Except for the
duties and obligations expressed in this Trust Agreement and the TDP, there shall be no other
duties (including fiduciary duties) or obligations, express or implied, at law or in equity, of the
STAC. To the extent that, at law or in equity, the STAC has duties (including fiduciary duties) and
liabilities relating thereto to the Trust, the other parties hereto, or any Beneficiary, such duties and
liabilities are replaced by the duties and liabilities of the STAC expressly set forth in this Trust
Agreement and the TDP.

Section 6.3    STAC Information Rights.

        The STAC shall have reasonable access to the Trust’s consultants and other advisors
retained by the Trust and its staff (if any), and information available to the Trustee, which access
shall be made available as determined by the Trustee in his or her discretion.

Section 6.4    Additional Provisions regarding Certain STAC Consent Rights.

                (a)     Notwithstanding Section 5.14(g) above, any consent of the STAC and the
FCR with respect to any request to the Trustee to authorize the commencement or continuation of
a lawsuit by a Direct Abuse Claimant against the Trustee pursuant to a STAC Tort Election Claim,
as set forth in Article XII.C of the TDP, shall be subject to the following provisions:

                      In the event the Trustee determines, or would be required based on the
consent provisions above, not to authorize the commencement or continuation of a lawsuit by a
Direct Abuse Claimant with respect to a STAC Tort Election Claim, then any three (3) members
of the STAC may request a special review by providing such a request to the Trustee in writing
(the date on which such request is received by the Trustee, the “Tort Election Request Date”), in
which case the matter shall be referred to the Special Reviewer for further consideration. The


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Special Reviewer shall consider the matter and shall solicit or receive such information from the
Trustee, the FCR and any STAC members as any of them deems appropriate or necessary. The
Special Reviewer shall evaluate the matter pursuant to the following standard: whether the
determination not to authorize the commencement or continuation of a lawsuit by a Direct Abuse
Claimant with respect to a STAC Tort Election Claim, was, under all the relevant circumstances,
unreasonable. The Special Reviewer shall require that the burden of proof be on the three (3)
objecting STAC members to show by a preponderance of the evidence that the Trustee’s
determination not to authorize the commencement or continuation of a such lawsuit was, under all
the relevant circumstances, unreasonable. The Special Reviewer shall deliver a written
determination of such matter within ten (10) business days from the Tort Election Request Date,
unless the Trustee reasonably requests an expedited determination. [The determination of the
Special Reviewer shall be final and shall be binding on all parties.]

                        (b) Notwithstanding Section 5.14(g) above, with respect to the authorization
of the Trustee to enter into a Global Settlement, the following provisions shall apply:

                        In the event the Trustee determines to proceed with the Global Settlement,
then notwithstanding the majority vote of the STAC approving the Trustee’s determination to
proceed with the Global Settlement, any three (3) members of the STAC may request a special
review by providing such a request to the Trustee in writing (the date on which such request is
received by the Trustee, the “Global Settlement Request Date”), in which case the matter shall
be referred to the Special Reviewer for further consideration. The Special Reviewer shall consider
the matter and shall solicit or receive such information from the Trustee, the FCR and any STAC
members as any of them deems appropriate or necessary. The Special Reviewer shall evaluate the
matter pursuant to the following standard: whether the Trustee’s determination to approve a Global
Settlement that causes an Insurance Company or a Chartered Organization to become a Protected
Party within the meaning of the Plan was, under all the relevant circumstances, unreasonable. The
Special Reviewer shall require that the burden of proof be on the three (3) objecting STAC
members to show by a preponderance of the evidence that the Trustee’s determination to approve
such Global Settlement was, under all the relevant circumstances, unreasonable. The Special
Reviewer shall deliver a written determination of such matter within ten (10) business days from
the Global Settlement Request Date, unless the Trustee reasonably requests an expedited
determination. [The determination of the Special Reviewer shall be final and shall be binding on
all parties.]

Section 6.5    Term of Office.

                 (a)     Each Member of the STAC shall serve until the earliest of (i) his or her
death, (ii) his or her resignation pursuant to Section 6.5(b) below, (iii) his or her removal pursuant
to Section 6.5(c) below, and (iv) the termination of the Trust pursuant to Section 8.2 below.

                (b)    A member of the STAC may resign at any time by written notice to the other
members of the STAC and the Trustee. Such notice shall specify a date when such resignation
shall take effect, which shall not be less than thirty (30) days after the date such notice is given,
where practicable.




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                 (c)    A member of the STAC may be removed in the event that he or she becomes
unable to discharge his or her duties hereunder due to accident, physical deterioration, mental
incompetence, or for other good cause, provided the member of the STAC has received reasonable
notice and an opportunity to be heard. Other good cause shall mean fraud, self-dealing, intentional
misrepresentation, willful misconduct, indictment for or conviction of a felony in each case
whether or not connected to the Trust or a consistent pattern of neglect and failure to perform or
to participate in performing the duties of such member hereunder, such as repeated non-attendance
at scheduled meetings. Such removal shall require the majority vote of the other members of the
STAC and such removal shall take effect only upon the approval of the Bankruptcy Court.

Section 6.6    Appointment of Successor.

                 (a)    In the event of a STAC member vacancy, (i) if the vacancy has occurred
with respect to a Coalition Member, the remaining Coalition Members shall nominate a successor
STAC Member, provided however, that if there are no remaining Coalition Members, then the
Trustee shall select the successor Coalition Members, and (ii) if the vacancy has occurred with
respect to a Committee Member, the remaining Committee Member shall nominate a successor
STAC Member who shall be reasonably acceptable to the majority of the Coalition Members,
provided however that in the event there are no remaining Committee Members, then the Special
Reviewer shall nominate two individuals to serve as Committee Members, who shall be reasonably
acceptable to the majority of the Coalition Members. The Special Reviewer may consult with the
SASAC regarding the nomination of such individuals. In the event of a dispute or deadlock with
respect to filling any vacancy with respect to any STAC Member as set forth in this Section 6.6,
the dispute resolution provisions of Section 8.16 below shall apply.

                (b)     Each successor member of the STAC shall serve until the earliest of (i) his
or her death, (ii) his or her resignation pursuant to Section 6.5(b) above, (iii) his or her removal
pursuant to Section 6.5(c) above, and (iv) the termination of the Trust pursuant to Section 8.2
below.

               (c)    No successor STAC member shall be liable personally for any act or
omission of his or her predecessor STAC member. No successor STAC member shall have any
duty to investigate the acts or omissions of his or her predecessor STAC member. No STAC
member shall be required to post any bond or other form of surety or security unless otherwise
ordered by the Bankruptcy Court.

Section 6.7 Compensation and Expenses of the STAC. The members of the STAC (or their
designees, as applicable) shall not be entitled to compensation for their services but shall be
reimbursed promptly for all reasonable and documented ordinary and customary out-of-pocket
costs and expenses incurred in connection with the performance of their duties hereunder, subject
to the limitation of Section 8.16 below. The Trust shall include a description of the amounts paid
under this Section 6.7 in the Annual Report to be posted on the Trust’s Website.

Section 6.8    Procedures for Consultation with and Obtaining the Consent of the STAC.

               (a)     Consultation Process.




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                        (i)     In the event the Trustee is required to consult with the STAC
pursuant to Section 5.13 above, the Trustee shall provide the STAC with written advance notice
of the matter under consideration, to the extent practicable, and with all relevant information and
documents concerning the matter as is reasonably practicable under the circumstances. The Trustee
shall also provide the STAC with such reasonable access to the consultants and other advisors
retained by the Trust and its staff (if any) as the STAC may reasonably request during the time that
the Trustee is considering such matter, and shall also provide the STAC the opportunity, at
reasonable times and for reasonable periods of time, to discuss and comment on such matter with
the Trustee, to the extent practicable.

                        (ii)    In determining when to take definitive action on any matter subject
to the consultation procedures set forth in this Section 6.8(a), the Trustee shall take into
consideration the time required for the STAC to meet and consult as to such matter. In any event,
the Trustee shall not take definitive action on any such matter until at least [●] business days after
providing the STAC with the initial written notice that such matter is under consideration by the
Trustee, unless such time period is waived in writing by the STAC or at a meeting where the STAC
and Trustee are present, or the Trustee determines in his reasonable discretion that definitive action
is required earlier.

              (b)    Consent Process. Subject to the provisions of Section 5.14 above, the
following consent process shall apply.

                        (i)     In the event the Trustee is required to obtain the consent of the
STAC pursuant to Section 5.14 above, the Trustee shall provide the STAC with a written notice
stating that its consent is being sought, describing in detail the nature and scope of the action the
Trustee proposes to take, and explaining in detail the reasons why the Trustee desires to take such
action. The Trustee shall provide the STAC as much relevant additional information concerning
the proposed action as is requested by the STAC and as is reasonably practicable under the
circumstances. The Trustee shall also provide the STAC with such reasonable access to the Trust
consultants and other advisors retained by the Trust and its staff (if any) as the STAC may
reasonably request during the time that the Trustee is considering such action, and shall also
provide the STAC the opportunity, at reasonable times and for reasonable periods of time, to
discuss and comment on such action with the Trustee.

                       (ii)    The STAC must consider in good faith and in a timely fashion any
request for its consent by the Trustee, and must in any event advise the Trustee, in writing, of its
consent or its objection to the proposed action within [●] business days of receiving the original
request for consent from the Trustee, unless the Trustee extends the time for such response. The
STAC may not withhold its consent unreasonably. If the STAC decides to withhold its consent, it
must explain in detail its objections to the proposed action. If the STAC does not advise the
Trustee, in writing, of its consent or its objections to the action within [●] business days of
receiving notice regarding such request (or within such additional time as may be granted by the
Trustee in his or her discretion), the STAC’s consent to the proposed actions shall be deemed to
have been affirmatively granted.

                     (iii) If, after following the procedures specified in this Section 6.8(b), the
STAC continues to object to the proposed action and to withhold its consent to the proposed action,


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the Trustee and/or the STAC shall resolve their dispute pursuant to Section 8.16 below, provided
however in that event the STAC shall have the burden of proof to show the validity of the STAC’s
objection. For the avoidance of doubt, the matters described in Section 5.14(g) above shall be
determined solely in accordance with the terms of that Section 5.14(g).

                                           ARTICLE 7.
                                            THE FCR

Section 7.1 Duties. There shall be one FCR for the Trust. The initial FCR is James L. Patton,
Jr. The FCR shall serve in a fiduciary capacity on behalf of the holders of Future Abuse Claims,
representing the interests of holders of Future Abuse Claims against the Debtors for the purpose
of protecting the rights of such persons. The FCR shall not have any fiduciary duties or
responsibilities to any party other than the holders of Future Abuse Claims. Except for the duties
and obligations expressed in the Trust Documents, there shall be no other duties (including
fiduciary duties) or obligations, express or implied, at law or in equity, of the FCR. To the extent
that, at law or in equity, the FCR has duties (including fiduciary duties) and liabilities relating
thereto to the Trust, the other parties hereto, or to any Beneficiary, such duties and liabilities are
replaced by the duties and liabilities of the FCR expressly set forth in the Trust Documents.

Section 7.2    FCR Information Rights.

       The FCR shall have reasonable access to the Trust’s consultants and other advisors retained
by the Trust and its staff (if any), and information available to the Trustee, which access shall be
made available as determined by the Trustee.

Section 7.3    Term of Office.

               (a)     The FCR shall serve until the earliest of (i) his or her death, (ii) his or her
resignation pursuant to Section 7.3(b) below, (iii) his or her removal pursuant to Section 7.3(c)
below, and (iv) the termination of the Trust pursuant to Section 8.2 below.

               (b)      The FCR may resign at any time by written notice to the Trustee. Such
notice shall specify a date when such resignation shall take effect, which shall not be less than
ninety (90) days after the date such notice is given, where practicable.

                (c)    At the request of the Trustee, the FCR may be removed by the Bankruptcy
Court in the event he or she becomes unable to discharge his or her duties hereunder due to
accident, physical deterioration, mental incompetence, or for other good cause, provided the FCR
has received notice and an opportunity to be heard. Other good cause shall mean fraud, self-
dealing, intentional misrepresentation, willful misconduct, indictment for or conviction of a felony
in each case whether or not connected to the Trust or a consistent pattern of neglect and failure to
perform or to participate in performing the duties hereunder, such as a pattern of repeated non-
attendance at scheduled meetings.

Section 7.4 Appointment of Successor. In the event of the death, resignation or removal of
James L. Patton, Jr. as the initial FCR, such vacancy shall immediately be filled by a successor to
be appointed pursuant to the terms and conditions of this agreement, who shall thereafter serve as
FCR pursuant to the terms of the Trust Documents. In the event of the death, resignation, or


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removal of any successor FCR, such vacancy shall be filled with an individual nominated by the
Trustee, with the consent of the STAC. In the event the STAC does not consent to the individual
nominated by the Trustee, then the successor FCR shall be appointed by the Bankruptcy Court.
Immediately upon any successor FCR filing a vacancy as provided in this Section 7.4, all rights,
titles, duties, powers and authority of the predecessor FCR hereunder shall be vested in and
undertaken by the successor FCR without any further act. No successor FCR shall be liable
personally for any act or omission of any predecessor FCR. No predecessor FCR shall be liable
personally for any act or omission of any successor FCR. No FCR shall be required to post any
bond or other form of surety of security unless otherwise ordered by the Bankruptcy Court.

Section 7.5 FCR’s Employment of Professionals. The FCR may, but is not required to, retain
and/or consult legal counsel, accountants, appraisers, auditors, forecasters, experts, financial and
investment advisors and such other parties deemed by the FCR to be qualified as experts on matters
submitted to the FCR (the “FCR Professionals”), provided however that no FCR Professionals
may be retained to act on behalf of any individual holder of an Abuse Claim.

               (b)     The fees and expenses of the FCR Professionals shall be paid from the
Future Abuse Reserve Fund and a description of the amounts paid under this Section 7.5 (in the
aggregate with the amounts paid under Section 7.6 below) shall be described in the Annual Report
to be posted on the Trust Website.

Section 7.6    Compensation and Expenses of the FCR.

               (a)    The FCR shall receive compensation from the Trust in the form of payment
at the FCR’s normal hourly rate, as such rate may be adjusted by the FCR from time to time, for
services performed, subject to the approval of the Trustee. The Trust will promptly reimburse the
FCR for all reasonable and documented out-of-pocket costs and expenses incurred by the FCR in
connection with the performance of his or her duties hereunder.

               (b)    The compensation, out-of-pocket costs and expenses of the FCR shall be
paid from the Future Abuse Reserve Fund and a description of the amounts paid under this Section
7.6 (in the aggregate with the amounts paid under Section 7.5 above) shall be described in the
Annual Report to be posted on the Trust Website.

Section 7.7    Procedures for Consultation with and Obtaining the Consent of the FCR.

               (a)     Consultation Process.

                        (i)    In the event the Trustee is required to consult with the FCR pursuant
to Section 5.13 above, the Trustee shall provide the FCR with written advance notice of the matter
under consideration, and with all relevant information and documents concerning the matter as is
reasonably practicable under the circumstances, to the extent practicable. The Trustee shall also
provide the FCR with such reasonable access to the Trust’s consultants and other advisors retained
by the Trust and its staff (if any) as the FCR may reasonably request during the time that the
Trustee is considering such matter, and shall also provide the FCR the opportunity, at reasonable
times and for reasonable periods of time, to discuss and comment on such matter with the Trustee,
to the extent practicable.



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                       (ii)    In determining when to take definitive action on any matter subject
to the consultation process set forth in this Section 7.7(a), the Trustee shall take into consideration
the time required for the FCR, if he or she so wishes, to engage and consult with his or her own
independent advisors as to such matter. In any event, the Trustee shall not take definitive action
on any such matter until at least [●] business days after providing the FCR with the initial written
notice that such matter is under consideration by the Trustee, unless such period is waived in
writing by the FCR or at a meeting where the FCR and Trustee are present or the Trustee
determines in his reasonable discretion that definitive action is required earlier.

               (b)     Consent Process.

                        (i)    In the event the Trustee is required to obtain the consent of the FCR
pursuant to Section 5.14 above, the Trustee shall provide the FCR with a written notice stating that
his or her consent is being sought, describing in detail the nature and scope of the action the Trustee
proposes to take, and explaining in detail the reasons why the Trustee desires to take such action,
to the extent practicable. The Trustee shall provide the FCR as much relevant additional
information concerning the proposed action as is requested by the FCR and as is reasonably
practicable under the circumstances. The Trustee shall also provide the FCR with such reasonable
access to the Trust’s consultants and other advisors retained by the Trust and its staff (if any) as
the FCR may reasonably request during the time that the Trustee is considering such action, and
shall also provide the FCR the opportunity, at reasonable times and for reasonable periods of time,
to discuss and comment on such action with the Trustee, to the extent practicable.

                        (ii)    The FCR must consider in good faith and in a timely fashion any
request for his or her consent by the Trustee, and must in any event advise the Trustee, in writing,
of his or her consent or objection to the proposed action within [●] business days of receiving the
original request for consent from the Trustee, unless the Trustee extends the time for such response.
The FCR may not withhold his or her consent unreasonably. If the FCR decides to withhold
consent, he or she must explain in detail his or her objections to the proposed action. If the FCR
does not advise the Trustee, in writing, of his or her consent or objection to the proposed action
within [●] business days of receiving the notice from the Trustee regarding such request (or within
such additional time as may be granted by the Trustee in his or her discretion), the FCR’s consent
shall be deemed to have been affirmatively granted.

                        (iii) If, after following, the procedures specified in this Section 7.7(b),
the FCR continues to object to the proposed action and to withhold his or her consent to the
proposed action, the Trustee and/or the FCR shall resolve their dispute pursuant to Section 8.16
below, provided however in that event the FCR shall have the burden of proof to show the validity
of the FCR’s objection. For the avoidance of doubt, notwithstanding the foregoing provisions of
this Section 7.7(b), in the event any matter has been referred to the Special Reviewer pursuant to
Sections 6.4(a) or (b) above, then the final decision of the Special Reviewer shall be final and
binding on all parties, without regard to any consent of the FCR or lack thereof.




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                                        ARTICLE 8.
                                    GENERAL PROVISIONS

Section 8.1 Irrevocability. To the fullest extent permitted by applicable law, the Trust is
irrevocable. The Settlor shall not (i) retain any ownership or residual interest whatsoever with
respect to any Trust Assets, including, but not limited to, the funds transferred to fund the Trust,
and (ii) have any rights or role with respect to the management or operation of the Trust, or the
Trustee’s administration of the Trust.

Section 8.2    Term; Termination.

                (a)      The term for which the Trust is to exist shall commence on the date of the
filing of the Certificate of Trust and shall terminate pursuant to the following provisions.

               (b)     The Trust shall automatically dissolve as soon as practicable but no later
than ninety (90) days after the date on which the Bankruptcy Court approves the dissolution of the
Trust because (i) all reasonably expected assets have been collected by the Trust, (ii) all
distributions have been made to the extent set forth in the TDP, (iii) necessary arrangements and
reserves have been made to discharge all anticipated remaining Trust obligations and Trust
Operating Expenses in a manner consistent with the Trust Documents, and (iv) a final accounting
has been filed and approved by the Bankruptcy Court (the “Dissolution Date”).

                (c)    Following the dissolution and distribution of the Trust Assets, the Trust
shall terminate, and the Trustee and the Delaware Trustee (acting solely at the written direction of
the Trustee) shall execute and cause a Certificate of Cancellation of the Certificate of Trust to be
filed in accordance with the Act. Notwithstanding anything to the contrary contained in this Trust
Agreement, the existence of the Trust as a separate legal entity shall continue until the filing of
such Certificate of Cancellation.

               (d)      After termination of the Trust and solely for the purpose of liquidating and
winding up its affairs, the Trustee shall continue to act as Trustee until its duties hereunder have
been fully performed. The Trustee shall retain the books, records, documents and files that shall
have been delivered to or created by the Trustee until distribution of all the Trust Assets. For
purposes of this provision, Trust Assets will be deemed distributed when the total amount
remaining in the Trust is less than $50,000 and no further actions are pending or have yet to be
brought. At the Trustee’s discretion, all of such books, records, documents and files may be
destroyed at any time following the later of: (i) the first anniversary of the final distribution of the
Trust Assets, and (ii) the date until which the Trustee is required by applicable law to retain such
books, records, documents and files; provided however, that, notwithstanding the foregoing, the
Trustee shall not destroy or discard any books, records, documents or files relating to the Trust
without giving Reorganized BSA the opportunity to take control of such books, records,
documents and/or files.

               (e)     Upon termination of the Trust and accomplishment of all activities
described in this agreement, the Trustee and its professionals shall be discharged and exculpated
from liability (except for acts or omissions resulting from the recklessness, gross negligence,
willful misconduct, knowing and material violation of law or fraud of the Trustee or his agents or



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representatives). The Trustee may, at the expense of the Trust, seek an Order of the Bankruptcy
Court confirming the discharges, exculpations and exoneration referenced in the preceding
sentence.

Section 8.3     Outgoing Trustee Obligations.

         In the event of the resignation or removal of the Trustee, the resigning or removed Trustee
shall:

               (a)     execute and deliver by the effective date of resignation or removal such
documents, instruments, records and other writings as may be reasonably requested by the
successor Trustee to effect such resignation or removal and the conveyance of the Trust Assets
then held by the resigning or removed Trustee to the successor Trustee;

               (b)     deliver to the successor Trustee all documents, instruments, records and
other writings relating to the Trust Assets as may be in the possession or under the control of the
resigning or removed Trustee;

             (c)     otherwise assist and cooperate in effecting the assumption of the resigning
or removed Trustee’s obligations and functions by the successor Trustee; and

               (d)     irrevocably appoint the successor Trustee (and any interim trustee) as its
attorney-in-fact and agent with full power of substitution for it and its name, place and stead to do
any and all acts that such resigning or removed Trustee is obligated to perform under this Trust
Agreement. Such appointment shall not be affected by the subsequent disability or incompetence
of the Trustee making such appointment. The Bankruptcy Court also may enter such orders as are
necessary to effect the termination of the appointment of the Trustee and the appointment of the
successor Trustee.

Section 8.4     Taxes.

                (a)    The Trust is intended to qualify as a “qualified settlement fund” within the
meaning of Section 1.468B-1 et seq. of the Treasury Regulations promulgated under Section 468B
of the IRC, as amended (the “QSF Regulations”), with respect to which Reorganized BSA shall
timely make an election to treat the Trust as a “grantor trust” for U.S. federal income tax purposes
and, to the extent permitted under applicable law, for state and local income tax purposes.

                (b)      The Trustee shall be the “administrator” of the Trust within the meaning of
Section 1.468B-2(k)(3) of the Treasury Regulations and, in such capacity, such administrator shall
(i) prepare and timely file, or cause to be prepared and timely filed, such income tax and other tax
returns and statements required to be filed and shall timely pay all taxes required to be paid by the
Trust out of the Trust Assets, which assets may be sold by the Trustee to the extent necessary to
satisfy tax liabilities of the Trust, (ii) comply with all applicable tax reporting and withholding
obligations, (iii) satisfy all requirements necessary to qualify and maintain qualification of Trust
as a qualified settlement fund and a grantor trust, within the meaning of the QSF Regulations, and
(iv) take no action that could cause the Trust to fail to qualify as a qualified settlement fund and a
grantor trust within the meaning of the QSF Regulations. The Trustee may request an expedited



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determination under section 505(b) of the Bankruptcy Code for all tax returns filed by or on behalf
of the Trust for all taxable periods through the Dissolution Date.

                (c)    As soon as reasonably practicable after the Effective Date, but in no event
later than one hundred twenty (120) days thereafter, the Trust shall make a good faith valuation of
the Aggregate Settlement Consideration and such valuation shall be used consistently by all parties
for all U.S. federal income tax purposes. In connection with the preparation of the valuation
contemplated hereby, the Trust shall be entitled to retain such professionals and advisors as the
Trustee shall determine to be appropriate or necessary, and the Trustee shall take such other actions
in connection therewith as he or she determines to be appropriate or necessary.

                 (d)     The Trustee may withhold and pay to the appropriate tax authority all
amounts required to be withheld pursuant to the IRC or any provision of any foreign, state or local
tax law with respect to any payment or distribution. All such amounts withheld and paid to the
appropriate tax authority (or placed in escrow pending resolution of the need to withhold) shall be
treated as amounts distributed or paid for all purposes of this Trust Agreement. The Trustee shall
be authorized to collect such tax information (including tax identification numbers) as in his or her
sole discretion is deemed necessary to effectuate the Plan, the Confirmation Order and this Trust
Agreement. In order to receive distributions, all Beneficiaries shall be required to provide tax
information to the Trustee to the extent the Trustee deems appropriate in the manner and in
accordance with the procedures from time to time established by the Trustee for these purposes.
The Trustee may refuse to make a payment or distribution unless or until such information is
delivered; provided however, that, upon the delivery of such information, the Trustee shall make
such delayed payment or distribution, without interest. Notwithstanding the foregoing, if a person
fails to furnish any tax information reasonably requested by the Trustee before the date that is three
hundred sixty-five (365) calendar days after the request is made, the amount of such distribution
shall irrevocably revert to the Trust. In no event shall any escheat to any federal, state or local
government or any other entity.

                (e)     The Trust agrees to indemnify, defend and hold Reorganized BSA and its
affiliates harmless on an after-tax basis from and against: (i) all taxes, losses, claims and expenses
imposed on, asserted against or attributable to the properties, income or operations of Reorganized
BSA or its affiliates or any Taxes for which Reorganized BSA or its affiliates are otherwise liable,
in each case resulting from, arising out of, or incurred with respect to, any claims that may be
asserted by any party based on, attributable to, or resulting from the election to treat the Trust as a
“grantor trust” within the meaning of the QSF Regulations pursuant to Section 8.4(a).

Section 8.5    Modification.

                (a)    Material modifications to this Trust Agreement, including Exhibits hereto,
may be made only with the consent of the Trustee, the majority of the STAC, and the FCR (which
consent in each case shall not be unreasonably withheld, conditioned or delayed) and subject to
the approval of the Bankruptcy Court; provided however, that the Trustee may amend this Trust
Agreement from time to time without the consent, approval or other authorization of, but with
notice to, the Bankruptcy Court, to make minor corrective or clarifying amendments necessary to
enable the Trustee to effectuate the provisions of this Trust Agreement, provided such minor
corrective or clarifying amendments shall not take effect until ten (10) days after notice to the


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Bankruptcy Court. Except as permitted pursuant to the preceding sentence, the Trustee shall not
modify this Trust Agreement in any manner that is inconsistent with the Plan or the Confirmation
Order without the approval of the Bankruptcy Court. The Trustee shall file notice of any
modification of this Trust Agreement with the Bankruptcy Court and post such notice on the Trust
Website.

               (b)    Notwithstanding anything set forth in this Trust Agreement to the contrary,
none of this Trust Agreement, nor any document related thereto shall be modified or amended in
any way that could jeopardize or impair (i) the applicability of section 105 of the Bankruptcy Code
to the Plan and the Confirmation Order, (ii) the efficacy or enforceability of the Channeling
Injunction or any other injunction or release issued or granted in connection with the Plan and
Confirmation Order, (iii) the Trust’s qualified settlement fund status and grantor trust status under
the QSF Regulations, or (iv) the rights, duties, liabilities and obligations of the Delaware Trustee
without the written consent of the Delaware Trustee.

Section 8.6 Communications. The Trustee shall establish and maintain the Trust Website and
post on the Trust Website the information required by this Trust Agreement, and such other
information as the Trustee determines.

Section 8.7 Severability. If any provision of this Trust Agreement or application thereof to any
person or circumstance shall be finally determined by a court of competent jurisdiction to be
invalid or unenforceable to any extent, the remainder of this Trust Agreement, or the application
of such provisions to persons or circumstances other than those as to which it is held invalid or
unenforceable, shall not be affected thereby, and such provision of this Trust Agreement shall be
valid and enforced to the fullest extent permitted by law.

Section 8.8 Notices. Any notices or other communications required or permitted hereunder to
the following parties shall be in writing and delivered at the addresses designated below, or sent
by email or facsimile pursuant to the instructions listed below, or mailed by overnight courier,
addressed as follows, or to such other address or addresses as may hereafter be furnished in writing
to each of the other parties listed below in compliance with the terms hereof.

       To the Trustee:

       with a copy (which shall not constitute notice) to:



       To the Delaware Trustee:

       with a copy (which shall not constitute notice) to:



       To the FCR:

       with a copy (which shall not constitute notice) to:



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       To the STAC:

       with a copy (which shall not constitute notice) to:



       To Reorganized BSA:

       with a copy (which shall not constitute notice) to:

        All such notices and communications, if mailed, shall be effective when physically
delivered at the designated addresses, or if electronically transmitted, shall be effective upon
transmission.

Section 8.9 Successors and Assigns. The provisions of this Trust Agreement shall be binding
upon and inure to the benefit of the Trust, the Trustee, the STAC, the FCR, the Delaware Trustee
and their respective successors and assigns, except that none of such persons may assign or
otherwise transfer any of its, or their, rights or obligations under this Trust Agreement except, in
the case of the Trust and the Trustee, as contemplated by Section 2.1 and Section 5.2 above, and
in the case of the Delaware Trustee, as contemplated by Section 5.11 above.

Section 8.10 Limitation on Transferability; Beneficiaries’ Interests. The Beneficiaries’ interests
in the Trust shall not (a) be assigned, conveyed, hypothecated, pledged or otherwise transferred,
voluntarily or involuntarily, directly or indirectly and any purported assignment, conveyance,
pledge or transfer shall be null and void ab initio; (b) be evidenced by a certificate or other
instrument; (c) possess any voting rights; (d) give rise to any right or rights to participate in the
management or administration of the Trust or the Trust Assets; (e) entitle the holders thereof to
seek the removal or replacement of any Trustee, whether by petition to the Bankruptcy Court or
any other court or otherwise; (f) entitle the holders thereof to receive any interest on distributions;
and (g) give rise to any rights to seek a partition or division of the Trust Assets. In accordance with
the Act, the Beneficiaries shall have no interest of any kind in any of the Trust Assets; rather, the
Beneficiaries shall have an undivided beneficial interest only in cash assets of but only to the extent
such cash assets are declared by the Trustee to be distributable as distributions in accordance with
the Trust Documents. For the avoidance of doubt, the Beneficiaries shall have only such rights as
expressly set forth in the Trust Documents.

Section 8.11 Exemption from Registration.

        The Parties hereto intend that the rights of the Beneficiaries arising under this Trust
Agreement shall not be “securities” under applicable laws, but none of the Parties hereto represent
or warrant that such rights shall not be securities or shall be entitled to exemption from registration
under applicable securities laws. If it should be determined that any such interests constitute
“securities,” the Parties hereto intend that the exemption provisions of section 1145 of the
Bankruptcy Code will be satisfied and the offer and sale under the Plan of the beneficial interests
in the Trust will be exempt from registration under the Securities Act, all rules and regulations
promulgated thereunder, and all applicable state and local securities laws and regulations.


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Section 8.12 Entire Agreement; No Waiver.

        The entire agreement of the parties relating to the subject matter of this Trust Agreement
is contained herein and in the documents referred to herein, and this Trust Agreement and such
documents supersede any prior oral or written agreements concerning the subject matter hereof.
No failure to exercise or delay in exercising any right, power or privilege hereunder shall operate
as a waiver thereof, nor shall any single or partial exercise of any right, power or privilege
hereunder preclude any further exercise thereof or of any other right, power or privilege. The rights
and remedies herein provided are cumulative and are not exclusive of rights under law or in equity.

Section 8.13 Headings. The headings used in this Trust Agreement are inserted for convenience
only and do not constitute a portion of this Trust Agreement, nor in any manner affect the
construction of the provisions of this Trust Agreement.

Section 8.14 Governing Law.

         This Trust Agreement shall be governed by, and construed in accordance with, the laws of
the State of Delaware, without regard to the conflicts of law provisions thereof which would
purport to apply the law of any other jurisdiction. For the avoidance of doubt, none of the following
provisions of Delaware law shall apply to the extent inconsistent with the terms of the Trust
Documents: (a) the filing with any court or governmental body or agency of trustee accounts or
schedules of trustee fees and charges, (b) affirmative requirements to post bonds for trustees,
officers, agents or employees of a trust, (c) the necessity for obtaining court or other governmental
approval concerning the acquisition, holding or disposition of property, (d) fees or other sums
payable to trustees, officers, agents or employees of a trust, (e) the allocation of receipts and
expenditures to income or principal, (f) restrictions or limitations on the permissible nature,
amount or concentration of trust investments or requirements relating to the titling, storage or other
manner of holding of trust assets, (g) the existence of rights or interests (beneficial or otherwise)
in trust assets, (h) the ability of beneficial owners or other persons to terminate or dissolve a trust,
and (i) the establishment of fiduciary or other standards or responsibilities or limitations on the
acts or powers of trustees or beneficial owners that are inconsistent with the limitations on liability
or authorities and powers of the Trustee, the Delaware Trustee, the STAC, or the FCR set forth or
referenced in this Trust Agreement. 12 Del. C. § 3540 shall not apply to the Trust.

Section 8.15 Settlor’s Representative.

        Pursuant to the Document Agreement (as defined in the Plan), Reorganized BSA is hereby
irrevocably designated as the “Settlor’s Representative” and is hereby authorized to take any
action consistent with Reorganized BSA’s obligations under the Document Agreement that is
reasonably requested of the Settlor by the Trustee. Pursuant to the Document Agreement, the
Settlor’s Representative shall cooperate with the Trustee and the Trust’s officers, employees and
professionals in connection with the Trust’s administration of the Aggregate Settlement
Consideration, including, but not limited to, providing the Trustee or his or her officers, employees
and professionals, upon written request (including e-mail), reasonable access to information
related to the Aggregate Settlement Consideration, including, without limitation, delivery of
documents in the possession of, or witnesses under the control of, Reorganized BSA [and others]




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to the extent that the Trustee could obtain the same by subpoena, notice of deposition or other
permissible discovery request, without the need for a formal discovery request.

Section 8.16 Dispute Resolution.

               (a)     Unless otherwise expressly provided for herein, the dispute resolution
procedures of this Section 8.16 shall be the exclusive mechanism to resolve any dispute between
or among the parties hereto, and the Beneficiaries hereof, arising under or with respect to this Trust
Agreement.

                 (b)    Informal Dispute Resolution. Any dispute under this Trust Agreement
shall first be the subject of informal negotiations. The dispute shall be considered to have arisen
when a disputing party sends to the counterparty or counterparties a written notice of dispute
(“Notice of Dispute”). Such Notice of Dispute shall state clearly the matter in dispute. The period
of informal negotiations shall not exceed thirty (30) days from the date the Notice of Dispute is
received by the counterparty or counterparties, unless that period is modified by written agreement
of the disputing party and counterparty or counterparties. If the disputing party and the
counterparty or counterparties cannot resolve the dispute by informal negotiations, then the
disputing party may invoke the formal dispute resolution procedures as set forth below.

                (c)     Formal Dispute Resolution. The disputing party shall invoke formal
dispute resolution procedures, within the time period provided in the preceding subparagraph, by
serving on the counterparty or counterparties a written statement of position regarding the matter
in dispute (“Statement of Position”). The Statement of Position shall include, but need not be
limited to, any factual data, analysis or opinion supporting the disputing party’s position and any
supporting documentation and legal authorities relied upon by the disputing party. Each
counterparty shall serve its Statement of Position within thirty (30) days of receipt of the disputing
party’s Statement of Position, which shall also include, but need not be limited to, any factual data,
analysis or opinion supporting the counterparty’s position and any supporting documentation and
legal authorities relied upon by the counterparty. If the disputing party and the counterparty or
counterparties are unable to consensually resolve the dispute within thirty (30) days after the last
of all counterparties have served its Statement of Position on the disputing party, the disputing
party may file with the Bankruptcy Court a motion for judicial review of the dispute in accordance
with Section 8.16(d) below. In the case of any dispute pursuant to this Section 8.16(c), if the
dispute arose pursuant to the consent provision set forth in Section 5.14, the burden of proof shall
be on the party or parties who withheld consent to show by a preponderance of the evidence that
consent was not unreasonably withheld.

                (d)     Judicial Review. The disputing party may seek judicial review of the
dispute by filing with the Bankruptcy Court (or, if the Bankruptcy Court shall not have jurisdiction
over any dispute, such court as has jurisdiction under Section 1.7 above) and serving on the
counterparty or counterparties and the Trustee, a motion requesting judicial resolution of the
dispute. The motion must be filed within forty-five (45) days of receipt of the last counterparty’s
Statement of Position pursuant to the preceding subparagraph. The motion shall contain a written
statement of the disputing party’s position on the matter in dispute, including any supporting
factual data, analysis, opinion, documentation and legal authorities, and shall set forth the relief
requested and any schedule within which the dispute must be resolved for orderly administration


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of the Trust. Each counterparty shall respond to the motion within the time period allowed by the
rules the court, and the disputing party may file a reply memorandum, to the extent permitted by
the rules of the court. In the case of any dispute pursuant to this Section 8.16(d), if the dispute
arose pursuant to the consent provision set forth in Section 5.14, the burden of proof shall be on
the party or parties who withheld consent to show by a preponderance of the evidence that consent
was not unreasonably withheld. Each party shall bear its own costs and expenses of any judicial
review under this Section 8.16(d), except that the Trust shall bear the reasonable costs and
expenses of the STAC and the FCR in connection with any dispute described in the immediately
preceding sentence.

Section 8.17 Independent Legal and Tax Counsel.

       All parties to this Trust Agreement have been represented by counsel and advisors of their
own selection in this matter. Consequently, the parties agree that the language in all parts of this
Trust Agreement shall in all cases be construed as a whole according to its fair meaning and shall
not be construed either strictly for or against any party. It is specifically acknowledged and
understood that this Trust Agreement has not been submitted to, nor reviewed or approved by, the
IRS or the taxing authorities of any state or territory of the United States of America.

Section 8.18 Waiver of Jury Trial.

        Each party hereto and each Beneficiary hereof hereby irrevocably waives, to the fullest
extent permitted by applicable law, any and all right to a trial by jury in any legal proceeding
arising out of or relating to this Trust Agreement.

Section 8.19 Effectiveness.

        This Trust Agreement shall not become effective until it has been executed and delivered
by all the parties hereto.

Section 8.20 Counterpart Signatures.

        This Trust Agreement may be executed in any number of counterparts, each of which shall
constitute an original, but such counterparts shall together constitute but one and the same
instrument. A signed copy of this Trust Agreement or any amendment hereto delivered by
facsimile, email or other means of Electronic Transmission, shall be treated in all manner and
respects as an original agreement or instrument and shall be considered to have the same binding
legal effect as if it were the original signed version thereof delivered in person.

                              [SIGNATURE PAGES TO FOLLOW]




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        IN WITNESS WHEREOF, the parties have executed this Trust Agreement as of the
date first set forth above to be effective as of the Effective Date.

                                                                             [SETTLOR]


                                                                             [TRUSTEE]


                                                               [DELAWARE TRUSTEE]


                                                                     [STAC MEMBERS]


                                                                                   [FCR]




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                     EXHIBIT 1
        AGGREGATE SETTLEMENT CONSIDERATION
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                          EXHIBIT 2
                    CERTIFICATE OF TRUST
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                      EXHIBIT 3
  TRUST DISTRIBUTION PROCEDURES FOR ABUSE CLAIMS
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                      EXHIBIT 4
                INVESTMENT GUIDELINES
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                         EXHIBIT C

       CONTRIBUTING CHARTERED ORGANIZATION
             SETTLEMENT CONTRIBUTION
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The Contributing Chartered Organization Settlement Contribution is comprised of the following
monetary contributions, which shall be contributed to the Settlement Trust on the terms set forth
in the applicable settlement agreements attached to the Plan as Exhibit J.


 TCJC                                              $250,000,000
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                         EXHIBIT D

       CONTRIBUTING CHARTERED ORGANIZATIONS
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1.   The Church of Jesus Christ of Latter-day Saints, a Utah corporation sole, including any
     affiliates or personnel.
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                         EXHIBIT E

             FOUNDATION LOAN TERM SHEET
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             National Boy Scouts of America Foundation Loan to Boy Scouts of America
                                Summary of Terms and Conditions

Lender                   National Boy Scouts of America Foundation (the “Lender”)

Borrower                 Boy Scouts of America (the “Borrower”)

Guarantor                Arrow WV, Inc. (the “Guarantor”)

Facility                 $42.8 million term loan (the “Loan”), which shall be borrowed in a single
                         draw on the effective date of the Plan (the “Effective Date”).
                         As used herein, the “Plan” means the Chapter 11 Plan of Reorganization for
                         Boy Scouts of America and Delaware BSA, LLC [Dkt. No. 20], as may be
                         amended on terms acceptable to Lender.

Term                     10 years commencing on the Effective Date.

Interest Rate &          6.5%, subject to default interest of 2.0% on overdue amounts.
Interest Payments
                         Interest shall be payable on a quarterly basis, with the first payment due at
                         the end of the first fiscal quarter ended after the Effective Date. All
                         outstanding interest shall be due and payable at maturity of the Loan.

Principal Payments       Principal payments shall be based on 10% per annum amortization. Such
                         payments shall be made in equal quarterly installments for the duration of the
                         Loan with the first payment due at the end of the first fiscal quarter ended
                         after the Effective Date. All outstanding principal shall be due and payable
                         at maturity of the Loan.

Prepayments              Voluntary prepayments permitted without penalty.

Security                 Second lien pledge of the Arrow Intercompany Note and proceeds received
                         in respect thereof.
                         As used herein, the “Arrow Intercompany Note” means that certain
                         Amended and Restated Promissory Note dated as of March 21, 2019 in the
                         original principal amount of $350,000,000, executed by the Guarantor and
                         payable to the Borrower.

Use of Proceeds          To fund working capital and general corporate purposes of the Borrower;
                         provided that, for the avoidance of doubt, proceeds of the Loan shall not be
                         used for Unauthorized Purposes.
                         As used herein, “Unauthorized Purposes” includes, without limitation,
                         payments to any creditors’ trust pursuant to the terms of the confirmed Plan,
                         any direct or indirect payments to tort claimants, and any payments or
                         transactions that would be considered “self-dealing” under the Internal
                         Revenue Code or could otherwise give rise to excise tax.

Representations and      Usual and customary for loans of this type.
Warranties
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Affirmative and        Usual and customary for loans of this type, including, without limitation,
Negative Covenants     (a) prohibitions on actions that could be construed as self-dealing, and
                       (b) extension of the maturity of the Arrow Intercompany Note from March
                       31, 2029 to a date that is later than the maturity date of the Loan.

Financial Covenants    Usual and customary for loans of this type with customary cushions.

Reporting              Usual and customary for loans of this type.
Requirements

Events of Default      Usual and customary for loans of this type, including cross-acceleration
                       solely to the JPMorgan Bank, N.A. credit facilities in existence on the
                       Effective Date that are senior by way of contract to the Loan, as such credit
                       facilities may be amended from time to time.

Remedies               Usual and customary for loans of this type.

Assignment             The Borrower cannot assign the Loan without the consent of the Lender.
                       The Lender can assign the Loan at any time with the Borrower’s consent,
                       provided that if the Borrower is in payment or bankruptcy default under the
                       Loan, then the Lender can assign the Loan without the consent of the
                       Borrower.

Conditions Precedent   Usual and customary for loans of this type, including, without limitation:
to the Loan
                       (a) the execution and delivery of loan documentation reasonably satisfactory
                       to the Borrower and the Lender and consistent with this Summary of Terms
                       and Conditions, containing conditions to borrowing, repayment terms,
                       representations, warranties, covenants, and events of default usual and
                       customary for this type of loan;
                       (b) the execution and delivery of an intercreditor and subordination
                       agreement reasonably satisfactory to the Lender, between the Borrower, the
                       Lender, and JPMorgan Chase Bank, N.A.;
                       (c) JPMorgan Chase Bank, N.A. shall have consented to the Borrower’s
                       pledge to Lender of a second lien security interest in the Arrow Intercompany
                       Note and proceeds received in respect thereof;
                       (d) the satisfactory completion of the Lender’s reasonable due diligence and
                       the obtaining of any approvals or consents deemed necessary or appropriate
                       upon the advice of counsel to the Lender;
                       (e) entry of a confirmation order on terms reasonably acceptable to the
                       Lender; and
                       (f) the effectiveness of the Plan containing terms acceptable to the Borrower
                       and the Lender.


Expenses and           Usual and customary for loans of this type, including, without limitation,
Indemnification        indemnification by the Borrower of the Lender of any losses suffered by the



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                      Lender in the event that it is ultimately determined that the Borrower used the
                      loan proceeds for Unauthorized Purposes.

Governing Law         Texas.

Release               The release by the Borrower of the Lender with respect to any and all claims,
                      and inclusion of the Lender within all Plan releases, including as a “Released
                      Party” and “Protected Party” under the Plan.

Payment of Fees and   The Borrower will pay the fees and expenses, including reasonable attorneys’
Expenses              fees, of the Lender associated with the preparation, execution, administration,
                      and enforcement of the Loan and any subsequent amendment or waiver with
                      respect thereto. The Lender shall not be required to file an application for
                      payment of fees and expenses with the bankruptcy court.




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                         EXHIBIT F

      LOCAL COUNCIL SETTLEMENT CONTRIBUTION
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 I.   Local Council Settlement Contribution – General

In addition to the other components of the Local Council Settlement Contribution specified in
the Plan,1 the Local Councils shall contribute the following to the Settlement Trust on the
Effective Date:

         (1)      at least $300 million of Cash to be paid on the Effective Date (the “Cash
                  Contribution”);

         (2)      Unrestricted properties2 with a combined Appraised Value (as defined below) of
                  $200 million (the “Property Contribution”), which shall be reduced on a
                  dollar-for-dollar basis by any Cash Contribution in excess of $300 million,
                  provided that the methodology and procedures related to property selection and
                  acceptance are provided for below; and

         (3)      the DST Note, in the principal amount of $100 million, issued by the DST on or
                  as soon as practicable after the Effective Date.3 The principal terms of the DST
                  Note are set forth in the DST Note Mechanics described below.

A listing of each Local Council’s total expected contribution is included in the Disclosure
Statement, including a specific break-down between the (i) Cash Contribution and (ii) Property
Contribution. Any actual or anticipated changes in contributions for any Local Council will be
set forth in the Plan Supplement. Notwithstanding any change in the Cash Contribution or
Property Contribution for any Local Council, the aggregate amount of the Cash Contribution and
the Property Contribution shall not be less than $500 million in any circumstance (and the Cash
Contribution shall not be less than $300 million in any circumstance).

II.   Property Contribution

The Property Contribution shall be structured as follows: The relevant Local Council shall agree
to (a) retain title to the property (and pay insurance, property taxes, other associated ownership
costs and any yet unremoved debt, all on a current basis), subject to, at the election, cost, and
expense of the Settlement Trust, a mortgage in favor of the Settlement Trust, (b) post (and keep
continuously posted unless otherwise agreed by the Settlement Trust) the property for sale within
thirty days following the Effective Date with a qualified real estate broker that will use standard
and customary marketing practices, (c) present any written sale offer to the Settlement Trust for
approval, (d) present to the Settlement Trust for its review and approval all final proposed terms


1
  All terms that are capitalized but not otherwise defined on this Exhibit F have the meanings ascribed to such terms
in the Plan.
2
 “Unrestricted” properties are defined as those properties not included in the BSA-defined Restriction Tiers 1 – 2
(Tier 1: Property limited to Boy Scout use only – any conveyance causes reversion or transfer of property to 3rd
party. Tier 2: Property limited to Boy Scout use only – no reversionary clause).
3
  The DST may be any other type of entity that ensures the DST Note is balance-sheet neutral as to the BSA and
Local Councils, as determined by the BSA in consultation with the Ad Hoc Committee, and, in such event, each
reference in the Plan, including this Exhibit F, to DST shall be deemed a reference to the actual entity that issues the
DST Note.
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of any sale and purchase offers (including price, timing and other terms) (“Proposed Final
Terms”); provided that if any Proposed Final Terms would impose additional costs on the Local
Council and the Settlement Trust accepts such Proposed Final Terms, at the Local Council’s
option any such additional costs shall be deducted from the proceeds or paid by the Settlement
Trust, and not by the Local Council,4 (e) remit the proceeds of the sale to the Settlement Trust at
closing net of posting/listing/marketing fees, escrow fees, sales commissions, and other typical
costs of sale.5 The Settlement Trust may review the marketing and sales efforts undertaken by
the Local Council and request that the Local Council make changes to such marketing and sales
efforts as are appropriate and lawful; provided that any costs associated with such changes will
be paid, at the option of the Local Council, by the Settlement Trust or out of the proceeds of any
sale. If the Settlement Trust is unsatisfied with the sales and marketing effort, the Settlement
Trust shall have the right to require the Local Council to promptly transfer the property to the
Settlement Trust by quitclaim deed. If there is a shortfall or surplus of net proceeds as compared
to Appraised Value, the Settlement Trust shall bear the risk of the shortfall and keep the surplus.
If the property is not sold on or before the third anniversary of the Effective Date, the Local
Council and the Settlement Trust each shall have the right to require the prompt transfer of the
property to the Settlement Trust by quitclaim deed. If the Local Council receives a cash offer for
the property the value of which is at least equal to its Appraised Value, the Settlement Trust shall
accept the offer if no superior offer is made within thirty days (or, if a lesser time is specified in
an offer received, then such lesser time) or accept a quitclaim deed for the property.

The “Appraised Value” shall be determined as follows:

         (A)      In the case of the contribution of an entire Camp, Service Center, Scout Shop or
                  other property that does not have a restriction in Restriction Tiers 3-56 (“Lower
                  Tier Restriction”), as reasonably determined by the Debtors’ property review
                  counsel and specified on Exhibit 2 to Exhibit B to the Disclosure Statement,
                  which summarizes the restricted appraisal reports or broker opinions of value
                  conducted by JLL Valuation & Advisory Services, LLC (“JLL”), CBRE, Inc.
                  (“CBRE”) or Keen-Summit Capital Partners LLC in connection the BSA’s
                  chapter 11 case prior to June 10, 2021 (the “Specified Appraisals”): (1) the
                  appraised amount set forth in any such Specified Appraisal (using the average of
                  high and low values of such Specified Appraisal, if applicable) or (2) if the
                  applicable Local Council elects a Qualified On-Site Appraisal, the amount
                  established by the average of (1) and the appraised amount in such Qualified



4
   By way of non-exclusive example, if the Proposed Final Terms requires the Local Council to retrofit a water
system and the Settlement Trust accepts the Proposed Final Terms, the costs of the retrofit will, at the Local
Council’s option be paid (or reimbursed) out of the sale proceeds or paid by the Settlement Trust.
5
  For the avoidance of doubt, the proceeds of the sale shall be first applied to any debt or liens remaining on the
property, which debt shall have already been reflected in the Appraised Value of the property as described below.
6
  A Tier 3-5 Restriction shall mean any of the following: (1) Tier 3: property limited to Boy Scout or similar use or
recreational area; (2) Tier 4: Property subject to conservation easement or other grantor or donor restrictions on
development; (3) Tier 5: Property subject to leases to 3rd party (e.g., office space, cell tower, oil and gas), zoning
restrictions, easements or other similar encumbrances.


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               On-Site Appraisal (using, for the Qualified On-Site Appraisal, the average of high
               and low values, if applicable);

       (B)     In the case of the contribution of an entire Camp, Service Center, Scout Shop or
               other property that has a Lower Tier Restriction: (a) the appraised amount set
               forth in a Specified Appraisal if such Specified Appraisal accounts for such
               Lower Tier Restriction or (b) if the Specified Appraisal does not account for such
               Lower Tier Restriction, the amount established by a Qualified On-Site Appraisal
               (using the average of high and low values, if applicable) of the property taking
               into account the Lower Tier Restriction.

       (C)     In the case of a contribution of only a portion of a particular Camp, Service
               Center, Scout Shop or other property to the Settlement Trust, whether or not
               subject to a Lower Tier Restriction, the amount established by a Qualified On-Site
               Appraisal (using the average of high and low values, if applicable) of the specific
               parcel and acreage proposed to be contributed, taking into account any Lower Tier
               Restriction;

               provided, that, in the case of (A), (B), or (C) the Appraised Value shall be net of
               any debt encumbering the property and that no new debts shall be placed on any
               property subject to the Property Contribution except any mortgages in favor of the
               Settlement Trust.

               The applicable Local Councils and the BSA shall engage in reasonable good faith
               efforts to ensure all properties subject to the Property Contribution accurately
               reflect all restrictions that are known to (or should be reasonably known to) exist
               in any appraisal that is used to determine a property’s Appraised Value.

               In the event a restriction that was not considered by any appraisal used to
               determine Appraised Value is subsequently determined to exist, such appraisal
               shall not be eligible to determine Appraised Value, and, to the extent necessary,
               within a reasonable period of time, new appraisals shall be conducted and/or the
               relevant Local Council shall contribute additional unrestricted properties or cash
               to the Settlement Trust to the extent necessary to ensure the total Appraised Value
               of all property or properties contributed by such Local Council is equal to or
               exceeds the Appraised Value of property that such Local Council had originally
               agreed to contribute.

A “Qualified On-Site Appraisal” shall mean an appraisal conducted by a licensed real property
appraiser from the geographic region where the property is located and conducted in compliance
with the Uniform Standards of Professional Appraisal Practice; provided that the Coalition (or, if
the appraisal is commenced after the Effective Date, the Settlement Trust) shall have five (5)
business days to object to any licensed real property appraiser selected by the Local Council if
such appraiser is either affiliated with the Local Council or is not qualified to conduct such an
appraisal by the applicable licensing authority in the geographic region where the property is
located. The costs associated with any Qualified On-Site Appraisals will be borne by the Local




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 Council. If the applicable Local Council has not commissioned a Qualified On-Site Appraisal as
 of the date that the Plan is filed, it will do so as soon as possible.

III.   DST Note Mechanics

 On the Effective Date, at the request of the Ad Hoc Committee, solely to facilitate payments
 from the LC Reserve Account, the DST shall be established, and the DST shall issue the DST
 Note in favor of the Settlement Trust in the principal amount of $100 million. Local Councils
 shall make monthly contributions into an account (and any replacement thereof) owned by the
 DST (the “LC Reserve Account”) in an amount equal to the Required Percentage of the Local
 Councils’ respective payrolls. Until the DST Note is extinguished, the LC Reserve Account
 shall be used only to fund contributions to the Pension Plan in accordance with the next sentence
 and, to the extent of any excess, to pay any Payment Amounts due under the DST Note. If at any
 time (including the end of any Plan Year) (a) the present value of the accumulated benefits for
 the Pension Plan, as determined in accordance with the requirements set forth in the definition of
 “Excess Balance” below for the most recently ended Plan Year, exceeds (b) the market value of
 the assets of the Pension Plan (clause (a) minus clause (b) being the “Shortfall Amount”), funds
 in the LC Reserve Account will be deposited into the Pension Plan up to the lesser of the Local
 Councils’ collective pro rata share of the Shortfall Amount or the balance in the LC Reserve
 Account.

 The DST Note shall be: (i) interest bearing at a rate of 1.5% per annum and without recourse
 except as to the LC Reserve Account; (ii) secured by a lien on the LC Reserve Account; (iii)
 payable on each Payment Date in an amount equal to the applicable Payment Amount; and
 (iv) prepayable in whole or in part at any time without premium or penalty. The unpaid balance
 of the DST Note (if any) remaining on the Payment Date that is the fifteenth anniversary of the
 First Payment Date (the “DST Note Maturity Date”) shall be automatically extinguished and
 shall be considered forgiven and satisfied after giving effect to any required payment on such
 date. Other than the lien on the LC Reserve Account, the Settlement Trust shall have no other
 recourse for payment under the DST Note.

 “Cushion Amount” means: (i) from the Effective Date until the first June 1 that is at least one
 year after the Effective Date (the “First Cushion Date”), $134.86 million; (ii) from the day
 following the First Cushion Date until June 1 of the following year (the “Second Cushion Date”),
 $124.86 million; (iii) from the day following the Second Cushion Date until June 1 of the
 following year (the “Third Cushion Date”), $114.86 million; (iv) from the day following the
 Third Cushion Date until June 1 of the following year (the “Fourth Cushion Date”), $104.86
 million; and (v) from the day following the Fourth Cushion Date until June 1 of the following
 year (the “Fifth Cushion Date”), $100 million; and (vi) from the day following the Fifth Cushion
 Date to and including the DST Note Maturity Date, $100 million.

 “Excess Balance” means the amount in excess of the applicable Cushion Amount, if any, by
 which (a) the sum of (i) the market value of the assets of the Pension Plan as set forth in the
 actuarial report for the Pension Plan for the most recently ended Plan Year plus (ii) the balance
 of the LC Reserve Account as of the month-end preceding the applicable Payment Date exceeds
 (b) the present value of the accumulated benefits for the Pension Plan as set forth in the actuarial
 report for the Pension Plan for the most recently ended Plan Year calculated using a 6.5% annual


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interest rate, net of expenses, so long as the Pension Plan continues to be a Cooperative and
Small Employer Charity (CSEC) plan. The actuarial report shall be prepared in accordance with
actuarial standards, past practice, and applicable law.

The Debtors have conducted a current experience study by the Pension Plan actuary with respect
to the demographic assumptions for the Pension Plan (e.g., rates of retirement, termination,
spousal age difference, commencement age and forms of payment) (the “2021 Experience
Study”). After implementing changes based on the 2021 Experience Study, demographic
assumption changes, with the exception of annual updates to mortality improvement projection
scales, will not be made without a subsequent experience study, and economic assumption
changes will not be made without an asset liability management study. Reorganized BSA will
not commission any such studies until five (5) years after the Effective Date of the Amended
Plan unless there are material changes to Internal Revenue Code § 433 (governing CSEC plans).
In the event of such a material change, Reorganized BSA shall commission any such studies only
if it reasonably believes, in consultation with the Pension Plan actuary, that such study is
required. During the term of the DST Note, on an annual basis, Reorganized BSA will provide
advance notice to the Settlement Trustee of any proposed material changes that the Pension Plan
actuary intends to make to its actuarial assumptions and methodologies that increase the present
value of accumulated benefits under the Pension Plan by more than 1.0%. Reorganized BSA
will confer in good faith with the Settlement Trustee regarding any such proposed changes. In
addition, if the Pension Plan is amended in any regard which increases the present value of
benefits under the Pension Plan, such amendments will be disregarded in the calculation of the
present value of accumulated benefits for the purposes of the DST Note.

“Payment Amount” means an amount, if any, on each Payment Date, payable solely from the LC
Reserve Account, equal to the least of: (x) the Excess Balance on such Payment Date, (y) the
remainder of the balance of $100 million accumulated at 1.5% annual interest, as amortized by
any amounts previously paid; and (z) the amount in the LC Reserve Account.

“Payment Date” means, unless the DST Note is prepaid in full, May 31 of each year starting on
the first May 31 after the Effective Date (or starting on the first business day that is at least thirty
(30) days after the Effective Date if the Effective Date occurs between May 1 and May 31) (the
“First Payment Date”) until the fifteenth anniversary of the First Payment Date.

“Plan Year” means the period from February 1 to and including January 31 of the following year.

“Required Percentage” means an amount equal to 12% of a Local Council’s payroll, less any
pension plan related expenses which are estimated to be approximately 0.50% of such payroll,
less the Local Council employer contribution match for employee contributions to the section
403(b) defined contribution benefit plan, which percentage will not exceed 4.5% of participating
employee payroll until at least $50 million of the DST Note principal has been paid, at which
point the employer contribution match percentage will not exceed 6% until the DST Note has
been paid in full (principal and interest).



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                         EXHIBIT G

                     LOCAL COUNCILS
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Abraham Lincoln                            Choctaw Area
Alabama-Florida                            Cimarron
Alamo Area                                 Circle Ten
Allegheny Highlands                        Coastal Carolina
Aloha                                      Coastal Georgia
Andrew Jackson                             Colonial Virginia
Anthony Wayne Area                         Columbia-Montour
Arbuckle Area                              Connecticut Rivers
Atlanta Area                               Connecticut Yankee
Baden-Powell                               Conquistador
Baltimore Area                             Cornhusker
Bay Area                                   Coronado Area
Bay-Lakes                                  Cradle of Liberty
Black Hills Area                           Crater Lake
Black Swamp Area                           Crossroads of America
Black Warrior                              Crossroads of the West
Blackhawk Area                             Dan Beard
Blue Grass                                 Daniel Boone
Blue Mountain                              Daniel Webster
Blue Ridge                                 De Soto Area
Blue Ridge Mountains                       Del-Mar-Va
Buckeye                                    Denver Area
Buckskin                                   East Carolina
Bucktail                                   East Texas Area
Buffalo Trace                              Erie Shores
Buffalo Trail                              Evangeline Area
Caddo Area                                 Far East
Calcasieu Area                             Five Rivers
California Inland Empire                   Flint River
Cape Cod and Islands                       French Creek
Cape Fear                                  Gamehaven
Capitol Area                               Garden State
Cascade Pacific                            Gateway Area
Catalina                                   Georgia-Carolina
Central Florida                            Glacier's Edge
Central Georgia                            Golden Empire
Central Minnesota                          Golden Gate Area
Central North Carolina                     Golden Spread
Chattahoochee                              Grand Canyon
Cherokee Area (469)                        Grand Columbia
Cherokee Area (556)                        Grand Teton
Chester County                             Great Alaska
Chickasaw                                  Great Rivers
Chief Cornplanter                          Great Salt Lake
Chief Seattle                              Great Smoky Mountain
Chippewa Valley                            Great Southwest
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Great Trail                                   Mayflower
Greater Alabama                               Mecklenburg County
Greater Hudson Valley                         Miami Valley
Greater Los Angeles Area                      Michigan Crossroads
Greater New York                              Mid-America
Greater Niagara Frontier                      Middle Tennessee
Greater St. Louis Area                        Mid-Iowa
Greater Tampa Bay Area                        Midnight Sun
Greater Wyoming                               Minsi Trails
Greater Yosemite                              Mississippi Valley
Green Mountain                                Mobile Area
Greenwich                                     Monmouth
Gulf Coast                                    Montana
Gulf Stream                                   Moraine Trails
Hawk Mountain                                 Mount Baker
Hawkeye Area                                  Mount Diablo Silverado
Heart of America                              Mountain West
Heart of New England                          Mountaineer Area
Heart of Virginia                             Muskingum Valley
Hoosier Trails                                Narragansett
Housatonic                                    National Capital Area
Illowa                                        Nevada Area
Indian Nations                                New Birth of Freedom
Indian Waters                                 North Florida
Inland Northwest                              Northeast Georgia
Iroquois Trail                                Northeast Illinois
Istrouma Area                                 Northeast Iowa
Jayhawk Area                                  Northeastern Pennsylvania
Jersey Shore                                  Northern Lights
Juniata Valley                                Northern New Jersey
Katahdin Area                                 Northern Star
Lake Erie                                     Northwest Georgia
Las Vegas Area                                Northwest Texas
LaSalle                                       Norwela
Last Frontier                                 Occoneechee
Laurel Highlands                              Ohio River Valley
Leatherstocking                               Old Hickory
Lincoln Heritage                              Old North State
Long Beach Area                               Orange County
Longhorn                                      Oregon Trail
Longhouse                                     Ore-Ida
Longs Peak                                    Overland Trails
Los Padres                                    Ozark Trails
Louisiana Purchase                            Pacific Harbors
Marin                                         Pacific Skyline
Mason-Dixon                                   Palmetto



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Pathway to Adventure                             South Plains
Patriots’ Path                                   South Texas
Pee Dee Area                                     Southeast Louisiana
Pennsylvania Dutch                               Southern Sierra
Piedmont                                         Southwest Florida
Piedmont                                         Spirit of Adventure
Pikes Peak                                       Suffolk County
Pine Burr Area                                   Susquehanna
Pine Tree                                        Suwannee River Area
Pony Express                                     Tecumseh
Potawatomi Area                                  Texas Southwest
Prairielands                                     Texas Trails
Puerto Rico                                      Theodore Roosevelt
Pushmataha Area                                  Three Fires
Quapaw Area                                      Three Harbors
Quivira                                          Three Rivers
Rainbow                                          Tidewater
Redwood Empire                                   Transatlantic
Rio Grande                                       Trapper Trails
Rip Van Winkle                                   Tukabatchee Area
Rocky Mountain                                   Tuscarora
Sagamore                                         Twin Rivers
Sam Houston Area                                 Twin Valley
Samoset                                          Ventura County
San Diego-Imperial                               Verdugo Hills
San Francisco Bay Area                           Virginia Headwaters
Santa Fe Trail                                   Voyageurs Area
Seneca Waterways                                 W.D. Boyce
Sequoia                                          Washington Crossing
Sequoyah                                         West Tennessee Area
Shenandoah Area                                  Westark Area
Silicon Valley Monterey Bay                      Western Los Angeles County
Simon Kenton                                     Western Massachusetts
Sioux                                            Westmoreland-Fayette
Snake River                                      Winnebago
South Florida                                    Yocona Area
South Georgia                                    Yucca




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                         EXHIBIT H

             RELATED NON-DEBTOR ENTITIES
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Arrow WV, Inc.
Atikaki Youth Ventures Inc.
Atikokan Youth Ventures Inc.
BSA Asset Management, LLC
BSA Endowment Master Trust
Learning for Life
National Boy Scouts of America Foundation
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                              EXHIBIT I-1

     HARTFORD INSURANCE SETTLEMENT AGREEMENT

  (to be supplemented; refer to D.I. 6210-1 for the Hartford Term Sheet)
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                             EXHIBIT J-1

                TCJC SETTLEMENT AGREEMENT

   (to be supplemented; refer to D.I. 6210-2 for the TCJC Term Sheet)
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                         EXHIBIT K

    NON-PARTICIPATING CHARTERED ORGANIZATIONS

                    (SUBJECT TO CHANGE)
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 THE FOLLOWING IS A LIST OF CHARTERED ORGANIZATIONS THAT THE BSA
 IS AWARE ARE CURRENTLY DEBTORS IN BANKRUPTCY. IF THE BSA
 BECOMES AWARE OF ADDITIONAL CHARTERED ORGANIZATIONS IN
 BANKRUPTCY, IT WILL PROMPTLY REVISE THIS EXHIBIT.

1.   Archbishop of Agaña, a Corporation Sole, Chapter 11 Debtor in Possession, District Court
     of Guam, Territory of Guam, Bankruptcy Division, Case 19-00010.

2.   The Diocese of Buffalo, N.Y., Chapter 11 Debtor in Possession, United States Bankruptcy
     Court for the Western District of New York, Case No. 20-10322.

3.   The Diocese of Rochester, Chapter 11 Debtor in Possession, United States Bankruptcy
     Court for the Western District of New York, Case No. 19-20905.

4.   The Roman Catholic Diocese of Syracuse, New York, Chapter 11 Debtor in Possession,
     United States Bankruptcy Court for the Northern District of New York, Case No.
     20-30663.

5.   The Roman Catholic Diocese of Rockville Centre, New York, Chapter 11 Debtor in
     Possession, United States Bankruptcy Court for the Southern District of New York, Case
     No. 20-12345.

6.   Roman Catholic Church of the Archdiocese of Santa Fe, Chapter 11 Debtor in Possession,
     United States District Court for the District of New Mexico, Case No. 18-13027.

7.   The Norwich Roman Catholic Diocesan Corporation, Chapter 11 Debtor in Possession,
     United States District Court for the District of Connecticut, Case No. 21-20687.

 THE FOLLOWING IS A LIST OF CHARTERED ORGANIZATIONS (IN ADDITION
 TO CHARTERED ORGANIZATIONS THAT ARE CURRENTLY DEBTORS IN
 BANKRUPTCY) THAT HAVE ELECTED TO OPT OUT OF BECOMING
 PARTICIPATING CHARTERED ORGANIZATIONS.

None.
